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Louisiana State University
Title IX Review




March 3, 2021




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President Galligan:

As you know, in November 2020, USA Today published an article titled “LSU mishandled sexual
misconduct complaints against students, including top athletes” 1 which chronicles a number of
incidents where Louisiana State University 2 purportedly mishandled reports of sexual and related
misconduct.

In response to this article, the University retained Husch Blackwell to conduct an independent
review of various Title IX-related incidents, including the items identified in the story, with the
goal of answering at least three broad questions:

    1. Whether the University and its employees handled the matters identified by the USA Today
       article in a manner consistent with obligations under Title IX, 3 widely recognized best
       practices, and University policy;

    2. Whether Title IX-related misconduct involving LSU student athletes has been
       systematically siloed in the University’s Athletics Department and not shared with the
       University’s Title IX Office; and

    3. Whether the University is appropriately handling Title IX-related matters which are
       reported to its Title IX Office.

Additionally, to the extent information gleaned over the course of our review uncovered concerns,
you asked Husch Blackwell to make recommendations (informed by community input) designed
to address those concerns with the overarching goal of meaningfully improving LSU’s efforts to
prevent and effectively respond to sex-based misconduct and creating a Title IX program that the
University community could have confidence in.

Husch Blackwell began its review in late November 2020. We appreciate the cooperation and
assistance we have received from various members of the University community to our myriad
requests for information. Since being retained, Husch Blackwell has interviewed nearly 50 current
and former University employees, students, witnesses, and other University community
stakeholders.


1
  Kenny Jacoby, LSU mishandled sexual misconduct complaints against students, including top athletes, USA TODAY,
November 16, 2020, https://www.usatoday.com/in-depth/sports/ncaaf/2020/11/16/lsu-ignored-campus-sexual-
assault-allegations-against-derrius-guice-drake-davis-other-students/6056388002/. Throughout this report, we refer to
this article as the “USA Today article.”
2
  Throughout this report, we refer to Louisiana State University as “LSU” or the “University.” All references to LSU
or University are limited to the Baton Rouge campus.
3
  The University requested Husch Blackwell to assess whether the University’s handling of Title IX-related matters
was consistent with institutional Title IX obligations. The contours of those obligations have evolved over the
approximately 50 years since Title IX became law and changed considerably when the Trump Administration
promulgated new Title IX regulations which became effective in August 2020. A comprehensive review of the
University’s compliance with the Clery Act was outside the scope of our review. Nevertheless, Clery Act compliance
is a significant piece of any institution’s overall federal compliance obligations, and there is considerable overlap
between Title IX and Clery compliance. With that as backdrop, we have identified Clery Act compliance concerns
throughout this report.

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As part of the review, we also requested and reviewed various policies, documents, and
communications, including, but not limited to:

     x   Policies and procedures relating to Title IX compliance for students and employees,
         including:
             o Permanent Memorandum 73 – Title IX and Sexual Misconduct Policy (revised
                 2014, 2015, 2020)
             o Policy Statement 73 – Sexual Harassment (last revised 2016)
             o Policy Statement 95 – Sexual Harassment of Students (last revised April 2016)
             o Student Code of Conduct (2018)
     x   Athletics Department staff and student employee policies and procedures
     x   Title IX training materials for all University employees from 2015 to present
     x   Organizational charts for University offices with Title IX compliance functions
     x   Documents and communications relating to Title IX Office staffing and resources
     x   Personnel files for employees with Title IX responsibilities
     x   Personnel files for selected employees relating to discipline for violations of the
         University’s Title IX policy
     x   Documents and information relating to previous Department of Education Office of Civil
         Rights compliance reviews and resolution agreements from 2015 to present
     x   Documents, communications, and information relating to reviews of Title IX compliance
         by internal and external providers
     x   Reporting forms and other communications and documentation of Title IX complaints
     x   Current and previous versions of the Student Code of Conduct
     x   Over 60 Title IX investigation case files from 2015 to present 4
     x   Communications between the Title IX Office and parties to investigations
     x   Meeting agendas and notes from the LSU CARE and Title IX Case Management Teams

Our recommendations are also based, in part, on feedback provided by a diverse group of
University stakeholders, including representatives from:

 x    Title IX Office                                        x   Tigers Against Sexual Assault (TASA)
 x    Student Advocacy and Accountability                    x   The Lighthouse Program
 x    Student Government, Department of                      x   Sexual Trauma Awareness and Response
      Safety, “We’re Committed” Program                          (STAR) 5
 x    LSU Care Team                                          x   Title IX Case Management Team
 x    Athletics Administration                               x   Football Operations
 x    LSU Police Department                                  x   Office of the President
 x    Office of the District Attorney, 19th                  x   Office of General Counsel
      Judicial District, East Baton Rouge Parish


4
  Some of these files were reviewed in detail, others were used to resolve discrete disputed facts, and others were
reviewed for a high-level case file review to test the University’s compliance with specific aspects of Title IX’s
investigative and adjudicative requirements and identify any trends or patterns present within the University’s Title
IX system.
5
  See https://star.ngo/.

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 x    Former University Administrators and x          Current and Former LSU Students &
      Employees                                       Parents

At your request, we also held several weeks of community outreach sessions during which LSU
students and employees had an opportunity to meet individually or in a focus group session with
Husch Blackwell representatives. Husch Blackwell conducted over 25 of these sessions during
which we were able to hear and benefit from the perspective of many other stakeholders, including
survivors, individuals accused of misconduct, employees from a variety of University departments,
and a diverse group of students. We are especially grateful for the participation and input of the
leadership and members of Tigers Against Sexual Assault (“TASA”) and the “We’re Committed”
committee of the LSU Student Government’s Department of Safety whose members participated
in several conversations with Husch Blackwell. The University owes a significant debt of gratitude
to the many voices who contributed to the recommendations contained in this report. The
University also needs the LSU community to rally and assist the school in tackling the challenges
identified throughout this review.

This report outlines the results of our review. In preparing this report, we have been guided by
your request (and our desire) to honestly relay the facts and to provide a candid assessment of how
the University handled what can be exceptionally complicated matters. Regarding the latter, we
are mindful that “it is easy to be wise after the event” and we have tried to avoid second-guessing
decisions that were reasonable at the time and were made without the benefits of hindsight. With
that said, where decisions were unreasonable, unlawful, or not consistent with institutional policy,
we have said so throughout this report.

Several notes of caution are warranted. The scope of this review was remarkably broad and
required us to discuss incidents that may have taken place several years ago. This presented unique
challenges as occasionally interviewees had understandable difficulty recalling specifics from
several years ago and documentation may not have been preserved. When such uncertainty exists,
we note it in the report.

Additionally, while we conducted numerous interviews, we undoubtedly could have conducted
even more. With that said, we have endeavored to meet with all witnesses we believed had
information which would materially impact this report and the conclusions reached in this report.
We balanced our investigative efforts with the University’s understandable sense of urgency to
obtain our assessment and begin the arduous work of creating a Title IX program that the
University can have confidence.

Regarding the three questions mentioned above, we offer the following summary responses:

     1. The University did not handle various items identified in the USA Today article in a manner
        consistent with obligations under Title IX, widely recognized best practices, and/or
        University policy. The basis for this opinion is explained in Section VI below.

     2. Various incidents of athletics-related misconduct have not been appropriately reported to
        the University’s Title IX Coordinator. We are especially concerned about a lack of
        reporting prior to November 2016 for reasons discussed below. It is worth noting, though,


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         that our concerns about reporting are not limited to Athletics. Institutional reporting policy
         and training have been unclear for years. This is discussed more thoroughly in Section III
         below.

    3. The University’s Title IX Office has never been appropriately staffed or provided with the
       independence and resources to carry out Title IX’s mandates. We have identified concerns
       that the Office has at times not handled those matters reported to it appropriately. Again,
       while the USA Today article focused primarily on Athletics, we found deficiencies in a
       variety of different matters. This is discussed in more detail in Section II below.

As noted throughout this report, there was a lack of effective leadership at the University with
respect to Title IX. In concluding this, we are mindful of the enormous challenges placed on the
University’s administration by seemingly incessant budget cuts foisted upon it over the years.
While expectations for higher education have increased over the last 20 years in fairly remarkable
ways (especially around compliance), resources have certainly not kept pace, especially in
Louisiana. With that said, the University was slow to adopt Title IX policies, hire personnel, or
meaningfully address concerns identified by community members and internal and external
reviews. This is discussed in more detail in Section IV below.

We close our report with recommendations for creating and maintaining a compliant Title IX
program the University community can have confidence. There is considerable work that needs to
be done. While our recommendations for improvement are guided by our own expertise, as you
requested, they have also been informed by the numerous University stakeholders who have taken
the time to meet with us and share their thoughts and at times gut-wrenching accounts. We
earnestly appreciate their willingness to share their experiences and insights with us. We are also
hopeful that this report and its recommendations will assist the University in the difficult work
ahead.

         Background

Sexual violence on college campuses is a pervasive and seemingly well-entrenched public health
problem with research consistently indicating that more than 1 in 4 undergraduate women have
experienced sexual assault while they were students. 6 While incidence of sexual violence varies
by campus, 7 research clearly and compellingly shows that sexual violence is systematically
underreported. 8 The causes of systematic underreporting are complicated, and underreporting is

6
  David Cantor et al., Westat, Report on the AAU Campus Climate Survey on Sexual Assault and Sexual Misconduct
(Oct. 20, 2019), https://www.aau.edu/sites/default/files/AAU-Files/Key-Issues/Campus-Safety/AAU-Campus-
Climate-Survey-FINAL-10-20-17.pdf. This statistic is included here to demonstrate the high incidence of sexual
assault on college campuses. It is in no way is meant to exclude or ignore males or those of other genders who have
been victims of sexual misconduct. We know the terrible reality is that sexual misconduct affects people of all
demographics.
7
  For example, research supports the proposition that the incidence rate of sexual violence was higher on campuses
with National Collegiate Athletic Association (NCAA) Division I athletic programs as compared to Division II, III
and campuses with no athletics. Rebecca L. Stotzer and Danielle MacCartney, “The role of institutional factors on on-
campus reported rape prevalence,” J. INTERPERS. VIOLENCE (Apr. 21, 2015), available at
https://journals.sagepub.com/doi/10.1177/0886260515580367.
8
  Bonnie S. Fisher et al., “Acknowledging sexual victimization as rape: Results from a national-level study,” JUSTICE
Q. (Aug. 19, 2006), available at https://www.tandfonline.com/doi/abs/10.1080/07418820300095611.

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partially a product of a host of cultural factors. A significant percentage of students participating
in various surveys throughout the country, however, have indicated that they did not report sexual
violence because they “did not think anything would be done about it” or that others, especially
those in positions of authority, would not believe them. 9

There is also considerable evidence supporting the proposition that survivors of sexual violence
do not report misconduct because they fear retaliation in a variety of forms—adverse employment
and educational consequences, further violence, social stigma, etc. It should go without saying that
this fear of retaliation is undoubtedly heightened when a perpetrator is a celebrated member of the
campus community.

With respect to the dynamics of dating and domestic violence, the research has made at least two
critically important observations when assessing interventions. First, abuse evolves into a pattern,
which often escalates in intensity. 10 Second, and perhaps counterintuitively, it is not uncommon
for victims of relationship violence to refuse to participate in interventions aimed at holding
perpetrators accountable for abuse. 11 Indeed, victims of relationship violence often will remain in
abusive relationships for a bevy of reasons. 12 These dynamics (i.e., nonparticipating victims and
potentially rapid escalations in violence) make effective institutional response to relationship
violence exceptionally challenging but also especially necessary.

With that as backdrop, the following broad principles undergird this report:

    1. Survivor reports of sexual violence constitute a small fraction of the actual incidents of
       sexual violence on a university campus. Survivor reports of sexual violence involving
       “star” student athletes and other “high status” members of a university community likely
       constitute an even smaller fraction. In the statistically unlikely event a student does
       come forward with a report of sexual violence, it is critical that the report be referred
       to a University’s Title IX Office which, in turn, must handle the report with care,
       including protecting the due process rights of students accused of misconduct.

    2. Responding with care and appropriately to reports of Title IX-related matters, and
       especially allegations of dating and domestic violence, is resource intensive. Doing this
       remarkably demanding and complicated work well requires highly skilled practitioners and
       those practitioners must have adequate resources.

    3. Institutional failure to respond appropriately to allegations of sexual misconduct creates a
       variety of harms for the survivors. Failing to respond appropriately also reinforces

9
   Bonnie S. Fisher et al, National Institute of Justice, Department of Justice, The Sexual Victimization of College
Women (2000), https://www.ncjrs.gov/pdffiles1/nij/182369.pdf.
10
   See e.g., Dee L.R.Graham, et al., Loving to Survive: Sexual Terror, Men’s Violence, and Women’s Lives (Feminist
Crosscurrents, 3), New York University Press (1994); KD O’Leary et al., “A. Prevalence and stability of physical
aggression between spouses: a longitudinal analysis,” J. Consult. Clin. Psychol. (1989),
https://pubmed.ncbi.nlm.nih.gov/2785126/.
11
    See e.g., Graham, D. , & Rawlings, E., “Bonding with abusive dating partners: Dynamics of the Stockholm
Syndrome,” Dating Violence, Young Women in Danger 119–135 ( B. Levy, ed. 1991).
12
   Michael A. Anderson et al., “Why Doesn't She Just Leave?”: A Descriptive Study of Victim Reported Impediments
to Her Safety, J. OF FAMILY VIOLENCE 18, 151–155 (2003).

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          justifications for victims to not come forward in the first place. This is a tragedy in its own
          right but can also create a fertile ground for serial perpetrators. Failing to respond
          appropriately to allegations of sexual misconduct can also create a variety of harms for
          those accused of misconduct. Community members wrongly found responsible for sexual
          misconduct can be negatively impacted for years. Even those appropriately cleared by an
          institution may be viewed with skepticism in a university community that has no
          confidence in the institution’s process for resolving reports.

          Summary of Institutional Policies and Personnel

Title IX of the Education Amendments of 1972 (“Title IX”) prohibits sex discrimination in an
institution’s education programs and activities. 13 In addition, the Jeanne Clery Disclosure of
Campus Security Policy and Campus Crime Statistics Act (“Clery Act” or “Clery”)—as amended
by the 2013 Reauthorization of the Violence Against Women Act—requires institutions
participating in federal financial aid programs to maintain and disclose campus crime statistics and
security information and also includes mandates for institutional policies, procedures, and
educational programming for prevention of and response to sex-based crimes. 14 Sex-based
harassment and violence—including sexual harassment, sexual assault, dating and domestic
violence, and stalking—are forms of prohibited sex discrimination which trigger institutional
obligations under Title IX and the Clery Act.

Title IX’s prohibition on sex discrimination applies to all campus community members (i.e.,
students and employees) and includes other participants in institutional programs and activities,
such as visitors or vendors. In its most basic form, Title IX requires schools that receive federal
funds to appropriately respond to and redress reports of sex discrimination occurring in their
programs and activities. In addition to the myriad harms created by sex discrimination, as aptly
put by former LSU President F. King Alexander in September of 2015: “A university that tolerates,
inadequately addresses or is deliberately indifferent toward sexual harassment may be subject to
loss of federal funds and/or may be liable for money damages under Title IX of the Civil Rights
Act.” 15

The U.S Department of Health, Education, and Welfare, which became the U.S. Department of
Education (“ED” or the “Department”) in 1979 and its Office for Civil Rights (“OCR”) initially
issued regulations implementing Title IX in 1975. 16 From a high-level perspective, these
regulations required covered educational institutions to:

     1.       Disseminate a notice of non-discrimination (i.e., a Title IX policy);

     2.       Designate at least one employee to coordinate efforts to comply with and carry out its
              responsibilities under Title IX (i.e., a Title IX Coordinator); and


13
   See 20 U.S.C. § 1681 et seq.
14
   20 U.S.C. § 1092(f); 34 C.F.R. § 668.46.
14
   20 U.S.C. § 1092(f); implementing regulations at 34 C.F.R. § 668.46.
15
   Elizabeth Vowell, LSU Faculty Senate takes on firing of tenured professor, WAFB.COM (September 2, 2015),
https://www.wafb.com/story/29946514/lsu-faculty-senate-takes-on-firing-of-tenured-professor/.
16
   See 34 C.F.R. § 106.1 et seq.

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     3.        Adopt and publish grievance procedures providing for the prompt and equitable
               resolution of complaints of sex discrimination. 17

While enforcement of Title IX by the Department has waxed and waned depending on the
administration in power, OCR has periodically released guidance documents regarding its
standards for administrative enforcement of Title IX. While such guidance documents do not have
the same force as the statute or a regulation, they do reflect OCR’s position regarding Title IX
administrative enforcement and are designed to guide institutions of higher education in
developing their policies and procedures.

          A.       LSU’s Title IX Policy and Office Structure

Although federal law has required institutions to designate a Title IX Coordinator since 1975, 18
enforcement of Title IX and the formal designation of employees responsible for Title IX
compliance was not robust until 2011 when the Department under the Obama administration—
among other actions—issued what has been dubbed the “2011 Dear Colleague Letter.” 19 This
guidance document expanded on previous guidance 20 and provided specific items that must be (or
were strongly recommended to be) included in an institution’s policy and procedures related to
sexual harassment and sexual violence. While controversial in some quarters, the 2011 Dear
Colleague Letter is universally recognized as a significant tool which compelled institutions to
prioritize compliance with Title IX. It included the following specific mandates relevant to this
review:




17
   Id. §§ 106.8, 106.9.
18
       See     id.    at     §    106.8.    The      Department’s       1975     regulations    are     available     at
https://www2.ed.gov/policy/rights/reg/ocr/edlite-34cfr106.html.
19
   U.S. Dep’t Ed. Office for Civil Rights, “Dear Colleague Letter: Sexual Violence” (2011). A copy of the 2011 Dear
Colleague Letter, which was rescinded by the Department in September 2017, is available at
http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.
20
   The most significant guidance prior to the 2011 Dear Colleague Letter was the 2001 Revised Sexual Harassment
Guidance: Harassment of Students by School Employees, Other Students, or Third Parties” document issued by the
Bush administration in 2001. U.S. Dep’t Ed. Office for Civil Rights, “Revised Sexual Harassment Guidance” (66 Fed.
Reg. 5512, Jan. 19, 2001) at 13 (footnotes omitted) (the “2001 Guidance”). Issued by the George W. Bush
administration, the 2001 Guidance made clear that “sexual harassment” was covered by Title IX’s prohibition against
sex discrimination and described an institution’s responsibilities to prevent and address sexual harassment. The 2001
Guidance also established the Department’s standard for administrative enforcement of Title IX: “If a student sexually
harasses another student and the harassing conduct is sufficiently serious to deny or limit the student’s ability to
participate in or benefit from the program, and if the school knows or reasonably should know about the harassment,
the school is responsible for taking immediate effective action to eliminate the hostile environment and prevent its
recurrence.” More specifically, the 2001 Guidance stated that a school “has notice if a responsible employee ‘knew,
or in the exercise of reasonable care should have known,’ about the harassment.” A “responsible employee” includes
“any employee who has the duty to report to appropriate school officials sexual harassment or any other misconduct
by students or employees, or an individual who a student could reasonably believe has this authority or responsibility.”
The 2001 Guidance also required schools to ensure that certain employees were adequately trained regarding reporting
and responding to incidents of sex discrimination. A copy of the 2001 Guidance, which was rescinded by the
Department in September 2020, can be found at: http://www2.ed.gov/about/offices/list/ocr/docs/shguide.pdf.

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     x    Reaffirmed that prohibited “sexual harassment” includes “unwelcome sexual advances,
          requests for sexual favors, and other verbal, nonverbal, or physical conduct of a sexual
          nature,” including “sexual violence” and “gender-based harassment.”

     x    Reaffirmed the Department’s “constructive knowledge” standard for administrative
          enforcement as follows: “If a school knows or reasonably should know about student-on-
          student harassment that creates a hostile environment, Title IX requires the school to take
          immediate action to eliminate the harassment, prevent its recurrence, and address its
          effects.”

     x    Stressed the broad responsibilities of the Title IX Coordinator, including the responsibility
          to “oversee[] all Title IX complaints and identifying and addressing any patterns or
          systemic problems that arise during the review of such complaints”; to “be available to
          meet with students as needed”; and “not have other job responsibilities that may create a
          conflict of interest.”

     x    Established an institution’s obligation to ensure that “all school law enforcement unit
          employees should receive training on the school’s Title IX grievance procedures and any
          other procedures used for investigating reports of sexual violence” and “instruct law
          enforcement unit employees both to notify complainants of their right to file a Title IX sex
          discrimination complaint with the school in addition to filing a criminal complaint, and to
          report incidents of sexual violence to the Title IX coordinator if the complainant consents.”

     x    Outlined the standard of evidence (preponderance of the evidence), certain procedural
          requirements for investigations and hearings, and requiring training for Title IX
          Coordinators, investigators, and adjudicators.

     x    Recommended institutions “implement preventive education programs and make victim
          resources, including comprehensive victim services, available.”

Despite the 2011 Dear Colleague Letter’s clarion call for institutions to implement and increase
infrastructure for Title IX offices, LSU did not have a formally designated Title IX Coordinator
until 2014 21 when the University assigned Jim Marchand, one of two attorneys in the Office of
General Counsel, to fill the Title IX Coordinator role for the entire LSU System on an “interim”
basis. In addition, at that time, the University formally designated Gaston Reinoso, Assistant Vice
President for Human Resource Management, as the LSU A&M Campus 22 Title IX Coordinator
and Deputy Coordinator for Human Resource Management. 23 Significantly, both of these
designations were “other duties as assigned” roles. Additionally, for many years, the University

21
   According to LSU’s sexual harassment policy documents preceding 2014, “The Dean of Students and the Associate
Vice President of Human Resource Management are responsible for administration of the University’s policy on
sexual harassment.” See PS-95 at 4.
22
   “LSU A&M” refers to the official name of LSU’s Baton Rouge campus, “Louisiana State University and Agriculture
and Mechanical College.”
23
   In addition, KC White, Dean of Students, was designated as the Deputy Title IX Coordinator for Students at the
time.

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has utilized (and continues to utilize) the services of an outside law firm, Taylor Porter, to advise
on Title IX issues.

In interviews with Husch Blackwell, University employees explained that these roles were
assigned following the Department’s issuance of additional Title IX guidance in 2014.24
Significant developments in this 2014 Guidance included:

    x    “A Title IX coordinator’s core responsibilities include overseeing the school’s response to
         Title IX reports and complaints and identifying and addressing any patterns or systemic
         problems revealed by such reports and complaints. This means that the Title IX coordinator
         must have knowledge of the requirements of Title IX, of the school’s own policies and
         procedures on sex discrimination, and of all complaints raising Title IX issues throughout
         the school.” (Emphasis added).

    x    Reaffirmed that the Title IX Coordinator role should be free from conflict, and noting:
         “Because some complaints may raise issues as to whether or how well the school has met
         its Title IX obligations, designating the same employee to serve both as the Title IX
         coordinator and the general counsel (which could include representing the school in legal
         claims alleging Title IX violations) poses a serious risk of a conflict of interest. Other
         employees whose job responsibilities may conflict with a Title IX coordinator’s
         responsibilities include Directors of Athletics, Deans of Students, and any employee who
         serves on the judicial/hearing board or to whom an appeal might be made. Designating a
         full-time Title IX coordinator will minimize the risk of a conflict of interest.”

    x    Expanded guidance regarding the identity of “responsible employees,” including
         requirements for an institution to “make clear to all of its employees and students which
         staff members are responsible employees.” This is discussed in more detail in Section III.A.
         below. 25

Given this clear guidance, it is notable that a System Title IX Coordinator role was assigned to
Marchand, who—as deputy general counsel—“pose[d] a serious risk of a conflict of interest,” in
contradiction of the Department’s guidance. In addition, Reinoso’s designation as the A&M
“Campus Coordinator” on top of managing his full-time responsibilities as AVP for Human
Resource Management controverted the Department’s admonishment that “[d]esignating a full-
time Title IX coordinator will minimize the risk of a conflict of interest,” and arguably did not set
appropriate expectations regarding the Title IX Coordinator’s vast responsibilities to effectively
oversee the school’s response to “all complaints raising Title IX issues throughout the school” and
to “identify[] and address[] any patterns or systemic problems.”


24
   U.S. Dep’t Ed. Office for Civil Rights, “2014 Questions and Answers on Title IX and Sexual Violence” (“2014
Guidance”), available at http://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf. This guidance was
rescinded by the Department in September 2017.
25
   In addition, the 2014 Guidance also outlined more robust requirements for institutional grievance procedures and
policy elements for resolving complaints of sex discrimination, including guidance on implementing “interim
measures” for impacted individuals.

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Along with these Title IX Coordinator designations, the University with assistance from Taylor
Porter promulgated the first version of Permanent Memorandum 73 (“PM-73”) in June 2014. PM-
73 (2014) was intended to implement the mandates in the Department’s 2014 guidance and
replaced previous sexual harassment policies PS-73 and PS-95. PM-73 (2014) appears to have
memorialized for the first time in institutional policy the designation of “Title IX Coordinators,”
providing that “The President shall designate the LSU Title IX Coordinator who shall be
responsible for the implementation, enforcement, and coordination of Title IX for LSU. The
Chancellor of each Campus shall designate a Campus Title IX Coordinator with designated
responsibilities to oversee on-campus Title IX compliance.”

PM-73 was revised in 2015 26 in response to changes in state law relating to sexual misconduct in
public entities, including public institutions of higher education 27 and the Louisiana Board of
Regents’ associated guidance, including a “Uniform Policy on Sexual Misconduct.” 28 This 2015
policy signed by then-President F. King Alexander remained in place until the University’s recent
revision in August 2020 implementing the 2020 Trump Administration Title IX regulations. 29

The University continued with Marchand in the role of Title IX Coordinator for the LSU System
and Reinoso serving as Campus Coordinator for the A&M campus until February 2016, 30 when
Jennie Stewart—who had been working in the Office of the Dean of Students since 2009—was
selected to fill three simultaneous institutional roles: (1) Title IX Coordinator for the LSU System,
(2) Campus Coordinator for LSU’s Baton Rouge campus, and (3) Clery Coordinator for all LSU
System campuses.

Stewart’s 2016 designation was the University’s first attempt at a “full-time” Title IX
Coordinator—nearly five years after the 2011 Dear Colleague Letter. In this role, Stewart reported
directly to the University’s Office of General Counsel. 31 This arrangement was problematic in
light of the Department’s clear guidance that “designating the same employee to serve both as the
Title IX coordinator and the general counsel (which could include representing the school in legal
claims alleging Title IX violations) poses a serious risk of a conflict of interest.” While Stewart
did not “serve” as the University’s general counsel, the Office of General Counsel’s direct


26
    In addition to the state law changes noted here, the Department of Education also issued two additional guidance
documents relevant to staffing and supporting the Title IX Coordinator role: (1) the 2015 Dear Colleague Letter on
Title IX Coordinators, http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201504-title-ix-coordinators.pdf,
and (2) the 2015 Title IX Resource Guide, https://www2.ed.gov/about/offices/list/ocr/docs/dcl-title-ix-coordinators-
guide-201504.pdf.
27
   See https://www.nola.com/entertainment_life/health_fitness/article_71d3c22f-88b9-57dc-9115-020ab06feb4e.html
28
    See https://www.regents.la.gov/assets/docs/2015/02/BOR-Sexual-Misconduct-Policy-2-24-15.pdf.
29
    The University’s current policy is available at https://www.lsu.edu/administration/policies/pmfiles/pm-73.pdf.
30
    Mari Fuentes Martin was hired as Dean of Students in 2016 replacing White as Deputy Title IX Coordinator for
students. Shortly after her hire, Fuentes-Martin took over responsibility for Title IX student case management, and
she maintained that responsibility until 2019. Fuentes Martin said she was shocked at the lack of infrastructure and
resources devoted to Title IX when she arrived at LSU. She organized investigator training in the fall of 2015, and she
grew the pool of part-time investigators and advocated for and secured a stipend for investigators. Staff that we spoke
to said that Fuentes-Martin professionalized the investigation and case management process.
31
    The Office of General Counsel was renamed the LSU Office of Legal Affairs and General Counsel in April 2017.
In addition, Lindsay Madatic in the University’s Employee Relations department of Human Resource Management
replaced Reinoso as Deputy Title IX Coordinator for employees.

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supervision of Stewart presented conflict of interest concerns, a fact that has been recognized
repeatedly by the University but never addressed.

When asked about her role and responsibilities, Stewart explained that each of the System’s nine
campuses had a Title IX Campus Coordinator who is designated by the Chancellor. 32 She reported
that she did not have supervisory authority over other campus coordinators, but they reported Title
IX information to her and she was tasked with regularly advising and supporting each of the
campuses on Title IX’s requirements and complaint resolution. Stewart described the System’s
Title IX operations up until 2018 as having “no central investigative piece”—with at one time 42
different investigators with varying degrees of training over the nine campuses. These investigators
were campus staff and faculty members who performed investigative responsibilities on an “other
duties as assigned” basis.

In 2018, there were two modest developments. First, the University hired Jeff Scott to serve as
“Lead Title IX Investigator” for the LSU System in March 2018. 33 While there was a transition
period during which the pool of investigators continued to assist with Title IX complaint resolution
across the LSU campuses, Scott assumed responsibility for investigating all Title IX complaints
for LSU students at all nine campuses. 34 Scott indicated that he receives assistance from Deputy
Coordinators to do some of the “legwork” prior to him opening investigations. Investigations of
complaints against employees continued to be handled by the University’s “Employee Relations”
department of Human Resource Management. 35

Second, Stewart received a fourth job responsibility when she was designated as the ADA
Coordinator for the A&M campus in May 2018. 36 This position standing alone is often its own
full-time job at other campuses as large as LSU’s. Suffice it to say that it is hard to see how
someone could be successful with all of these roles (Title IX, Clery, and the ADA) even with a
large complement of support staff. On that score, though, the Title IX Office is comprised of
Stewart, Scott, and one graduate assistant. The Title IX Office does not even have a designated
administrative support person.



32
   Since 2015, the LSU A&M Chancellor position and the LSU System president position have been consolidated into
one “LSU President” position. See https://www.lsu.edu/president/history.php/.
33
   Scott has over 25 years of administrative and criminal investigative experience, including a background as a FBI
Special Agent, NCAA enforcement investigator, and an HR investigator for a public-school district. This was Scott’s
first position as a full-time Title IX investigator, though.
34
   Scott noted that when he was hired, it was with the understanding there would be two investigators working with
him, but this did not happen.
35
   Of note, the University does not have a central investigative office for investigating and adjudicating reports of
discrimination, including discrimination on the basis of other protected categories such as race, color, national origin,
religion, and disability. Such complaints are currently handled by the Student Advocacy and Accountability office for
complaints against students and the Employee Relations department of Human Resource Management for employees.
36
   Stewart received this designation following resolution of an OCR complaint brought against the University
regarding digital accessibility in 2017. The resolution agreement was finalized and signed by President Alexander in
April 2018. Significantly, in August 2019, Stewart received a fifth job responsibility when she assumed the
responsibilities of Director of Digital Resources & Content Accessibility on a “temporary” basis. This position was
created pursuant to the 2018 OCR resolution agreement. Given OCR enforcement, increases in private actions related
to digital accessibility, and ever-increasing development of online learning resources, this was also a significant
addition to Stewart’s job responsibilities.

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PM-73 was revised again in August 2020,37 prompted by the Trump Administration Department
of Education’s new Title IX regulations. 38 The 2020 regulations represent a significant shift in the
Department’s enforcement regime with a particular emphasis on the rights of individuals accused
of sex discrimination. 39

Violations of PM-73 can be reported through several avenues, 40 including online directly to the
Office of the Title IX Coordinator, 41 through Student Advocacy and Accountability’s “LSU Cares”
portal, 42 through the University’s Human Resource Management “Title IX and Sexual
Misconduct” page, 43 and through various reporting forms on the LSUPD website. 44 For all online
reporting options other than LSUPD, reports submitted through these sites automatically populate
in case management program Maxient 45 (for student reports) or Ethics Point (for employee
reports), which generate notifications to the Campus Title IX Coordinator and deputies. Students
can also submit a request for support and resources through “The Lighthouse Program,” a
confidential interpersonal violence prevention and advocacy program. 46 In addition, community
members can call, email, or speak in person with representatives from each of these offices. A
brief summary of the offices referenced here is included below.

Once a report or complaint of sex discrimination is received by the Title IX Office, Stewart
conducts an initial assessment to determine whether there is sufficient information to take
additional action. If Stewart determines that a PM-73 complaint should be opened, the case is
assigned to Scott for investigation. 47

Prior to August 2020, Title IX investigators would conduct an investigation which culminated in
a finding with respect to responsibility for the alleged policy violation. Because of the 2020
Regulations, the Title IX investigation now ends with Scott compiling an investigative report
summarizing the evidence which is then sent to the University’s Student Advocacy and
Accountability Office for adjudication.

Stewart and Scott also oversee a “Title IX Case Management Team” which was already in place
when Stewart began her role in 2016. This case management team meets once a week to discuss
the status of pending Title IX cases and is currently composed of representatives from the Title IX
Office (Stewart and Scott), The Lighthouse Program, LSUPD, the Office of the Dean of Students

37
   The policy is available at https://www.lsu.edu/administration/policies/pmfiles/pm-73.pdf.
38
         The        2020       regulations       can     be     found       at      https://www.ecfr.gov/cgi-bin/text-
idx?SID=69a8d5e1a8a4e43ee9%201685c254404%202c2&mc=true&node=pt34.1.106&rgn=div5.
39
   In addition to issuing the 2020 regulations, the Trump Administration also withdrew nearly all previous Department
Guidance            relating       to        Title       IX       as         of        August         2020.       See
https://www2.ed.gov/about/offices/list/ocr/frontpage/faq/rr/policyguidance/respolicy.html?page=3&offset=20.
40
   An overview of employee mandatory reporting requirements is provided in Section II below.
41
   See https://www.lsu.edu/titleix/.
42
   See https://www.lsu.edu/saa/lsu-cares/index.php. The LSU Cares serves as a gateway to LSU’s online reporting
system for a variety of concerns, including sex discrimination and misconduct.
43
   See https://www.lsu.edu/hrm/policies_and_procedures/Title_IX_item71081.php.
44
   See https://www.lsu.edu/police/contact/complaint-resolution.php (“Victim & Survivor Services”).
45
   Maxient is an industry-leading centralized reporting and recordkeeping system.
46
   See https://lsu.edu/shc/wellness/the-lighthouse-program/index.php.
47
    For those complaints that fall within PM-73 and involve employees, Stewart notifies the appropriate Human
Resources representative to respond to the complaint.

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(including representatives from Student Advocacy and Accountability and the CARE Team,
discussed below), and Residential Life. University administrators affiliated with the team
universally described the Title IX case load as “overwhelming” and the current staffing as
“unsustainable.”

In addition to these responsibilities, and as discussed in more detail in Section III.C. below, Stewart
and Scott are also responsible for providing department and community Title IX trainings. To date,
Stewart continues to serve as the LSU System Title IX Coordinator, the A&M Campus
Coordinator, the Clery Coordinator, the Section 504/ADA Coordinator, and the Director of Digital
Resources & Content Accessibility. Scott continues to serve as the sole investigator for student
cases for all nine LSU System campuses.

Besides the Title IX Office, several other University offices and departments are tasked with Title
IX compliance. These are briefly discussed below.

         B.        Student Advocacy and Accountability

Student Advocacy and Accountability (“SAA”) is housed in the University’s Office of the Dean
of Students within the Division of Student Affairs. 48 SAA’s mission is to “promote academic
integrity and appropriate standards of conduct for the university.” 49 In furtherance of that charge,
“SAA is responsible for investigating alleged violations of university policy/standards and for
implementing the accountability process as outlined in the LSU Code of Student Conduct. This is
accomplished through educational outreach, accountability meetings, university hearing panels,
and behavioral interventions for individual students and student organizations.” 50

Jonathan Sanders has been the Associate Dean of Students and Director of Student Advocacy &
Accountability since the fall of 2016. Tracy Blanchard is the Assistant Dean of Students and the
Associate Director of Student Advocacy & Accountability. In these roles, Sanders and Blanchard
fulfill various responsibilities related to Title IX.

First, SAA is responsible for adjudicating student complaints pursuant to the process set forth in
the Student Code of Conduct. Prior to August 2020, this process entailed (1) an administrative
conference during which Sanders conducted an additional investigation to determine appropriate
sanctions; (2) an option to request additional review of Sanders’ determination to a University
Hearing Panel (“UHP”), which served as a “rehearing” of the Title IX finding and Sanders’
administrative determination; (3) an “appeal” to the Dean of Students; and (4) an appeal for
“discretionary” review by the President. 51

This process was recently updated and continues to be reevaluated in light of the Department’s
August 2020 Title IX regulations. According to Sanders, cases not meeting the 2020 Regulation’s
definitional and jurisdictional requirements (i.e., “Sexual Misconduct” as opposed to Title IX
“Sexual Harassment”) continue to be handled pursuant to the process outlined in the SAA’s 2018

48
   See https://www.lsu.edu/studentaffairs/departments/orgcharts/lsu_sa_org_chart_feb_2020.pdf.
49
   https://www.lsu.edu/saa/about/aboutsaa.php.
50
   Id.
51
   A detailed description of the University’s process up until August 2020 is included in Section II of this report.

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Handbook. For cases meeting the 2020 Regulations’ definitional and jurisdictional requirements,
upon receipt of Scott’s investigative report, the case is referred to an “Administrative Law Judge”
who presides over a hearing along with two other panelists. The outcome of this hearing can be
appealed to the Dean of Students whose decision on the outcome is final.

Sanctions are meted out according to an “outcomes guide,” which provides a range of disciplinary
outcomes such as “disciplinary probation,” 52 “deferred suspension,” 53 “suspension,” 54 or
“expulsion.” 55 Disciplinary outcomes can also include remedial measures such as referrals to
mental health/psychological services, educational interventions, and no contact directives.

Second, Tracy Blanchard manages the University’s “CARE Team,” a behavioral intervention and
case management group with multidisciplinary representation focused on identifying and
supporting students of concern or students who may be in crisis, stress, or distress. 56 Consistent
with best practices for these teams, CARE is comprised of staff across the University, including
the Dean of Students, SAA, Academic Affairs, Office of Multicultural Affairs, Residence Life,
LSU Police, Disability Services, Student Health Center, and Financial Aid & Scholarships. 57
Notably, Athletics is not represented on the University’s CARE Team.

In addition to full and fair investigation and adjudication processes, a critical aspect of Title IX
and Clery compliance is the provision of interim measures and support services for parties to a
report. 58 Both Sanders and Blanchard handle requests for interim measures and support services
jointly with Stewart. Blanchard handles requests for academic accommodations (e.g., managing
conflicting class schedules and communicating with faculty members regarding appropriate
extensions and excused absences) and housing concerns through the CARE Team. Sanders is
responsible for assessing the need for and implementation of interim measures relating to health
and safety, including interim suspension and no-contact orders.




52
   “Disciplinary probation is a status for a specified period of time during which any further violation of the Code or
University policy jeopardizes the status of the Student or RSO [Registered Student Organization] with the University”
which may limit a student’s ability to participate in certain programs and activities and loss of privileges such as access
to residential or recreational facilities. Code of Conduct at 20.
53
   “Deferred suspension is a status for a specified period of time during which any subsequent finding of Responsibility
for a violation of the Code or University policy shall include the Outcome of suspension for the Student or RSO.
Deferred suspension will include loss of privileges as detailed under disciplinary probation with restrictions. Deferred
suspension.” Id.
54
   “Suspension is the physical separation from the University for Misconduct.” Id.
55
   “Expulsion is the permanent separation of a Student from the University without the possibility of readmission.”
Id..
56
   See https://www.lsu.edu/saa/students/advocacy/Lsucareteam.php.
57
   Id.
58
   The Clery Act specifically requires institutions to provide victims of dating violence, domestic violence, sexual
assault, and stalking with information in writing about options for, available assistance in, and how to request changes
to academic, living, transportation, and working accommodations, as well as other protective measures.. 34 C.F.R. §
668.46(b)(11)(iv), (v). These options must be provided if requested and reasonably available, regardless of whether
or not the person chooses to report to campus police or local law enforcement. Id. The institution’s policy also must
describe the range of protective measures available during the disciplinary process. Id. § 668.46(k)(1)(iv)

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         C.        The Lighthouse Program

Housed in the Office of Wellness and Health Promotion in the Student Health Center, the
Lighthouse Program is a free and confidential University resource which provides interpersonal
violence prevention, support, and advocacy to the LSU campus community. The program assists
student-survivors of sexual assault, interpersonal violence, stalking, and harassment with obtaining
information about and assistance accessing critical services such as obtaining medical care,
evidence collection and preservation, obtaining counseling and mental health care, coordinating
academic accommodations, and filing reports with investigative offices. The program also
coordinates training and information for “Lighthouse Advocates,” who are specifically trained
University personnel located throughout campus to assist and support LSU students.

It is helpful to note that in our review of the case files provided and in conversations with
community members, the Lighthouse Program and its Director, Susan Bareis, were universally
praised as excellent—but also under-resourced and potentially underutilized—resources.

         D.        Human Resource Management

As noted above, the University has designated an employee in the University’s Office of Human
Resource Management as a Deputy Title IX Coordinator for Employees. Employee-on-employee
complaints are referred to a representative from the University’s Human Resource Management
department for investigation and adjudication. According to Stewart, Human Resources also
coordinates requests for support and interventions for employee cases. In addition, Human
Resources coordinates the University’s required annual (online) employee training for Title IX
and other state-mandated ethics requirements.

         E.        LSU Police Department

The LSU Police Department (“LSUPD”) is the University’s law enforcement department and a
reporting option for victims of interpersonal violence and stalking. We interviewed Chief Bart
Thompson, who has worked for the LSU Police Department for 11 years and has been the Chief
of LSUPD for approximately two years. Officer Marshall Walters has primary responsibility for
coordinating with the Title IX Office.

Chief Thompson said LSUPD prides itself on consistency and that LSUPD “does everything it
can” to provide supports to victims. To that end, Chief Thompson said that LSUPD ensures
communication to victims about various support services, explaining resources such as STAR,
Lighthouse and LSU Cares. Chief Thompson also noted that one of the department’s investigating
officers participates in the University’s Care Team meetings. LSUPD’s website includes links to
“LSU CARES Reporting,” “Title IX and Sexual Misconduct” and “See Something, Say
Something.” In addition, the website includes various links to victim and survivor services.

We also interviewed Officer Kim Bass who is one of two officers devoted exclusively to
community outreach. LSUPD’s outreach division has been in operation for approximately four
years, and officers assigned to community outreach work with students and student organizations
on issues related to safety and security. Officer Bass also oversees a Rape Aggression Defense


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(RAD) class and smaller Equalizer Women’s Self Defense classes, hosted for shorter blocks of
time than the RAD class to increase opportunities for students to participate.

We asked LSUPD about practices related to reporting incidents to the Title IX Office, and Chief
Thompson explained that LSUPD will not report a matter to Title IX without a waiver from the
victim indicating the victim’s desire to have the matter reported. Chief Thompson explained this
is the practice because of an interpretation of state law prohibiting the sharing of victim
information without victim consent.

Based on a citation included on LSUPD’s “Sexual Violence Confidentiality Notice and Waiver
Form,” we understand Chief Thompson’s position to be that Louisiana Revised Statute 46:1844,
“Basic rights for victim and witness,” prohibits LSUPD from sharing information regarding reports
of sexual assault and violence with the University’s Title IX Office without a “waiver.” 59 Husch
Blackwell reviewed this statute and other applicable law and agree with conclusions from the Title
IX Office and the Office of General Counsel that LSUPD’s interpretation is incorrect. As the
Office of General Counsel has explained, “Sharing the identity of victims of sexual misconduct
with the Title IX Office is not ‘public disclosure’ under La. R.S. 46:1844(W)(l)(a). The statute
does not prohibit the private confidential disclosure of information from one University
department to another University department in order to fulfill requirements of the Title IX
regulations.” 60

LSUPD’s practice was also inconsistent with Department guidance 61 (up until August 2020) and
institutional policy (beginning in 2014 to the present) establishing that University law enforcement
officers are considered “responsible employees” required to “promptly notify the Title IX Campus
Coordinator” of incidents of sexual misconduct. 62


59
   Section 46:1844 provides as follows:
          In order to protect the identity and provide for the safety and welfare of crime victims who are . . .
          victims of sex offenses . . . , notwithstanding any provision of law to the contrary, all public officials
          and officers and public agencies, including but not limited to all law enforcement agencies, . . . ,
          shall not publicly disclose the name, address, contact information, or identity . . . of victims of sex
          offenses . . . . The confidentiality of the identity of . . . the victim of a sex offense . . . may be waived
          by the victim.
LA R.S. § 46:1844(W)(1)(a).
60
   Notably, subsection (3) of this provision provides that “all public officials, officers, and public agencies . . . charged
with the responsibility of knowing the name, address, contact information, and identity . . . of crime victims of a sex
offense . . . as a necessary part of their duties”—e.g., a Title IX Coordinator—“shall have full and complete access to
this information regarding . . . a victim of a sex offense or a human trafficking-related offense,” so long as that official
“take[s] measures to prevent the public disclosure” of the victim’s information.
61
   See 2001 Guidance at 13 (defining “responsible employee” as “any employee who has the authority to take action
to redress the harassment, who has the duty to report to appropriate school officials sexual harassment or any other
misconduct by students or employees, or an individual who a student could reasonably believe has this authority or
responsibility”); 2014 Guidance at 2 (stating that “OCR deems a school to have notice of student-on-student sexual
violence if a responsible employee knew, or in the exercise of reasonable care should have known, about the sexual
violence” and defining responsible employee to include to “campus law enforcement”); 2017 Guidance at 2 (noting
that “[o]ther employees may be considered “responsible employees” and will help the student connect to the Title IX
Coordinator” and citing the 2001 Guidance).
62
   As discussed in more detail in Section III below, since 2014 the University’s Title IX policy, PM-73, contains a
“responsible employee” definition which does not exclude members of campus law enforcement.

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Although the Department’s 2020 Regulations eliminated the broad “responsible employee”
reporting requirement, the regulations continue to attribute “actual knowledge” of an incident of
sexual harassment triggering institutional responses to include notice to “any official of the
recipient who has authority to institute corrective measures on behalf of the recipient.” 63 Campus
law enforcement officials meet this definition. Significantly, once the institution is on notice of an
incident of sexual violence, “The Title IX Coordinator must promptly contact the complainant
to discuss the availability of supportive measures” and “explain to the complainant the process for
filing a formal complaint.” 64 The Title IX Coordinator cannot fulfil this mandate if an institutional
department does not share reports of sexual violence.

In addition, the University’s current Title IX policy maintains the responsible employee reporting
requirement as an institutional mandate, and, again, law enforcement officers are not excepted. 65
The policy makes clear: “To the extent a conflict exists between State or local law and Title IX, the
obligation to comply with Title IX is not obviated or alleviated by any State or local law. To the extent
other LSU or campus-based policies may conflict with this policy, the provisions of this policy shall
supersede and govern.” 66

Moreover, the Louisiana legislature passed the “Campus Accountability and Safety Act” in 2015. 67
Among the mandates included in this comprehensive statute is a provision entitled “Coordination
with local law enforcement,” which requires:

         Each institution and law enforcement and criminal justice agency located within
         the parish of the campus of the institution shall enter into a memorandum of
         understanding to clearly delineate responsibilities and share information in
         accordance with applicable federal and state confidentiality laws, including but not
         limited to trends about sexually-oriented criminal offenses occurring against
         students of the institution. 68

This statute outlines several elements for the memorandum of understanding, including the
following elements:

         (1) Delineation and sharing protocols of investigative responsibilities.

         (2) Protocols for investigations, including standards for notification and
         communication and measures to promote evidence preservation.




63
   34 C.F.R. § 106.30(a).
64
   34 C.F.R. § 106.44(a) (emphasis added).
65
   See PM-73 (2020) at Appendix 1 (establishing requirement for “responsible employees” to “promptly notify the
Title IX Campus Coordinator” of “incidents of Sexual Misconduct”), Appendix 8 (defining “responsible employee as
(“Any employee given the duty of reporting actual notice of incidents of sexual violence or any other misconduct
prohibited by this policy. Responsible Employees do not include victims’ advocates, mental health counselors, or LSU
Ombudsperson.”).
66
   Id. at Appendix 7.
67
   See La. R.S. § 17:3399.11–17:3399.17.
68
   La. R.S. § 17:3399.14(A). The must “be updated every two years.” Id. § 17:3399.14(B).

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           (3) Agreed-upon training and requirements for the parties to the memorandum of
           understanding on issues related to sexually-oriented criminal offenses for the
           purpose of sharing information and coordinating training to the extent possible.

           (4) A method of sharing general information about sexually-oriented criminal
           offenses occurring within the jurisdiction of the parties to the memorandum of
           understanding in order to improve campus safety. 69

The University and LSUPD have never agreed to a memorandum of understanding due largely to
the “disagreement” regarding this reporting issue. As discussed in our recommendations, this issue
should be promptly resolved.

           Summary of LSU Employee Reporting Policies

Throughout our interviews, LSU students and employees, including individuals mentioned in the
USA Today and subsequent articles, expressed concerns that reports of sex discrimination were
not going to the University’s Title IX Office. The University’s Athletics Department, in particular,
has been criticized for purportedly not reporting such incidents appropriately.

Suffice it to say that centralized reporting and recordkeeping are critical components of an effective
Title IX program. Media reports have asserted that “Federal laws and LSU’s own policies require
university officials to . . . report [allegations of sexual misconduct] to the Title IX office for
investigation. . . .” As discussed below, it is slightly more nuanced than that.

The following is an overview of the University’s policies, procedures, and training relating to
reporting incidents of sex discrimination. The subsequent discussion in this report about individual
cases discusses how constituent parts of the University have complied—or not complied—with
institutional policy, procedures, and training.

           A.       Applicable Guidance

Since at least 2001, the Department of Education has required schools to ensure that certain
employees are adequately trained regarding reporting and responding to incidents of sex
discrimination:

           A school has notice [of sex discrimination triggering an institutional duty to
           respond] if a responsible employee “knew, or in the exercise of reasonable care
           should have known,” about the harassment. A responsible employee would include
           any employee who has the authority to take action to redress the harassment, who
           has the duty to report to appropriate school officials sexual harassment or any other
           misconduct by students or employees, or an individual who a student could
           reasonably believe has this authority or responsibility. Accordingly, schools need
           to ensure that employees are trained so that those with authority to address
           harassment know how to respond appropriately, and other responsible
           employees know that they are obligated to report harassment to appropriate

69
     Id. § 17:3399.14(C).

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         school officials. Training for employees should include practical information
         about how to identify harassment and, as applicable, the person to whom it should
         be reported. 70

In 2014, the Department of Education issued additional guidance regarding institutional
“responsible employees,” stating:

         A school must make clear to all of its employees and students which staff
         members are responsible employees so that students can make informed
         decisions about whether to disclose information to those employees. A school must
         also inform all employees of their own reporting responsibilities and the
         importance of informing complainants of: the reporting obligations of responsible
         employees; complainants’ option to request confidentiality and available
         confidential advocacy, counseling, or other support services; and complainants’
         right to file a Title IX complaint with the school and to report a crime to campus or
         local law enforcement. 71

According to this 2014 Guidance, once a designated “responsible employee” becomes aware of a
Title IX-related incident:

         a responsible employee must report to the school’s Title IX coordinator, or
         other appropriate school designee, all relevant details about the alleged sexual
         violence that the student or another person has shared and that the school will need
         to determine what occurred and to resolve the situation. This includes the names of
         the alleged perpetrator (if known), the student who experienced the alleged sexual
         violence, other students involved in the alleged sexual violence, as well as relevant
         facts, including the date, time, and location. A school must make clear to its
         responsible employees to whom they should report an incident of alleged
         sexual violence. 72

While there were several changes to Department of Education policy on Title IX enforcement
under the Trump Administration, these responsible employee reporting guidelines remained in
place until August 2020. 73




70
   2001 Guidance at 13 (footnotes omitted) (emphasis added); see also 2011 DCL 4; 2014 Guidance at 2, 14–16; 2017
Guidance U at 2 (citing 2001 Guidance at (V)(C)).
71
   2014 Guidance at 15 (emphasis added).
72
   Id. at 16 (emphasis added).
73
   The Department of Education formally rescinded the 2017 Guidance in August 2020, following the effective date
of its 2020 regulations. The 2020 Regulations provide that an institution is on notice of an incident of sexual
harassment when it has “actual knowledge,” which means “notice of sexual harassment or allegations of sexual
harassment to a recipient’s Title IX Coordinator or any official of the recipient who has authority to institute corrective
measures on behalf of the recipient.” 34 C.F.R. 106.30(a) (emphasis added). The definition of “actual knowledge”
expressly states that “[t]he mere ability or obligation to report sexual harassment or to inform a student about how to
report sexual harassment, or having been trained to do so, does not qualify an individual as one who has authority to
institute corrective measures on behalf of the recipient.” Id.

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From a practical standpoint, the importance of ensuring that reports of sex discrimination make
their way to the Title IX Coordinator is rooted in the Title IX Coordinator’s responsibility to ensure
that the University handles claims of sex discrimination appropriately, including identifying and
addressing patterns or systemic problems revealed by such reports and complaints of sex
discrimination. 74 By way of example, if the University is seeing a significant uptick in reports from
a particular department, this should sound the alarm for the Title IX Coordinator to consider
providing targeted training or other interventions for that department.

Along those same lines, it is not uncommon for victims of sex discrimination or relationship
violence to make a report but request that an institution not investigate the report. In deciding
whether such a request should be honored, Title IX Coordinators weigh several factors, including:

     x    “circumstances that suggest there is an increased risk of the alleged perpetrator committing
          additional acts of sexual violence or other violence (e.g., whether there have been other
          sexual violence complaints about the same alleged perpetrator, whether the alleged
          perpetrator has a history of arrests or records from a prior school indicating a history of
          violence, whether the alleged perpetrator threatened further sexual violence or other
          violence against the student or others, and whether the sexual violence was committed by
          multiple perpetrators)”;
     x    “circumstances that suggest there is an increased risk of future acts of sexual violence
          under similar circumstances (e.g., whether the student’s report reveals a pattern of
          perpetration (e.g., via illicit use of drugs or alcohol) at a given location or by a particular
          group)”;
     x     “whether the sexual violence was perpetrated with a weapon”;
     x    “the age of the student subjected to the sexual violence”; and
     x    “whether the school possesses other means to obtain relevant evidence (e.g., security
          cameras or personnel, physical evidence).” 75

If reports or other relevant information are siloed from the Title IX Coordinator, the Title IX
Coordinator’s assessment of these factors can be compromised and a decision to honor a request
from a reporter to not move forward with an investigation could compromise the safety of the
University community.

Perhaps because of this, guidance from the Department of Education in place from 2014 to 2017
advised that “the Title IX coordinator must be informed of all reports and complaints raising Title
IX issues, even if the report or complaint was initially filed with another individual or office or if
the investigation will be conducted by another individual or office.” 76 This guidance made clear:
“the Title IX coordinator must have knowledge of all Title IX reports and complaints at the
school.” 77




74
   34 C.F.R. § 106.8(a); see also 2014 Guidance at 9–10.
75
   2014 Guidance at 21 (emphasis added).
76
   Id. at 10–11 (emphasis added).
77
   Id. at 11.

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Similarly, the Clery Act 78 requires institutions to compile certain crime statistics which are
published on an annual basis so that community members are fully informed about the incidence
of crime on campus and can make informed decisions on maintaining their personal safety. 79
Among the Clery Act’s many mandates are requirements for institutions of higher education to
identify and designate appropriate “Campus Security Authorities” (“CSA”) who, in turn, are
legally required to report Clery Act crimes, including dating violence, domestic violence, sexual
assault, and stalking to the appropriate Clery personnel. 80 In addition to potentially being counted
in “Annual Security Reports” issued to the University community, these reports may also trigger
institutional obligations to issue important “Timely Warnings” to the University community. 81

Under the Clery Act, a crime is “reported”—and thus triggers compliance obligations—when it is
brought to the attention of a CSA. The number of CSAs at institutions can vary substantially, but
generally CSAs are those involved with campus security and other officials with significant
responsibility for student and campus activities. 82 It is critical that CSAs are informed of their CSA
status, their reporting obligation, and to whom such reports should be made. While CSA training
is not required under the Clery Act, it is encouraged by the Department and is consistent with best
practice. Some program review reports have suggested that the Department does not believe CSAs
can adequately perform their duties without some type of training.

For all of these reasons, it is essential that employees clearly understand their reporting
responsibilities when they become aware of an incident of sex-based misconduct.

         B.        LSU Employee Reporting Policies

As noted above, the University initially adopted PM-73, “Title IX and Sexual Misconduct Policy”
in June 2014. PM-73 was revised in December 2015, and remained in effect until the University’s
most recent Title IX policy revision in August 2020. Apparently in an attempt to ensure that reports
of sex discrimination made their way to the University’s Title IX Coordinator, PM-73 included
language regarding “responsible persons.” As discussed below, that “responsible person” policy


78
   20 U.S.C. § 1092(f).
79
   These include the crimes of dating violence, domestic violence and stalking.
80
   34 C.F.R. §§ 668.46(a) (“Campus security authority”), 668.46(c) (2)(i).
81
   Clery requires institutions to notify the campus community of (1) any significant emergency or dangerous situation
currently occurring on or imminently threatening the campus (“emergency notifications”), and (2) reported Clery
crimes committed on the institution’s Clery Geography that represent a serious or continuing threat to students and
employees (“timely warnings”). Id. § 668.46(e). As it relates to the issuance of timely warnings, institutions must have
policies for making timely warning reports to members of the campus community regarding the occurrence of Clery
Act crimes, including (a) the circumstances for which a warning will be issued, (b) the individual or office responsible
for issuing the warning, and (c) the manner in which the warning will be disseminated. Id.
82
   While the Clery statutory and regulatory framework has not changed since the VAWA amendments in 2013, there
has been recent evolution related to guidance from ED. The Handbook for Campus Safety and Security Reporting
(“Clery Handbook”) has historically been consulted by institutions for guidance regarding Clery compliance.
Significant updates were made to the handbook in June 2016 that clarified existing standards, outlined new standards,
and described VAWA requirements in more detail. In October 2020, however, ED rescinded the Clery Handbook and
replaced it with a 13-page Appendix to the Federal Student Aid Handbook. In its notification about the recission and
replacement of the Clery Handbook, ED referenced that institutions may still consult the Handbook for guidance,
while also explaining that reliance on the Handbook had potentially resulted in broader interpretations of critical Clery
components such as defining Clery Geography and designating Campus Security Authorities.

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language was poorly crafted and confusing. Also discussed below, this is not the first time this
concern has been identified for the leadership of the University.

Section IV(B) of PM-73 (2015) starts by making the seemingly obvious point that any student or
employee who “believes that he or she has been subjected to sexual misconduct or any other
violation of this policy” has a “right to report the conduct to the Campus Title IX Coordinator or
to any other responsible person, which includes but is not limited to the campus administrator
with responsibility for human resource management, student conduct or the department head of
the relevant academic department.” 83 Section IV(C) further indicates that “Any responsible person
who receives actual notice of a complaint under this policy shall promptly notify the Campus Title
IX Coordinator, who shall be responsible for notifying the LSU Title IX Coordinator and any
campus administrators, who may be involved in the resolution process.” It concludes: “Any
supervisor, or other responsible party who witnesses or receives a report or complaint, shall notify
the Campus Title IX Coordinator.” 84

What is unclear, though, is who is an “any other responsible person.”

To that end, PM-73, in somewhat circular fashion, defines “responsible person” as:

         Any employee who has the authority to take action to redress sexual violence or
         who has been given the duty of reporting incidents of sexual violence or any other
         misconduct prohibited by this policy by students or employees to the Title IX
         coordinator or other appropriate school designee. Responsible Persons do not
         include victims’ advocates, mental health counselors, or clergy. 85

The text of PM-73 specifically identifies three job categories as “responsible persons”: (1) “the
campus administrator with responsibility for human resource management,” (2) “student
conduct,” 86 or (3) “the department head of the relevant academic department.” 87 In quintessential
legalese, the policy then notes that this list is not exhaustive—i.e., “responsible person . . . includes
but is not limited to the campus administrator with responsibility for human resource
management, student conduct or the department head of the relevant academic department.”

PM-73 also states that “[a]ny supervisor . . . who witnesses or receives a report or complaint” is
obligated to “notify the Campus Title IX Coordinator.” 88

Finally, the policy’s definition of “responsible person” includes employees “given the duty of
reporting incidents . . . to the Title IX coordinator or other appropriate school designee.” (emphasis
added). However, it fails to identify which employees have been “given [this] duty” or how that
duty is given, and the language permitting responsible persons to report to an “other appropriate


83
    Exhibit A (PM-73 (2015)) at IV(B) (emphasis added).
84
    Id. at IV(C) (emphasis added).
85
    Id. at II (“Responsible Person”).
86
   It is not clear whether the drafters intended this provision to mean “the campus administrator with responsibility for
. . . student conduct” or simply, “student conduct.”
87
    Id. at IV(B).
88
    Id. at IV(C).

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school designee” directly conflicts with Section IV(C)’s mandate to “notify the Campus Title IX
Coordinator.” 89

It is also worth noting that although LSU does maintain lists of designated individuals with CSA
reporting responsibilities, we were unable to locate a policy where the University makes clear who
those employees are and what they are supposed to do. Interviews with employees across the
University also indicated that there is minimal awareness of CSA designations or reporting
requirements.

Thus, it is important to note at the outset that despite contemporaneous assertions to the contrary,
LSU has never had a clear written policy requirement that all employees must report incidents
potentially implicating the Title IX policy to the Title IX Coordinator. 90 In addition, even for
employees identified as responsible employees in PM-73, the ultimate reporting directives in
various sections of the policy are conflicting and unclear. This lack of clarity is a clear error and
inconsistent with Department guidance in place during this time period.

         C.        Employee Title IX Training

LSU certainly does not have a monopoly on ambiguous or unclear institutional policies. This is a
problem for institutions of higher education across the country. Those ambiguities, though, are
often cleared up in related trainings. Here, however, the University has several training programs
which are uncoordinated and not monitored for consistency or compliance with University policy
and applicable state and federal laws.

Husch Blackwell has identified at least three offices which have provided Title IX training: the
University’s Human Resource Management office, the Title IX Office, 91 and Athletics. These
training programs are discussed below.

                   1.      Human Resource Management: “Preventing Sexual Misconduct”
                           Training

Since at least 2016, the University’s Human Resources office has provided annual, “required”
training to University employees regarding sexual harassment.


89
   Other institutions addressed this issue by more explicitly stating that all employees—unless designated as
confidential—are required to report incidents of sexual misconduct of which they become aware.
90
   As noted above, PM-73 was primarily drafted by Jim Marchand (who served as “Interim Title IX Coordinator” from
approximately 2014 until early 2016) and LSU’s outside counsel. When asked about the intent of this “responsible
person” definition at the time it was drafted, Marchand initially stated that employees were required to report incidents
of sex discrimination “to the Title IX Coordinator,” but added that it would also be appropriate for a subordinate
employee to “report it to someone who then would report to the Title IX Coordinator,” noting, “anyone can report to
the Title IX Coordinator, but from a practical standpoint, some employees—like a maintenance worker—may feel
more comfortable reporting to their supervisor.” Similarly, there has never been clarity about the consequences for
failing to make a required report. Marchand noted that the policy had no explicit penalty for failing to make a report
under PM-73, but added that that the violation would likely be processed on par with a “comparable duty violation.”
91
   We note that the Title IX Office often collaborates with officials in the University’s Office of Student Advocacy
and Accountability when presenting on the University’s Title IX reporting and resolution processes, including
presentations with and by the Lighthouse program.

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This training is purportedly mandatory for all University employees; however, the University did
not track employee compliance for the annual trainings until 2020. Information from LSU’s
Human Resource Management department indicated that, beginning in 2020, the University
established the capacity to run reports of employee noncompliance for managers. Again, though,
there is no central office or individual within Human Resources or the Title IX Office tasked with
monitoring compliance, and there are currently no consequences for failure to comply with the
“mandatory” training requirement. 92 Put simply, plenty of University employees have failed to
take the “mandatory” sex harassment training.

Although discussed in greater detail in Section IV below, here we note that the University was
previously advised about problems with enforcing compliance with this baseline required training.
A 2017 internal audit report specifically recommended that “LSU Administration” should
“[e]xplore learning management systems or other methods to efficiently monitor employee compliance
with required annual training,” because “[t]raining provided to LSU A&M employees is not
monitored.” 93

Title IX Coordinator Stewart reported that the University’s Human Resources training has
remained the same since it was initially developed in 2016. Section One of the online module
covers fundamental Title IX concepts, including an overview and history of Title IX and related
federal statutes and definitions and activities for understanding and recognizing conduct prohibited
by the University’s Title IX policy (including sex discrimination, sexual assault, domestic/dating
violence, sexual harassment, sexual misconduct, and retaliation). Section Two of the module
discusses LSU employees’ “responsibility to report an offense if you have witnessed, know about
it or were told about it,” in addition to providing a summary of the University’s Title IX
investigative process. Section Two also covers “important terms,” including “Campus Security
Authority,” “Responsible Person,” and “Title IX Coordinator.”

A “Campus Security Authority” is defined in the training as “someone who is responsible for
campus security and has significant responsibility for student and campus activities.” Relevant
here, “[e]xamples include”
92
   Representatives from Human Resources have indicated that they are “working on implementing” a sanction for
failure to comply.
93
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       x    Campus police
       x    Administrator who oversees student housing
       x    A student center, or student extracurricular activities
       x    Team coach
       x    Faculty advisor to a student group
       x    Student resident advisor
       x    Student who monitors access to dormitories

Significantly, though, there is no information or narrative notes indicating what a person
designated as a Campus Security Authority is obligated to do upon receiving a report, and there is
no written policy memorializing these designations.

A “Responsible Person” is then defined as “any employee who has the authority and responsibility
to take action to redress sexual violence or misconduct as prohibited by this policy,” 94 referring to
PM-73. However, the training slide for this definition then includes the following edict: “At LSU,
all employees have the duty to report a violation if they’ve been made aware of an incident.”
While this is certainly clearer and preferable, it does not align with actual University policy.

The training also notes “[e]xamples of Responsible Persons include: a Faculty Advisor, a Staff
Member, [and] a Resident Advisor.”




The HR training also defines “Title IX Coordinator” as “an employee who shall be responsible for
the implementation, enforcement and coordination of Title IX for all LSU campuses. They are
responsible for overseeing Title IX compliance for the entire University.” The training notes that
“Jennie Stewart . . . will serve as the Title IX Coordinator, handling all Title IX issues that arise
on the Baton Rouge A&M Campus along with the other campuses in the University System.” In
addition, “Lindsay Madatic, in Human Resource Management, will serve as the Deputy Title IX
Coordinator for all employees.”


94
     The policy excludes “victims’ advocates, mental health counselors, or clergy.”

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The following slide reiterates the significance of employee reporting requirements:




The narrative notes to this slide state add another wrinkle of confusion though: “As an employee
you have the responsibility to report an offense if you have witnessed, know about it or were told
about it. LSU expects you to report and cooperate with the appropriate parties when reporting a
sexual misconduct complaint to the Campus Title IX Coordinator or to any LSU responsible
employee. In return, LSU is committed to upholding their piece of the responsibility.” (Emphasis
added).

The training provides additional instruction for employees on their reporting options and
requirements:




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The narrative notes for this slide are as follows:

         I have or have witnessed a complaint: It is important to report the violation
         immediately so the University can respond appropriately. If you think the violation
         may be criminal, contact LSUPD or appropriate law enforcement. You are able to
         promptly report the conduct, for employee matters contact the Campus Title
         IX Coordinator or the Office of Human Resource Management. For student
         matters, contact Student Advocacy and Accountability.

         I receive a complaint: If a student or another employee tells you about a violation
         or you are aware of or witness a violation, you should act immediately. Gather the
         basic facts and contact information of the victim and report it to the appropriate
         party. You are able to promptly report the conduct, for employee matters
         contact the Campus Title IX Coordinator or the Office of Human Resource
         Management. For student matters, contact Student Advocacy and
         Accountability. Remember, failure of a supervisor to report an incident of
         sexual misconduct involving a person within that supervisor’s purviews shall
         be in violation of the Title IX Policy. (Emphasis added).




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                   2.   Title IX Office

In addition to the HR training, Stewart reported that her office often provides training to several
departments and academic units on an “as-requested” basis.

For example, in 2018, the Title IX Office presented a “New Graduate Student Orientation
Training,” which—relevant here— provides a new definition of “Responsible Person” as “Anyone
who works with students (PM-73).” The presentation indicates that such “Responsible Person”
with “Actual notice . . . shall promptly (24 hours) notify Campus Coordinator or any other
administrator who may be involved in resolution process,” with a reference to “Jennie’s designees”
at “PM 73, pg 7 C.” (Emphasis added).




Notably, though, there are no “designees” on page 7, section C of PM-73—the provision simply
directs “[a]ny responsible person who receives actual notice of a complaint” to “promptly notify
the Campus Title IX Coordinator, who shall be responsible for notifying the LSU Title IX
Coordinator and any campus administrators, who may be involved in the resolution process.”

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Again, like PM-73’s “or other appropriate school designee” language, the training directive for
“responsible persons” to “notify [the] Campus Coordinator or any other administrator who may
be involved in [the] resolution process” is an unclear mandate which conflicts with other directives
in the policy—namely Section IV(C)’s provision stating “Any responsible person who receives
actual notice of a complaint . . . shall promptly notify the Campus Title IX Coordinator.”

The Title IX Office’s training also discusses what “Responsible Persons” must report, including
“PM 73 Sexual Misconduct” (sexual assault, sexual harassment, dating violence, domestic
violence, stalking, and retaliation) and “Title IX – but not PM 73,” which includes “Pregnancy or
Parenting,” “Sex (or perceived sex),” and “Athletics”—presumably referring to Title IX’s
mandates with respect to gender equity in Athletics. The training indicates that reporting
requirements “appl[y] to on and off campus conduct, non-affiliates in our programs,” noting
“[c]an’t suspend a non-student but can limit access.” 95

Notably, since December 2020, Title IX training materials presented to University offices appear
to be clearer and more consistent with respect to employee reporting requirements. The following
materials serve as examples:

       x    Lighthouse Advocate Training (February 4, 2021) (continuing to utilize the term
            “Responsible Employees” and advising employees to “[r]eport directly [to Title IX] not
            through supervisory chain”)
       x    Staff Senate (January 20, 2021) (defining “Responsible Employee” as “Anyone in contact
            with students who isn’t privileged and in a privileged role” and who “must report directly
            to portal for TIX Coordinator”)
       x    Cox Athletics Tutoring Staff (January 11, 2021) (“You are a Responsible Reporting
            Official and required to report to the Title IX Office for information learned in your role as
            a tutor.”)
       x    Football Recruiting and Alumni Relations Student Employees (December 9, 2020) (“You
            are a Responsible Reporting Official and required to report to the Title IX Office for
            information learned in your role as an employee.”).

            3.       Athletics

Since at least 2012, Athletics has been doing its own training disconnected from the Title IX Office
and the broader University community. Stewart reported that Senior Associate Athletics Director
Miriam Segar “has been the primary contact” for Title IX training in Athletics. While many
interviewees believed Segar was the “Athletics Title IX Coordinator,” she has never been officially
delegated those responsibilities. Stewart was clear that it was her preference to present training
directly to Athletics staff and student-athletes, but that her efforts on this front had been rebuffed
until Scott Woodward became Athletics Director in April 2019.

Segar noted that “around 2012,” the Athletics Department “started focusing on education,” and in
2013, the Athletics Department used Taylor Porter to present on the topic of workplace
harassment.

95
     Another slide indicates that “Reports are about situations of concern regardless of the affiliation of the parties.”

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Beginning in 2016, the Athletics Department also engaged its own outside consultant, the “Dan
BeeBe Group,” (recently re-branded to “Protection for All”) to provide separate training to
Athletics Department students and employees regarding rights and obligations with respect to
incidents and reports of sex-based misconduct. 96 None of this training was coordinated with the
University’s Title IX Coordinator, and Athletics did not maintain records of this training
material. 97

The Dan Beebe Group provided copies of training materials utilized in sessions with various
Athletics constituencies from 2016 to the present and participated in an interview. We note that
this training encompasses “human relations” risks outside of Title IX concerns, such as NCAA
compliance, student-athlete wellness and abuse, and other ethical concerns specific to athletics
operations. In an interview with Husch Blackwell, Mike McCall (a partner with the Beebe Group)
explained that the goal of their training was to provide an overview of the various “human relations
risks” associated with athletics, emphasize and provide information regarding the many reporting
options for these various risk areas, and provide an independent, neutral forum for answering
participant concerns regarding prohibited or otherwise “risky” conduct.

While this training has been praised by participants as engaging and informative, concerns have
been expressed from the Title IX Office and other stakeholders that the training added an additional
layer of confusion regarding options and expectations for students and employees to report Title
IX-specific misconduct.

For example, in a 2016 presentation to coaches and staff, the Beebe training identified three
“Reporting options”: “Supervisor or manager; supervisor’s supervisor or manager”; “Any member
of Athletics Department administration”; and “Athletics Department Human Resources / Assistant
AD.” In a different slide, the materials later list “Resources” for students” to include, amidst
several other offices, the “University Title IX Coordinator/Campus Coordinator; Title IX Deputy
Coordinator for Students/LSU Dean of Students; or Deputy Title IX Coordinator for
Employees/LSU Office for HRM.” Similarly, in a presentation to students for the 2017-18
academic year, the training again delineates “Athletics reporting options” from “University-wide
resources,” which is problematic because “Title IX” is listed as a reporting option outside of
Athletics. 98




96
   According to former Athletics Director Joe Alleva, “The goal [of the Beebe training] was to provide potential
victims, and any reporters, with as many resources as possible to foster a culture of compliance and safety for the
community.”
97
   This training, which was not coordinated with the University’s Title IX Coordinator, was touted by former LSU
President Alexander in 2016 as a “proactive” step in response to the Baylor University Title IX scandal. See Allen,
Rebekah. “LSU athletes to receive required sexual harassment and sensitivity training as rape scandals rock national
athletic programs.” The Advocate, July 4, 2016.
98
   Usefully, though, another slide provides several “resources” for victims of sexual misconduct.

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Again, we understand that this training was intended to cover a broad range of ethical, professional,
and legal obligations and concerns. Regardless, as the sole in-person training provided to Athletics
students and employees, the presentation of information regarding employee obligations to report
sexual misconduct directly to the Title IX Office should have been clearer. Here, we note that the
Beebe Group, as an outside provider, reasonably relied on policies and information shared by
Athletics administration, including the Athletics directives to report matters of sex-based
misconduct to Segar (discussed below). The lack of coordination with and oversight by the Title
IX Office exacerbated this misstep.


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After receiving the Beebe training (from 2016 through 2018), Athletics Department staff were
required to sign a “Coaches and Staff Acknowledgement Form” which provided:

           Should any employee observe or be personally subjected to harassment,
           discrimination, retaliation, bullying, emotional abuse, hazing, sexual misconduct or
           other misconduct, the Athletics Department and University offer multiple avenues
           of internal complaint as well as other resources provided during training.
           Employees are not required to confront anyone who is the source of the complaint
           or anyone closely associated with the persons who are the source of the complaint.
           However, I understand I have a responsibility to inform an uninvolved
           member of the Athletics Department or University administration, or
           otherwise utilize available avenues of reporting, so prompt action may be
           taken to stop misconduct and prevent future occurrences. . . . 99

A similar acknowledgement was provided to student-athletes and student-workers who received
the BeeBe Training.

Notably, again, instead of opting for the clear directive for personnel to make complaints of
“harassment, discrimination, retaliation . . . [or] sexual misconduct” to the University’s Title IX
Coordinator, the acknowledgment directs Athletics staff to “inform an uninvolved member of the
Athletics Department or University administration . . . .”

When asked whether Athletics employees were aware of an obligation to report sex discrimination
directly to the Title IX Coordinator, Segar stated, “I think staff were told to notify me for reporting
purposes.” She emphasized that it was “never presented that I would investigate or adjudicate . . .
but the impression was definitely, tell me so I can handle it.” Segar clarified that the mandate for
all employees to report directly to the Title IX Coordinator has been made clear since Scott
Woodward became Athletics Director in 2019, and that when she receives reports or information
implicating a Title IX-related incident now, she assists the student or employee with placing a
report directly to the Title IX Coordinator.

In addition to having its own training, beginning in 2013, the University Athletics Department
under former Athletics Director Joe Alleva promulgated a series of departmental policies which
did little to stem any confusion and instead likely compounded it. These directives required
Athletics Department employees to report the following incidents to Segar:

           8.      If an employee becomes aware that a student-athlete is arrested, engages in
           misconduct unbecoming of a student-athlete, is involved with any recruiting
           violations or participates in a hazing activity, it is imperative that Sr. Associate
           Athletics Director Student Services, Miriam Segar, is notified immediately but no
           later than 24 hours after the event occurs.
                                                    ...



99
     Exhibit C (Coaches and Staff Acknowledgement Form).

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         13.     Any employee, student employee, or volunteer who becomes aware of a
         violation or potential violation of these policies and procedures shall immediately
         report the matter to Sr. Associate Athletics Director Student Services, Miriam
         Segar. 100

This Athletics policy makes no explicit reference to “Title IX,” “PM-73,” or sex-based
misconduct, including sexual harassment, sexual assault, stalking, domestic violence, and dating
violence.

Football Operations (which is its own department within Athletics) issued its own nearly identical
policy, which also included guidelines regarding contact with student workers and recruits within
Football Operations. 101 Again, the document makes no explicit reference to “Title IX,” “PM-73,”
or sex-based misconduct, including sexual harassment, sexual assault, stalking, domestic violence,
and dating violence.

Additionally, in approximately September 2013, the Athletic Department issued an
“Acknowledgement of Policies and Procedures All Football Operations Staff.” Provision 6 of this
document directs staff to:

         “Report any personal arrests, DWI, misdemeanors or other similar legal matters to
         [Sr. Associate Athletics Director Student Services, Miriam Segar,] within 24
         hours of occurrence. If an employee becomes aware that a student-athlete is
         arrested, engaged in misconduct unbecoming of a student-athlete, is involved with
         any recruiting violations or participate in a hazing activity, it is imperative that
         Sr. Associate Athletics Director Student Services, Miriam Segar, is notified
         immediately but no later than 24 hours after the event occurs.” 102

The Athletic Department policies and procedures also prompted confusion among the
Department’s Athletics Training staff. The Athletics Training Department responded by issuing a
“Training Room Clarification – Policy Addendum”, which provided additional guidance to athletic
training staff, including the following:

         Personal exchanges between staff members and students should be extremely
         limited and should always be witnessed by another staff member. Documenting
         the interaction is very important and expected. When personal counseling may
         be indicated referrals should be made to the appropriate departmental and/or
         campus resources. On any occasion that personal interaction occurs, the staff
         member must bring the matter to the attention of Head Athletic Trainer, Jack
         Marucci. 103

Finally, beginning in 2013, the Athletics Department also issued a document entitled “Student
Employee Policies and Procedures,” which were “provided to ensure consistency in expectations

100
    Exhibit D (“Athletic Department Policies and Procedures”).
101
    See Exhibit E (“Football Operations Policies and Procedures”) at ¶¶ 8, 16.
102
    Exhibit F (emphasis added).
103
    Exhibit G (Training Room Clarification – Policy Addendum) (emphasis added).

                                                      33
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of student employees among the various departments” and “are not intended to be all inclusive,
but a basic guide outlining minimum standards.” 104 Relevant here, student-workers were instructed
“to report any suspected or known violations of LSU or NCAA policies to my supervisor and/or
the Athletic Administration Compliance Office”; 105 however, the document makes no reference to
reporting violations of “Title IX,” “PM-73,” or sex-based misconduct, including sexual
harassment, sexual assault, stalking, domestic violence, and dating violence. Notably, student-
workers “are prohibited from having one-on-one personal meetings with any coach/assistant coach
or Athletic Department employee, with the exception of the following persons: Senior Associate
Athletics Director, Student Services; Senior Associate Athletics Director, Compliance;
Compliance Director; and Human Resource Manager.” 106 Similar to the guidance issued to all
Athletics employees and Football Operations staff, student workers who “become aware of a
violation or potential violation of these policies and procedures shall immediately report the matter
to Sr. Associate Athletics Director Student Services, Miriam Segar.” 107

None of these myriad Athletics-related reporting policies, forms, and acknowledgements even
mention the University’s Title IX Coordinator, much less require Athletics employees to report
sex-based misconduct to the University’s Title IX Coordinator. It is worth noting here that
numerous Athletics Department interviewees noted they had no idea who Title IX Coordinator
Jennie Stewart was up until recently. This is alarming in its own right, but especially because,
according to Segar, Athletics began issuing these policies and procedures 108 largely in response to
incidents involving at least two Athletics student-workers and former Head Football Coach Les
Miles. The known facts underlying this incident and the University’s response are discussed in
section V of this report.

Even after Stewart was hired as the University’s Title IX Coordinator, on June 8, 2016, former
Athletics Director Alleva was informing Athletics staff to make reports of sex-based misconduct
directly to Segar or Assistant Athletics Director for Human Resources Wendy Nall, as opposed to
directly to Stewart:

         As we have discussed many times in staff and other meetings, as a university
         employee, it is your responsibility to report any potential issues of which you are
         aware. I want to stress that you as a staff member absolutely should not attempt to
         conduct any investigation or make any determination regarding alleged, reported
         or suspected misconduct. Instead, you are required to report all potential issues so
         that they are properly addressed by trained university officials. Please report these
         issues to either Miriam Segar, Sr. Associate Athletics Director Student
         Services or Wendy Nall, Assistant Athletics Director HR. Both of these

104
    Exhibit H (Student Employee Policies and Procedures).
105
    Id. at ¶ 11.
106
    Id. at ¶ 13.
107
    Id. at 16.
108
    Shortly after these documents were issued, several employees throughout Athletics and Football Operations
refused to sign their acknowledgement of the Football Operations Policies and Procedures. Joe Alleva, who at the
time served as the University’s Athletics Director and Vice Chancellor, issued a letter “to make clear that regardless
of whether or not [employees] sign the acknowledgment, as an employee of the Athletic Department, you remain
subject to all of the policies and procedures as outlined.” Mr. Alleva issued a second letter to additional Athletics
employees who failed to sign acknowledgement of the policies and procedures in September 2014.

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         individuals have been trained in Title IX law and university protocol for
         investigation and can help facilitate the proper reporting that is required by
         law and University policy. 109

Alleva’s email concluded: “If you have any questions about this directive, please contact me
directly or, alternatively, contact Miriam Segar or Wendy Nall.” 110 No one from the Title IX Office
was copied on the message. 111 Although Alleva has asserted that “The Title IX Office knew of the
Athletic Department’s policies and procedures and did not recommend any changes,” Stewart
stated that she was not consulted regarding or made aware of this directive.

In February 2018, Alleva sent another communication to all LSU Athletics staff, including
individualized memos to head coaches for all athletic teams, to “remind all of you of your
responsibility to immediately report any knowledge you have of inappropriate conduct, sexual
harassment or sexual assault.” 112 Again, the letter directed Athletics employees not to the Title IX
Coordinator but instead to Segar who then could forward the issue “to the appropriate personnel
on campus.” 113

Stewart reiterated that this February 2018 letter was a direct contradiction of the University’s
employee training directives in place at the time. Stewart also said that Alleva’s letter contradicted
directives from herself, former President Alexander, and former General Counsel Tom Skinner
during a meeting called by President Alexander on July 31, 2018, in which all direct reports to the
President (including Alleva as Vice Chancellor), were present and told that all reports of sex-based
misconduct should be reported to the Title IX Coordinator. We were not provided with any
documentation from the University memorializing this verbal directive.

When asked about her understanding of why she was tasked with the responsibility of receiving
and reporting all Title IX complaints in the Athletics Department, Segar stated that she “thought
[she] was a Deputy Title IX Coordinator for Athletics” until “fairly recently,” when Stewart
informed her she was not a deputy other than for “equity issues in participation” only. Segar
explained that the “message” to employees was “you can’t solve these problems on your own” and
“we do not handle these things in house,” so Athletics employees “were told to report to me” to
make the reporting process easier. Segar stated she understood “it was more of a risk to me” to
have this responsibility, but expressed confidence that “I reported everything.” Segar also noted,
“My name is on all the reports submitted to Title IX from Athletics—no one [from Title IX] ever
questioned the practice.”

We note again that since Scott Woodward took over direction of the Athletics Department in 2019,
community members, students, and employees within Athletics have indicated that the situation
has improved. With respect to directives and training regarding Athletics employee reporting

109
    Exhibit I (Email from J. Alleva to Athletics Staff re LSU Policies & Procedures Reminder dated June 8, 2016)
(emphasis added).
110
    Id.
111
    Ironically, Athletics employees reported that this particular edict was a response to the Baylor Title IX controversy
where among the primary concerns was the fact that their athletics department was too involved in handling Title IX-
related matters.
112
    Exhibit J (2018 Alleva Email to All Athletics Employees)
113
    Id.

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requirements, all Athletics employees interviewed stated their current understanding that they are
required to report directly to the Title IX Office and not to any other Athletics employee or
administrator. Recent training by the Beebe Group also accurately reflects requirements for
employees to report to Title IX, and Woodward has ensured that the Title IX Office had an
opportunity to present directly to members of the Athletics Department.

                     3.       Other Departments

For what it is worth, Athletics is not the only department in the University which had its own
separate reporting policy or practice. While we did not canvas the entire University for policies
and communications along these lines, several participants in our community interview sessions
noted that similar edicts were issued by their supervisors across the institution. 114

For example, we met with a group of former and current students and employees in one academic
department who reported that their department chair instructed all members of the department to
communicate concerns or reports to the chair “and to no one else,” implemented a “gag order” in
mandating that once reported to the chair, the matter could not be discussed with anyone else, and
retaliated against individuals who questioned or disregarded this mandate.

In a similar instance, members from a specific academic department indicated a Dean had directed
faculty and staff to report sexual misconduct incidents directly to the Dean. In addition, we met
with a faculty member who reported being required by University administration to sign what was
effectively a non-disclosure agreement prior to proceeding to investigating their complaint against
a high-ranking supervisor. 115 The parallels between these instances, in particular, and the issues
with respect to reporting and responding to instances of sex discrimination in Athletics throughout
this report are remarkable and problematic.

            Internal and External Risk Management Assessments Relating to Title IX

Many of the issues identified throughout this report have been flagged previously in other reviews
of the University’s Title IX operations. Specifically, over the last five years, there have been at
least five reviews (three from external consultants and firms, one from the University’s Office of
Internal Audit, and one from a University task force) conducted by the University which have
touched on Title IX issues. Additionally, various community interviewees noted that they too have
expressed concerns about the University’s Title IX processes.

In September 2016, the newly hired Stewart also began sounding the alarm to University
leadership that the University’s Title IX staffing was woefully behind peer institutions and that she
needed additional resources and staff to avoid a bevy of potential harms including “litigation,
damages, reputation costs, lost enrollment, [unfavorable] media, harm to folks who’ve chosen
LSU.”

As discussed below, University leadership’s response to these red flags was lackluster.


114
      Issues regarding noncompliant reporting practices by LSUPD are discussed in Section II.E. above.
115
      Other instances were discussed but are not detailed here in order to preserve the confidentiality of the participants.

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            A.      Communications from Community Members

By way of example, on June 4, 2015, an LSU law professor sent a letter to President Alexander
and all of the University’s Title IX personnel documenting her reasonable concerns with the way
in which the University mishandled a Title IX complaint she filed as well as specific concerns with
the legality of various provisions in PM-73. 116 In the letter, the professor “respectfully request[ed]
that you immediately amend PM-73 and any related policies to correct these deficiencies” and
“also request[ed] that you embark upon a wholesale review of LSU’s various Title IX and other
antidiscrimination policies in order to identify and correct any other problems.” The letter then
correctly identified specific problems with PM-73 including that “PM-73 Fails to Provide for the
‘Prompt and Equitable’ Resolution of Complaints” and that “PM-73 does not to contain any
timeframes, whatsoever, relative to formal resolution procedures. Nor does it require LSU to
provide any such timeframes.” The law professor correctly noted that “these defects are unlawful,
inexcusable, and must be remedied” and noted very specific concerns with the lack of timeliness
in processing her complaint of sex discrimination. As part of this review, we have been unable to
find any documentation memorializing how these concerns were assessed or addressed by the
leadership of the University.

In addition to this account, conversations in our investigative interviews and community outreach
sessions have detailed other instances in which diverse community members—including students,
faculty, staff, and community organizations—have shared their frustration and disappointment in
the University’s response to community efforts to raise awareness regarding issues of sexual
misconduct. These frustrations were aimed largely at Alexander whom community members felt
did not prioritize this issue or meaningfully engage with individuals raising concerns.

In addition, as discussed more in Section VIII below, several community members and student
organizations (particularly diversity and affinity groups) expressed concerns that the University
did not have an equity or civil rights office to independently investigate complaints and advocate
for better resolution of discrimination concerns.

            B.      2016-17 Dan Beebe Group Assessment

Several months later, the Dan Beebe Group “was engaged by the Tiger Athletic Foundation at
Louisiana State University to conduct an Independent Assessment of human relations risks,
including misconduct prevention policies and programs applicable” to both the “Louisiana State
University’s Athletics Department and Louisiana State University.” A 77-page report was
submitted to Tom Skinner, the University’s General Counsel, in “draft” form on March 29, 2016.
A “final” version was not located as part of this review, and it is our understanding from
representatives of the Beebe Group that a final version was not requested by the University.

While the Beebe Group report is replete with solid recommendations on various topics, for
purposes of the Husch Blackwell review, the following are especially notable:

       x    “DBG recommends that future training sessions for student-athletes and other students
            affiliated with the Athletics Department should address sexual misconduct reporting

116
      This was connected to a series of events in LSU’s Law Center which received considerable media attention.

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            processes, including the designated Deputy Title IX Coordinator for Athletics and other
            responsible persons within athletics, or the broader University (Campus Title IX
            Coordinator, Dean of Students/Student Advocacy & Accountability; or LSU PD).”

       x    “The Title IX policy . . . states that those reporting violations may report to ‘any other
            responsible person’, however, DBG suggests identifying and clarifying ‘any other
            [responsible] person’ as applicable to those within the Athletics Department and on
            campus.” (Emphasis added).

       x    “Pages 8 and 9 of PM-73 provide an overview of the investigation process. The document
            states: ‘Any such investigation shall be conducted by a trained person, authorized and
            assigned as an investigator by the Campus Title IX Coordinator, including, but not limited
            to, trained employees from human resource management department or the student services
            or student life department, or other qualified University employees. The Campus Title IX
            Coordinator will notify the appropriate Campus offices as necessary.’ To encourage early
            reporting and prompt resolution, DBG suggests that all employees and students
            affiliated with the Athletics Department should be trained and educated on the offices
            and persons designated on the Baton Rouge campus to respond to violations of PM-
            73. It is DBG’s experience that the more specific information that is provided about
            the verified positions and offices on campus, the more likely issues will be reported
            and resolved in a timely manner.” (Emphasis added).

Representatives from the Beebe Group met with University leadership to discuss the report and
recommendations shortly after the draft was submitted in March 2016. After this meeting,
however, it is not clear what, if anything, was done to consider implementing the Beebe Group’s
recommendations by the leadership of the University. We note, however, that a copy of the Beebe
assessment appears to have been provided to the University’s internal auditor sometime in 2017,
as the September 2017 Internal Audit Report discussed below noted that “suggestions relevant to
this audit were incorporated into our recommendations.” 117

            C.      Presidential Task Force

On August 30, 2016, President Alexander issued a “Presidential Charge” to create a “task force”
of students, faculty, and staff “to review our current policies, practices, and procedures as they
relate to Title IX and to provide recommendations to the President that reflect campus needs and
are informed by nationally-recognized benchmarked practices.” 118 This was the specific charge:




117
      Exhibit B (2017 Internal Audit Report)
118
      Exhibit K.

                                                   38
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Each task force was then tasked with submitting a report to the President by July 1, 2017.
According to the Presidential Charge, “[t]his report shall include any implemented changes,
recommendations for change and identified needs to promote environments of integrity, civility,
dignity and respect for all members.”

In accordance with this charge, the “PM-73 and Related Policies Workgroup” (which included the
law professor mentioned above) submitted a report in February 2017. 119 That report included 17
recommendations. Among the most notable for purposes of this review were the following:

           Recommendation 2: Clarity and Accessibility

           Recommendation: Take steps to enhance clarity and accessibility of LSU’s
           policies, their interplay, and the complaint process.

           Rationale: PM-73 is a fourteen-page document that is rather difficult to
           understand. To some extent, this is unavoidable. The workgroup noted that policies
           at other institutions face similar problems. Nonetheless, every effort should be
           made to enhance clarity and readability. Further, LSU should take additional steps
           to help members of the LSU community better understand their rights,
           responsibilities, and the various procedures relating to Title IX. The workgroup
           recommends implementing user-friendly approaches to help enhance clarity and
           accessibility.

           In particular, the workgroup recommends the following steps:

           x       LSU policies should also advise parties of their rights under applicable state
                   and federal law, and include links to appropriate websites (such as the EEOC
                   and the Department of Education).

           x       LSU should employ flowcharts and similar imagery to more clearly illustrate
                   the concepts covered by PM-73.


119
      Exhibit L.

                                                      39
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         x    LSU should have user-friendly guides for understanding the various types of
              complains and procedures that may arise under Title IX.

         x    All of the foregoing should be available on LSU’s website in a centralized and
              easily located place.

         Appendix 2 includes links to websites at other institutions that the workgroup
         found helpful. Without commenting on or endorsing the particular policy positions
         taken by these sources, the workgroup noted that these types of materials should be
         developed by and implemented at LSU.

                                                ****

         Recommendation 6: Mandatory Reporting Obligations

         Recommendation: Better describe the reporting obligations of various members
         of the LSU community. Expand the persons excluded from “responsible person” to
         clearly apply to lawyers, doctors, and others in a legally recognized confidential
         relationship.

         Rationale. PM-73 defines “responsible person” at p. 4 as “any employee who was
         the authority to take action to redress sexual violence or who has been given the
         duty of reporting incidents of sexual violence or any other misconduct prohibited
         by this policy…” On p. 7, PM-73 explains that “any responsible person who
         receives actual notice of a complaint” is to report such complaint to the Title IX
         coordinator. The language in these provisions is somewhat confusing and could be
         improved in several ways.

         First, it is the workgroup’s understanding that a “responsible person” means any
         LSU employee who is not specifically exempted from the definition. But, that
         interpretation is not necessarily clear from the language on p. 4.

         Second, on p. 7, PM-73 requires a responsible person to make a report when he
         receives “actual notice of a complaint.” That same paragraph then requires “any
         supervisor, or other responsibly party who witnesses or receives a report or
         complaint” to notify the Title IX coordinator. The language used is somewhat
         inconsistent and confusing. As a result there is a fair amount of confusion among
         members of the LSU community regarding their reporting obligations.

                                                ****

         Recommendation 12: ACT 172

         Recommendation: Review PM-73 and related policies to ensure compliance with
         Act 172 of the 2015 Legislative Session, including the Campus Accountability and
         Safety Act (La. Rev. Stat. 17:3399.11 et seq.).


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         Rationale. Act 172 of the 2015 Legislative Session sets forth a number of
         requirements that relate to PM-73. LSU appears to have already taken some steps
         to comply with the Act—yet some challenges remain. In particular, the workgroup
         notes the following concerns:

    x    ACT 172 requires LSU to adopt an inter-campus transfer policy. The workgroup
         was unable to locate any such document.

    x    ACT 172 requires LSU enter into a Memorandum of Understanding with law
         enforcement. The workgroup was unable to locate any such document.

    x    ACT 172 requires LSU to promulgate a Campus Security Policy. The workgroup
         was unable to locate any such document.

                                             ****

         Recommendation 14: Title IX Coordinators

         Recommendation: Ensure that steps are taken to ensure that the Title IX
         coordinators maintain impartiality—such as appropriate job descriptions and
         avoiding conflicts of interests.

         Rationale: The Department of Education has often emphasized the importance of
         Title IX Coordinators. For example, the April 24, 2015 Dear Colleague Letter
         explains that the Title IX coordinator should not have “other job responsibilities
         that may create a conflict of interest.” The letter goes on to explain that: “For
         example, designating a disciplinary board member, general counsel, dean of
         students, superintendent, principal, or athletics directors as the Title IX coordinator
         may pose a conflict of interest.” The workgroup identified several problems with
         LSU’s current Title IX coordinator structure.

         First, it is not immediately clear from the organizational charts available from the
         LSU website who the various Title IX coordinators report to. The organizational
         charts (and any related governing documents) should be revised to make it clear
         that the various Title IX coordinators do not have conflicting responsibilities.

         Second, at least one Title IX coordinator’s physical office is apparently located in
         the General Counsel’s office. Even if that coordinator does not report to the general
         counsel—which would clearly be inappropriate—the physical location of the office
         may give rise to the appearance of a conflict of interest. The Title IX coordinators
         should have offices that are physically located in neutral and accessible locations
         on campus.

         Third, at least two Title IX coordinators appear to have conflicting job
         responsibilities. LSU’s website lists Maria Fuentes Martin as both the LSU Dean


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           of Students and the Title IX Deputy Coordinator for Students—a conflict expressly
           contemplated by the 2015 Dear Colleague Letter. LSU’s website also lists Gaston
           Reinoso as the Title IX Deputy Coordinator for Employees. It appears, however,
           that Mr. Reinoso may have other job responsibilities in the office of Human
           Resources Management that might conflict with his duty as Title IX coordinator.

According to the law professor who sat on this task force, the report and recommendations “went
nowhere.” As part of this review, we have been unable to find any documentation memorializing
how this Task Force report was assessed or addressed by the leadership of the University.

           D.      Presentation by Title IX Coordinator

During her first six months as Title IX Coordinator, Stewart spent time observing the Title IX
operations of the various campuses under her purview. She also benchmarked what her peers at
comparable institutions were doing. According to Stewart, she “realized quickly how far behind
we were” and on September 23, 2016, she gave a presentation titled “Title IX Structure and Needs”
to Alexander, Skinner and Daniel T. Layzell, the University’s Chief Financial Officer at the
time. 120 The following slides are especially notable and speak for themselves:




120
      Exhibit M.

                                                  42
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According to Stewart, President Alexander said words to the effect of: “We don’t disagree with
any of this . . . it gives us a good idea of where we need to go.” Stewart immediately started drafting
a job description for a “lead investigator.” That position was not filled for another 19 months when
Jeffrey Scott was hired. That appears to be the only additional resource that came from this
presentation.

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           E.      2017 Internal Audit Report

In September 2017, LSU’s Office of Internal Audit issued a report titled “Oversight and Prevention
of Sexual Misconduct.” 121 The audit’s scope was “an evaluation of controls to educate the campus
community, investigate allegations, and assign responsibility for ensuring compliance with Title
IX obligations.” The report included nine recommendations, and several findings. The following
are especially notable for purposes of this review:

      x    “Implement a standard mechanism to consistently record complaints of potential PM-73
           violations and track their disposition.”
                   o      “Lack of documentation to evidence that [parties] were . . . notified of the
                          initiation of an investigation and the resulting outcome”
                   o      “No formal or consistent procedures for documenting complaints received
                          and tracking their disposition”

      x    “Obligations of Responsible Employees”
                  o      “[I]t appears that additional procedures may be required to ensure
                         ‘responsible employees’ have been identified and understanding their
                         reporting obligations under Title IX”

This audit report was sent to President Alexander, Skinner, and Stewart. It is again not clear what,
if anything, was done to review or consider implementing the audit report’s recommendations by
the leadership of the University.

           F.      2018 Baker Tilly Athletics Risk Assessment

In 2018, consulting firm Baker Tilly conducted an “Athletics Risk Assessment.” The only
document provided to Husch Blackwell from that “assessment” is a PowerPoint deck summarizing
the review and the findings. According to one slide, Baker Tilly conducted “a meeting with various
members of the Athletic Department [and] members of the campus . . . . to identify ten risks on
the Heat Map.” 122 According to the slide deck, “[m]embers of the Athletic Department met for
several days to discuss each item on the Heat Map and ways to mitigate problems.” Notably, one
of the top risks identified in 2018 was “Title IX” and, in particular, “Failure to Report an Incident
of Concern” concerning an athlete. Again, it is not clear what, if anything, was done to address
this concern by the leadership of the University.

           G.      2019 Morgan Lewis Review

Finally, in conducting interviews as part of its review, Husch Blackwell learned that in April 2019,
“the Board of Trustees” of LSU retained former U.S. Attorney Kenneth Polite and his firm,
Morgan, Lewis & Bockius LLP, “to conduct a privileged and confidential review of LSU’s Title
IX policies and practices as they apply to LSU’s Athletics Department on its A&M-Baton Rouge
Campus.” A “draft” report summarizing the findings was sent to Skinner on September 16, 2019.

121
   Exhibit B.
122
   “Enterprise risk management” was a trendy risk-management framework at the time and “heat maps” were used as
a tool to present the results of a risk assessment process.

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As part of its review, Morgan Lewis interviewed twelve LSU employees and three student-athletes.
The firm also reviewed various institutional policies and “approximately six (6) Title IX
investigation files, all involving student-athletes from LSU’s A&M Campus.” 123

The Morgan Lewis report provided an overly optimistic picture of the state of the University’s
Title IX compliance efforts. According to Morgan Lewis, “LSU has a good structure in place to
receive and investigate/resolve PM-73 complaints, as well as substantial resources and support
services for those involved in the PM-73 complaint, investigation, and adjudication process.” As
noted throughout this report, we disagree with this assessment.

With that said, the Morgan Lewis report identified areas where there was “room for enhancement”:
“(1) awareness of LSU’s Title IX Office; (2) awareness of appropriate reporting avenues; (3)
communication of investigation and adjudication timing/deadlines; (4) offered resources and
support services; (5) training and prevention; and (6) education and wellness initiatives for LSU’s
student athletes.” The review then makes a series of recommendations to address this “room for
enhancement.”

One of the recommendations from the Morgan Lewis report was to “[i]mpose discipline upon
employees who do not report PM-73 prohibited conduct properly.” The report correctly noted in a
footnote that:




Husch Blackwell, though, was able to locate a track-changed version of this report which included
the following suggested edit:




The report also made the following specific recommendation:




123
      Husch Blackwell requested the source materials for this review but was not provided this information.

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We agree with these recommendations. Again, though, it is not clear what, if anything, was done
to address the concerns identified in the report by the leadership of the University. Remarkably,
the report, which was done in part to assess the University’s Title IX policies and practices as they
apply to LSU’s Athletics Department, was never shared with the University’s Title IX Office or
the Athletics Department.

         H.        March 2, 2021 NASA Review

Immediately prior to the submission of our final report, on March 2, 2021, the National
Aeronautics and Space Administration (NASA) provided the University with its review of the
“University’s compliance with basic Title IX procedural requirements as well as an assessment of
LSU’s efforts to ensure equal opportunity regardless of sex within the NASA-funded Department
of Physics and Astronomy.”

NASA concluded:




NASA has proposed a resolution agreement to the University to address its concerns. The proposed
agreement is consistent with our recommendations below.




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         Tone at the Top in Athletics

Numerous studies have demonstrated the seemingly obvious: workplaces in which employees
perceive that sexual harassment is not taken seriously are those in which it is more likely to
occur. 124 “Experimental evidence indicates that men are more likely to engage in sexual
harassment if such behavior is modeled or encouraged by others, which helps explain why
organizational culture is so strongly linked to sexual violence prevalence.” 125 Leaders within
organizations play a pivotal role in shaping the reality of sexual misconduct in an organization.
Put simply, the social science research is unambiguous that the proverbial “tone at the top” can
make an enormous difference in the incidence rate of sexual misconduct within an organization as
well as a willingness to recognize it as unacceptable and ultimately report it.

Before discussing the matters mentioned in the USA Today article, it is important to address a
report of sex harassment that Husch Blackwell learned about over the course of its review through
employee interviews. There were no University records regarding this matter housed in either the
University’s Title IX Office or in LSU’s Human Resources department.

The only person in the entire University who has ever been disciplined in any form for failing to
make a report under PM-73 is Athletics Department employee Sharon Lewis, a long-time Football
Operations employee and current Associate Athletic Director for Football Recruiting and Alumni
Relations. 126 This is ironic because Lewis has lodged several reports of sex harassment throughout
her tenure.

In May 2019, Lewis provided a statement to Lindsay Madatic, the University’s Deputy Title IX
Coordinator for Employees, in an appeal of an institutional finding that she purportedly failed to
make a required PM-73 report. That statement chronicled significant alleged misconduct
committed by the then-most powerful person in the Athletics Department (and perhaps the
University), LSU Football Coach Les Miles, from approximately 2009 until Miles’ departure in
2016. Miles has denied all allegations of misconduct, and we are not in a position to offer an
opinion on whether the allegations against him are true or not. Instead, the issue is whether the
University responded to this report against a powerful member of the University and Athletics
Department in a manner consistent with then-existing legal guidance, well recognized best
practices, and institutional policy. The answer is “no.”

Lewis’ report speaks for itself, but among the allegations levelled is that, after losing the 2012
National Championship game, Miles attempted to sexualize the staff of student workers in the
football program by, for instance, allegedly demanding that he wanted “blondes with the big
boobs” and “pretty girls.” According to Lewis, he also allegedly took a more direct role in the
hiring of those student workers. Lewis’ account was corroborated by several witnesses in our


124
    See e.g., Louise F. Fitzgerald, et al., “But Was It Really Sexual Harassment?: Legal, Behavioral, and Psychological
Definitions of the Workplace Victimization of Women,” Sexual Harassment: Theory, Research, and Treatment 5–28
(1997); Chelsea R. Willness, et al., “A Meta-analysis of the Antecedents and Consequences of Workplace Sexual
Harassment” PERSONNEL PSYCHOLOGY (2007).
125
     Chloe Grace Hart et al., “Leader Messaging and Attitudes toward Sexual Violence,” SOCIUS (Nov. 2018),
https://journals.sagepub.com/doi/full/10.1177/2378023118808617.
126
    This incident is described in more detail in Section VI.A.3–4 below.

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review. According to Lewis, she repeatedly expressed her concerns to various Athletics
administrators and she felt those reports “went nowhere.”

In 2012, Miles had just completed his eighth season as head football coach and in late January
2013, the University announced that it had negotiated a new contract with Miles which included
significantly increasing his annual salary. That contract was presented to the LSU Board of
Supervisors for approval in February 2013. At the time, Miles was the highest-paid public
employee in Louisiana and scheduled to make $4.3 million per year.

In her interview, Lewis stated that around this time her “worst nightmare happened” when an
Athletics Department student worker (“Student 1”) came to her “very upset about something that
happened when she was alone with Coach Miles.” According to Lewis, Student 1 requested her
assistance in confronting Miles regarding the allegations. Another longtime Football Operations
employee was present for the meeting and recalled, from her perspective, that Student 1 was
“completely traumatized” by the alleged incident: “This child had a dead stare . . . she just kept
saying, over and over, ‘You know what you did to me.’” Sharon Lewis echoed this, describing the
interaction between Student 1 as “emotional” and “traumatic.”

Following this encounter, Lewis immediately reported the incident to Segar. According to two
Athletics employees interviewed as part of our review, Student 1 met with Segar, but “the
University never did anything about it.” There is no record of this student’s concern being
investigated in a manner consistent with then-University policy. There are also no records or other
evidence of Student 1 being provided with notice of her rights and options in response to the
complaint, or perhaps more importantly, any supportive resources other than the support of Sharon
Lewis and Coordinator of Football Operations and assistant to Head Coach Ya’el Lofton. 127 Lofton
and Lewis stated that after this incident, Student 1 “fell off the face of the Earth” and did not “know
what happened to her after that.” 128

Following this incident, Athletics leadership (including then Athletics Director Joe Alleva) issued
directives to Miles to refrain from contact with student workers and also engaged Taylor Porter to
provide training to all Athletics employees on a variety of compliance topics, including sexual
harassment. 129

Despite these measures, in February 2013, a second student worker (identified as “Student 2”)
“[r]eported inappropriate contact and text messages with Miles” to Lewis, which were documented
in her communications to Human Resources. In turn, Lewis immediately reported the incident and
provided the text messages to Senior Associate Athletics Director Segar.

127
    According to Lewis, following this confrontation with Miles, Lewis “took [Student 1] to Miriam and [Assistant
Athletics Director for Human Resources] Wendy Nall.” After Student 1 “told her story,” Lewis “was dismissed from
the meeting and told she had “fulfilled her role to report up” and Segar and/or Nall “will handle it.” Lewis stated that
sometime after this meeting, Segar “called [Lewis] recommending that [Student 1] be moved out of the building” and
“can no longer work in football,” directing Lewis to “put [Student 1] somewhere else in Athletics.” In interviews with
Husch Blackwell, Segar stated that, from her perspective, Student 1 “had already addressed it directly with coach” by
“talk[ing] to him about it,” and although the student “was upset,” she communicated she “ did not want to do anything
about it.”
128
    Student 1 ultimately graduated from LSU in 2015.
129
    Husch Blackwell was provided with a copy of these training materials as part of this review.

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Student 2’s report of sex discrimination was clearly not handled in a manner consistent with then
University policy. Instead, Student 2’s report prompted Segar and then-Athletics Director
Alleva 130 to conduct initial fact-finding, which was reported to the University’s outside law firm,
Taylor Porter (which did considerable legal work for the Athletics Department and essentially
served as “outside general counsel” for the University at the time). Then-interim LSU Chancellor
Williams Jenkins asked Taylor Porter to investigate the allegations with Segar’s assistance. This
designation raises conflict of interest concerns as it is not clear how the firm could have been
neutral in the investigation. 131 There was also no provision in the applicable Title IX policy for
these sorts of investigations to be outsourced to third parties.

During the course of their investigation, Taylor Porter learned that numerous Athletic Department
employees indicated that Miles became more hands on about many things in the Athletic
Department, including the selection of student employees, following his team’s loss in the 2012
National Championship game. In particular, according to witnesses interviewed by Husch
Blackwell, Miles allegedly participated in recruiting and interviewing female student employees
and “wanted them to have a certain look.” At least three witnesses recalled Miles labelling the
student workers as “a.m. and p.m. girls”—a designation which Miles also openly gave to female
full-time Football Operations staff. Several other employees recalled Miles referring to the student-
workers as looking like a “bad bowling team.” Employees interviewed as part of Husch
Blackwell’s review stated that “only certain ones were allowed to be in the head coach’s office,
not everyone. And most of them were either blonde, they were all attractive, but most of them that
came through here were blonde.” Another individual recalled Miles saying “many times,” “I want
the blondes not the brunettes working in this office.” As one witness explained, “It makes me want
to vomit, because it was kind of that every year it got a little worse and a little worse and for a
while, after a while it almost became normal that we can’t hire anybody that’s fat and ugly.”
Notably, there is no record of these reports of sex discrimination in the University’s files and there
is no record of these reports ever being investigated.

During Taylor Porter’s investigation, Miles denied anything inappropriate happened. It is
important to note that complicating matters was the fact that Student 2 and her father were adamant
that her confidentiality be protected. LSU’s outside counsel ultimately concluded that Student 2’s
allegations, even if true, would not constitute prohibited sexual harassment under applicable law.

We disagree. In any event, the investigation ultimately concluded that accepting Miles’ version of
events, he had acted inappropriately and was required to attend training.

On May 15, 2013, the results of this investigation were communicated to three members of the
Board of Supervisors (Garret Danos, Stanley Jacobs, and Robert Yarborough), Shelby McKenzie

130
    According to written responses submitted to Husch Blackwell in connection to this review, “The Athletic
Department did not engage Taylor Porter to investigate the allegations against Les Miles,” and Alleva “assume[s] the
University’s President and/or the University’s Board of Supervisors engaged Taylor Porter to investigate the
allegations against Les Miles.”
131
    This investigation was conducted after the Department of Education’s April 4, 2011 Dear Colleague Letter which,
among other things, noted that “a school’s investigation and hearing processes cannot be equitable unless they are
impartial. Therefore, any real or perceived conflicts of interest between the fact-finder or decision-maker and the
parties should be disclosed.”

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(who is described as “LSU Lead Legal Counsel”), 132 Alleva, and Segar. After a discussion of the
investigation, these representatives accepted Taylor Porter’s findings and recommendations and
did not take further action.

Again, there was no file of this matter at the University. Instead, the report regarding the
investigation was intentionally stored offsite at LSU’s outside counsel’s office and with Miles’
attorneys. It is our understanding that Miles also entered into a release agreement with Student 2,
the terms of which we are not privy. 133

Despite representations that he accepted this outcome, Alleva has stated that he “recommended to
the University’s President, to the University’s Board of Supervisors, and to the University’s
attorneys, to terminate Les Miles for cause.” Significantly, on April 19, 2013, Alleva sent the
following email to Chancellor Jenkins and counsel:




We have been unable to locate a response to this email.

On June 21, 2013, Alleva sent the following email to counsel and incoming LSU President F. King
Alexander:




132
    According to interviews with University employees, McKenzie served as LSU’s interim general counsel as the
University’s former “Office of General Counsel” transitioned to the “Office of Legal Affairs.” McKenzie is also a
long-time Taylor Porter attorney.
133
    Student 2 ultimately transferred to another institution to complete her undergraduate degree.

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We have been unable to locate a response to this email.

In the meantime, following the investigation, Sharon Lewis became so distressed by the “lack of
support from Administration” that she had a “mental breakdown” and received mental-health
treatment that LSU Athletics paid for. Following the report, Lewis also claimed that Coach Miles
and various members of the Athletics Department staff became hostile towards her. That alleged
retaliation was reported by Lewis but was never investigated by the leadership of the University.

Of note, immediately prior to his tenure at LSU, Miles served as the Head Football Coach at
Oklahoma State University (“OSU”) from 2001–2004. On September 13, 2013, Sports Illustrated
published a story about the OSU football program which described “Orange Pride,” OSU’s
“hostess program.” 134 While such programs had a long history, public scandals at other schools
beginning in 2004 resulted in the elimination or significant limitation of hostess program activities
due to “suspicions about sexual interactions.” 135 The Sports Illustrated article indicated that:

         Oklahoma State not only kept Orange Pride intact, but by 2004, multiple sources
         told SI, the group also became a key contributor to the program's rise. Membership
         in the organization more than tripled; there was a greater emphasis on attracting
         prettier and more outgoing women; and more than a dozen Cowboys who played
         from 2001 to '11 told SI that a small number of Orange Pride members had sexual
         relations with them or with other prospects during recruiting visits. 136

Although no person interviewed in the Sports Illustrated piece had “direct knowledge of a coach
or athletic department staff member instructing a hostess to have sex with a recruit,” the article
indicated that some “Oklahoma State football personnel played a central role in vetting Orange
Pride candidates, with Les Miles, . . . interviewing some applicants.” 137 These allegations were
corroborated in the article by interviews with female Orange Pride members. 138

One “former staff member” also stated in the article that “he and at least one other staff member
under Miles were aware that a few Orange Pride members were having sex with recruits.”139
Notably, Sports Illustrated also reported that “multiple sources told SI that the group underwent a
significant transformation after Miles replaced Bob Simmons in late 2000”—“its culture also
changed,” referring to Orange Pride members “sleeping with” a recruit “on the spot.” 140


134
    SI Staff, Special Report on Oklahoma State Football: Part 4 – The Sex, SPORTS ILLUSTRATED, September 13, 2013,
https://www.si.com/college/2013/09/13/oklahoma-state-part-4-sex. As the Sports Illustrated article explained,
“Hostess programs have been part of college football since the 1960s. Friendly, often attractive students greet recruits,
usher them and their parents around campus and promote the virtues of the school.”
135
    In 2004, the NCAA passed legislation that, in part, prohibited “the use of alcohol, drugs, sex and gambling in
recruiting.” Id. (emphasis added).
136
    Id.
137
    Id. When asked about his involvement in Orange Pride and alleged sexual activities occurring in the program,
Miles stated: “I am not aware of this ever happening and am quite sure that no staff member was aware of recruits
sleeping with this group of students or any other students."
138
    Id.
139
    Id.
140
    Id. The Sports Illustrated article also notes, “In December 2008, The New York Times reported that hostesses at
LSU sat on the laps of recruits. (The Tigers’ coach then, as now, is Les Miles.)”

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Despite these allegations being published just months after the University’s “resolution” of the
student complaints—during which the University’s leadership became aware of staff concerns that
Miles was allegedly sexualizing LSU’s student worker staff in a manner similar to the allegations
in the Sports Illustrated report—we have found no evidence indicating that the University
conducted an investigation into these concerns. 141

Miles continued to serve as LSU’s Head Football Coach for three years. Miles was fired by Alleva
on September 25, 2016 after starting the season with a 2-2 record. At the time, Alleva described
the termination: “Decisions like this are never easy ones to make. Coach Miles has done a
tremendous job here and he’s been a great ambassador for our University, which makes this even
more difficult.”

It is difficult to meaningfully determine the full extent of the impact this incident and the
University’s handling of it had on the climate within the Athletics Department—both in terms of
creating a culture which tolerated sexual misconduct and dissuaded employees from reporting that
misconduct. It certainly was not positive.

Perhaps better than any organizational psychologist could, one long-time Football staff member
made a number of insightful remarks about some of the damage created by this episode on the
culture of the Athletics Department:

         It just baffles me, though, that for so long, this went on and that kinda became the
         normal, right? And you just don’t talk about it and you don’t say anything, you just
         kinda go, ‘cuz we’re protecting LSU, we’re protecting our brand, we’re protecting
         our head coach, we’re protecting this, we love LSU so we’re gonna be loyal to LSU
         so we’re gonna do what we can to help it and try to fix it. But you know, nobody
         wants a big blowup to where oh, there’s a big scandal, you know? I always felt like
         we always had to be protective, you know? You want to protect LSU. You don’t
         want there to be any big blowup or scandal or, you know, much less anything like
         that, right?

                                                         ***

         I felt like maybe if the University had done more when the first child had happened,
         maybe that would have helped clean up a lot of other stuff that maybe wouldn’t
         have happened further down the line with not just him, with even players and
         anything like that. Because sometimes if people see somebody getting in trouble
         and it’s made a big deal out of it, they’re not as apt to go, “well, I can keep doing
         that because nobody gets in trouble around here, even the head coach didn’t get in
         trouble for doing it.” So we didn’t set a very good precedent by not handling the
         stuff the way we did, you know? That has allowed things to happen since then that
         maybe might not have, you know? If something—it would have been stopped and,
         you know, somebody made an example out of . . . .

141
   In written responses to questions posed by Husch Blackwell in this review, Alleva stated that “Upon reading the
SI report, I assigned the Athletic Department’s Compliance Staff to review the practices and culture within our football
program to ensure adherence with NCAA and Title IX standards.”

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                                                        ***

         To think that that was almost normal for us and because we had been involved in
         that so long, until you step back and look at it and go, my God, what did we—what
         were we doing, you know? But that’s how—that’s the progression it came to.

                                                        ***

         It just became normal, which is sick now that you think about it. The fact that that
         became normal to us was crazy, you know? But it was always, like, nobody ever
         really wanted to . . . rock the boat . . . and then—poor Sharon [Lewis] though. I
         mean, like I said, she had most of the brunt of it because she was over the girls. . .
         .We were so beat down and caught up in that mess, we didn’t realize how bad we
         were, you know?! That’s what upsets me.

         Summary of Files Connected to USA Today Article

As noted throughout this report, Husch Blackwell’s review was initiated in response to an article
published by USA Today on November 16, 2020. 142 The article identifies three LSU student cases
that were allegedly mishandled by the University and includes detailed witness statements and
information obtained from documents provided by those witnesses and/or obtained through public
information requests to the University. The students in those three cases are Drake Davis, Derrius
Guice, and Respondent A. 143

In addition, the article noted that “Guice and Davis included, at least nine LSU football players
have been reported to police for sexual misconduct and dating violence since coach Ed Orgeron
took over the team four years ago, records show. But the details of how LSU handled complaints
against the other seven, including two who played key roles on its 2020 national championship
team, remain largely secret.” These seven matters are discussed below.

Husch Blackwell requested and obtained copies of records associated with each of these matters.
In addition, Husch Blackwell conducted interviews with each of the publicly identified survivors
referenced in the USA Today article and subsequent reporting. We also communicated and met
confidentially with other victims and witnesses affiliated with these cases and interviewed current
and former University employees with knowledge of the cases. 144 The following provides a
detailed discussion of the allegations raised by the USA Today article as well as our assessment of

142
    Kenny Jacoby, LSU mishandled sexual misconduct complaints against students, including top athletes, USA
TODAY, November 16, 2020, https://www.usatoday.com/in-depth/sports/ncaaf/2020/11/16/lsu-ignored-campus-
sexual-assault-allegations-against-derrius-guice-drake-davis-other-students/6056388002/
143
    Respondent A was not publicly identified in the USA Today article or subsequent reporting. In addition, the
individuals reporting sexual misconduct against Respondent A (Elizabeth Andries and Caroline Schroeder) requested
in interviews with Husch Blackwell that he not be publicly identified out of fear of retaliation. Husch Blackwell has
honored this request throughout the report.
144
    We had to make our best judgement about reaching out to victims who did not contact us and were not already
publicly named, balancing our need to gather information for the assessment and our desire to respect their privacy
and not cause further trauma.

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the University’s response to these matters. As demonstrated below, while some of these matters
were handled well, many were not. When incidents were handled poorly, we have been forthright
in identifying the missteps. Having a thoughtful understanding of the errors and the causes of those
errors is critical in informing our recommendations below.

         A.        Drake Davis

For reasons mentioned above, dating and domestic violence cases are perhaps the most
complicated matters Title IX offices are tasked to address. Handling these matters well, especially
at an institution as large and complex as LSU, requires extensive resources, consistent and
meticulous recordkeeping, constant and open lines of communication between separate
institutional offices, constant communications with the victim, seasoned practitioners who
understand the unique dynamics of these matters, and—perhaps most importantly—a sense of
urgency. All of these were lacking when Drake Davis enrolled at LSU.

Davis was a highly recruited high school football player who committed to LSU on January 2,
2016 and enrolled at LSU during the summer of 2016. Described by LSU as “one of the most
athletic players perhaps to ever wear an LSU football uniform,” 145 Davis actually played sparingly
in his first two seasons with LSU (he caught a total of four passes in his two seasons with LSU)
but was purportedly “poised for a breakout season in 2018.” 146 During his enrollment and
immediately thereafter, however, Davis was accused of abusing at least three female LSU students.
He was not expelled from the University until July 18, 2019. The following describes the
University’s response to Davis’ abuse. The myriad problems with the University’s handling of
Title IX matters are on painful display in its handling of this matter.

                   1.       Recruitment

LSU was a return home for Davis who grew up in Baton Rouge but attended and graduated from
IMG Academy in Florida. Notably, Davis attended four different high schools in four different
states prior to enrolling at LSU. 147 Despite these transfers, it does not appear that anyone at LSU
reviewed whether there were disciplinary issues at any of these schools which triggered his
departures. 148

With that said, there were two athletics-related flags on Davis’ enrollment. First, a bylaw of the
Southeastern Conference (SEC) required institutions to certify the academic credentials of any
prospective student athlete who had transferred high schools during their senior year. 149 In
addition, a representative from IMG Academy disclosed to LSU that Davis’ education at the
private school had been paid for by Baton Rouge businessman, Jim Bernhard. This was potentially

145
    https://lsusports.net/sports/football/roster/drake-davis/19996.
146
    Id.
147
    Davis attended Saint Stanislaus College in Mississippi from October 22, 2012 until August 12, 2013. He then
enrolled at Baton Rouge’s The Dunham School where he withdrew on January 21, 2014. He then transferred to Fork
Union Military Academy in Virginia from January 20, 2014 until August 3, 2015. Ultimately, he graduated from IMG
Academy in Florida on June 3, 2016.
148
    In addition, the University’s enrollment application in place at the time did not request students to self-disclose any
prior disciplinary history.
149
    See SEC Bylaw 14.1.2.2 (d)(1).

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significant from an NCAA-compliance standpoint because Bernhard was an LSU Athletics
booster.

The institutional review of these flags culminated in a brief report finding that “Davis’ credentials
were valid and accurate.” The report provided additional context for the relationship between
Davis and Bernhard:




Again, there is nothing in this report suggesting any sort of inquiry into why Davis left his previous
institutions. Regardless, in accordance with the SEC’s Bylaws, on August 11, 2016, President
Alexander certified that “I have personally reviewed and approved . . . the decision made by this
institution” to admit Davis.

                   2.     Report of Abuse Involving Complainant 1

Complainant 1 150 enrolled at LSU in the fall of 2014. She ultimately graduated in the fall of 2018.
When she first enrolled, Complainant 1 had an interest in a career in athletics and was hired by
Director of Football Recruiting Sharon Lewis in the fall of 2014 for a position on LSU’s football
recruitment staff under then Coach Les Miles. In that role, Complainant 1 “helped in the recruiting
process in general” which included “a lot of admin stuff, preparing for events with the recruits.”
On game days, she “would . . . host the families and the recruits” and provide hospitality to the
families and recruits. Complainant 1 was directly supervised by Assistant Director of Recruiting
Operations Keava Soil-Cormier. Soil-Cormier reported directly to Lewis.

Complainant 1 also met Executive Deputy Athletics Director Verge Ausberry her freshman year
and he “filled a mentor/friend role” for her. During her sophomore year, she started babysitting for
Ausberry at his home. 151

Complainant 1 said that she started dating Davis during the summer of 2016 when he first arrived
on campus. They met through a mutual friend and Complainant 1 thought Davis “seemed like a
really nice guy, very charismatic, very goofy.” According to Complainant 1, though, “pretty soon
into [their] relationship, Davis started abusing her “verbally and emotionally . . . but it was very
subtle.” She described that initial abuse and its escalation as:


150
   Complainant 1 was interviewed as part of this review on December 14, 2020 and January 15, 2021.
151
   We note that this arrangement violated Athletics and Football Operations Policies and Procedures in place at the
time, which stated: “No employee may hire a Football Operations student employee to perform personal work (babysit,
run errands) or work on non-LSU matters.”

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                    just jealousy of not wanting other guys to talk to me. Saying little
                    comments of like “oh, I don’t like when you wear that, it makes you
                    look like a whore.” What friends I could go out with or if I could go
                    out without him to the bars. And then I would say the turning point
                    was—it was like even before school started. And it was after a
                    football practice. And one of the older boys on the team who was
                    the same position as Drake said some comments about who I’d been
                    with my freshman year on the team and I guess it got into Drake’s
                    head because then he—that night had—you know, a comeback. And
                    we were at his apartment 152 and [he] just started yelling and that was
                    when he first got physically aggressive. I tried to leave and
                    restraining me to leave and pinning me against the wall and—so that
                    was, I guess, kind of how it started.

Complainant 1 noted that this incident in the Summer of 2016 “opened the floodgate” and started
a “cycle of him apologizing and being really sweet and then we would get into another fight and
it would kind of go like that.” She estimated that Davis physically abused her at least ten times.
Their relationship was “off and on, up and down, toxic, up until [Davis’] first arrest with Jade
[Lewis] in 2018.” 153

During the Fall of 2016, after a football game, Complainant 1 said there was a public incident
between her and Davis at a Tigerland bar (JL’s Place):

           So it was after a football game. And so we all go out and I had gone out with a
           couple of my friends and some of the guys on the team. . . And [Drake and I] were
           fighting that night. We weren’t on the best of terms. And I walk into the bar and I
           didn’t know he was—I knew he was going out, but I didn’t know where he was
           going. There’s six or seven bars to kind of choose from.

           So I walk in and we make eye contact and he’s making out with some other girl
           while maintaining the eye contact with me and then walks over to me and . . . tries
           to grab me and kiss me and . . . grabs my butt and is kind of like groping me in that
           sense. I . . . kind of grab his hands and push him off and, like, don’t touch me, don’t
           touch me like that or whatever. And that’s when he two-hand pushes me and I fall
           back on the bar—or on the floor. And then I get up and I reacted and threw my
           drink on him. And that’s when we just kind of started yelling at each other and he
           lunged at me and kept swinging and, you know, luckily there [were] people there.
           You know, it was after a game so there was a bunch of teammates and they held
           him back. There was probably four or five and then I had one of the teammates
           holding me back. And Drake’s just continuously trying to swing and push through.
           And . . . I’m yelling back and . . . I’m also in his face and not walking away at that
           moment and, you know, are you really going to hit me? You’re really going to hit
           me in public? Like, you stupid bitch. And just really angry.


152
      Davis was living off-campus in a local apartment at the time.
153
      Davis was first arrested on August 8, 2018.

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         And so we do get separated and they removed Drake from the bar and we decided
         to kind of—you know, let’s stay here. Let’s have a good rest of the night.

         And so when it was time to leave, it was kind of—we thought, oh, Drake is gone.
         We haven’t—you know, we don’t see him. It’s safe to go. And so I was riding
         home—or one of the drivers was one of the teammates. And so he was like, let’s
         walk to the car. Like, I’ll walk with you. And so we started walking and then all of
         a sudden, Drake comes charging again through the parking lot and yelling and
         swinging and trying to get me. And again, people had to keep us apart and I just
         kind of get ushered to the car and we leave.

In an interview with reporters, Complainant 1 described the incident this way:

         Davis was there, and Complainant 1 said she saw him kissing another woman when
         she arrived. Complainant 1 said she brushed Davis off when he approached her,
         which made him angry. “He two-hand pushed me, and I flew back and fell on the
         floor of the bar,” Complainant 1 said.

         They threw drinks at each other and were yelling, and teammates had to restrain
         him, she said. The bar manager kicked Davis out, while she stayed behind.

         When she left that night accompanied by another player, Davis “comes out of
         nowhere and charges me,” Complainant 1 said. Again, teammates restrained him,
         she said. Davis showed up at her apartment that night, she said, and she had to call
         teammates to come get him. 154

Complainant 1 and Davis “lived in the same [off-campus] apartment complex” and Davis lived
“down the hall from [Complainant 1] at this point.” Later that night, Davis “comes banging on my
door, all angry and so I call some of the teammates to come get him.”

According to Complainant 1, Davis preemptively informed his position coach, Dameyune
Craig, 155 about what happened, but Complainant 1 said Davis’ “story was kind of ‘I was just having
a good time and Complainant 1 is an angry girlfriend or whatever it was and came in and just
randomly threw a drink on me and I left . . . It was all Complainant 1’s fault.’” Craig, in turn,
informed Complainant 1’s supervisor Lewis about the incident. It is worth noting that even this
version of the report triggered an obligation under then-existing Athletics policy for Craig to notify
Segar of this incident. Segar says she never was notified about it and we have been unable to locate
any University records suggesting Craig made a report.

According to Complainant 1, Lewis “found out what players were there that night or called around
and kind of talked to some of the players and did a little bit of her own investigation.” Lewis

154
    Kenny Jacoby, Nancy Armour, and Jessica Luther, LSU knew in 2018 that officials kept allegations against athletes
in-house. It did nothing., USA TODAY, December 15, 2020, https://www.usatoday.com/in-
depth/news/investigations/2020/12/15/lsu-knew-officials-skirted-title-ix-policy-failed-to-report-sexual-misconduct-
guice-davis-2018/3859884001/
155
    Craig is currently employed at Texas A&M. He has not responded to requests to be interviewed.

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indicated to Complainant 1 that “some of the players backed up Drake and some of them backed
up me.” Lewis then allegedly asked Complainant 1 if she wanted to set up a meeting between
Complainant 1, Davis, and Craig to “talk about everything.” Complainant 1 “didn’t feel
comfortable with that.”

Instead, Complainant 1 proposed a meeting between herself, Lewis, Soil-Cormier, and Craig. “But
when I got there that week, it was just me, Keava and Sharon, which was definitely better.” During
that meeting, Complainant 1 said Lewis asked for “my side of it and never asked if this is the only
time or has this happened before.” Notably, Lewis suggested “calling the police;” however,
according to Complainant 1, Lewis framed that possibility as: “if you feel like this is worth ruining
his future, we can totally call the police.” Lewis purportedly also indicated, “[Davis’] career at
LSU will be over, but we can totally call the police if that’s what you feel like he deserves after
this.”

At that point, Complainant 1 “was still what I felt like was in love with Drake” and declined the
offer to call the police. According to Complainant 1, Lewis indicated “whatever punishment you
see fit, that’s what we’ll do. We’ll leave it up to you.” Complainant 1 responded, “I just want him
to get the help he needs and I wanted him to go to therapy.” Complainant 1’s request was motivated
in part because Davis purportedly disclosed to her that he had been abused as a child.

According to Complainant 1, at no point did Lewis or Soil-Cormier offer any counselling or
assistance for Complainant 1, including any resources provided by the Title IX Office. They “never
even asked how I was.” In a “cry for help,” Complainant 1 indicated she told both Lewis and Soil-
Cormier that she “was scared of” Davis. Despite that, she said no one followed up with her and
“life just went back to normal.”

In a newspaper article, Complainant 1 also said, “I told [Lewis and Soil-Cormier], ‘He lives down
the hallway of me at my apartment. I’m scared of him.’ And, I remember it so vividly: They
laughed . . . Like, ‘Are you serious?’ So dismissively. I wasn’t ready to tell people about my
(abusive) relationship, but I was asking for some type of help, and they laughed it off.” 156 As part
of this review, both Lewis and Soil-Cormier adamantly deny this. A third party interviewed as part
of this review and who witnessed this meeting also sides with Lewis and Soil-Cormier and said
Complainant 1 did not say she feared for her safety.

In 2018, after seeing an article regarding Davis’ arrest, Complainant 1 felt like she was
“drowning.” At that time, she was working in the Athletics Administration building and described
making a disclosure to Ausberry:

         Drake and I were still somewhat involved. And so I was just very emotional about
         it and Verge and I somehow got on that topic about Jade and what had just happened
         and I had told Verge, you know that this had happened between Drake and I, too.
         And that he is capable of doing whatever Jade said he has done. And that’s—that

156
   Jacoby, K., Armour, N, and Luther, J. “LSU knew in 2018 that officials kept allegations against athletes in-house.
It    did      nothing,”    USA        Today,     December         15,      2020,      https://www.usatoday.com/in-
depth/news/investigations/2020/12/15/lsu-knew-officials-skirted-title-ix-policy-failed-to-report-sexual-misconduct-
guice-davis-2018/3859884001/.

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         was when he first had told me, like, about oh, like this is a compliance. He’s like—
         you could—you know, told me about Miriam [Segar] and then it was like the next
         day or the day after is when I got a random phone call and voice mail from Miriam.
         And then I immediately . . . called her back. And then I just never heard from her
         again.

Complainant 1 noted that when she made the disclosure, Ausberry “stopped the conversation” and
said “I don’t want to know all the details . . . this needs to go to someone else.” Complainant 1
does not “remember if [Ausberry] told me to contact Miriam. I feel like if he did, I would have
contacted Miriam. But all I know is after that conversation is when Miriam had contacted me.”157

In his interview as part of this review, Ausberry confirmed the substance of this conversation with
Complainant 1. He also said he reported this to Segar which likely explains why Segar reached out
to Complainant 1.

The first time LSU’s Title IX Office became aware of any incidents between Davis and
Complainant 1 was in October 2018. At that point, Complainant 1 described having a “breakdown”
in her internship supervisor’s (Brenton Sumler) office and was not sure what to do. After asking
how he could support her, Sumler (who Complainant 1 described as “an amazing man and
awesome at what he does” 158) walked Complainant 1 to the Title IX Office. The Title IX Office
then provided Complainant 1 with resources and academic support “because I was definitely
struggling with school.” She also “got into counseling at LSU.”

                   3.     October 2018 Title IX Investigation of Sharon Lewis

In addition to providing resources to Complainant 1, beginning in October 2018, the Title IX
Office initiated an investigation into “allegations of a failure to report violations of University
Policies on Sexual Misconduct . . . concerning LSU employee Sharon Lewis toward LSU student
Complainant 1.” Given that others—including Soil-Cormier and Craig—were purportedly aware
of the incident between Complainant 1 and Davis and failed to report it to the Title IX Office, it is
difficult to understand why Lewis was the only respondent in this investigation. While the
University’s Sharon Lewis investigation is a bit of a detour from the allegations of abuse involving
Davis, a detailed discussion is helpful here because that investigation in late 2018 is fraught with
many of the same missteps that we have seen in other files we have reviewed.

As part of the Title IX Office’s investigation into Lewis, Complainant 1 was interviewed by
Investigator Jeff Scott on October 3, 2018. The information she provided in that interview is
materially consistent with the information she provided as part of this review and summarized
above. Of note, Scott’s interview notes attribute the following to Complainant 1: “[Complainant
1] disclosed that while she was dating Drake that about a month into their relationship he became
angry and pinned her up against the wall—he would grab her by the neck and hold her down on


157
    Complainant 1 also indicated that “Verge cares about Drake. I don’t think his methods are right, but I think he
views Drake as kind of a son and wanted to help him.”
158
    Sumler left LSU in August 2019 and currently works as the Director of Student Athlete Experience & Well Being
at the University of Oklahoma.

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the bed . . . She stated she was embarrassed and never told anyone because she really liked him
and wanted to help him.”

Sharon Lewis was interviewed by Scott on November 5, 2018. According to the notes
summarizing that interview, Lewis acknowledged that she knew Complainant 1 and Davis were
dating. According to Lewis, she met with Complainant 1 in 2016 to investigate a report Craig made
to her. Specifically, “Coach Dameyune Craig came to her because players had informed him of
[Complainant 1]’s behavior at Tiger Land—[Complainant 1] reportedly threw [a] drink at Davis
and he threw [a] drink back at her—he had to be [restrained] by players—she was restrained by
her girlfriends.” Craig purportedly “told [Lewis] he talked to Davis and Davis denied it—he also
talked with other player witnesses.” In turn, Lewis then “talked to other players also and they all
gave the same story.” It is not clear from the investigative report what this “same story” was.

During her Title IX interview, Lewis said she “called [Complainant 1] in along with Keava [Soil-
Cormier] [Assistant Director of Recruiting Operations] and Ya’el Lofton [Coordinator of Football
Operations],” during which Complainant 1 said Davis “never hit her.” Lewis “said she asked if
[Complainant 1] felt threatened” and Complainant 1 purportedly “said ‘no.’” According to Lewis,
Complainant 1 “admitted to throwing [a] drink at Drake [because] he was with another girl.”
According to Lewis, “because [there was] no physical altercation or sexual assault,” “she let
[Craig] handle” the situation because “this was the way athletics handled things.” Scott’s notes of
the Lewis interview indicate that Lewis said “she was not sure if she reported [the incident between
Complainant 1 and Davis] to Miriam or Verge.”

In her interview as part of Husch Blackwell’s review Lewis adamantly denied saying this. Instead,
she emphasized that she reported the incident via phone to Miriam Segar moments after the
meeting occurred. Regardless, it was clearly not reported to the Title IX Office until Sumler
brought Complainant 1 to the Title IX Office.

Soil-Cormier was not interviewed as part of the University’s Title IX investigation into Lewis.
Given that she was purportedly in the meeting between Lewis and Complainant 1, this was an
error. 159 She was interviewed as part of the Husch Blackwell review. Soil-Cormier stated that she
was in the meeting between Complainant 1 and Lewis and was adamant that she was never made
aware by Complainant 1 that Davis had abused her but was aware of “an incident at Tigerland
where Complainant 1 threw a drink on” Davis. “I remember Sharon asking her, do you want to go
the police?” When pressed on why Complainant 1 would need to go to the police if she was the
aggressor and the one who threw the drink on Davis, Soil-Cormier responded unconvincingly,
“Um, I’m not exactly sure, maybe because they had separated and just—just a suggestion to bring
it up.”




159
    In an interview with Husch Blackwell, Scott indicated that “with hindsight,” he realizes he “probably” should have
met with Soil-Cormier during his initial investigation. From Scott’s perspective, Lewis had admitted to receiving
information implicating PM-73, Segar and Ausberry had both denied receiving a report from Lewis regarding
Complainant 1, and Scott reviewed the University’s Title IX records and “did not find a single report from Lewis” in
the system. Scott stated that at the time, he was not aware of the Athletics directive for all employees to report directly
to Segar.

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Regardless, following the meeting with Complainant 1, Soil-Cormier said she witnessed Lewis
“pick up the phone” and contact Segar. She does not remember, though, what Lewis told Segar.

Coordinator of Football Operations Ya’el Lofton also participated in the meeting between Lewis,
Soil-Cormier, and Complainant 1. Again, it was an error for her to have not been interviewed as
part of the Title IX investigation into Lewis’ failure to report.

In an interview with Husch Blackwell, Lofton recalled hearing Complainant 1 describe the incident
as follows:

         Dameyune Craig called Sharon wanting somebody fired . . . . So apparently they
         had a conversation, it was [Complainant 1] he wanted fired because apparently she
         had done something to one of his players. At that time, I really didn’t know what
         was going on, so Sharon called me in there and she said, um, Coach, uh, Craig has
         called. He wants us to fire [Complainant 1]. I’m like how can he tell us to fire our
         student workers? What’s going on? And she said, well, I’m not firing her because
         I don’t know what’s going on. . . .

         [Complainant 1] was called in. Sharon had me come in there. She said what
         happened? [Complainant 1] said he was with another girl or something at the bar.
         Um, [Complainant 1] was mad because I think he was kinda still seeing her, he was
         seeing other people, which a lot of players see a lot of girls, right? But you don’t
         ever want to get ‘em all in the same place at the same time. So she got mad. She
         saw him—she threw her drink at him and, uh, apparently some of the other players
         were there. The girls got her out, the players got him and then she left. That’s kinda
         all I knew, right? And that’s kinda all she provided me to in that original meeting.
         And she was saying why would I—and we’re like, we’re not gonna fire her for
         throwing a drink on somebody, you know?

Reflecting on the meeting Lofton recalled that Complainant 1 “was almost mad that she was called
in about” the incident, because it was her “business” and not related to her job in the Football
office. She also emphasized:

         But, um, never in that meeting did [Complainant 1] ever say anything about
         anything other than just her throwing a drink on Drake. Now since then, I’ve heard
         all kinds of other stuff that she said that happened to her that she never said when I
         was in there, ever. She just was not real happy that we were calling her in once
         again about throwing a drink on someone.

Miriam Segar was interviewed by Scott on November 8, 2018. According to notes documenting
that interview, Segar said Lewis “never reported any Title IX/Sexual Misconduct issue to her.”
Notably, in an interview as part of this review, Segar denies saying this, clarifying that Scott
“worded that wrong” because Lewis “obviously reported things.” Segar continued to deny, though,
that Lewis reported the Complainant 1 incident to her.




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Verge Ausberry was interviewed by Scott the following day. According to Scott’s interview notes,
Ausberrry “stated he has been a mentor to Complainant 1.” She purportedly “came to him a few
weeks ago in tears asking if she could talk with him. She told him about how Sharon had fired her
while she was in Europe and [she] felt it was unfair.” Complainant 1 purportedly “told Verge that
she felt Sharon had fired her over [an] incident between her and Drake Davis at Tigerland in Fall
2016—[Complainant 1] told Verge it involved Drake throwing a drink at her.” She also
purportedly “told Verge that she felt responsible for Drake’s behavior.” Ausberry “stated he
immediately told her that he didn’t want to hear anymore and that she needed to speak with Miriam
Segar since it sounded like a dating issue and that it dealt with Drake which he already knew there
was an investigation.”

In Scott’s interview notes, Ausberry stated he gave Complainant 1 “Miriam’s phone number and
told her that she really needed to disclose this information to Miriam.” According to Ausberry,
“this was the first time he had heard there was any issue between Drake and Complainant 1” and
“stated Sharon did not tell him about this situation” in 2016.

Following interviews with only Complainant 1, Lewis, Segar, and Ausberry, the Title IX Office
concluded “that there is sufficient evidence to prove that Respondent Sharon Lewis violated LSU’s
PM-73 policy in that as a Responsible Person she failed to report a potential violation of LSU’s
Title IX and Sexual Misconduct Policy PM-73.” The rationale for this conclusion is confusing:

         This determination is derived from the fact that both the Complainant and the
         Respondent admit to a meeting commencing whereby the conversation surrounded
         an allegation of dating violence between the Complainant and another LSU student
         athlete. The Respondent, a Responsible Person, admitted to a cursory inquiry
         involving questioning of potential witnesses to this allegation. The Respondent
         could not recall if she reported this information to the appropriate school
         designee. 160 The Title IX Office had no record of this allegation ever being
         reported. Two Material Observers deny that the Respondent ever reported this
         information to them.

                                                          ...

         The Respondent completed the Human Relations Risk Training conducted by the
         Dan Beebe Group for the years 2016, 2017 and 2018 and signed her respective
         acknowledgement form. The acknowledgement form states: “Employees are not
         required to confront anyone who is the source of the complaint or anyone closely
         associated with the persons who are the source of the complaint. However, I
         understand I have a responsibility to inform an uninvolved member of the Athletics

160
    This language about “appropriate school designee” is likely a reference to PM-73’s definition of “Responsible
Person,” which states “Any employee who has the authority to take action to redress sexual violence or who has been
given the duty of reporting incidents of sexual violence or any other misconduct prohibited by this policy by students
or employees to the Title IX coordinator or other appropriate school designee.” Exhibit A (PM-73 (2015) at II
(“Responsible Person”). As discussed in section III of this report, however, this “Responsible Person” policy is
internally contradictory and confusing. In addition, there are no identified “other appropriate school designee[s]” in
PM-73; therefore, from Lewis’ perspective, the Athletics directive to report to Segar (as outlined in Section III of this
Report) was the applicable reporting policy.

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         Department or University administration, or otherwise utilize available avenues of
         reporting, so prompt action may be taken to stop misconduct and prevent future
         occurrences.”

         A review of Human Resource Management (HRM) training records revealed that
         The Respondent has never self-enrolled and taken the [University’s] annual sexual
         misconduct training, “Preventing Sexual Misconduct Training for Employees.”

This finding was communicated to Lewis on November 20, 2018.

                   4.      Lewis’ Appeal of Title IX Office Finding

On December 6, 2018, Lewis appealed this determination and her appeal statement provided more
detail about her version of the conversation with Complainant 1 and conflicts in significant ways
with statements attributed to her by Scott in his investigation.

First, Lewis noted that Craig told her that “Complainant 1 threw a drink at Drake Davis at a bar in
Tigerland and that Drake threw a drink back at her.” Craig also purportedly told Lewis “that he
was reporting this incident to Verge Ausberry.” 161 After receiving this report from Craig, Lewis
said she then “contacted Complainant 1 on or around October 3, 2016 to confirm the incident.” No
explanation is provided for why she needed to “confirm the incident.” Lewis’ appeal claimed that
Complainant 1 “admitted to being the aggressor in the situation by throwing the drink at Drake
first and instigating the situation.” This was purportedly prompted by Complainant 1 being “upset
at the fact that [Davis] was in the bar with another girl.” Despite the fact that Complainant 1 was
purportedly the “aggressor” in this incident with Davis, she was never disciplined by her
supervisors, Soil-Cormier and Lewis. 162

Lewis was adamant throughout her appeal document and in her interviews as part of the Husch
Blackwell review that: “[n]ever did Complainant 1 tell . . . me that she was afraid of Drake Davis,
or that any physical violence had ever occurred with him in this event or at any other time.” With
that said, Lewis contended in her appeal that following her meeting with Complainant 1, Lewis
called Segar “to give her the information that had just been [relayed] to me in a meeting with
Complainant 1 and Keava Soil-Cormier where Complainant 1 [relayed] that an incident had
occurred with Drake Davis.” Soil-Cormier purportedly witnessed this call with Segar. According
to Complainant 1, she contacted Segar “because she is the LSU Athletic designated reporter for
Title IX complaints.” Lewis then claimed that Scott’s summary of her interview was “false” and
that she “told Scott I called Miriam Segar and reported the incident to her and that I reported the
incident to Verge Ausberry.” 163 Lewis also claimed that she is “very mindful” about reporting
because she had “been reprimanded in the past for not telling Miriam Segar directly . . . .”



161
    Ausberry credibly denied Craig told him about this.
162
    In contrast, Lewis did discipline Complainant 1 on February 10, 2017 for “giving out the private cell phone number
of Derrius Guice to an angry female student who called and harassed Derrius.” On May 6, 2017, Complainant 1 was
terminated by Lewis and, according to Lewis, this had “nothing at all to do with Drake Davis.” Rather, “[s]he was
terminated due to mandatory downsizing and violating office privacy rules.”
163
    No one attended the meeting with Scott, and the interview was not recorded.

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Regarding the latter, Lewis indicated that she had “been instructed by both Miriam Segar and
Verge Ausberry to report all Title IX incidents to them directly and then they will report them to
the higher authority, in this case, the Campus Title IX Coordinator.” Lewis contended that this was
“a process put into place a few years ago from other incidents that occurred related to Title IX
offenses by individuals in the LSU Athletic Department,” a reference to the Les Miles situation
discussed above. She also claimed she had “actually been reprimanded openly by Verge Ausberry”
regarding “a recent Title IX incident involving Derrius Guice where Verge Ausberry repeatedly
told [Lewis] to tell Miriam Segar first and no one else.” This incident is discussed in more detail
in Section VI.B.4. below.

Lewis also contended that Segar’s statement as memorialized in Scott’s investigative report that
Lewis “never reported any Title IX/Sexual Misconduct issues” to Segar was false. In addition to
reporting the Complainant 1/Davis incident to Segar, Complainant 1 claimed that she purportedly
reported incidents involving at least three other employees, including “Les Miles” and “Verge
Ausberry.” 164 Again, in interviews with Husch Blackwell, Segar stated she did not tell Scott that
Lewis had never reported Title IX matters to her and acknowledged Lewis had made “many”
reports of conduct potentially violating PM-73 to Segar, including the incidents involving
Samantha Brennan and Les Miles. Put another way, Scott’s summary of his interview with Segar
appears to be incorrect.

On January 15, 2019, LSU’s Title IX Coordinator denied Lewis’s appeal contending that even if
all that Complainant 1 reported was “limited to the throwing of a drink in the bar,” that was
sufficient to trigger a mandatory report under PM-73. Because she was the appeal officer, the Title
IX Coordinator provided no supervision over Scott’s initial investigation due to the potential
conflict of interest.

Inexplicably, the Title IX Coordinator concluded that this “report could have been made through
Miriam Segar, Verge Ausberry, or directly through the Title IX Coordinator or Deputy
Coordinators” (emphasis added). 165 According to Stewart, though, there was “no evidence” that
such a report was made. However, at that point, Lewis had identified by name two witnesses who
purportedly saw her report the matter to Segar. Neither were interviewed by the Title IX Office.
This determination was then “forwarded to Human Resource Management for adjudication.”

On January 23, 2019, Lewis submitted an appeal of this finding to Lindsay Madatic. In it, Lewis
reiterated that “she ‘called’ not emailed Miriam Segar on or about Monday, October 3, 2016 to
give Segar the information that had just been [relayed] to Lewis in a meeting with [Complainant
1] and Keava Soil-Cormier. . . .” This time, Lewis described what Complainant 1 relayed as
Complainant 1 “throwing a drink at Davis.” Lewis once again asserted that “Soil-Cormier was in
Lewis’ office as a witness to the call Lewis made to Segar.” Despite that, notably, no one in the
Title IX Office interviewed Soil-Cormier which Lewis describes as “a huge error.” We agree it
was an error.

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    We have been unable to locate any documentation regarding Lewis’ reports relating to Miles or Ausberry in the
University’s Title IX or Human Resources records. We did locate a case file for the third employee Lewis identified
in her appeal and can confirm that that incident was investigated and discipline meted out in that case.
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    We note that this statement is inconsistent with Stewart’s statements to Husch Blackwell throughout the review
regarding the appropriate process for Title IX complaints.

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Additionally, Lewis noted that after she “made the complaints against the former coach [i.e., Les
Miles] sexually harassing her female student workers, Lewis was instructed by Segar to report all
Title IX complaints directly to her and to no one else . . . .” Lewis also noted that when she
complained about Title IX-related incidents, she purportedly “encountered great resistance from
Segar and Ausberry . . . .” She also asked that Segar and Ausberry be investigated by the Title IX
Office for failing to make mandatory reports. Despite this being reported to a Deputy Title IX
Coordinator, the University has not investigated these allegations. She then relayed in her Title IX
appeal that she “reported a Title IX complaint to Segar against Verge Ausberry” and that there
“are several witnesses who have seen Ausberry yell and scream at Lewis, call her profanities, and
do other acts of harassment.” Again, despite this being reported to a Deputy Title IX Coordinator,
the University never investigated this allegation. 166

During her interview with Husch Blackwell, Segar confirmed that after the Miles incident, Lewis
had reported alleged “harassment” and other inappropriate treatment by Athletics officials,
including a specific complaint against Ausberry. During the interview, Segar read from notes
summarizing Lewis’ complaints, stating that from her perspective, “it wasn’t a Title IX issue.” In
addition, Segar acknowledged that Lewis was not “super comfortable” around Miles and “did not
have a good relationship” with him because Miles “knew that she was aware of the allegations
against him.” Segar further acknowledged assuring Lewis that “her job was protected,” and also
acknowledged arranging counseling for Lewis because she “was emotional” about the way in
which the University handled the Miles investigation. Segar confirmed that she did not report any
of these complaints to the Title IX Office or to Human Resources for resolution. This was an error.

Stewart forwarded Lewis’ appeal to representatives from LSU Human Resources “Employee
Relations” Department (including Deputy Title IX Coordinator for Employees Lindsay Madatic)
for “next steps” and also to the University’s in-house legal counsel in January 2019.

Over the next several months, Lewis and her attorney continued to communicate with Human
Resources regarding Lewis’ appeal. In May 2019, Lewis provided a detailed account of incidents
she had reported to Miriam Segar and/or Verge Ausberry implicating PM-73. These included the
comments regarding Miles alleged inappropriate comments and conduct directed at the two student
complainants described above. None of this was investigated by the University.

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   In interviews with Husch Blackwell, Football Operations employees confirmed witnessing Ausberry “hollering”
and “screaming” at Lewis repeatedly over the course of the last several years. As one employee put it, “there’s just
certain things that Verge does to Sharon. I don’t know if they think—and I don’t understand it—That stuff would
never be done to me, you know? The day—if Verge Ausberry ever hollered or screamed at me on the telephone like
I’ve heard him done to Sharon . . . .” When asked whether Lewis yelled or otherwise acted unprofessionally to
Ausberry, this same employee noted that “when he would start doing that, she would talk loud to him, but it was
never—I never witnessed Sharon doing anything of being overly screaming. . . . I never heard Sharon scream and
holler like that at Verge, never, ever.

Ausberry denied treating Lewis inappropriately, instead describing their relationship as “brother-sister” and “love-
hate.” Ausberry stated that he had on at least one occasion had “a very hot conversation” with Lewis regarding Lewis’
non-compliance with a directive, during which Lewis “blew up on me” and was “crying, howling, and cursing,” to
which Ausberry responded with anger and a raised voice. Ausberry recalled that after this incident, Lewis “called
Miriam [Segar], and said she wanted to report me for harassment.” According to Ausberry, Segar instructed Ausberry
to “just leave [Sharon] alone” after this incident.

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In September 2019, correspondence between Lewis’ attorney and Executive Director of Employee
Relations Jennifer Normand indicated that Lewis was still seeking to remove the PM-73 finding
from her disciplinary record, which Normand indicated was being reviewed by the Office of
General Counsel (which supervises the Title IX Office). Ultimately, Normand (in consultation
with a University attorney) communicated to Lewis that Lewis’ discipline was “remove[d] . . .
from the file” “based on the information Lewis provided” in her appeal. There is no additional
rationale or finding included in the correspondence.

Despite having the discipline “removed,” Lewis continued to seek to have the finding of
responsibility for the PM-73 violation removed from her record, reiterating (through her attorney)
her belief that:

         It was established that Sharon was required to report up all violations and it was
         established that she did report the specific violation up to Miriam Segar and Verge
         Ausberry. It was established that they did not report those violations to the Title IX
         coordinator. It was also established that Sharon was not to report Title IX violations
         herself, but to report them to Miriam and Verge so how in the world was she found
         to not have reported a Title IX violation. It makes no sense. And during that
         investigation why weren’t Miriam and Verge found not to have reported the
         specific violation she and the alleged victim reported to Verge.

The correspondence also noted that Lewis would continue “sitting down with [Normand] and/or
writing down everything that has been happening there as it relates to our prior discussions,”
referencing Lewis’ description of the Miles harassment allegations and Lewis’ continuing
concerns regarding mistreatment by Athletics officials. There is no indication of how Title IX, the
Office of Legal Affairs, or the Office of Human Resource Management resolved Lewis’ request
to remove the finding, no indication that anyone at the University formally investigated Lewis’
complaints regarding her working environment and potential retaliation, and no investigation of
any other Athletics official—including Segar or Ausberry—for failure to report a Title IX concern
under PM-73.

The Lewis investigation illustrates a host of basic problems that we have also seen in our review
of other matters by the Title IX Office and which are discussed at length throughout this report.

                   5.   Reports of Abuse of Jade Lewis

We ultimately agree with the University’s determination that the incident between Complainant 1
and Davis (even if it were just “drink throwing”) should have been reported to the Title IX Office.
Despite all of the murkiness surrounding the Lewis investigation, there is no question that the
incident was not timely reported to the Title IX Office. There is also no question that Jade Lewis
was abused by Drake Davis in May 2017 and from April 2018 until at least August 2018. Assessed
in this section of the report is who at LSU knew what about Davis’ abuse of Lewis (and when) and
whether employees of the University responded appropriately.




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                       a.      May 2017 Abuse and University Knowledge

It is worth emphasizing that many of the victims discussed throughout this report were also LSU
student athletes or Athletics employees. For instance, Lewis was a highly recruited tennis player
who enrolled at the University in January 2017. According to all individuals we interviewed, she
intended to play a semester of tennis at LSU and then become a professional tennis player in May
2017. In her sole semester of collegiate tennis, she had a remarkably successful season and was
awarded SEC Freshman Tennis Player of the Year.

Her last match with LSU was at the NCAA Singles Tournament in May 2017 at which point she
left Baton Rouge to become a professional tennis player. She posted the following on her Instagram
account at the time:




On May 19, 2017—two days prior to her travelling to attend the NCAA Singles Tournament, Jade
reported to a tennis teammate that Davis punched her. According to phone records, her teammate
texted Davis: “I told you this Drake, hitting her was not a smart decision,” to which Davis
responded, “Idc” and “She broke into my house.” Jade’s teammate later texted, “Did you hit her
again though? Like weeks ago?” Davis responded, “Yes.” The conversation continued with the
teammate texting, “Why did you punch her Drake? You are better than that,” to which Davis
responded, “You don’t understand.”

The teammate, who requested to remain anonymous, told us in an interview that she was deeply
uncomfortable with the escalation in Jade and Davis’ relationship and took steps to “block” Davis
from her phone. She also strongly encouraged Jade to report the information to the police or the
school and “to get help,” but “Jade refused.” The teammate stated she “didn’t know how much
[LSU tennis coach Julia Sell] knew” about this May 2017 incident, but stated that she had never
directly told Julia that Davis abused Jade. Jade’s teammate also reported having a “very good
relationship with the Sells, even today” and stated her belief that if Julia Sell had become aware of
any alleged violence, she would have handled it appropriately (due largely to her own experience
sharing information with Julia Sell).

In the USA Today article, a teammate (who was anonymous in the article) said “she personally
reported Davis’ abuse to Julia Sell” at least “six to seven months before” June 2018. This would
have been November or December of 2017. We have been unable to definitively identify the
person who made these statements, and they have not identified themselves to Husch Blackwell
for an interview. None of the witnesses we have interviewed regarding this matter, though, said
they informed the Sells about abuse prior to Jade’s return to Baton Rouge in March 2018.



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In addition, Lewis stated in the USA Today article that “she told a team athletic trainer, Donavon
White, that Davis punched her in the stomach in May 2017 . . . .” In an interview with Husch
Blackwell, Lewis again stated that she informed White in May 2017 because she was “sore at
practice, like in my stomach,” which prompted her to “tell Donavan” that “Drake had punched me
in the stomach.” Lewis stated that White’s response was, “Nothing. Absolutely nothing.” She
added, “I told him that it had happened because I remember clearly that in April of 2018, he said
to me, he goes didn’t this already happen last year? I’m gonna have to report it because it’s already
happened.”

We interviewed White on January 5, 2021. White explained that he was employed as a graduate
assistant in LSU’s Athletic Training Department and in the summer of 2017, he staffed the football
team. The tennis team’s full-time trainer at the time was Sean Carter. In “late April/early May”
2017, Carter left LSU, and White “transitioned” to staffing the tennis team shortly thereafter.
White stated that he “probably officially met Jade” in April 2017, during this transition. White also
stated that he knew “of” Davis due to his time with the football team, but he denied having any
knowledge that Lewis and Davis were in a dating relationship at that time. White also denied that
he knew of any abuse between Davis and Lewis prior to “spring of 2018, after she had left and
come back” and “was trying to get her eligibility again.” We found White’s account credible and
consistent with other accounts regarding Lewis’ communications about her injuries during this
time. We also note that, in April 2018 (as discussed below), White did immediately report Davis’
abuse when he learned about it then.

Beginning in June 2017 through February 9, 2018, Lewis participated in professional tennis
tournaments throughout the world. Despite the May 2017 incident of abuse, however, in March
2018, she elected to return to Baton Rouge. She initially moved in with Davis, but after
communicating with the Sells and Segar, the University placed her in University housing on March
21, 2018. Jade began classes during LSU’s “spring intersession” on May 14, 2018.

One of the disputed facts we have been tasked with addressing is whether Jade’s father, David
Lewis, reported the May 2017 incident of abuse to tennis coach Mike Sell during the summer of
2017. 167

In a statement to police investigators dated August 19, 2018, David Lewis reported:

         Mr. Lewis had contacted Ms. J. Lewis’ tennis coach, Mike Sell (LSU Tennis coach
         - female team), on two separate occasions. Mr. Lewis called Mr. Sell in June and
         July of 2017, [and] during these phone calls Mr. Lewis explained that Ms. J. Lewis
         was being physically abused by Mr. Davis. According to Mr. Lewis, Mr. Sell said,
         “I don’t believe that,” and in the second call he was told again about the relationship
         and abuse at which time Mr. Sell had said, “Couldn’t be possible, wouldn’t be
         possible.” Mr. Lewis went on to explain that he knew his daughter was coming
         back to LSU at this time and wanted to alleviate and stop the abuse by notifying the
         coach.


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   Our assessment of that issue is discussed below. The assessment is complicated by the fact that this matter is from
several years ago and has already received considerable media attention.

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During an interview as part of this review, David Lewis’ account was slightly, but materially,
different. Lewis stated that, in June 2017, he told Mike Sell that “there’s something going on with
Jade, it’s toxic, she’s behaving strange, it’s just not right.” Lewis clarified that Mike Sell initially
contacted him in June to discuss an unrelated NCAA compliance investigation for the University.
According to David Lewis:

         We had a couple of conversations there in June. And—but it certainly came out in
         that conversation about there’s something going on with Jade, it’s toxic, she’s
         behaving strange, it’s just not right. And he denied it. “No, no, no. He’s a superstar,
         he’s—there’s no way, you know, there’s no way that basically that guy could mix
         with your daughter. It’s just he’s a big time foot—he’s a big time football player.”

David Lewis did not specifically state that he told Mike Sell that Davis was physically abusing
Jade during the June 2017 phone call(s). Instead, David Lewis described being understandably
focused on his concern that his daughter was behaving strangely, including “red flags” with Lewis’
relationship with Davis, which he allegedly communicated to Mike Sell. David Lewis also
described concerns regarding the Sells’ alleged attempts to encourage Jade Lewis to renege on
plans to play professionally.

Over the course of this investigation, we were provided a string of emails between David Lewis
and Mike Sell from June 13, 2017. Significantly, there is no mention by David Lewis to Michael
Sell of any abuse and Lewis appears to be solely concerned that Jade wanted to stop playing
professionally and return to play college tennis. Lewis tells Sell that because of various financial
commitments, Jade is “ineligible for college tennis now anyway.”

In his interview with Husch Blackwell, David Lewis also stated that in July 2017, Jade confided
in her sister, Carolina (who is now deceased), that Davis punched her prior to the NCAA
Tournament. According to David Lewis, Carolina confronted Davis over the phone. Lewis
described Carolina’s conversation this way:

         So Carolina calls Davis and, uh, and Carolina ended up telling my wife and I that,
         Davis—because Carolina was very concerned about Jade’s behavior. She was, you
         know, we noticed it but she was telling us something’s—that’s not our Jade. That’s
         not my sister. That’s not Jade. She’s—something’s up.

         So she called Davis, or it was a Snapchat or whatever, whatever means they use
         these days, and, uh, long and the short of it was, uh, we know that, um, Davis was
         abusive towards Jade. Called her a fucking cunt. And called me, to Carolina, he
         called—your father’s a dick. Which I don’t even know the guy, but he’s still calling
         me a dick to our—to—to, uh, Carolina. And then during that time, then it started to
         come out. Because Jade had told Carolina that she was punched before the NCAAs
         but again, like a lot of bystanders, or, you know, they—they keep these things to
         themselves. But uh, that’s when we became aware of it that, uh-huh, now we know
         that, you know, she was assaulted.

David Lewis stated that Lewis’ sister relayed this conversation to them “around July the 24 or 25.”


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According to David Lewis, this prompted him to contact Mike Sell in July 2017. He described the
conversation in our interview this way:

         And that’s when I called Mike Sell in July, when we found out. I went through—
         we went through text messages with my wife’s—just now, earlier, because she was
         in Italy at the time, towards the end of July—it was actually July the 25th, 2017. . .
         . I was in Germany waiting for Jade because Jade was up in Finland playing . . . a
         couple of tournaments with a coach. And I had to stay in Germany to pick her up
         when she came back from Finland. So I was in Germany at the time and I was
         calling the Sells and then we found out this—then—she was abused. So that’s when
         I called Sell. We’re having a few conversations about—and Sell was telling me
         she’s still eligible, she’s still eligible. I said she’s turned pro. She’s playing club
         tennis. She’s taking money. She’s got sponsors. You know, all this stuff. And now
         she’s still pro, she’s still pro. It doesn’t matter even if she’s—she’s still eligible.
         She’s still an amateur.

         And it was like, Mike, you know, we’ve just found out what’s happened as well,
         and, you know—so after that conversation, that was the end of it. Never spoke to
         him again in my life because we knew what they were doing. It became a tug of
         war.

David Lewis provided two pieces of documentary evidence relating to the alleged July 2017 phone
call. The first is a July 26, 2017 exchange between himself and the Director of Tennis at a facility
in Hilton Head, South Carolina, Denny Bianco. In it, Bianco asked about whether Jade was “ok”
because she had retired in the third set of a tennis match in Europe. David Lewis responded as
follows:




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He also produced the following texts between himself and his wife from July 25, 2017.




In the texts to his wife, David Lewis noted that he “just sent Mike Sell a text that I have more
disturbing news about LSU and Drake Davis.” (Emphasis added). The alleged text between Mike
Sell and David Lewis was not provided as part of this review.

In his interview with Husch Blackwell, Mike Sell confirmed that had phone conversations with
David Lewis in June and July of 2017, but stated that Lewis’ descriptions of the “substance of the
calls are completely inaccurate.” Regarding the June 2017 conversations, Sell stated that Mr.
Lewis called to ask if Sell “had heard from Jade” because “Jade wants to come back to school”
and “wants to come back to Baton Rouge.” From Sell’s perspective, David Lewis was unhappy
about this development because he “wanted to keep the narrative of [Jade] playing pro tennis alive”
regardless of “whether Jade wants to or not.” Sell also recalled that Jade Lewis “called me a lot
that summer,” saying she was “unhappy” and “wants to come back to school.” Sell described these
conversations as Jade asking, “how do I take control of my career,” to which Sell responded “she
has to do it,” referring to having a direct conversation with her father. Sell also noted that he
communicated to Jade that she would need to “talk with Compliance about maintaining

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eligibility.” Sell also recalled an in-person meeting with Jade in August 2017 in a “hotel lobby in
New York,” during which she reiterated that she “did not want to play in the pro tour,” “wants to
come back to LSU,” and was seeking advice regarding “how do I talk to my dad about this.”

Mike Sell also specifically denied making any statements to the effect of “couldn’t be true,
wouldn’t be true” or “wouldn’t be possible” at any point in his conversations with David Lewis,
describing this as a “fabrication.” Sell added that over the several months that Jade was playing on
the pro tour, Mr. Lewis described Davis as a “distraction” to Jade and emphasized that he “did not
want her coming back [to LSU] for a boy.” Sell stated again that at no point did David Lewis
communicate that Davis was “abusing” Jade. Sell noted that at the time Davis was not a “big time”
football player, stating that he had no awareness of Davis at all.

Weighing all of this information and documentation, we first find that there is insufficient evidence
to conclude that David Lewis communicated that Jade Lewis was being abused by Davis in June
2017, as indicated by David Lewis’ August 2018 statement memorialized in the LSUPD report.
Although Mr. Lewis may have expressed concerns regarding Jade and Davis’ relationship in June
2017, Mr. Lewis acknowledged that he was not aware of any physical violence by Davis until his
older daughter relayed that information to him on or about July 25, 2017. Accordingly, David
Lewis’ August 2018 statement that he told Mike Sell that Jade “was being physically abused by
Mr. Davis” “on two separate occasions” in June and July of 2017 is inconsistent with the
information he provided as part of this review because any reports in June would have predated
when David Lewis and his wife became aware of the abuse.

Additionally, David Lewis explained in his police interview that he told Mike Sell about this abuse
(even though Jade was no longer enrolled at LSU and was in another country at the time of the
purported report) because at that point “he knew his daughter was coming back to LSU . . . and
wanted to alleviate and stop the abuse by notifying the coach.” This is curious because at that time,
Jade had turned professional and we have found no indication that she had any definitive plans to
return to LSU in June or July; although, she had expressed to the Sells that she was miserable on
the professional tour and wanted to return. Additionally, it prompts a question: if David Lewis
wanted Mike Sell to know about the abuse so that it would stop, why wouldn’t Lewis have reported
the incident to someone else at the LSU campus or the police when Mike Sell purportedly ignored
him?

Similarly, Jade Lewis returned to Baton Rouge in March 2018 and actually moved in with Davis.
We have struggled with David Lewis’ account that he flagged this issue in July 2017, was ignored
by Mike Sell, and then never raised the issue immediately prior to Jade’s actual return to campus
and (Drake Davis’ apartment) eight months later.

Mike Sell has credibly denied David Lewis’ assertion regarding reports of physical violence by
Davis against Jade. As noted above, Sell also pointed out that Davis was not even someone he
knew at the time. Davis was not a prominent member of the football team and had only played in
three games prior to July 2017 (he had one reception that entire year). We have been unable to
identify any motive for Mike Sell, the tennis coach, to protect a “star football player” who was
abusing one of his star tennis players, especially since Davis was clearly not a star football player.



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Put simply, we have concluded that there is insufficient evidence to conclude that David Lewis
reported to Mike Sell in June or July of 2017 that Davis had abused Jade Lewis.

                             b.       April 3, 2018 Abuse

It is undisputed, though, that Davis’ abuse of Jade Lewis continued a couple of weeks after Jade
returned to Baton Rouge in March 2018. Specifically, on April 3, 2018, Jade Lewis was hit by
Davis. At that point, Lewis was not an LSU student. 168

On April 14, 2018, Davis had the following text exchange with Executive Deputy Athletics
Director Verge Ausberry:

                Davis:        This Jade girl is crazy
                Ausberry:     Who is that?
                Ausberry:     The Tennis Player?
                Davis:        Yes
                Ausberry:     What happened?
                Davis:        She’s trying to go to compliance for me hitting her, she’s trying
                              to get me kick off the team. I went over there to get my stuff. She
                              got mad that I wouldn’t talk to her. She started to hit me. And I
                              hit her in the stomach.(which is not good) and I walked out…
                              then when we were out. She starts punching (I didn’t touch her)
                              me in the bar and so I got her kicked out. And she tried to call
                              the police at the bag.
                Davis:        Now because I don’t want to be with her. She’s trying to talk
                              now… that happened like two weeks okay

These text messages were only discovered because the Louisiana Attorney General’s office
conducted a forensic digital analysis of Davis’ cellular phone as part of a subsequent criminal
investigation into Davis’ abuse of Lewis. During his interview with Husch Blackwell, Ausberry
provided some context, indicating that Davis had complained to him that he wanted Lewis to move
out of his apartment, but she refused.

After receiving these text messages, Ausberry’s phone records showed that he did not immediately
call Segar or the Title IX Office. Instead, he spoke with Davis for six minutes. In an interview with
The Advocate newspaper, Ausberry said that “when he confronted Davis about his text, Davis
assured him he had not hit his girlfriend, saying they were simply arguing about her refusing to
leave.” That assertion is not credible as Davis explicitly says in the text exchange that “I hit her in
the stomach” and acknowledges this “is not good.” As discussed below, Davis also subsequently
admitted to the Title IX Office that he hit Lewis.

In the newspaper article, Ausberry also said he advised Davis to call the police. According to
Ausberry, “When [Davis] told me on the phone that he did not hit her, that’s the information I had

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      According to University records, Lewis began a course during the “spring intercession” on May 14, 2018.

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at the time. That’s why I made the decision I made at that time. Now, hindsight 20/20, figuring out
what’s going on in today’s world, yes, I would have picked up the phone and said, ‘You know
what? We’re going to call 911 and figure it out.’” 169 This explanation is not credible.

During his interview as part of this review, Ausberry said that prior to this text exchange, Davis
had told him that “a white man was harassing” Davis on at least two occasions. Ausberry identified
this “white man” as Jade’s father, David Lewis. When Davis reported this alleged “harassment”
to Ausberry, Ausberry stated that he recommended Davis “call the police,” which Davis declined
to do. Ausberry shared this anecdote presumably to bolster his position that he again told Davis to
“call the police” in response to the information purportedly relayed to him in the April 14, 2018
texts and phone call.

Ausberry also said that at the time, he did not believe that Jade Lewis was an LSU student and had
never been informed that incidents involving non-students triggered reporting obligations under
PM-73. 170 In any event, in addition to not calling the police, it is undisputed that Ausberry never
reported the matter to Segar or the Title IX Office. This was an error. 171 At a minimum, Athletics
policy noted it was “imperative” for employees to report incidents of student athletes engaging “in
misconduct unbecoming of a student-athlete” to Segar. Dating violence—a crime—certainly
qualified. In addition, Ausberry acknowledged being familiar with Lewis and her affiliation with
the University in his interview with Husch Blackwell. A prudent employee and administrator
would have taken steps to report this information to appropriate authorities to at least conduct a
welfare check given the seriousness of the information relayed in the text messages.




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    Andrea Gallo and Brooks Kubena, LSU official might have broken federal law after Drake Davis admitted he hit
girlfriend,                  The                Advocate,               November                  18,               2020,
https://www.theadvocate.com/baton_rouge/sports/lsu/article_bfa592b6-29ae-11eb-94d1-2377391922ad.html
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    The “jurisdiction” statement in PM-73 (2015) indicates that “LSU shall have discretion to extend jurisdiction over
conduct that occurs off campus when the conduct adversely or significantly affects the learning environment or LSU
community and would be a violation of this policy and/or any applicable campus policy or code of conduct, if the
conduct had occurred on campus. In determining whether or not to extend jurisdiction, LSU may consider, among
other factors, . . . if the alleged conduct by the student or employee: 1. Involved violence or produced a reasonable
fear of physical harm; and/or 2. Involved any other members of the LSU community or any academic work, records,
documents, or property of LSU.”
171
    We believe the University should consider appropriate discipline for Ausberry. Ultimately, it is the University’s
responsibility to determine what is “appropriate” discipline for this failure to report. For the sake of clarity, we view
the failure to report as a significant error by Ausberry. The failure could have led to catastrophic consequences. At the
same time, and while we understand the anger in the University community regarding this matter, we believe it is
imperative that Ausberry be treated fairly. To that end, Ausberry is a long-time and valued employee of the University.
His contributions to the University and to the University’s African American community in particular are laudable.
Additionally, Ausberry’s failure to report should be viewed in context – as discussed above, there was a clear lack of
leadership in providing clarity about institutional reporting obligations. This was a long-recognized problem at the
University that was never meaningfully addressed. One of our primary recommendations below is designed to finally
address this. Finally, we are also mindful that there was a previous review conducted of this specific matter which
concluded that “we do not find a basis to discipline any of the employees with whom we spoke because of the general
misunderstanding regarding proper reporting processes . . . .” While we believe there is a basis, in fairness to Ausberry,
we agree that discipline should take into account this “general misunderstanding.”

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                       c.     Information Shared from East Baton Rouge District Attorney

It bears noting that the disclosure of these texts in the November 2020 USA Today article was not
a surprise to LSU. The East Baton Rouge District Attorney specifically shared the texts and other
information regarding the Davis criminal case with former President Alexander and then-
University General Counsel Tom Skinner in November 2018. The texts and other information were
shared in meetings between the leadership of the University, LSUPD, and personnel from the
District Attorney’s office tasked with investigating the Davis case.

In addition, the District Attorney went so far as to prepare “detailed timelines of the various
allegations against Mr. Davis” which included “contacts [between] LSU staff and witnesses, the
alleged victim, and Mr. Davis.” That 57-page document was specifically shared with General
Counsel Skinner on November 8, 2018 because the District Attorney understood “the need for you
and LSU to have some basic information to conduct any investigation that you feel appropriate
based on the information that you have from your meetings with the LSUPD and my office.” The
cover correspondence from the District Attorney also noted, “My office has no jurisdiction over
any potential Title IX investigation but feel obligated to provide what information that we can in
a limited fashion to you at this point in order for you to review and make appropriate decisions.”

Of note in the shared materials is the following disclosure:




However, despite being provided with this information, no Title IX investigation regarding
Ausberry’s failure to report Davis’ admission of dating violence against Jade Lewis was
immediately initiated by the General Counsel, who oversaw the Title IX Office. This, despite the
fact, that the Title IX Office was in the midst of a haphazard investigation into Sharon Lewis’
purported “failure to report violations of University Policies on Sexual Misconduct” regarding
Davis’ alleged abuse against Complainant 1. This information was also not shared with the
University’s Title IX Coordinator, who Skinner supervised.

Instead, as noted above, the University’s review of the information and evidence contained in this
report was apparently handed off to the Morgan Lewis law firm in April 2019—five months after
the University was provided the information. The final Morgan Lewis report was delivered on
September 16, 2019. A draft of an earlier version of the report discovered as part of this
investigation contains the following insert regarding whether to discipline “any of the employees
with whom [Morgan Lewis] spoke,” which included Ausberry:




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As noted previously, this report was not shared with the Title IX Office, not investigated by any
University office, and Ausberry was not disciplined following the report.

                           d.       Segar’s First Report to Title IX Regarding Davis

In any event, it was not until April 26, 2018, almost two weeks after the Ausberry-Davis text
exchange, that a report of abuse was made to the University’s Title IX Office. Fortunately, there
was no escalation in violence in the almost two weeks between the date Ausberry was put on notice
that Davis hit Lewis and when the report was made. On April 26, 2018, Miriam Segar appropriately
submitted an on-line Sexual Misconduct and Sexual Harassment (PM73) Complaint Form. This
report was routed to Associate Dean of Students & Director of Student Advocacy and
Accountability Jonathan Sanders and the Title IX Coordinator, Stewart.

The report noted that “Davis and Lewis are in a dating relationship” and that it “was reported by
Lewis to the team athletic trainer and to me that she was punched in the stomach/rib area by Davis
on April 3, 2018.” 172 The report noted that this was the first time this incident had been reported
to “Athletics Administration”—however (presumably unknown to Segar), it had been reported to
Ausberry, the Executive Deputy Director of Athletics, almost two weeks prior.

According to Segar’s report, more than three weeks after being punched by Davis, Lewis’s ribs
were still “very swollen” and she had been unable to sleep because of the pain. 173 In her report,
Segar noted “Lewis reported that Davis was first abusive to her in Spring 2017 when he was upset
and punched her in the stomach” and that the April 3 incident was “the second time she had been
physically abused by Davis.” According to the report, Lewis “indicated that Davis is very
possessive of her and doesn’t like her to leave the apartment and always wants to know where she
is.”

The report noted that Lewis was “encouraged to cease contact” with Davis and “file a report with
LSU Police.” Lewis “indicated that she was still in a relationship with Davis and did not want to


172
    Another issue we briefly explored during this review is whether LSU’s medical staff appropriately documented
Lewis’ examination and treatment following her April 25 report. Lewis was treated by Dr. Carey Winder, a staff
physician. White was present during the examination. During our interview, White stated that medical records for
students are typically recorded in a program called “EMR.” During Lewis’ examination, White recalled typing some
notes, but stated that this was done in a “Microsoft Word document” and not the University’s central database because,
at the time, Lewis was not an active athlete. Both Husch Blackwell and the Baton Rogue police department requested
a copy of these notes, but the University was unable to produce them, and a forensic examination of the device by law
enforcement did not produce the record.
173
    We emphasize that had Ausberry reported Davis’ text message to the Title IX Office or the police when he received
it, Lewis could have received more timely medical care.

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report the incident to police.” The report closed that the “[i]ncident is concerning for [the] safety
and welfare of the student.” 174

The next day, the Title IX case was assigned to Scott, who noted that this was one of the first—if
not the first—Title IX cases he handled in his new role as Lead Investigator at the University.
Susan Bareis of Lighthouse also “reached out to Jade for Lighthouse Support.”

In a quote in a newspaper article, a former University official said, “As soon as the Office of
General Counsel became aware of the allegations that Drake was being abusive toward Jade Lewis,
we conducted a textbook investigation involving the District Attorney’s Office, our Title IX office,
LSUPD and Student Affairs. We moved Drake from campus as fast as we could and we tried to
give Jade as much support as we possibly could.” 175 While this case was remarkably complicated,
for the reasons discussed in detail below, this simply was not a “textbook investigation” and Davis
was not “moved . . . from campus as fast as [LSU] could.”

Instead, despite Segar’s April 26, 2018 report indicating that the April 3 incident was the second
alleged act of dating violence committed against Lewis, and despite Segar expressing concern for
Lewis’ safety and welfare, the University’s Title IX Office did not interview Lewis until May 21,
2018 (almost a month after Segar’s report). This is the short note summarizing that interview:




Scott then waited until May 23, 2018 to reach out to Miriam Segar to schedule an “informal
interview” with Davis. Scott “spoke with Miriam Segar” who said “she will be out of town till
Monday the 28th” and that the interview would be scheduled upon her return. It is unclear why
Segar’s attendance was necessary to schedule an interview with Davis (who had been accused of
a serious act of dating violence) or why the interview scheduling was being facilitated through
Segar. Ultimately, the Title IX interview with Davis was not scheduled until June 5, 2018. This
delay was unreasonable given the seriousness of the situation.

Underscoring the latter point, on May 31, 2018 (i.e., after Segar’s Title IX report but before Scott
interviewed Davis), Davis sent Lewis the following texts threatening to “beat,” “punch” and “kill”
Lewis:

     x    “You might as well come over right now. I’m really about to beat you. I’m not joking.
          Idc anymore.”


174
    Lewis was technically not a student at this point. With that said, unlike Ausberry, we believe Segar made the correct
decision in making a report regarding this matter to the Title IX Office.
175
    Andrea Gallo, In Drake Davis abuse case, SEC and LSU president were warned two years ago about school’s
inaction, The Advocate, December 2, 2020, https://www.theadvocate.com/baton_rouge/sports/lsu/article_fd6afef0-
34b3-11eb-805d-07786b992ee1.html

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      x    “I’m gonna punch you. Come over. I might kill you. You’re so stupid. Idc at this point.
           Hurry up. The longer I wait the more angry I get.”
      x    “Fucking stop talking to me you stupid cunt . . . Just kill yourself. You literally have
           nothing to live for.” 176

While the University was not aware of these texts and escalating threats, they highlight the
necessity of urgency when investigating allegations of relationship violence, even where the
reporter is a reluctant participant.

During his June 5 interview with Scott, which took place “in the Athletic Office,” Davis described
his relationship with Lewis as “volatile.” He claimed Lewis “has occasionally gotten very physical
with him” and that she purportedly “even busted in his apartment door.” Davis contended that he
“had to fight her off of him.”

Regarding the April 3, 2018 incident, Davis claimed he “went to her apartment to get his
belongings” and they “got into an argument because she wanted him to stay.” Davis contended
that Lewis “kept hitting him on the back and head.” Remarkably, Davis admitted to the Title IX
investigator that he “turned and punched [Lewis] in the stomach.” After punching Lewis, Davis
said he “left the apartment.” Regarding the allegations of earlier abuse, Davis stated that he “did
not recall punching Lewis before” and “maintained this was the first time.”

Throughout this interview, Davis maintained that he was the actual victim of abuse and “stated
there have been several occasions where he could have reported Lewis for being violent but chose
not to.” According to Scott’s notes, the interview closed with Scott thanking Davis for meeting
and advising “him of student support services . . . .” He was also told that he should have “limited
contact with Lewis.” While Scott did not have the text messages above, there is no evidence that
he asked to see any of Davis’ text messages with Lewis. Despite the allegations of earlier abuse,
the severity of Lewis’ injuries, Davis’ acknowledgement that their relationship was “volatile,” and
Davis’ admission that he “punched” Lewis, the University took no interim action to suspend Davis
and also did not issue a no contact or other protective order to separate Davis and Lewis. 177 This
was an error.

Instead, the approach was too passive -- the following note closing this dating violence case was
entered the day after Davis’ interview:




176
   These were found in the forensic review of Lewis’ phone.
177
   When asked about this decision, Jonathon Sanders—the Director of Student Advocacy and Accountability and
decision-maker regarding interim suspensions—stated that they were reluctant to issue a no contact order to the parties
because Lewis “didn’t want a no contact—she wanted to contact Drake . . .we knew she would violate the order and
we didn’t want to have to charge her . . . .” As discussed below, though, they did charge her with other alleged offenses
during this time.

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When asked whether she had ever “inform[ed] Coach Orgeron” of the development, Segar stated
she did not “know whether I specifically talked to Coach about Drake, other than to say here are
the issues, they are being investigated.” Orgeron similarly did not recall any specific
communication with Segar regarding the outcome of this investigation or the counseling directive,
although he did recall an instance where Segar called him to report something along the lines of,
“Coach, Drake needs to stay away from that girl,” referring to Lewis. As discussed below, this
task of trying to keep Davis and Lewis apart was given to assistant football coach Mickey Joseph.

We believe the mandatory counseling edict, standing alone, was insufficient under the
circumstances. Nevertheless, the Title IX Office did not even monitor whether Davis was attending
“mandatory counseling.” Instead, Davis was referred to an “in-house counselor” in the Athletics
Department. Davis attended one appointment on June 8, 2018 and failed to show for scheduled
appointments on June 15, June 22, July 13, and July 20.

There is also no indication about how the Title IX Office arrived at the decision to not move
forward with discipline against Davis considering that: Davis admitted to punching Lewis; her
injuries were so severe that she had “very swollen” ribs weeks after being punched; this was not
the first incident of alleged abuse against Lewis; and Segar’s expression of concern for Lewis’
safety. While we recognize the complexity of the situation—namely, Lewis was a reluctant
participant in the process and continued to initiate contact with Davis—at the risk of being
repetitive, we believe it was clear error to not interimly suspend Davis from the University at this
point and move forward with disciplinary proceedings against him. The failure of the Athletics
Department to report the earlier incident involving Complainant 1 compounded the error.

                           e.       Segar’s Second Report to Title IX

Perhaps not surprisingly, less than two weeks after the Title IX Office closed the matter, on June
18, 2018, Segar made another PM-73 report involving Davis. 178 The incident is described as
follows:




178
   On June 19, 2018, a tennis player reported to Julia Sell that she was “concerned for Jade.” The tennis player
purportedly told Sell “that she had to go to Jades (sic) apartment at 2:00am where the cops were called because Jade
was in a fight with her boyfriend, Drake Davis. She said Jade complains that he is abusive and hits her but lied to the
police about what happened.” Sell immediately shared this information with Segar. The following day, Julia Sell also
“followed up with Jade about the cops being called to her apartment.” She “asked what happened” and Lewis “said it
was a big misunderstanding and that her and Drake were just arguing.” Lewis “said she was good.” In an interview
with Husch Blackwell, Sell indicated that this was the first time she became aware of physical abuse between Davis
and Lewis. She also stated that several other players reported concerns regarding the relationship during this time
frame, all of which she relayed to Segar “on a nearly daily basis.”

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Despite the incident taking place in the University’s on-campus West Campus Apartments
building, it was reported as having taken place “off-campus.” 179




The University did not issue a Clery Timely Warning (despite having a practice of sending such
warnings for dating violence cases) 180 for this incident, and it is not clear whether the incident was
counted in the University’s Clery statistics.

In this report, which was assigned to Stewart, Segar rightfully noted that she is “concerned about
higher level of escalation and potential injury” and “for escalation of domestic violence.”
Additionally, around this time, various LSU tennis players were expressing concerns not only for
Lewis’ safety but about the possibility for spillover violence which could impact them as well.

In any event, despite this being the third incident of dating violence reported to the Title IX Office
regarding Davis and the dire concerns expressed by Segar about “escalation and potential injury,”

179
    As we note in other areas of the report, our review did not include an analysis of the University’s Clery crime
statistics, but the accurate designation of the location of crimes (i.e. in or outside of “Clery Geography”) is a critical
step in crime statistic compilation and reporting.
180
    See, e.g., https://lsu.edu/police/alerts/2017/1028-domesticviolence.php.

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the University waited over two weeks (until July 3, 2018) to even charge Davis with potential
violations of the LSU Code of Student Conduct. In contrast, on June 20, 2018, Residential Life
staff members charged Lewis with “Violating, attempting to violate, or assisting in the violation
of any Health and Safety related policy outlined within the LSU Residential Life Living on
Campus Handbook”—because she had a candle in her room. She was found responsible for this
violation two days later.

When asked about the decision to charge a victim of dating violence with housing violations
instead of charging Davis for violating PM-73, Sanders stated that “Jade didn’t want to get Drake
in trouble.” Because “she wasn’t cooperating,” Sanders “knew we would have hard time reaching
the preponderance standard” even though Davis admitted in his interview with Scott that he hit
Lewis. According to Sanders, although “Jade didn’t want to move forward” with a PM-73 case,
“we did have control over residential life. . . . So we charged them with res life violations.” Sanders
stated that “we thought we could at least address the residence life issues—the fact that he had a
key . . . it was a way to engage, to try and address the behavior with Drake.” Sanders added, “at
the time, we didn’t know about all the other stuff” and his team was “trying to understand other
ways to address the situation outside of PM-73 because she did not want to come forward.” 181

For many reasons, we believe this decision was misguided. First, Sanders’ contention that the
University “didn’t know about all the other stuff” at the time SAA charged Lewis with residential
life violations is incorrect—the June 20 charging letter is dated two days after the June 18 report.
It is also after Davis admitted to Scott that he punched Lewis. In addition, and regardless,
disciplining a victim of dating violence for having a candle in her room—which was discovered
through an investigation into a report of dating violence—sends a troubling message to victims of
abuse and misconduct which does not encourage reporting to the University. 182

It is not clear though what, if any, interventions were made to ensure Lewis’ safety—albeit that
any such interventions may ultimately have been ineffective given Lewis’ lack of cooperation and
continued voluntary contact with Davis. 183 It is remarkable, though, that Davis was not interimly
suspended based on the severity of the alleged conduct and Davis’ previous admission that he had
punched Lewis in the stomach.

Following Segar’s June 18, 2018 report, Davis was simply required to meet with a Student
Advocacy & Accountability hearing officer on July 11, 2018. Davis was interviewed by Sanders
who provided the following short summary of the interview:

181
    Lewis and Davis were referred as students of concern to the University’s CARE Team. Sanders indicated that the
decision to charge the parties with residential life violations was made in those conversations.
182
    We note that beginning in 2018 the University’s Code of Conduct implemented an “amnesty” policy in place to
address such concerns. See Code of Conduct (2018) at 3.4 (“Student safety is of utmost importance to the
University. To encourage Students to make responsible decisions, the University recognizes the need for amnesty
from University sanctions in certain situations. . . . Amnesty is intended to promote action when an emergency
situation is present. . . . The decision to grant amnesty will be determined by the Dean of Students and/or SAA on a
case-by-case basis.”).
183
    Throughout this time, Lewis’ account vacillated between acknowledging the harm Davis was inflicting on her and
then changing her position to say that she had made her previous allegations up. As noted above, this is a frustrating,
but not uncommon, phenomenon for victims of relationship violence.

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Around this time, as alluded to above, Davis’ position coach, Mickey Joseph, was put in perhaps
the impossible position of ensuring that Davis had no contact with Lewis and vice versa. During
his interview as part of this review, Joseph made plain this was a position he was deeply
uncomfortable being put in. Lewis’ coach, Julia Sell, reported receiving a similar instruction from
Segar and described feeling exasperated and overwhelmed with the task, which included managing
the concerns of Lewis’ teammates as well as the safety of Lewis herself. We agree that this was an
inappropriate request for the University to make of the students’ coaches. Instead, the University’s
reasonable concerns about keeping Davis and Lewis apart—or more aptly, protecting the safety of
the campus community—should have been facilitated through LSUPD, Residence Life, and/or
SAA.

Two weeks after interviewing Davis, on July 25, 2018, Sanders finally interviewed Jade Lewis. In
his report summarizing his interview with Lewis, Lewis mentioned the April incident with Davis
but purportedly “said she did not want to pursue Title IX options . . . .” She also “shared that she
ended the relationship Monday, July 23, 2018 . . . .”

During her interview with Sanders, Lewis was “adamant that she and Davis were not in a physical
altercation” on June 18. “She said he never touched her that evening” and “said that Davis did not
hit her or choke her as stated by [Lewis’ roommate]. She said it was only a verbal argument.”

The report closed by Lewis saying that “she and her parents had a falling out and she does not
speak to them.” Lewis also shared that “her parents do not know about this situation and she
doesn’t want them to know.”

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Three other students were also interviewed as part of this investigation, including Lewis’
roommate at the time. During the roommate’s interview, she shared that a second witness (one of
Davis’ teammates) had told the roommate that “Davis choked Lewis.” The second witness “also
shared that Davis hits Lewis.” According to Lewis’ roommate, Davis’ teammate “shared that Davis
choked Lewis once while they were in the car” and “said that Lewis’ lips turned purple.” He also
told her that “Davis dropped off Lewis in a dangerous part of town and then came back and picked
her up.”

Regarding the night in question, Lewis’ roommate “shared that she woke up about 1:30 am and
heard Lewis scream, ‘No..Stop…Get Off Me . . .’” “She also heard thrashing in the room” which
prompted her to call the police. The roommate “said she heard Davis say ‘Shut up’ right before
police arrived.” “When Lewis came back she shared with [the roommate] that she was strangled
and that Davis was hitting her.” The roommate also “shared that Lewis had red marks around her
neck.” She “said that Lewis shared that Davis was so drunk and that he just came in and hit her.”
According to the roommate, Lewis was not forthcoming with the police when they arrived at their
apartment. Despite all of this, Davis was not suspended on an interim basis and there was no
tangible intervention by the University.

The third witness, one of Lewis’ teammates (“Teammate 1”), shared that she was close friends
with Lewis. Teammate 1 “shared that the night of [the] incident, Lewis called her when the police
were at her apartment and told her to come over.” When she arrived, Teammate 1 told Sanders
“Lewis’ neck was red and her ear was bloody from her earring.” She shared pictures of Lewis’
neck with Sanders. While she “has never witnessed any violence between the two,” Teammate 1
believed it occurred. According to Sanders’ notes, Teammate 1 “said that Lewis shared with her
that she lied to police as she didn’t want to get Davis in trouble,” and “that Lewis is obsessed with
Davis and doesn’t think she will ever get over him.”

                       f.      Segar’s Third and Fourth Reports to Title IX

On August 13, 2018, Segar submitted another PM73 report to LSU’s Title IX Office:




Segar closed the report noting that she was concerned for Lewis’ safety and “want[s] to make sure
the case is handled with high priority and documented fully.” She also “[e]ncouraged Jade to report
incidents to police and press formal charges.”

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The following day, Segar submitted another report:




Despite these reports, again, there was no immediate intervention by the Title IX Office or the
University. This was a clear error. Instead, on August 15, Scott and Sanders interviewed another
teammate of Lewis (“Teammate 2”), who—among other things—noted that “she saw Lewis crying
from being hit by Davis” on April 3, 2018. The teammate “shared that Lewis said Davis hit her
because Lewis and [Teammate 1] spent the night at Derrius Guice’s apartment the night before . .
. .” She also “shared that she saw Davis push Lewis in Tigerland one night.”

That same day, Scott and Sanders met again with Lewis because “Lewis said she wanted to tell
the truth and was not truthful the first time they met.” During this meeting, “Lewis shared that she
was punched in the stomach in May 2017, and this was the first incident of violence from Davis.”
This purportedly “occurred at the Standard/ U-House.” Significantly, according to the interview
notes, “Lewis stated she never mentioned this incident to anyone nor did she report it to anyone”184
and “left LSU to go pro in tennis shortly after this incident.”

She then shared that:

           one evening in April 2018, her, [Teammate 1], and [Teammate 2] spent the night
           at Derrius Guice's place after leaving the bars. Davis was upset and came to her
           apartment at WCA the next day. Lewis said that Davis fractured her rib. Lewis
           shared that they got into an argument and she grabbed his back as he was walking
           out of the apartment to let him know he should not be upset. Lewis shared that is
           when Davis turned around and punched her in the stomach. After this occurred,
           Lewis walked outside to go to [another student’s] place for assistance and this is
           when her friends pulled up and she let them know what had just happened. There
           is a picture of her stomach with a fist mark uploaded to the case file that [Teammate
           1] and [Teammate 2] shared as they took the picture right after it occurred.

           Lewis shared that one evening she was going to get sushi with [Davis Teammate]
           and [Teammate 1]. She thinks this was June 11 or 12th. She said that Davis pulled
           up and she got into his car. She then shared that [Davis Teammate] pulled up next
           to Davis and didn’t see Lewis in the car and asked Davis if he wanted to grab sushi
184
      This further contradicts her claim in the USA Today article that she told White in May 2017.

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         with he, Lewis, and [Teammate 1]. Lewis shared this made Davis angry so he pulled
         the door shut and drove her to the ghetto about 20 minutes away from campus. He
         then took her phone and put it outside and asked her if she wanted to get it. She said
         she did not. She then got out to get her phone and Davis drove off. She said she
         then called [Davis Teammate] to pick her up. Davis then came back to pick her up
         and had her get into the back seat. Davis then…grabbed her neck as he is driving.
         They headed back to her apartment. Lewis said she was crying and ran into her
         apartment. She said that Davis then came back and they talked on her bed for an
         hour. She said that [Davis Teammate] was at her apartment then as he was staying
         with her for a couple of days.

         Lewis shared that Davis had her location at all times as she shared it with him on
         Find My Friends App, but he did not share his location with her.

         Lewis shared that [Davis Teammate] has never used the key for her apartment
         besides June 18th. She said Davis was extremely intoxicated when he came back
         from Miami and she could smell it on him. He had her Louis Vuitton duffle bag as
         he wanted to take it to Miami. She said she was arguing with him since he was with
         girls in Miami and told him that she was going to Darius’ (sic). Lewis shared that
         Davis walked in and punched her in the stomach as soon as he walked into her
         bedroom. She said she was laying down at the time. She said that Davis was
         strangling her the whole time. Lewis shared that Davis was grabbing her neck, but
         she could still breathe. She said she thinks it was so she couldn’t leave. She said
         her earring was ripped out, but doesn’t know how. Lewis shared that she touched
         her ear and it was bleeding. When Lewis noticed her ear bleeding, this is when
         someone knocked on her door and they could hear the radios. Davis went to check
         to see who it was and Lewis went into the bathroom to clean the blood off of her.
         She was only wearing a t-shirt so she put on a hoodie so they couldn’t see her neck.
         She said she was not truthful with police. Then Davis drove home after meeting
         with police. Lewis said that Davis’ dad found out and took his car away for a couple
         of days.

         Lewis shared that when she met on July 25, 2018, Davis was back on the football
         team.

         Lewis said that [student] (football), [student] (tennis), and [Davis Teammate]
         (Football) witnessed Davis pushing her in Tigerland up against a car one night.
         Lewis also shared that around the end of April or first of May, [Teammate 2] saw
         Davis push her one night in Tigerland.

         Lewis said that she went over to Davis’ on August 5, 2018, when she was
         intoxicated and was inside for a bit and then she left and he wouldn’t let her back
         in. She was sitting outside his door and [Teammate 2] came to get her.




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         Lewis shared that she has text messages from Davis threatening her but doesn’t
         want to share with us. Lewis shared that she showed the[m] to Miriam Segar in
         LSU Athletics.

         Lewis said she has seen Davis a couple of times lately and neither one has spoken
         to the other. Lewis said she wants this to go away and doesn’t want anything to
         happen to Davis. She said that Davis has threatened her and said his dad will take
         her to court if she talks and will get her kicked out of LSU and deported.

                         g.       Lewis Reports to Police

On August 16, 2018, Lewis reported to the LSU Police Department that Davis had “on several
occasions struck her causing serious bodily injuries.” She provided “photos of the injuries.” In
bizarre fashion, that same day, Lewis was informed that she was being held responsible for
violating Residential Life policies regarding alcohol because she was drinking wine in her
apartment.

Notably, the District Attorney’s Office also located the following text exchange between Segar
and Davis where Segar appears to be assisting Davis with his student conduct matter involving
Lewis:




On August 17, 2018, Davis was arrested by the LSU Police Department for Second Degree Battery
– Dating Violence. Davis was quickly released on bond—and one of the conditions of his bond
was that he was ordered to have no contact with Lewis. It bears noting that the LSUPD’s
investigation into this matter was exceptionally thorough and well done.

On August 18, 2018, media reports began running regarding Davis’ arrest. 185 Almost a week after
Davis was arrested and only after there was media attention regarding the matter, Sanders finally
issued Davis “an interim suspension under the Code of Student Conduct.” Pursuant to the interim
suspension, though, Davis was still allowed to attend classes on campus.

On that same day, though, in what had become a well-established pattern, Lewis sent the following
text to Joseph:




185
    See e.g., Glenn Guilbeau, LSU’s Orgeron mum on Davis’ battery charge of woman; attorney says alleged victim
recants,             The           Daily             Advertiser,           August             18,         2018,
https://www.theadvertiser.com/story/sports/college/lsu/2018/08/18/lsus-drake-davis-charged-battery-woman-amid-
alleged-pattern/1030894002/

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It bears noting that when Davis was arrested, the Sells and Jade Lewis exchanged the following
texts:




In violation of the terms of the interim suspension and his bond conditions, on August 26, 2018,
Lewis went to Davis’ apartment where they “got into an argument.” During the argument, Lewis
was purportedly “pushed into a couch by Davis and injured her lower leg area.” According to
Lewis, this happened “when she went to leave the apartment.”

                       h.     Interim Discipline Is Implemented

A week later, on August 30, 2018 (or over four months after Segar’s initial report), Sanders finally
placed Davis on a comprehensive interim suspension. This interim suspension was issued “due to
the potential threat your behavior may pose to the LSU campus community . . . .” It barred Davis
from participating “in academic coursework, campus activities, or appear[ing] on University
property without written permission from Student Advocacy & Accountability.” Other than
sending Davis a letter, though, we have been unable to identify any concrete steps the University
took to ensure Davis complied with the edict. According to Maxient records, this full interim
suspension was approved during a “Title IX case management meeting with Tom Skinner . . . .”

It was not until September 10, 2018 that the Title IX Office reached out to Davis to schedule an
investigatory interview. In the Affidavit for Davis’ arrest, on September 15, 2018, “LSU Police

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investigators also received information from a witness that another battery occurred between Davis
and the victim where the victim was hit in the left eye several times” at Davis’ off-campus
apartment. While Lewis “would not admit to Davis hitting her,” LSUPD investigators “could
observe that the victim’s left eye was swollen.” She said that when she woke up, she “noticed she
had a black eye” but “did not know how it happened.” A third-party witness advised the detectives
that “the eye injury was caused by Davis after he slapped [Lewis] repeatedly in the face around
her left eye.” Davis was arrested for a second time on September 15, 2018.

The day after his arrest, Davis’ attorney, Marci Blaize, submitted a request for Davis to resign
from the University. As a result, the Title IX Office “temporarily closed” the Title IX case, and
placed a hold on Davis’ transcript “until he meets with Title IX investigator to complete the
investigation.”

On January 2, 2019, Davis pleaded guilty to three misdemeanors: two counts of battery on a dating
partner and one count of violation of a protective order. Lewis refused to participate in the
prosecution of the case.

                        i.      Incidents Following Criminal Investigation

Six months later, on June 3, 2019, Segar reported yet another incident involving injuries to Lewis.
This time, however, “Lewis told her [academic advisor] that she had been hit by a softball player.”
From Lewis’ perspective, the parties got into a “verbal exchange” after the softball player
(“Complainant 3”)—who also had a relationship with Davis—provoked Lewis by making a
comment to the effect of “you put everyone in jail.” From Complainant 3’s perspective, however,
Lewis instigated the altercation when she “walked past [Complainant 3] and ‘bumped’ into her.”
Complainant 3 explained:

         Jade was “stalking” Drake that evening and attempting to follow him from bar/bar.
         She said that while in the bar that evening, Jade had walked past her and “bumped”
         into her. She said that she noticed Drake leave the bar and saw Jade following him
         outside. Once outside she saw Jade chasing him through the parking lot and yelling
         and pushing him. She saw Jade punch Drake in the face multiple times and saw
         male friends of Drake pulling him away from her. Jade began walking in her
         direction on the sidewalk and they exchanged words. Complainant 3 said Jade
         Lewis swung at her and she grabbed her arm and pushed her. She said Jade
         attempted to hit her twice and both times she grabbed her by the arm to stop her.
         She does not remember punching Jade and said that her actions were in self-defense
         only.

Sanders followed up with Lewis, Complainant 3, and Davis. Sanders later reported that Davis
“confirmed that Jade followed him out of the bar that evening and began hitting him.” Because
“people were holding him back,” Davis “didn’t see the incident with [Complainant 3] but believes
Jade went after her when she told her to stop hitting Drake.” According to Sanders, this information
corroborated two other witness accounts.

It is unclear what action the University took in response to this incident, as this is the last entry in
the case file.

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On June 27, 2019, Davis “showed up” in Sanders’ office with Complainant 3. Davis stated he was
on campus—despite being barred from campus due to his interim suspension—because he
“wanted his hold removed.” The following day, Sanders contacted Davis to tell him that he had “a
hold due to a pending matter with Title IX.”

The next day, Davis contacted the SAA office “in reference to the hold on his transcripts.” At that
time, Davis “ma[d]e arrangements to meet with Title IX Office to finalize case.” He was
interviewed by Jeff Scott on July 3, during which made the following statements:

         Davis stated that he accepted a plea deal in January 2019, to two counts of battery
         on a dating partner and one count of violation of a protective order. Davis admitted
         that he did punch Lewis in the stomach on 4/3/2018, after an argument. Davis stated
         that the pictures showing a fist mark on Lewis’s side did not come from him. Davis
         stated on 8/26/2018, he and Lewis got into an argument in his apartment. Davis
         said when Lewis went to leave his apartment, he pushed her onto the couch causing
         a small cut and she bruised her lower leg. Davis denied he ripped an earring out of
         Lewis’ ear and denied ever choking Lewis. Davis stated on 6/18/2018, the LSUPD
         was called to Lewis’ apartment, but there was not physical altercation and no arrest
         was made. Davis state on 9/15/2018, he “indirectly” violated a protective order
         when Lewis came over to his apartment and he let her inside. Davis stated he did
         not recall an incident when he and Lewis were in his vehicle and he supposedly
         threw her out in a dark neighborhood.

         At the conclusion of the interview, Scott “explained to Davis and Blaize that the
         preponderance of evidence supported a violation of PM-73 for Dating Violence
         against Davis.” Davis and his attorney accepted the finding and agreed to waive the
         10-day Title IX appeal period.

Davis was expelled from the University on July 18, 2019. As communicated to Davis in the case
resolution form, “Expulsion is the permanent separation of a Student from the University without
the possibility of readmission. You are not allowed on University property. If you need to be
on campus during the business day for official University business, you must receive approval
from the Dean of Students in advance. Expulsion will be recorded on the Student’s academic
transcript.”

While this was the correct outcome, due to an internal recordkeeping error, the required transcript
notation on Davis’ academic records did not take effect. This was an error. The practical effect of
this oversight was that Davis was able to request his transcript without the appropriate notation
and transfer to Southern University in Baton Rouge later that fall. 186




186
   Jim Kleinpeter, Former LSU wide receiver Drake Davis enrolled at Southern, coach Dawson Odums says, The
Advocate, October, 15, 2019, https://www.theadvocate.com/baton_rouge/sports/lsu/article_beeb7242-ef98-11e9-
b751-e3ed55bb5d7d.html

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                         j.       November 18, 2020 Twitter Post

Of note, on November 18, 2020, following the publication of the USA Today article, Lewis
posted the following photo on her Twitter account:




Regarding Lewis’ statement that four separate members of the tennis team made Julia Sell aware
of the abuse “between May 2017 and August 2018,” we reiterate our finding that no witness
interviewed as part of this review, including the three teammates Lewis identified from this post
during our interview with her, have stated that they directly told any LSU employee, including
Julia Sell, about the May 2017 abuse. One of the students identified by Lewis was not enrolled at
LSU until January 2018, another did not join the team until August 2017. As discussed above, the
third teammate did become aware of the May 2017 abuse after Davis texted her about the incident,
but the teammate made clear in an interview that she did not relay this information to Julia Sell.187

It is undisputed, though, that several teammates, including the teammates Lewis references in this
post, did report the April and June 2018 incidents to Sell. It is similarly undisputed that Sell
appropriately reported those incidents to Miriam Segar, as instructed by Athletics policy at the
time, and that those reports made it to the Title IX Office.

Lewis’ claim that “during the criminal case regarding the allegations I made, Coach Sell instructed
the tennis team to stay away from me” is somewhat misleading. For context, as alluded to above,
many of Lewis’ teammates expressed concerns about being impacted by violence because they
wanted to support Lewis, but she continued to have contact with Davis and he was volatile. In a
conversation with the team during the criminal prosecution, Sells acknowledged the difficulty of
the situation and noted that “a lot” of players approached her “with concerns and thoughts.”

187
   Husch Blackwell conducted outreach to all other students on the 2017 LSU Tennis roster, many of whom did not
respond or expressly declined to participate in the investigation.

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She went on: “Every concern that I have heard for the last few weeks is coming out of unbelievable
just care and love and respect. Not just for your teammates but for Jade. And we all love Jade. We
all want Jade to be safe. Okay? Nobody is telling anybody don’t hang out with Jade. Be friends
okay . . . So for those of you hanging around with Jade you know it is a concern to your teammates.
They're worried about you. They're not just worried about Jade. They're worried about you. Okay?”

She ended the meeting with the entire team acknowledging that the situation is not

         going away anytime soon and one of the biggest things that you guys need to
         understand is that I'm not an expert on domestic violence. Neither are you guys.
         You are not lawyers. You are not psychiatrists. Okay. The best thing we can do to
         help Jade is get her to professionals. Get her to accept the help that's all around her
         so that professionals can help her through this. None of us are qualified. None of
         us are qualified to properly advise her. Right? Be her friend be there for her. Choose
         whatever avenue you want to go but if you really want to help her the best thing
         you can do for her is get her to a professional. Okay? That is the biggest message
         that I can send to you on she needs to speak to professionals.

                   6.   Abuse of Complainant 3

After being expelled and barred from LSU’s campus, Davis continued to have contact with LSU
students. On November 23, 2019, Segar made another report to the Title IX Coordinator
regarding a third victim:

         [Complainant 3] is a current LSU student who has a relationship with Davis. Davis
         is a former LSU student who was expelled from LSU for past violent behavior.
         Davis and [Complainant 3] have had and on/off relationship for last several months.
         Complainant 3 and one of her teammates, . . . were at a party on Saturday,
         November 23, 2019, and Complainant 3’s car was towed and they needed a ride
         home. Complainant 3 called Davis to ask him to provide the ride to their apartment.
         Davis brought the girls to [teammate’s] apartment and Complainant 3 and Davis
         began having an argument. Complainant 3 exited the car slamming the door. Davis
         got out of the car and approached Complainant 3. More words were exchanged and
         Davis forcefully shoved Complainant 3 to the ground scraping her back, arms and
         legs when she landed on concrete. The scrapes were prominent and viewed on
         11/25/2019 during the meeting I had with Complainant 3. Complainant 3 at this
         time does not want to report the incident to the police or University. She has already
         spoken to an LSU Athletics staff counselor about the incident.

Understandably, Segar reported feeling “[f]rustrated that [Complainant 3] has not made the choice
to stay away from Davis. Encouraged her to contact police. Encouraged her to notify parents.”
Segar stated she also “[d]iscussed her need to consider returning home or transferring as a way to
be proactive with her safety.”




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                   7.     Conclusion

Throughout this discussion of the Lewis-Davis case, we have been candid about the many missteps
we believe University personnel made. The reality is that the University was not equipped to
handle a case this complicated. Equally clear is that these are precisely the sort of cases Title IX
offices must be prepared to respond to. We make recommendations below about how the
University can improve in this regard.

However, we do not think it would be fair to those personnel (nor would it be an honest, nuanced
account of what happened) to ignore the fact that Lewis repeatedly frustrated various University
and other interventions which could have mitigated harm. These include Lewis providing Davis
with a key to her apartment and repeatedly initiating contact with him despite the advice of
administrators, coaches, and her friends and teammates. This also includes the untruthful accounts
she provided to the University’s student conduct personnel and police department when both of
those entities could have assisted her. We are troubled by her August 18, 2018 text message where
she recanted her allegations of abuse and falsely asserted that she “felt pressured [by Segar] to be
dishonest about Drake hitting me.” We acknowledge and understand that the cycle of abuse is a
tragic and common aspect of interpersonal violence that is challenging to navigate, and we do not
include this information to cast blame on Lewis. These issues, though, had an impact on the
University’s ability to effectively intervene.

While there were numerous University missteps, even under the best of circumstances, there are
limits to what can reasonably be expected of higher education institutions in situations of this
nature. Ultimately, the most appropriate and effective intervention was something LSU had little
control over—Davis needed to be prosecuted and jailed.

We reiterate that ultimately there is no question that the University was ill equipped to effectively
respond to this situation.

         B.        Derrius Guice

Derrius Guice was a highly recruited running back from Baton Rouge who committed to attend
LSU in 2015. While Guice played during the 2015 football season, he became a bona fide star
during the 2016 season which culminated in him being named to the Associated Press All-SEC
team. Despite battling injuries, Guice also had a successful 2017 season and on January 10, 2018
declared that he was leaving LSU to participate in the 2018 NFL draft.

While he was projected to be a first-round draft pick, Guice fell to the late second round.
Explanations for his fall in the draft were murky. At least two media reports, though, referred to
“a couple [unspecified] off-the-field incidences (sic) at LSU that were unreported” and “another
investigation out there that could be potentially embarrassing for the kid and the team that drafts
him . . . .” 188


188
   Jared Dubin, Derrius Guice on draft-day fall: ‘Things came out of nowhere and weren’t true’, CBS Sports, April
28, 2018, https://www.cbssports.com/nfl/news/derrius-guice-on-draft-day-fall-things-came-out-of-nowhere-and-
werent-true/

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Guice was reportedly befuddled by these rumors: “It did surprise me because a lot of the things
came out of nowhere and weren't true. I just didn't understand why me, out of all people, because
I'm great to everybody, I have a great personality and I just didn't understand why everything just
hit so hard with me out of everybody.” 189

In August 2020, Guice was released by the team that drafted him, the Washington Football Team,
after he was arrested on multiple counts relating to alleged domestic violence. Guice was charged
with one count of strangulation, one count of destruction of property and three counts of assault
and battery. The strangulation charge stemmed from an incident that allegedly occurred in Guice’s
home in March where Guice allegedly strangled his girlfriend until she was unconscious. In a
February 2020 incident, Guice allegedly pushed his girlfriend to the ground in the bedroom of his
home which purportedly caused an injury to her left thumbnail.

The third assault and battery charge stems from an incident in April when Guice pushed the woman
onto the ground outside of his Virginia home. The destruction of property charge came when Guice
took the woman’s phone and threw it in the street, where it shattered. The woman purportedly took
pictures of the injuries she suffered in all three of the incidents.

Guice, through counsel, denied all of the allegations and in late January 2021, prosecutors decided
not to move forward with a felony charge of strangulation. 190 He is scheduled for trial on
misdemeanor charges in mid-March 2021. 191

While at LSU, Guice was accused of misconduct that implicated the University’s Title IX policies
at least three times. For reasons discussed in more detail below, none of those accusations of
misconduct were investigated by the University and Guice was never disciplined for any of these
reports. It bears noting that Guice’s attorney has adamantly denied that Guice engaged in sexual
misconduct while at LSU.

                   1.      Report by Complainant 1

On January 26, 2016, an LSU Swimming and Diving coach contacted Miriam Segar requesting an
in-person meeting. During that meeting, the coach reported receiving a call from a parent of
student-athlete, Witness 1, and that Witness 1 told her that Witness 1’s friend, Complainant 1,
confided in her about being sexually assaulted.

Segar immediately met with Witness 1 to get more details. Witness 1 shared that Complainant 1
told her that she was sexually assaulted by Guice “at off campus apartments, University House.”
According to Witness 1, Complainant 1 originally called Witness 1 on Saturday morning, January
23, 2016, indicating she “hooked-up” with Guice and another football player, but the following
afternoon confided that she had been sexually assaulted by Guice. Notably, Witness 1 “reported
seeing bruising on [Complainant 1’s] upper arms and that [Complainant 1] was very upset about
the incident and ashamed it occurred and continued to say she wanted it to be over.”

189
            https://bleacherreport.com/articles/2773171-derrius-guice-reportedly-had-shouting-match-in-pre-nfl-draft-
meeting-with-eagles
190
    https://wtop.com/washington-football/2021/01/felony-charge-dropped-against-ex-nfl-player-derrius-guice/
191
    Id.

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Later that afternoon, Segar reported the incident to then-Assistant Vice President, Human
Resource Management and Deputy Title IX Coordinator, Gaston Reinoso. Reinoso informed Segar
that Associate Vice President and Dean of Students and Deputy Title IX Coordinator Maria
Fuentes-Martin handled student cases and that Segar should contact Fuentes-Martin to discuss the
issue. Segar sent an email reporting the information to Fuentes-Martin later that night. She also
sent an email to Witness 1 which she hoped Witness 1 would share with Complainant 1 which
included “information on the LSU Lighthouse program which is a resource for victims of sexual
assault” and “the LSU Policy on Sexual Misconduct.”

On Wednesday, January 27, 2016, Segar and Fuentes-Martin conferred and Fuentes-Martin
indicated “that [the] most important thing is to offer assistance to” Complainant 1. Segar confirmed
“that information was sent to [Witness 1] to provide to [Complainant 1] and encourage her to seek
assistance.” Following that meeting, Segar again met with Witness 1 “to ask if she spoke to
[Complainant 1] about resources and reporting the incident.” Witness 1 “indicates that she told
[Complainant 1] that some LSU staff were aware of the issue and encouraged her to report the
incident and at minimum get medical assistance and some counseling.” Witness 1 “reported that
[Complainant 1] was adamant about not wanting assistance and not wanting to report.” Segar then
“offered to meet with [Complainant 1] to discuss her rights of receiving assistance, reporting
through University and/or reporting to police.” Witness 1 “agreed to talk again with” Complainant
1.

Segar and Witness 1 exchanged texts over the next couple of days where Witness 1 indicated that
Complainant 1 “really isn’t wanting to have anything to do with it.” Witness 1 “reported frustration
with not knowing what to do next.”

The University’s internal Title IX documentation shows that Segar made a written “PM-73 or Title
IX” report January 29, 2016 and that the report was “assigned to Jacob Brumfield.” On January
29, 2016, Fuentes-Martin noted that then-System Title IX Coordinator Marchand “suggested that
I reach out [to Complainant 1] to encourage her [to] contact me as the Title IX person.”

On February 1, 2016, Fuentes-Martin reached out to Complainant 1 via email:




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Four days later, Complainant 1 responded:




Sierra Fowler was the Director of LSU’s Lighthouse Program at the time.

Fuentes-Martin responded:




Fuentes-Martin then emailed Brumfield about “touch[ing] base with Seirra (sic) to see if there isn’t
any further follow up needed on our end.” Brumfield followed up that he had spoken with Fowler
and “she confirmed there are no expressed needs from us.” 192

There is nothing in the file materials documenting how the University arrived at its decision to not
move forward with an investigation; although, given the circumstances, this was a reasonable
decision. However, and significantly, none of the Title IX records regarding this incident mention
Guice as the respondent. When asked why Guice’s name was not included in the written report
Segar initially submitted to Fuentes Martin, Segar stated, she “didn’t want to put it in writing”
because “I got a lot of public information requests” and “didn’t think it was super secure.” She
added, “I just wanted to call and talk to people.” In an interview with Husch Blackwell, Fuentes
Martin confirmed that Segar verbally identified Guice to her, and Fuentes Martin was “surprised
that Guice’s name was not in the file.”



192
      In a newspaper article where she discusses the alleged assault, Complainant 1 also noted:

          “When a nurse at the health center asked if she planned to pursue a complaint against Guice, the
         woman said no. ‘I don’t want to be that girl that everyone looks at and says, ‘Oh, she’s lying,’” the
         woman said. “Also, I was kind of scared to go forward with it because he was so violent.” The
         nurse’s response reaffirmed to the woman that, even if she made a complaint to LSU, nothing would
         come of it. “He’s like a god around here,” the woman recalled the nurse, an LSU employee, saying.
         “It probably would get pushed under the rug.”
https://www.usatoday.com/story/sports/ncaaf/sec/2020/08/19/ex-washington-nfl-player-derrius-guice-accused-rape-
while-lsu/3391053001/. When interviewed as part of this review, Complainant 1 was unable to identify who this nurse
was.

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This was an error. 193 Because of this omission, when Guice was accused of subsequent misconduct
by other students as discussed below, this initial report was not considered or revisited. 194

                   2.       Report by Complainant 2

Complainant 2 was interviewed as part of this review on December 14, 2020. In a newspaper
article, she described an assault by Guice five months after Complainant 1’s report:

         [Complainant 2] met [Guice] for the first time in late June 2016 at a bar near LSU
         . . . She had been drinking before she arrived, she said, and at the bar, Guice
         bought her several Patrón shots. She was “extremely” intoxicated, she said. Her
         memory of the night is fuzzy. “I was very drunk,” she said. “Way too drunk to
         give consent in the first place.”
                                                 ****

         The woman made it to her apartment, where she lived alone. She and Guice went
         separate ways. Sometime after, Guice texted her, asking if he could come over,
         she said. She said she allowed him to come over but told him nothing was going
         to happen.

                                                         ****

         That night, Guice forced [Complainant 2] to perform oral, then vaginal sex, she
         said. When she woke up in the morning, he was gone, she said. She told a few
         close friends that Guice had taken advantage of the situation, though she did not
         explicitly describe it as rape at the time, she said. 195

Complainant 2 indicated that her abuse of alcohol increased because of this assault, and on April
5, 2017, her substance abuse challenges ultimately compelled her to check herself into rehab. She
was driven to this Lafayette rehabilitation facility by her coach, Julia Sell. Complainant 2’s father
texted Julia Sell thanking her “and Mike both for everything you’re doing to help us out and help

193
    We believe the University should consider issuing appropriate discipline to Segar.
194
    In a newspaper article, Complainant 1 also relayed that her boyfriend at the time was an LSU football player. This
player transferred from LSU in June 2017. At the time of his transfer, he said “I have nothing but love and respect for
Coach O and all of my brothers at LSU.” In the USA Today article, Complainant 1 said she informed her boyfriend of
the assault and he steered clear of Guice because “I probably would have lost my (expletive) on him.” In that same
article, the boyfriend purportedly said LSU head football coach Ed Orgeron brought up the subject of his then-
girlfriend and Guice “about a year after the alleged assault, telling the athlete he shouldn’t be bothered by it.” Orgeron
purportedly said, ‘Everybody’s girlfriend sleeps with other people.” Orgeron credibly denied the allegation in his
interview with Husch Blackwell. Instead, he had learned that the player was considering transferring. In trying to
figure out why he wanted to transfer, Orgeron said he learned that player’s “girlfriend was cheating on him and the
team was teasing him.” Orgeron stated that when he spoke to the player, “it was what I would have told my son. I
said, ‘you’re not the only person who has this problem, there is a solution.’” Orgeron made clear: “No one ever told
me [Guice] was accused of raping [the player’s] girlfriend.” We have tried several times to reach the player on the
phone number we were provided, but each time our calls went to a voicemail that had not been programmed to receive
messages.
195
    Jacoby, K., Armour, N. “Two women say ex-Washington RB Derrius Guice raped them at LSU when he was a
freshman,” USA Today, August 19, 2020.

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[Complainant 2] out.” He “especially” wanted to thank them for “taking her to Lafayette this
morning.”

The following week, Complainant 2 sent a card to Julia Sell where she noted, among other things,
that “I really don’t have a way to fully put in words how thankful I am that you’ve done everything
and beyond to get me the help that I need and have been right by my side throughout all of this. It
means the world to me.”

Complainant 2’s treatment was paid for by LSU. According to Segar, this is a standard practice
for LSU Athletics and records confirm that LSU’s payment was made upon her arrival at the
treatment facility.

About a week into her treatment, Complainant 2 told a counselor that “she felt she was raped by
an athlete at school.” According to records reviewed by Husch Blackwell, Complainant 2 indicated
at the time that this was the first time she ever disclosed this incident to anyone and there is no
explicit mention of Guice in the treatment records. At that time (approximately April 12, 2017),
she said she also informed her family and friends. Both Complainant 2 and her father believe that
a rehab center employee may have reported the alleged rape to LSU, but we have been unable to
find evidence corroborating this.

Around that time, though, it is undisputed that Complainant 2’s father met with Julia Sell during
the Southeastern Conference women’s tennis championships which was held from April 19–23,
2017 in Nashville. During this meeting, Complainant 2’s father wanted to thank Sell for taking his
daughter to rehabilitation. In addition, Complainant 2’s father said that he told Julia Sell that his
daughter “was raped by one of LSU’s football players.” At the time, Complainant 2’s father “did
not know [the football player’s] name.” Complainant 2’s father said Sell responded, “I don’t
believe her. She’s a liar.”

In an interview with Husch Blackwell, Julia Sell acknowledged that she met with Complainant 2’s
father but contends he told her that the counseling staff were “exploring the possibility that she
was raped.” She adamantly denied ever saying, “I don’t believe that.” She also adamantly denied
calling Complainant 2 a “liar.” During her interview, Julia Sell indicated that Complainant 2’s
father was not upset following their meeting during the April 2017 SEC tournament and actually
cheered for LSU in a match they played against Texas A&M. Complainant 2’s father disputed this.

As part of this review, we interviewed friends of Complainant 2’s father who had contact with him
following his meeting with Sell. Each relayed that Complainant 2’s father shared Julia Sell’s “I
don’t believe her” response with them. They described him as upset, angry, and stunned. One
witness actually saw Complainant 2’s father talking to Julia Sell and described him as “so upset
afterwards” and that Complainant 2’s father was “in tears.”

While we do not know with certainty what transpired between Complainant 2’s father and Julia
Sell during this conversation which occurred over three years ago, we find his account of the
conversation credible. We have been unable to identify any motive for Complainant 2’s father to
have been untruthful about this account. There are also witnesses to him being upset following the
conversation. The conversation also marked a turning point in his relationship with Julia Sell—as


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noted above, just weeks prior he had sent texts to the Sells thanking them for everything they were
doing to help his daughter.

Notably, though, Sells did report the conversation she had with Complainant 2’s father to Miriam
Segar who, in turn, reported it to Title IX Coordinator Stewart. That report, though, was again not
made by Segar through the University’s online recordkeeping system. Instead, Stewart said that
during the “early spring semester 2017,” Segar called Stewart and told her that Complainant 2
“was inpatient for substance abuse” and that Complainant 2’s father “had said to one of the Coach
Sells (at a tournament out of town) ‘his daughter was possibly assaulted’ per one of the treatment
professionals currently serving” Complainant 2.

According to Stewart, there was allegedly “no mention of what type of assault” and “Miriam and
I discussed that if it came to light it was sexual assault, dating/domestic violence then Athletics
would share with me.” Stewart also did not create any records in Maxient regarding the Sells’ and
Segar’s verbal report. This was an error.

According to Stewart, no one from the Title IX Office reached out directly to Complainant 2 or to
her father to inquire further because she “was inpatient at the time and we didn’t have access or
find it appropriate while she was receiving inpatient care.” However, even when Complainant 2
left the rehabilitation facility on April 26, 2017 (less than a week after Segar’s report to Stewart),
no one from Athletics or, more importantly, the Title IX Office reached out to her to gather
additional information about this assault. This was an error. Around the same time, Complainant
2 withdrew from LSU.

                   3.   Report by Samantha Brennan

On July 22, 2016, LSU Athletics department student worker Samantha Brennan reported to Sharon
Lewis and Miriam Segar that Derrius Guice had approximately two weeks earlier taken a nude
picture of her without her consent. Notably, in a text with a fellow student, Brennan noted she
“was really surprised how supportive everyone was, especially Ms. Sharon. I would have thought
they would have tried to shut me down but her and an advocate were the ones who encouraged me
to go to the police and the advocate came with me.”

The following is a portion of the police report summarizing Brennan’s report:




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In a follow-up conversation with the LSU Police Department, Brennan informed the detective
assigned to the case that “she still wished to not pursue charges against [Guice] and also wished to
remain anonymous as it relates to LSU CARE, Title IX, Lighthouse, etc.”

On July 25, 2016, Fuentes-Martin emailed LSUPD Sergeant Marshall Walters that she believed
Brenann’s report “could be a PM73 case” and asked if Brennan “was provided info regarding
Lighthouse and option to pursue [the] complaint via code of conduct since she isn’t sure about
criminal route.” Fuentes-Martin concluded, “I don’t want to drop this case especially as the
respondent is an athlete.”

Walters responded that Brennan “was provided with all resource information and declined to seek
any help at this time.” He also noted that Brennan “was adamant that her information not be shared
beyond the police department . . . .”

On July 27, 2016, Director of Residence Life and Education Jonathon Hyde emailed Fuentes-
Martin and Stewart seeking their guidance regarding how to proceed. Fuentes-Martin suggested
recording the case “in Maxient as a PM73 case, but as information only. This will mean that we
were aware, know the name of the suspect, but will not conduct an investigation as per the victim’s
request.” This is precisely what should have been done with the initial report involving Guice
discussed above. Her email closes, “I think this will wrap up the case. Thoughts?”

Stewart responded, “Yes, I agree with the approach. Absent prior consistent concerns, patterned
behavior or elevated risks, I think the right approach is to respect the wishes of the Complainant.
If there are other factors (pattern, predations, threats, weapons, violence) then our approach may
be different.”

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While Stewart outlined the correct analytical framework, at that point, significantly, the “name of
the suspect” (Guice) had not been recorded in Maxient regarding Complainant 1’s previous
complaint against Guice. Had it, the decision about whether to pursue disciplinary charges against
Guice may have been different.

Brennan stated she “quietly” left LSU during the Fall 2016. She stated: “I couldn’t handle a million
fans cheering [Guice] on, knowing what he’d done.”

                   4.      December 2017 Superdome Incident

On December 9, 2017, Guice attended a high school football game at the New Orleans Superdome.
Following the game, the Athletics Department received a report that Guice had “aggressively
Sexually Harassed” a 70-year old Superdome security guard.

In her appeal of the PM-73 violation and in interviews with Husch Blackwell, Lewis stated that on
or about December 13, 2017, a woman and/or her purported legal representative began calling the
Football Operations office demanding to speak with Coach Orgeron regarding an alleged incident
of sexual harassment involving Derrius Guice. Lewis stated that she immediately sent a text
message to Segar and Ausberry relaying the information, and provided screen shots of her text
messages to Segar which were included in her appeal of the PM-73 failure to report finding.

Although Lewis reported the incident to Segar on December 13, the Title IX Office did not receive
information regarding the report until December 19, when the alleged victim and/or her
representative called the Student Advocacy and Accountability office directly. According to the
SAA incident report, the alleged victim:




Husch Blackwell was not able to identify the “Coach” referenced in this report. 196

Sanders then reached out to Segar who indicated that “she was aware of the information” and that
they “were notified about a week ago.” Despite that, Segar did not report the matter to the Title IX
Office. This was an error if for no other reason than LSU’s Title IX policy applied to “off campus”
conduct in certain situations. 197

196
    In an interview with Husch Blackwell, Head Coach Orgeron denied having any direct communications with the
alleged victim, stating that “[Segar] told us about the incident” and that Segar, Ausberry, and the University’s “Taylor
Porter attorney” “did an investigation.” Orgeron was “not sure what happened.”
197
    See PM-73 (2015) at I(A).

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Segar also shared that “the President’s office was aware of the situation,” but there are no records
indicating that the President’s Office reported the matter to the Title IX Office. Segar said Athletics
consulted with “their attorney” (Taylor Porter) and they “don’t see an LSU athletics connection to
the behavior if it was true.” First, that was not the standard for assessing whether a report should
have been made. Second, this was a call for the Title IX Coordinator to make. Segar also said
Athletics conducted its own investigation into the matter, i.e.,—“they spoke to [Guice] and he
denied this occurred.” “She also shared that they also spoke to [a fellow football player] who was
identified as being present and [he] shared that this did not occur.”

Sanders also forwarded the report to Stewart who ultimately said she did not “believe this is a PM-
73 Title IX case based on the information presented.” While this may have been a reasonable
decision, there is no explanation for how this conclusion was reached. Stewart consulted with her
supervisor, General Counsel Tom Skinner, who purportedly supported this decision. Sanders’
Maxient report regarding the matter closed, “Issue is being overseen under the direction of Tom
Skinner and to please call him if there are any questions.”

Guice played his final game for LSU on January 1, 2018 at the Citrus Bowl. Despite at least four
reports of sexual misconduct during his short tenure with the University, he was never put through
the University’s disciplinary process. There also are no records that he was ever notified of these
reports or that the University even intervened to provide him some targeted training. 198

           C.       Respondent A

Respondent A enrolled at the University in Fall 2016 and was a member of an LSU fraternity.
Although he was not publicly identified, the November 20, 2020 USA Today article included
statements by LSU student Elizabeth Andries alleging Respondent A sexually assaulted her on a
bus returning to Baton Rouge from a Halloween party in New Orleans in October 2016. 199 In

198
    Additionally, in April 2017, representatives from STAR sent a letter to President Alexander, Orgeron and others
flagging a troubling tweet from Guice which expressed support for a high school classmate who had just been indicted
in the rape of an LSU student. STAR never received a response to that letter.
199
         https://www.usatoday.com/in-depth/sports/ncaaf/2020/11/16/lsu-ignored-campus-sexual-assault-allegations-
against-derrius-guice-drake-davis-other-students/6056388002/. According to the USA Today article, Andries and
Schroeder reported the following issues with the University’s response to their reports of Respondent A’s alleged
misconduct:

      x    “The Title IX case dragged on for more than six months, during which LSU rarely gave the women updates,
           twice extended the frat member’s deadlines to appeal without notifying them, and denied their requests for
           protection from him during the case, according to the women and their emails with school officials.”
      x    Andries, in particular, described the University’s “resfus[al]” to make appropriate academic accommodations
           for her to ensure she did not share classes with Respondent A, and “asked the school to notify her professor
           about the case, to explain her absences.” Ms. Andries felt that neither request was handled appropriately, as
           she was required to “to sit and stay in” the class with the Respondent, and LSU did not communicate with
           her professor regarding her need for an accommodation.
      x    “LSU also declined to issue a no-contact order between her and the frat member; because they hadn’t been
           talking, ‘there isn’t any communication to cease,’ a Title IX employee said in an email to Andries. Instead,
           LSU gave her a template for a letter that she could send him directly, instructing him not to contact her.”
      x    “[E]ven after finding him responsible twice, LSU refused to switch him out of the classes that he and Andries
           were set to share during the upcoming, fall 2019 semester, emails show. Instead, Andries said she was told

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addition, the article made reference to “another female student [who] had already reported the
same man for sexually assaulting her in almost the exact same way, the same night, on the same
bus trip.” Although this student remained anonymous in the USA Today article, she has since
publicly identified herself as Caroline Schroeder. 200 We had the opportunity to interview Andries
and Schroeder regarding their account. Their consolidated Title IX case is summarized and
analyzed below.

On October 28, 2016, Andries and Schroeder attended an off-campus party hosted by Respondent
A’s fraternity in New Orleans. According to Andries’ statement in the investigative report,
Respondent A’s fraternity made buses available to sorority members to transport them to the party.
Andries stated that Respondent A “invited her to the party,” and Andries noted that she had a
friendly relationship with Respondent A at the time. “Before the party, however, [Respondent A]
started talking to others about how he was going to ‘get it’ with Andries during the trip.” Upon
learning of these comments, Andries stated that “she was very clear that she was not interested in
a physical or romantic relationship with [Respondent A].”

On the night of the incident, Andries “recalled that she disappeared from the party and stayed in a
bathroom for two hours,” during which she “threw up ‘a lot.’” Andries “still felt sick” on the bus
for the trip home and “remembered focusing on a cup she was holding in case she had to throw up
again.” When Andries “made it back to the bus for the trip home to Baton Rouge,” she “still felt
sick.” According to Andries, at some point Respondent A “came close to her and pushed her to
the window of the bus.” Andries “stated that she said ‘no’ repeatedly,” but Respondent “felt under”
her shirt anyway. “When she woke up the next morning, Andries had bruises on her chest.” 201

Schroeder described a similar encounter with Respondent A in a Title IX report she filed in March
2019. The report indicated that, like Andries, Schroeder “was invited on [the fraternity’s] fall bus
trip” in October 2016. Schroeder stated that she did “not remember much of the party . . . but my
memory of the end of the party and the ride back to Baton Rouge is very clear.” Schroeder recalled
making it back to the bus to ride home, where she “lost consciousness.” Schroeder’s account
continued:

         I passed out on the seat of the bus by myself. When I regained consciousness, my
         body was limp and propped up on the wall, and [Respondent A] was sitting next to
         me and groping me. He had one hand around me and cupping my breast, and the

         that she would have to be the one to switch, because she was ‘the uncomfortable one,’ and he had the same
         rights as her.”
    x    “At a football game two weeks after the ruling, Andries saw the frat member in the student section. . . . When
         the women told LSU, they said, the school informed them that it had granted the frat member another
         extension, and that he was allowed to remain on campus.”

The article also described concerns with the sanctions initially imposed by Sanders as inadequate, along with concerns
that Sanders did not appropriately consider additional information submitted for the hearing—including identification
of a third potential victim.
200
    See https://lailluminator.com/2020/11/20/guest-column-lsu-has-good-sexual-misconduct-policies-it-needs-to-
follow-them/; https://www.theadvocate.com/baton_rouge/news/article_ac81d9d6-4148-11eb-ba2e-
abbc43bea5c5.html.
201
    Andries initially continued a friendship with Respondent A, but the friendship ended after he again allegedly
attempted to “touch her” without her consent on a second occasion in July 2017.

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         other hand up my skirt, grabbing and tugging on my upper and inner thighs. For a
         moment I did not react because I was confused. I did not understand what had
         happened to lead this man, who I had only briefly talked to a few hours earlier, to
         think I was interested. Once I realized that I did not remember him coming to sit
         next to me nor did I ever tell him he could touch me, I wanted to get away, but I
         could hardly move or speak. Finally, while I could not move my body, I was able
         to clearly and sternly say, “Get off of me.” [Respondent A] continued to grope me,
         and drunkenly muttered something like, “No, no, baby, it’s ok. We’re going back
         to my place. It’s ok.” He also said something about his couch, but I’m not sure what
         or why, though I have guesses. Still unable to move and now panicking, I said,
         “Get, the fuck, off me. Or I will punch you.” That finally got [Respondent A] off
         of me, and he ran off to what looked like the back of the bus.

Schroeder’s report stated that she was “embarrassed” about the incident and initially did not report
it, but “decided to report after hearing about what [Respondent A] did to my friend in her dorm,202
what [Respondent A] did to the other girl on the bus that same night, 203 and what he did to Elisabeth
Andries.”

After discovering that Schroeder had also “been approached by [Respondent A] on the bus from
New Orleans when Andries was passed out,” Andries decided to “file a Lighthouse report in spring
2018”—although she did not give Respondent A’s name at this time.

In the spring of 2019, however, Andries discovered that she had a class with Respondent A, who
had the same major. As described in the USA Today article, Andries “tried to ignore him in the
class they had together . . . but couldn’t.” 204 Instead, Andries “started to suffer chronic panic
attacks.” 205 In addition, Andries “realized that [Respondent A’s] behaviors were occurring with
other women.” These factors prompted Andries to submit a formal Title IX report to the University
on February 21, 2019. The report, submitted through an online “Request an Accountability
Advisor” online form, simply stated: “I want to file a Title IX case against the student who sexually
assaulted me.”

At the outset, Andries’ case is emblematic of a significant issue identified through witness
interviews and community outreach: LSU students—irrespective of Athletics or other
organizational affiliation—do not have clear guidance on where or how to submit a report directly
to the Title IX Office. The “Request an Accountability Advisor” form has no connection to the
Title IX Office and routes to officials in Student Advocacy and Accountability, which is why Tracy
Blanchard, Associate Director and Assistant Dean for Student Advocacy and Accountability,
received notice of the communication.




202
    This refers to an alleged incident reported by Schroeder during her Title IX investigation but not investigated in
relation to Schroeder’s case.
203
    This refers to an unknown third individual whom Schroeder heard about but was not able to identify.
204
         https://www.usatoday.com/in-depth/sports/ncaaf/2020/11/16/lsu-ignored-campus-sexual-assault-allegations-
against-derrius-guice-drake-davis-other-students/6056388002/
205
    Id.

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                   1.       Title IX Investigation

Andries initially spoke by phone with Blanchard on February 26 to coordinate a time for meeting,
but Andries and Blanchard did not meet until March 7, 2019. 206 During the March 7 meeting,
Andries “reported a previous assault by another student (three years prior),” referring to the alleged
assault by Respondent A in October 2016. Andries stated “[s]he wants to move forward with the
Title IX process given that she is now in a class with him and she feels ready to participate in this
process.”

During our interview, Andries stated that during her meeting with Blanchard, she requested an
academic accommodation for the class she shared with Respondent A. She also requested a no-
contact order. Blanchard’s notes from the February 26 phone call confirm that Blanchard “offered
to reach out to her faculty or look at class alternatives if needed.” There are no additional notes in
Andries’ Maxient file indicating that this outreach occurred, and there are no records in Andries’
case file of any emails to or from Andries regarding this request. As discussed in more detail below,
Andries stated that she received no academic accommodations coordinated by Student Advocacy
and Accountability or the Title IX Office during the Spring 2019 semester. This was an error.

The Title IX Office initiated outreach to Andries on March 8, 2019. Kimberly Davis, a graduate
assistant in the Title IX Office at the time, interviewed Andries on March 15, 2019. During that
interview, Andries recounted the details of the alleged October 2016 assault. She also identified
Schroeder, providing her “full name” and indicating that “Schroeder was more than willing to
share her story” that she too had been assaulted by Respondent A. Andries also identified another
friend who “would know names of other students who had similar experiences with” the
Respondent. Neither the “friend” nor Schroeder were promptly contacted for interviews. 207

Baffled by the lack of outreach, Schroeder submitted her own report to the Title IX Office on
March 20, 2019. Despite now being identified as both a potential witness and a potential victim,
Schroeder was not contacted by the Title IX Office until May 8, 2019. It is worth noting that
Schroeder was studying abroad at the time; nevertheless, this is an unreasonably long delay.

In the meantime, on April 24, one of Andries’ professors in the College of Engineering submitted
a Title IX incident report for a “Student[] in Crisis, Distress, or Exhibit Concerning Behavior.”
The report stated:

         This student has had difficulty attending class during the semester. Today she came
         to my office and provided a letter from LSU Mental Health Services . . . concerning
         what she has been going through in relation to a situation with another student who
         is attending the same class . . . . The letter she provided indicates that she has been
         working with Student Advocacy and Accountability regarding a “safety concern”
         and she did mention that the matter involved “[T]itle IX” when she described her
206
    Andries’ case file notes indicate that Blanchard “was out sick” on February 26, 2019, and that Blanchard followed
up with Andries two days later on February 28 with additional availability for meetings. It is not clear from the file
what accounted for the delay between that correspondence and Blanchard’s initial meeting with Andries.
207
    As noted below, there is no indication in the investigative report or communications in the case file regarding
whether the Title IX office ever contacted Andries’ other friend or other potential witnesses she identified. In addition,
and even more problematic, the Title IX Office did not contact Schroeder until May 8, 2019.

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         difficulties attending class. I did not want to inquire more out of concern for her
         well being and privacy but I wanted to make sure that she is receiving the best
         support she can get.

         I offered to adjust the due dates for assignments that she may have missed and offer
         whatever flexibility she might need to get through the semester. Based on her letter
         it appears she is receiving support form SAA and LSU MHS but I think she might
         need additional support academically so that she is not negatively impacted further.
         I suggested that she might want to speak with one of the counselors in Student
         Services within the College of Eng. to inquire about other potential
         accommodations (e.g., obtaining an “incomplete” grade to give her more time to
         finish her semester and minimize the potential negative impact on her academic
         grades). I reached out to . . . one of the counselors in SS at CoE who suggested that
         the CARE team might be appropriate for this situation.

There are no follow-up communications with the professor in Andries’ case file, and again, there
are no records of follow-up communications or meetings from SAA or Title IX with Andries
regarding her requests for academic accommodations and a no-contact order. Based on
representations in the USA Today article and interviews with relevant University officials, we
believe that Blanchard communicated with Andries regarding her requests for Title IX
accommodations, but these communications were not memorialized or documented in Andries’
case file and thus not available for our review. Given Title IX’s baseline mandate for the University
to ensure that individuals reporting sex discrimination maintain access to educational programs
and activities, this lack of communication and oversight regarding Andries’ requests for assistance
obtaining academic accommodations is a clear error. 208

Scott eventually interviewed Schroeder on May 20, 2019. Scott’s interview summary begins by
noting that Schroeder “had nothing further to add to her initial statement in her complaint.” The
contents of Scott’s summary of his interview with Schroeder are nearly identical to Schroeder’s
written statement submitted to the Title IX Office in her incident report. Schroeder also identified
several potential witnesses in her interview, including two other potential victims (not including
Andries), a “fraternity president” whom she informed of the incident, and another LSU student
also present on the bus who “clearly saw [Schroeder] was unconscious.” There is no indication
that Scott or Davis attempted to contact any of these potential witnesses. This is a clear error.

That same day, Respondent A was notified of the complaints against him. This was nearly three
months after Andries’ report and investigative interview, and two months after Schroeder’s report.
Although the notice letter stated “you may have been involved in and/or have knowledge of a
situation that was a potential violation of these policies on October 28, 2016,” the letter contained
no information regarding the alleged victims or the nature of the alleged 2016 violations. 209


208
    As noted in our recommendations, this case management function is ordinarily delegated to a case manager or at
the very least a secretary to assist with ensuring that such communications with the parties are documented
appropriately in a case file. LSU’s Title IX Office has no such secretary or case manager.
209
    According to the final investigative report, Respondent A was charged with “Sexual Misconduct,” including
“Sexual Assault” and “Non-Consensual Sexual Contact.”

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Scott interviewed Respondent A on May 20, 2019, shortly after the notice letter was transmitted.
Scott’s summary of this interview is just one paragraph long:

         [Respondent A] stated he vaguely recalled the bus trip to New Orleans in 10/2016.
         [Respondent A] said he recalled that he was in control of the music on the bus, so
         he mainly sat in the front of the bus to be close to the controls. [Respondent A]
         recalled on the way back from New Orleans, everyone on the bus was very drunk
         and he walked around and talked to a few people. [Respondent A] stated he briefly
         talked to Andries because they were good friends at the time. [Respondent A]
         denied that ever [sic] made any advances toward Andries or anyone else on the bus.
         [Respondent A] stated after talking to Andries and a few others, he went back and
         sat at the front of the bus so he could control the music. [Respondent A] stated any
         allegations of him groping women are totally untrue. [Respondent A] said he
         wished he could remember more but all he recalls is the bus trip and him being in
         control of the music. [Respondent A] once again adamantly denied ever groping or
         touching anyone inappropriate.

There is no indication that Respondent A identified any additional witnesses or information for
Scott’s consideration at that time in the investigative report or in Scott’s interview notes.

The final investigative report was completed on June 3, 2019. Of note, again, there are no records
indicating that the investigators contacted any third-party witnesses in this matter, including the
potential witnesses or victims identified by the parties in their initial reports or interviews. This is
notable considering that the alleged assaults occurred on a crowded bus. There is also no indication
that investigators conducted any follow-up interviews with any party, or requested any
documentary evidence, such as text or social media messages.

Although Kimberly Davis’ written summary of Andries’ account was sufficiently detailed and
well-written, as noted above, the summary of Scott’s interview with Schroeder appears to be a
“copy and paste” of her initial report. Based on the timing of Schroeder’s interview (May 20) and
the final report (June 3), it seems likely that preparation of the report was rushed and not reviewed
by a colleague or supervisor. 210

Ultimately, Scott found “that [Respondent A] did violate LSU’s PM-73 policy regarding sexual
misconduct, to include Non-Consensual Sexual Contact.” This statement of finding is problematic
as it does not clearly identify the specific policy violation or outline the facts the investigator relied
on to support this finding. Significantly, the “Rationale” is only two sentences: “This determination
was rendered on the credibility of the testimony provided by all interviewed parties, to include the
detailed consistencies between the accounts of the Complainants involved. This testimony lends
credence to a pattern of behavior exhibited by the Respondent.” Because the investigator’s finding
appears to hinge on the credibility of the parties alone, and not any other corroborating witnesses
or evidence, the absence of any meaningful analysis of the facts supporting the investigator’s
credibility analysis in the investigative report is not consistent with best practice.

210
   We note again that Scott did not have any colleagues to provide this support to in the Title IX Office, other than a
graduate assistant. Scott and Stewart expressed concerns regarding Stewart’s ability to review Scott’s investigative
reports because of the conflict of interest created by designating Stewart as an appeal officer.

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Despite these concerns in the written product, however, we note that Andries and Schroeder
repeatedly emphasized their positive experience with Scott throughout the process. Schroeder, for
example, stated, “Jeff Scott was the only person I liked throughout the whole process . . . he made
me feel respected and heard.” Similarly, Andries remarked, “he was very nice and I thought he did
his job very well from what he—because he explained everything. That was kind of the only person
who told me what was going on.”

Andries and Schroeder stated that they did not review the complete investigative report, but that
Scott did “read back” their statements to them and also read the finding to them “over the phone,”
which they were comfortable with. Respondent A also “[m]et with [Scott] and reviewed
report/results.”

                   2.   Appeal to Title IX Coordinator

Under the University’s Title IX Policy at the time:

         Either party may appeal the findings of the formal resolution process in accordance
         with existing University policies detailing appeal procedures for students or for
         employees. Appeals must be submitted in writing to the Campus Title IX
         Coordinator or designee within ten (10) business days upon receipt, by the
         appealing complainant or the appealing respondent, of notification of the outcome
         of the formal resolution process.

Because Respondent A received notice of the final investigative report and outcome on June 5,
2019, a written appeal would have been due to Stewart on or about June 19. In an interview with
Husch Blackwell, Stewart recalled that Respondent A “asked for an extension to review the case
file and submit an appeal,” which Stewart granted because Stewart was out on leave from June 7
until June 17, 2019.

According to Respondent A’s Maxient report, the Title IX Office received a written appeal
document on July 11, 2019. The untimely appeal reasserts Respondent A’s denial of engaging in
any misconduct, including denials of being “handsy” and “attempt[ing] to feel up [Andries’] shirt
while on the bus ride,” adding “nor would it have been possible” based on the clothing Andries
was allegedly wearing at the time. Significantly, Respondent A further noted that, “While there
were several individuals intoxicated, they were milling around on the bus. There would have been
several witnesses to this fraudulent claim.” As noted above, we agree that it was an error to not
interview additional witnesses as part of the investigation, especially given the nature and public
location of the alleged misconduct.

Moreover, Respondent A asserted that “Prior to this investigation, I did not even know who
Caroline was,” adding, “When questioned about the incident, it was the first time that I was made
aware of who she was.”

Finally, Respondent A’s appeal also contended Schroeder, specifically, was not credible because
she “stated that I went to take a test in the testing center the semester after the alleged incident, yet
the only exam that I have taken in the Himes testing center was my first circuits exam during June

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2018. I have never taken an exam in Himes prior to that, nor after.” In addition, Respondent A
stated, “I was never contacted by fraternity president, nor any individuals on the executive board
about the alleged incident,” emphasizing that “May 20th, 2019 was the first time I had ever heard
of the incident in question.”

There is no evidence that either Andries or Schroeder were provided a copy of Respondent A’s
written appeal and afforded the opportunity to respond. Instead, a case note in the Complainants’
Maxient report states that on June 21, 2019, “Respondent in case has indicated with to [sic] appeal.
Has until Friday, June 28 to submit any documentation. . . . Pinged Susan [Baries] for
notification.” (Emphasis added). There are no notes or communications in the Complainants’ files
indicating that Baries or Title IX provided notification, and both Schroeder and Andries told Husch
Blackwell that they never saw an appeal document from Respondent A and “had no idea why he
appealed this thing.”

Schroeder recalled confronting Stewart regarding her decision to “extend the deadline” for
Respondent A to submit his appeal. According to Schroeder, “She said it was because she was out
of town.” This “vague” response frustrated Schroeder, who “had done my research” and was
attempting to “track the deadlines.” Schroeder stated that when pressed for additional explanation
as to the delay, Stewart ultimately told her, “I don’t have to justify my decisions to you.” When
asked about this encounter in an interview with Husch Blackwell, Stewart recalled the
Complainants’ frustration with the appeal deadlines, and stated that she communicated that “this
was not a blanket granting” (of the extension) and said she had made the decision “based on a fact-
specific determination.”

In her interview, Stewart accepted responsibility for this oversight, acknowledging that it was a
“mistake” and adding that she “certainly understands why the Complainants were unhappy with
the decision and with me.” While we agree with Stewart that this was a mistake, we emphasize
that this is precisely the sort of small but significant aspect of Title IX case management that can
define a participant’s experience with the process, and we are skeptical that any individual tasked
with the responsibilities assigned to Stewart—including significant responsibilities outside of Title
IX—could manage effectively without adequate support—i.e., a case manager.

According to the case notes in the Maxient file, “Appeal outcomes notification [were] sent to
student via email from Jennie” on July 26, 2019—nearly a month after the appeal submission
documents were due. Because Respondent A’s written appeal was due on June 28 and was not
received until July 11, the appeal should have been denied as untimely. Stewart’s July 22
“Outcome Notification” letter stated: “After a thorough review of the appeal and the records used
to render the original decision, I have determined the information supports a finding of a violation
of PM-73.” In support of the decision, Stewart essentially restated the analysis in Scott’s
investigative report, writing: “The Complainants exhibited a high degree of credibility through the
process, including consistent accounts of the concerns in question. The detailed accounts shared
by the Complainants indicate a likelihood of patterned conduct engaged in by the Respondent.”

Pursuant to the process in place at the time, the “Title IX” case was closed and referred to Student
Advocacy and Accountability for resolution.



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                   3.     Student Accountability Process

On August 8, Sanders sent correspondence to Andries and Schroeder regarding a “Request to
Meet.” The letter stated:

         My name is Jonathan Sanders and I work with the University on investigating
         cases that involve potential violations of LSU's policies and/or the LSU Code of
         Student Conduct. Information has been shared that you may have been involved in
         and/or have knowledge of an incident(s) involving a potential violation of these
         policies on October 28, 2016. Specifically, it is alleged that you may have been
         sexually assaulted by another student. (Emphasis added)

Sanders also sent an “initial charge letter” to the Respondent, which contained similar language.

Sanders met with Respondent A and his attorney advisor on August 14, 2019. During this meeting,
the Respondent “shared that he thought he was being asked about someone else and didn’t know
he was being accused so he could prepare in advance.” Respondent A also re-submitted the written
statement initially provided to Stewart in his “Title IX appeal” in support of his case. There is no
record of this “statement” being provided to either Complainant during the course of the SAA
process. 211

Sanders then met with Schroeder and Andries on August 22. In our interviews with Schroeder and
Andries, the Complainants described discomfort and anger regarding their communications and
interaction with Sanders. Andries explained:

         I met with Jonathan Sanders for the first time and . . . so he . . . reevaluates . . . he .
         . . makes you go through the whole report again and tries to find . . . inaccuracies
         or something. I don’t know what the point of him was. He said it was still,
         determined as punishment, but I remember he was asking me questions. He was
         like, “so at one time you said you were in the back of the bus and in the other time
         you said you were in the middle back, so which one was it?” And I was, like, I don’t
         think that matters. I was,—I thought the investigation was over, I thought you didn’t
         have to ask me these questions. And he was like, well, it’s my job to figure out the
         punishment. . . . and then he asked me if I was on other drugs or on anything else
         other than alcohol? And I looked at him and I was like, would it have mattered at
         this point? And he was just like, well, I find it hard to believe that, you were on a
         public bus with people. And I was like, well, me too. That’s the sad news of frat
         parties, I guess. I was just like, I don’t know what to tell you, this is already over.
         Um, and then he told me to give him . . . if I had any more information I could
         present it and I thought I had old texts of him being . . . creepy—so I was like, oh,
         let me see, but I had deleted those for obvious reasons. And then I was like, well, I
         know he assaulted a friend of mine. Let me ask her if she wants to come forward.

211
    Following this meeting, Sanders requested information regarding Respondent A’s contention that he had not
interacted with Schroeder in a University testing center, and ultimately concluded that Schroeder and Respondent A
had not been in the testing center together on the date that Schroeder alleged. The significance of this fact and its
bearing on Sanders’ sanctioning determination is not clear, however.

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         So I ran into her and, um, and asked her and she was like, yeah, well I don’t want
         to go through your whole process of what you’re going through, but if you give my
         information to him, and . . . skip that, like to where you are, no problem, if they
         contact me, I’ll report it. And so I gave them all of her information and then he
         never contacted her. Because I asked her once it ended if he contacted her. I asked
         her and she was like, I never heard anything from him.
Andries stated that after this interaction, “I got really angry towards it. Well, I—I don’t really get
angry, I got very stern, I guess the word choice would be. But I really was just, . . . why does that
matter? I just don’t understand why you’re asking me these questions. I thought the investigation
was over. Like, there is no need for him to ask . . . read through the whole report and then ask
stupid questions like that, like he’s a detective or something. Honestly, it just—that whole
interaction was very frustrating.”

Under the Student Code of Conduct in place at the time, after a “Title IX investigation” is
complete, the “Title IX case” is closed and referred SAA for additional investigation, adjudication,
and sanctions. According to the Code, this process begins with the “Initiation of Accountability
Process,” at which point SAA receives a referral and opens a new case. 212 Once SAA receives the
referral:

         An SAA Official may investigate any alleged or potential misconduct. This
         investigation can include meetings with a complainant, interviews of other persons
         with knowledge pertaining to the facts and circumstances, and other types of
         information collection. The investigation can begin before or after a Notification
         Letter is issued. 213

According to interviews with representatives from the Title IX Office and SAA, this additional
investigation process was utilized regardless of the underlying misconduct—such as a Title IX
investigation in which a complete investigation had already been conducted and appealed. As
evidenced in Andries’ and Schroeder’s case and also emphasized by other students in our
comparator file reviews and community interviews, this is a byzantine practice which at best
confused student participants and at worst pointlessly prolonged case resolution and potentially
re-traumatized the parties. It also required additional institutional resources for an area that was
already understaffed.


212
   Code of Conduct (2018) at 11.
213
   Id. After this SAA “investigation,” SAA may take several actions, including “[t]ake no action”; [r]equest to meet
the Charged Student or RSO through an Accountability Meeting, and if found Responsible, issue an Accountability
Outcome”; [r]efer the Charge to a UHP; and “[h]old the referral for further inquiry.” Id. The Code advises that “[m]ost
Student cases begin with an Accountability Meeting between a SAA Official and the Charged Student.” “For the
matter to be resolved administratively,” though, the student “must agree to accept the recommendation of the SAA
Official by doing the following”:

         1.        Accept Responsibility for the conduct and the Outcome in writing;
         2.        Waive the right to have the case considered by a UHP; or
         3.        Take no action and allow the deadline for requesting a UHP to expire.

Id.at 12. Alternatively, the “SAA Official may refer a matter directly to a UHP for resolution.” Id.

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In the meantime, at the beginning of the fall 2019 semester, Andries discovered that she was again
assigned to share several classes with Respondent A. According to Andries, the University again
failed to appropriately address her requests for academic accommodations—namely, for
Respondent A to be removed from Andries’ classes. From Andries’ perspective:

         And so, multiple appeals go by, whatever, and so now it’s August and the first week
         of school started and they reached out to me and said that they need to meet me
         because I had three of my five classes with him, which actually I had four, which I
         didn’t find out about the fourth one until I walked in and he was in there. So that
         was a fun first week of class. Um, but yeah, no, so they made me—they, um, got
         someone from the College of Engineering, . . . , who was super helpful and nice . .
         . I’m gonna say the College of Engineering did great. Everyone else did terrible.

Ultimately, Andries ended up working directly with her professors in the College of Engineering
to move her classes around, including creating an “independent study” so that she “could still
graduate on time.” While Andries was appreciative of the College’s assistance, she was still
understandably angry because by this point, “I’ve already missed the first week of class.” Andries
also stated she “didn’t want to move all this stuff with my senior design project, because I planned
my five years to make my last year really easy and now you’re telling me I have to take all these
hard classes with the, like, hardest thing of engineering . . . .” Andries thought that Blanchard may
have “reached out to Respondent A” to “tell him to move his classes,” but Respondent A “didn’t
answer and . . . they told me that since I’m the uncomfortable one, I had to move out.” 214

We note that Department of Education guidance in place at the time required (and continues to
require) institutions to “fairly assess[] the need for a party to receive interim measures,” but “not
rely on fixed rules or operating assumptions that favor one party over another.” 215 In addition,
interim measures are required to “be individualized and appropriate based on the information
gathered by the Title IX Coordinator, making every effort to avoid depriving any student of her or
his education.” 216 Determinations regarding removal of a responding party from an educational
program or activity pending final resolution of a Title IX complaint are among the most
challenging decisions for an institution to make throughout the Title IX process, and we express
no opinion regarding the University’s determination not to remove Respondent A from the parties’
shared classes in this case.




214
    Schroeder described observing Andries “giving up” and “feeling overwhelmed and defeated” in trying to obtain
academic accommodations, so Schroeder “read everything I could about interim measures, fully prepared myself, and
went to Jennie’s office” to advocate for Andries. Schroeder stated this meeting occurred sometime in the late
summer/early fall semester. From Schroeder’s perspective, Stewart did not handle the meeting well, and although
Schroeder “tried to give her the benefit of the doubt because it’s clear she’s overworked and had been on leave,” “it
was not a good environment.” Ultimately, according to Schroeder, Stewart denied Andries’ request to remove
Respondent A from their shared classes because “that would violate his rights.” Schroeder admonished that at this
point in the investigation, Scott had already found Respondent A responsible for sexually assaulting Andries and
herself, and could not understand why that finding did not justify interim action. After this meeting, Schroeder—who
“went in pretty confident”—“left the building” and “cried in public.”
215
    2017 Guidance at 3.
216
    Id. (Emphasis added).

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On September 5, 2019, Sanders issued a “Memorandum for Victim” to Schroeder and Andries.
Despite being found responsible for sexually assaulting two students, Sanders issued the following
sanctions:

      x    “Anger Management and/or Healthy Relationships” assessment by Student Health Center
           Office of Wellness & Health Promotion
      x    “Commitment to Community” Course
      x    Deferred Suspension effective September 5, 2019 through May 31, 2021; 217 and
      x    No Contact Directive.

Here we note that the University has sanctioning guidelines in the form of an “Outcomes
Guide.” 218 Unlike other sanctioning rubrics for peer institutions which outline potential sanctions
for sexual misconduct based on the severity of the alleged conduct in addition to factors such as
incidence, acknowledgement of responsibility, and the desires of the victim, the SAA Outcome
Guide recommends discipline according to the number of violations:




While all of the potential sanctions are listed as an option for a “1st violation” of “Sexual
Misconduct,” these guidelines do not provide a framework for assessing which sanction is
appropriate in a particular case. In Andries and Schroeder’s case, though, Respondent A was found
responsible for two violations of the Sexual Misconduct policy—one against Andries and one
against Schroeder. Accordingly, the minimum sanction that should have been imposed under this
guidance is suspension.

Schroeder and Andries were outraged by Sanders’ proposed “Outcome.” Schroeder elected to
“decline” the Outcome, and requested the next step in LSU’s exceptionally complicated process,
a UHP “rehearing.” 219 Significantly, though, this decision came with risk because the UHP
“rehearing” not only opened up reconsideration of Sanders’ sanctions, but also allowed the
Respondent to have the underlying findings re-adjudicated—despite already having the Title IX
investigative finding, the Title IX appeal, and Sanders’ re-investigation and determination.
Schroeder and Andries correctly emphasized the unfairness of this process. Schroeder explained:

217
    “Deferred suspension is a status for a specified period of time during which any subsequent finding of
Responsibility for a violation of the Code or University policy shall include the Outcome of suspension for the Student
or RSO. Deferred suspension will include loss of privileges as detailed under disciplinary probation with restrictions.
Deferred suspension is designated on a Student’s academic transcript in cases of Academic Misconduct.” Code of
Conduct at 20.
218
    Exhibit N (Outcomes Guide).
219
    Under the Code, “If a Charged Student declines the SAA Outcome or the SAA Official declines to issue an
Outcome, the matter will be referred to a UHP. A UHP is a rehearing, not an appeal of the Outcome.” Id. Although
this language is emphasized in the Code, it is not apparent to Husch Blackwell the significance of this distinction.

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“It’s like the process was designed to wear us down—to make us give up.” But for Schroder, “there
was nothing to lose at that point” because “the ‘sanctions’ Sanders gave him were worthless.”

Andries, however, did not formally challenge the Outcome, although she did attend and participate
in the hearing process. She explained: “At that point, it was already three appeals deep that I was,
like, I don’t—I don’t know where this ends. I don’t know where it started. And it was just . . . the
appeals I really can’t even count.”

After Schroeder provided notice of her appeal of Sanders’ outcome, the case was set for a hearing
on September 25, 2019. At this point, nearly seven months had passed since Andries’ initial report.
In preparation for the hearing, the parties were permitted to submit additional information and
evidence.

On September 26, 2019 the University Hearing Panel issued its “Outcome” in the case, again (for
the fourth time) finding Respondent A “Responsible” for “Sexual Misconduct” and “Violating a
Rule of the University,” as defined by the Code. The UHP’s sanctions included “Suspension” from
September 25, 2019 until May 31, 2020, in addition to a No-Contact Directive and a requirement
to “submit documentation for attending counseling to discuss healthy relationship . . . prior to
readmittance to LSU.”

Remarkably, this was not the end of the process. Instead, Respondent A had another opportunity
to “appeal” this “Outcome.” 220 On September 27, 2019, he submitted an appeal to the Dean of
Students. None of the information submitted in Respondent A’s appeal met the University’s
criteria for an appeal, 221 and the University appropriately denied it on October 16, 2019.

Once again, however, neither Andries nor Schroeder received notice or a copy of the Respondent’s
appeal. On October 14, Andries’ father contacted SAA “to understand the appeals process and
when the decision would be ma[d]e.” Andries’ father also reported that Andries saw [Respondent
A] at a game and was not notified that he was still on campus, which was a shock to Andries




220
   Under the Code, after an “Outcome” is determined by a UHP, the parties may “appeal.” “Only Outcomes of a UHP
can be appealed,” and both respondents and complainants “entitled to be informed of Accountability Outcomes” may
appeal. Code of Conduct (2018) at 22. The “Appellate Process” is as follows:

         On appeal, a finding of responsibility may be upheld or overturned in whole or in part. An appeal
         must be submitted in writing to the Dean of Students within five business days after the Student,
         RSO or complainant (when permitted) is notified of the UHP Outcome or new information becomes
         known to the Student, RSO, or complainant. The written document must identify the specific actions
         or Outcomes being contested. All submissions must include one of the aforementioned criteria as
         the basis for appeal. Once the Dean of Students receives the request for an appeal, any Outcome
         issued by the UHP is suspended pending final resolution of the appeal by the Dean. Upon receipt of
         the written appeal, the SAA Official will submit a written position statement to the Dean within five
         business days.
Id.
221
   See id. (stating that appeals “will only be considered on the following grounds: A. Evidence of bias by the UHP;
B. Significant departure from the procedures, definitions, or standards in the Code; or C. New information has become
available since the UHP.”).

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because she had no knowledge of the appeal and believed that Respondent A was suspended and
prohibited from accessing campus. 222

Schroeder graduated from LSU in May 2020. Andries has continued to pursue her degree. On
November 16, 2020, however—the same day that the USA Today article was published—the
University communicated to Andries that Respondent A was re-admitted to the University and
scheduled to begin classes for the spring of 2021, which would necessitate additional coordination
to ensure she did not share a class with him.

         D.        Respondent B

The USA Today article identified “defensive lineman Respondent B” as an LSU football player
“accused of dating violence” who was “arrested” and “not charged in court.” 223

In March 2016, an LSU professor filed an Academic Intervention Team 224 report expressing
concerns about one of her students. Two days later, that professor prepared a follow-up
memorandum to the Dean of Students noting that the student “mentioned having acquired a black
eye over the weekend, causing her eye to be swollen shut” but “did not explain the circumstances
of this injury, though she said she could explain when meeting with me . . . later in the week (that
meeting is still in the process of being scheduled).”

Two days later, Eddie St. Vil, SAA’s Senior Case Manager and Threat Assessment Specialist,
followed up with the professor by phone “to discuss, provide, and inform her of resources that are
available given the student’s situation. Specifically, Lighthouse, STAR, the Women’s Center,
Mental Health and myself. [The professor] is scheduled to meet with [the student] this morning
(3/17/16) at 11am but does not believe that [the student] will show up. If [the student] does show
up, [the professor] will call me to debrief the interaction.”

The professor did meet with the student and reported back to St. Vil that the meeting with the
student “was very productive and went a lot better than anticipated.” The student was reluctant to
discuss what happened to her eye however. The professor nevertheless “walked [the student] to
meet with [Lighthouse] and has scheduled a meeting for March 18.” The professor also shared
with St. Vil “that she is afraid that [the student’s] boyfriend and father of her child is a football

222
    Of note, a charged student in the SAA conduct process “retain[s] rights as a Student or RSO while the charges are
being considered, and, if found Responsible, until the Student or RSO has exhausted all rights of appeal as established
in this Code. Code of Conduct (2018) at 8 (emphasis added).
223
         https://www.usatoday.com/in-depth/sports/ncaaf/2020/11/16/lsu-ignored-campus-sexual-assault-allegations-
against-derrius-guice-drake-davis-other-students/6056388002/.
224
    According to the LSU Center for Academic Success website:

         The Academic Intervention Team (AIT) provides timely and appropriate intervention for students
         facing circumstances that may impede their academic success.

         We identify students with issues impeding academic progress and intrusively provide an
         intervention on the student’s behalf based on the student’s unique needs. The committee’s efforts
         are designed to raise the level of retention and persistence to graduation.

https://www.lsu.edu/cas/about/services/ait.php.

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player and she does not want that to prohibit the services and resources available to [the student].”
Respondent B was not specifically mentioned.

On April 1, 2016, Stewart “suggested initiating a ‘little I’ investigation—an inquiry to determine
whether or not there is a PM-73 policy violation.” Consistent with the University’s practice at the
time, an investigator was assigned and set a meeting, but the student failed to attend. The last note
in the Title IX file regarding this report noted, “the new meeting is scheduled for Friday, 4/22/2016
at 3 p.m.” It is not clear from the file materials whether that meeting, in fact, took place or what
the results of the “little i investigation” were.

Approximately six months later, on September 26, 2016, Baton Rouge media reported that LSU
defensive tackle Respondent B had been booked with “domestic abuse battery/child endangerment
and false imprisonment” following a fight with the student at Indigo Park apartments. 225 According
to arrest records, the pair was “fighting over infidelity.” The student “said as she tried to leave the
apartment with their 10-month-old [child], Respondent B twice grabbed her – once by her hair and
a second time by the shoulder – and tossed her backwards.” The student also “said Respondent B
refused to let her leave the apartment.” An investigator wrote that the student had “a swollen lip
and marks near her throat.” Respondent B purportedly “had a cut lip” and the student was also
booked with domestic abuse battery/child endangerment as a result.

On that same day, Segar reported to Title IX Deputy Fuentes-Martin that Respondent B “had been
arrested for domestic violence and that [his] partner was also an LSU student.” The following day,
Segar contacted Fuentes-Martin and informed her that the “DA’s office had dropped the charges
as there wasn’t clear and convincing evidence of what occurred.” Fuentes-Martin told Segar that
the University’s “administrative process would begin with investigators contacting the parties
involved.”

The next day, LSU Lighthouse reached out to the student to offer her services. Title IX investigator
Jacob Brumfield also requested an interview with her which was tentatively set for October 3.
Brumfield then “reached out” to Respondent B on September 28, 2016 requesting a meeting.
Respondent B did not respond to emails or cell calls.

On October 3, 2016, the University’s Title IX investigators contacted LSUPD requesting all police
records associated with the incident. LSUPD Captain Walters “responded that he could not provide
any information and that any information that would be provided to him would be a ‘law
enforcement only’ release.”

On October 4, 2016, Brumfield sent a follow up correspondence to Respondent B again requesting
a meeting. Respondent B did not respond. On October 12, 2016, Brumfield then asked Ken Miles,
Executive Director of LSU Cox Communications for Student Athletes, to reach out to Respondent
B and have him respond to the emails. The next day, Respondent B responded:




225
      https://www.wbrz.com/news/lsu-s-davon-godchaux-arrested-monday-morning/

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Brumfield’s interview with the student lasted “about 15 minutes.” She “was not forthcoming with
information due to her not being able to say much ‘legally.’” She did state that news accounts of
the incident were “false.” The student told Brumfield that “she was safe” and that she did not
currently live with Respondent B. She also verified that there was no protective order in place and
that she did not want LSU to issue Respondent B a “no contact order.”

Ultimately, the Title IX investigation determined that “there is insufficient evidence to say whether
Respondent B has violated LSU’s PM-73 policy in terms of domestic violence.” As part of the
rationale for the conclusion, the closing report noted that the “Complainant [] has stated that her
testimony was falsely attributed in the newspaper article. That statement aligns with the dropping
of criminal charges against Respondent B by the 19th Judicial District Court District Attorney’s
Office on September 27, 2016.” Respondent B was reinstated to the LSU Football team shortly
thereafter. 226

The investigation closed by recommending “a re-examination of this incident given any new
information.” The matter was never re-examined and Respondent B declared for the NFL draft on
January 1, 2017.

           E.      Respondent C

The USA Today article identified Respondent C as an LSU football player “who was accused of
recording a woman during sex without her knowledge and sharing the video with others.” Our
review of a case file relating to these allegations confirmed that on March 4, 2017, a student-athlete
allegedly had a consensual sexual interaction with Respondent C in Respondent C’s apartment.
According to the student-athlete, on March 13, 2017, a fellow student showed her a screenshot of
video taken during the sexual encounter. Understandably upset, on March 25, 2017, the student-
athlete discussed the situation with her coach. The student-athlete and her coach then reported the
incident to Miriam Segar on April 5, 2017. The following day, Segar submitted a report to the Title
IX Office. LSUPD was also notified.



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      See https://www.theadvocate.com/baton_rouge/sports/lsu/article_f35ecfa0-8589-11e6-9d02-0b1fc2ba5cce.html.

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On April 7, 2017, Director of Residential Life and Education Jonathon Hyde reached out to the
student-athlete to set up a meeting for Title IX purposes. The letter sent to her focused on resources
available to her. About two weeks later, LSUPD met with the student-athlete again and she
“advised that at this time she does not want a criminal investigation or any of her information
released.”

The student-athlete was interviewed by Title IX investigators on April 20, 2017. Ultimately, she
concluded that she did “not wish to proceed with an investigation and [had] reservations.” The last
communication in the Title IX file is a letter to the student-athlete dated April 28, 2017, which
notifies the student-athlete that the investigation will be closed because she is “reluctant to
participate,” but providing additional information about available resources.

While the determination not to proceed with an investigation appears reasonable under these
circumstances, the case file does not contain information about how the University arrived at its
decision to honor the student-athlete’s request for confidentiality. We note that this is a consistent
problem throughout the case files Husch Blackwell reviewed, and emphasize that it is critical for
employees charged with Title IX roles to meticulously document such determinations to ensure
clarity in an individual case record and also to ensure that the University has all relevant
information to make determinations about repeat offenders in the future.

         F.        Respondent D

Respondent D was a highly recruited football player and enrolled at LSU in June 2017. Respondent
D was referenced in the USA Today article as being accused of rape and not disciplined by the
University. A review of Respondent D’ Title IX case file indicates that a fellow student-athlete
alleged Respondent D engaged in non-consensual sexual intercourse with her on June 11, 2017.

The Complainant reported this incident to Miriam Segar on June 12, 2017. Segar then immediately
and appropriately submitted a Sexual Misconduct and Sexual Harassment Complaint Form to the
Title IX Coordinator on the same date at 12:50pm. The Complaint Form described Complainant’s
report, including that she and Respondent D had consensual sexual intercourse in April 2017 and
between the dates of June 2 and 9, 2017. Complainant alleged that on June 10, 2017, Respondent
D came to her apartment and had vaginal and anal sex with her without her consent. The report
stated that during this encounter Respondent D received a phone call from another student he
answered and told him “I am fucking” when asked what he was doing. The phone was knocked to
floor and he was on speaker phone. Complainant was not aware if the caller could hear her and
Respondent D or how long phone was on. Complainant received a SANE exam and met with Baton
Rouge Police to file a report. Respondent D did not deny that sexual intercourse occurred but stated
that it was consensual.

LSUPD’s involvement with this report and investigation is unclear from the file. The file includes
an email from Officer Clay Cain to Captain Marshall Walters on June 11, 2017 indicating that
Cain spoke to a Baton Rouge Police Department Sergeant and that BRPD was taking the lead on
the criminal investigation, but Respondent D had not been arrested. Captain Walters emailed
Deputy Title IX Coordinator Mari Fuentes-Martin on June 13, 2017 and advised her that a criminal
investigation was ongoing.

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Ultimately, Respondent D was never arrested. In early July 2017, the Baton Rouge Police
Department issued a statement regarding the case, “Due to several inconsistencies in the victim’s
narrative/disclosures and a lack of cooperation concerning evidence and further interview there
was no probable cause for arrest found at this time.”

While the criminal investigation was ongoing, though, the Title IX Office correctly continued with
its investigation. The assigned Title IX Investigators, Jacob Brumfield and Gwendolyn Ferrell,
met with Complainant on June 12, 2017 for an interview, only a few hours after the initial report
was received.

From the file materials reviewed, it appears Complainant was provided with appropriate support
services. The University also immediately issued a no-contact directive to Respondent D on June
15, 2017. Complainant was copied on this communication.

Investigators interviewed the Complainant, Respondent D and three witnesses. The file includes
exceptionally detailed and thoughtful notes from all the interviews. The parties were provided with
the opportunity to review and comment on the investigator notes prior to a final report being issued.
There is also solid communication between the investigators and Complainant regarding the status
of the process.

The Final Investigation Report and the file do not indicate that Investigators requested or
considered any electronic or documentary evidence, such as copies of text messages. In addition,
the Final Investigation Report states the following with respect to Complainant’s medical records:
“Investigators note that the forensic rape kit that was conducted by medical personnel on 6/11/2017
may yet lend information important to the understanding of this case. Investigators welcome new
information from the Complainant as the rape kit results become available.”

It is not clear what, if anything, they did to attempt to secure this forensic rape kit. Nor is it clear
whether the investigators considered interviewing the student who called Respondent D on the
night in question or why that witness was not interviewed.

Ultimately, the investigators found Respondent D not responsible, concluding there was
“insufficient evidence to say whether Respondent D has violated LSU’s PM-73 policy in terms of
sexual assault.”

The only rationale and analysis included in the report is as follows:

         Investigators note that both the Complainant and Respondent acknowledge that
         anal and vaginal sex occurred where the Respondent penetrated the Complainant,
         but that both parties have different understanding of whether consent was given.
         The Complainant states that consent was never given and that her protests went
         unheeded. The Respondent states that sexual activity was welcomed and
         encouraged and that he stopped when anal sex became painful for the Complainant.

No explanation is provided for how the investigators assessed the relative credibility of the parties.

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A notice of outcome letter was sent to the parties on August 8, 2017 from Fuentes-Martin,
informing the parties that there was insufficient evidence to conclude that a violation occurred and
notifying parties of their right to appeal the finding. Complainant did not appeal the filing.

While not mentioned in the USA Today article, we were also provided another case file regarding
allegations by Complainant against another football player.

         G.        Respondent E

Respondent E was a highly recruited football player who enrolled at LSU in 2016 and declared for
the NFL draft in mid-December 2019.

On April 17, 2017, Complainant reported being sexually harassed by Respondent E. Complainant
reported that Respondent E approached her several times making sexually suggestive comments
and gestures. Complainant alleged that Respondent E said, “there goes that bitch” when he
approached her on campus. She reported that Respondent E also said, “I know you’re nasty, I can
tell by the way you walk.” Complainant also claimed that Respondent E made oral sex and
masturbation gestures toward her.

Complainant reported Respondent E’s conduct to Miriam Segar who immediately submitted a
report to the Title IX Office. In that report, Segar stated that she provided Complainant with
information describing campus resources.

Complainant’s complaint was opened for investigation and assigned to two investigators (Josh
Dean and Lynn Livingston) on April 19, 2017. In addition, LSU’s Lighthouse Program initiated
contact with Complainant to provide resources that day. Complainant met with the investigators
and clarified her allegations on April 25, 2017 and provided a witness to Respondent E’s conduct.
The witness was interviewed on May 4, 2017 and corroborated Complainant’s claims.

The investigators sent meeting requests to Respondent E on April 27, May 1, and May 4, 2017.
On May 4, 2017, the investigators contacted Segar for assistance arranging the meeting with
Respondent E and he met with them the following day. Respondent E denied the claims.

Exceptionally detailed notes of all the interviews are in included in the case files. The interviews
were well done and covered all relevant territory.

Following the interviews, on May 22, 2017, the investigators completed their investigation report
and determined that there was sufficient evidence that Respondent E violated LSU’s PM-73 policy.
Pursuant to the then-existing LSU Title IX Policy, Respondent E was afforded the opportunity to
appeal this decision to the Title IX Coordinator which he did in a timely manner. Stewart waited
until August 9, 2017 to deny the appeal in cursory fashion.

Oddly, prior to his appeal being denied, on June 19, 2017, Sanders charged Respondent E with
various related violations of the LSU Code of Student Conduct as if he had not filed a timely

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appeal. On June 23, 2017, Sanders met with Respondent E and on August 21, 2017, Sanders
determined that Respondent E was responsible for sexual harassment. The following sanctions
were meted out to Respondent E: he had to attend an “Ethics & Decision Making Class via
Community Moodle” and was “required to complete a referral with the Student Health Center
Office of Wellness & Health Promotion.” In addition, he was placed on “Disciplinary Probation
with restriction effective August 21, 2017 through May 31, 2018” According to Sanders, “this
status will prevent you from holding a leadership position in a registered Student Organization,
participating in LSU Study Abroad and/or other representation of the University.” While he could
not study abroad, this “disciplinary probation” apparently did not bar him from playing football as
he played the entire 2017 and 2018 seasons.

Sanders sent a “Memorandum for Victim” to Complainant the same day.

Respondent E then had “the right to accept or decline this outcome.” If he declined, the case was
to be “reheard” again by a “University Hearing Panel.” In such an instance, the UHP would issue
“a decision that will replace the outcome in this letter.” Not surprisingly, he elected the decline the
outcome and request a hearing panel.

A UHP was convened on September 6, 2017 “to issue an outcome in this case.” However, at the
eleventh hour, Respondent E cancelled his appeal hearing and the original sanctions meted out by
Sanders were reinstated.

Despite the modest sanction, Respondent E repeatedly failed to comply with them. On three
occasions, Respondent E was sent letters signed “Concerned” because he had completed none of
the required sanctions. These were on November 2, 2017, March 5, 2018, and May 1, 2018. With
each notice of noncompliance, he was warned that he had to complete the sanction within ten days
or a hold would be placed on his registration. He also was threatened with “Failure to Comply”
disciplinary sanctions. Inexplicably, he was never charged with a “Failure to Comply” and each
time a hold was placed on his registration, it was “temporarily lifted.”

It was not until June 6, 2018, over a year after the initial report was filed, that he finally completed
his required sanctions for sexually harassing a fellow student.

         H.        Respondent F

Respondent F was identified in the USA Today article as a member of LSU’s football team who
was accused of rape, but “not disciplined.” A student-athlete (the “Complainant”) alleged
Respondent F engaged in non-consensual sexual intercourse with her on July 1, 2018. As discussed
below, the allegation was investigated and Respondent F was found responsible and disciplined.

LSUPD records indicate that LSU detectives were assigned on September 6, 2018 to investigate
an alleged sexual assault involving Complainant at her on-campus apartment. An LSUPD officer
uncovered information about the alleged sexual assault when reviewing cell phone evidence
recovered from Jade Lewis’ cell phone in connection with the criminal investigation into Drake

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Davis. The officer found evidence on Lewis’ phone that led him to believe the Complainant may
have been sexually assaulted while she was passed out due to alcohol consumption. This includes
a string of text messages to Respondent F saying that he “should not have had sex with [the
Complainant] while she was ‘blacked out.’”

The LSUPD Officer met with the Complainant on September 6, 2018. The officer explained that
he had discovered evidence indicating that she may have been sexually assaulted. The
Complainant reported to the officer that she had gone out with friends and that “she did not
consensually have sex with Respondent F and that she does not remember much from the night
after being in Tiger Land.” She also reported that another football player was in the bedroom in
Lewis’ apartment and was “messing with her.” The Complainant told the officer she believed
Respondent F and the other football player took inappropriate pictures of her while she was passed
out. She did not further elaborate on what she meant by the term “messing with [her].”

The Complainant told the officer that she did not want to press charges against Respondent F, and
she did not want to sign a “Title IX release waiver.” The officer provided the Complainant with
contact information in the event she wanted to press charges or wanted “Title 9 or CARE Team
assistance.” On September 7, 2018, the Complainant signed LSUPD’s “Sexual Violence
Confidentiality Waiver,” indicating that she did not require any further assistance from the LSU
Police Department.

Following this, a report to the Title IX Office was submitted on September 19, 2018 by Miriam
Segar stating the following:

         On evening of 9/18/2018 it was reported to a staff member by Jade Lewis that
         [Complainant] was raped over the summer. Jade Lewis had a conversation with Tennis
         Director of Operations, Kasen Dudley, and indicated that during the time the police had
         her phone for a different investigation that they found a text message regarding a sexual
         assault involving [Complainant]. I met with [Complainant] on 9/19/2018 to let her know
         that the information had come to my attention and that as a mandatory reporter I would be
         notifying the Title IX office. [Complainant] shared that a couple of weeks ago she was
         approached by police who notified her that there were text messages and pictures that
         implied misconduct had occurred and asked if she would like to discuss what happened
         with them. [Complainant] declined to speak about the incident at the time. In our meeting,
         [Complainant] indicated that over the summer (late June/ early July) she went out to
         Reggie’s bar and became intoxicated at the bar and passed out. She was carried to the car
         and up the stairs in WCA to Jade Lewis’ room where she was placed in Jade’s bed. She
         reported that Jade Lewis, Respondent F, Respondent G and herself went back to Jade’s
         apartment. They were driven from the bar by [another student] and he did not enter the
         apartment. [Complainant] indicated that she remembers Respondent F and Respondent G
         coming into the room and Respondent F laying with her on the bed and touching her and
         trying to wake her up. She told him no. Respondent F left the room and came back about
         20 min later and tried again. She remembers Respondent G taking pictures and Jade coming
         into the room and telling Respondent G to leave. After Respondent G and Jade left,
         Respondent F reportedly began touching her and having sex with her. She indicated that
         he was “aggressive” pulling her hair and leaving marks on her neck and that she repeatedly


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         told him no. The next morning she remembers waking up and he was asleep in her bed and
         she had vaginal bleeding. She did not ever confront Respondent F. She is uncomfortable
         seeing Respondent F and has a math class with him and sometimes sees him at the Cox
         Academic Center. I suggested possibility of changing Math sections.

Separate from this Complaint Form, Husch Blackwell was provided with screenshots of messages
between the Complainant and a Women’s Tennis Team staff member, indicating that the meeting
with Segar was coordinated by Coach Julie Sell who told the Complainant to meet with her and
Segar at the “Tiger Cage.” We note that this matter was reported as required through formal
channels by Segar’s submission of the Complaint Form (which is directed to the Title IX Office).
We also note, however, that the interim informal communications between Athletics staff and
student-athletes can lead to a lack of reporting, as evidenced in other cases discussed in the report.

A subsequent notation stated that LSUPD Officer Drake met with the Complainant and Miriam
Segar on September 21, 2018 at the request of the Complainant. According to the report, the
Complainant wanted to ask Segar and Officer Drake about the investigation processes pertaining
to the criminal charges and Title IX. After discussing options, the Complainant “decided that she
would like to speak with the Title IX investigators.” According to the notes, Segar helped the
Complainant arrange a meeting with the Title IX investigators.

Stewart, Scott, and Segar met with the Complainant on September 24, 2018 to explain the Title IX
and Sexual Misconduct Policy and process, after which she communicated her desire to pursue a
Title IX Investigation. Scott was assigned as the investigator.

The case file indicates that the parties were interviewed and the file includes records of
communications with Respondent F (including a notice of the investigation on October 11, 2018),
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    but the file does not include records of communications with the Complainant. The Final
Investigation Report indicated that the Lighthouse Program initiated contact with Complainant on
September 20, 2018, but the file does not include any information about the interim measures
requested by or provided to either party.

The investigation included an interview with Complainant, Respondent F and three witnesses. The
investigation also included a review of text message and photograph and video evidence. 228 The
Complainant and Respondent F provided their accounts of what occurred, and witnesses, including
Lewis and Respondent G who were with Complainant and Respondent F at Lewis’ apartment, and
a witness who drove the Complainant and Lewis home, provided statements as well. Witness
statements and photograph and video evidence provided evidence of Complainant’s level of

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    We note that throughout our review of individual case files, we identified a practice of providing notices of
investigation to parties with insufficient level of detail to describe the allegations. Now rescinded ED guidance in a
Q&A Document dated September 2017 included the following on this point. “Once it decides to open an investigation
that may lead to disciplinary action against the responding party, a school should provide written notice to the
responding party of the allegations constituting a potential violation of the school’s sexual misconduct policy,
including sufficient details and with sufficient time to prepare a response before any initial interview. Sufficient details
include the identities of the parties involved, the specific section of the code of conduct allegedly violated, the precise
conduct allegedly constituting the potential violation, and the date and location of the alleged incident.”
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    The file we were provided includes the Initial Report Form from LSUPD, but the file does not include details
sufficient to determine when it was sent or what other files might have also been sent from LSDPD.

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intoxication. For his part, Respondent F did not deny that sexual intercourse occurred, but he
asserted it was consensual.

Ultimately, Scott found Respondent F responsible, finding: “Given the testimony and evidence
presented, this investigator finds that the Respondent did violate LSU’s PM-73 policy regarding
sexual misconduct; specifically Non-Consensual Sexual Intercourse and Non-Consensual Sexual
Contact.”

The rationale and analysis included in the report is as follows:

           This determination is derived from the fact that the Complainant stated she did not give
           consent for the Respondent to engage sexual intercourse or fondle her. The Complainant
           stated she was in and out of consciousness from all the alcohol she had consumed that
           night. The Respondent stated that the Complainant was conscious and gave consent to
           engage in sexual intercourse. The Respondent also stated that he and the Complainant
           “were both drunk,” This is also evident in text messages between the Respondent and the
           Witness. Witness and Material Observe accounts, along with texts, videos and
           photographic evidence, appear to reveal that the Complainant was at some time
           incapacitated.

           ...

           In this particular case, the preponderance of evidence supports that the Complainant was
           in no mental or physical condition to render consent to the Respondent prior to or during
           the sexual activity to include fondling and sexual intercourse.

A notice of finding of a violation was sent on November 7, 2018.

On November 30, 2018, Respondent F was then charged with violations of LSU’s Code of Student
Conduct as follows: Sexual Misconduct; Unauthorized Surveillance; Violating a Rule of the
University. A meeting with SAA Director Sanders was scheduled for December 7, 2018.
Following the SAA review, Respondent F was again found responsible on January 14, 2019 for
sexual misconduct and violating a rule of the University. Respondent F was suspended from the
University through December 31, 2019. A no-contact directive remained in place and Respondent
F was required to have a mental health assessment prior to re-admission.

Respondent F declined to accept this outcome and requested the case be reheard by UHP on the
basis that sanction was “too punitive.” The UHP was held on February 25, 2019, and the notice of
outcome was sent on February 26, 2019, again finding Respondent F responsible for sexual
misconduct and violating a rule of the University. Respondent F was suspended effective February
25, 2019 through December 31, 2019. 229




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      Consistent with University policy, a notation appeared on Respondent F’s transcript during that time period.

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Respondent F appealed, arguing bias, excessive sanction, and that he was not able to cross-examine
Complainant (who did not participate in hearing). The appeal was dismissed on March 14, 2019,
finding no evidence of bias.

Respondent F entered the NCAA “transfer portal” and left the University.

         I.        Respondent G

Respondent G was also a member of the LSU Football Team and was identified in the USA Today
article as not receiving discipline related to sex assault allegations. The article also noted that he
was arrested in connection with those rape allegations, but that his case remains open according to
the District Attorney’s Office.

We received a case file related to allegations against Respondent G—with two separate alleged
incidents. Complainant 1 alleged Respondent G engaged in non-consensual sexual intercourse
with her on March 24, 2019. Complainant 2 alleged Respondent G engaged in non-consensual
sexual intercourse with her on September 7, 2019. Both cases are summarized and discussed
below.

On March 24, 2019, LSUPD officers responded to Baton Rouge General Bluebonnet Hospital in
response to an incident that allegedly occurred on LSU’s campus in Riverbend Hall. According to
the LSU Police Department Incident Report, female LSU student Complainant 1 initially reported
that an unknown person grabbed her from behind on the fourth floor of Riverbend Hall and she
blacked out. Additional information from the Incident Report indicated that Complainant 1
reported when she “came to, she woke up inside of an unknown apartment in Riverbend Hall.”

That same day, an LSUPD Detective met with Complainant 1 for an initial interview. Also present
for the interview were a SANE nurse and a Sexual Trauma Awareness & Response counselor.
During this interview, Complainant 1 said she could not provide details about the person who
grabbed her from behind, but she said she remembered waking up on a couch in what she would
come to realize was Riverbend Hall.

Over the course of the next two days, Complainant provided additional details to LSUPD,
including that she knew who assaulted her. She said she had been previously protecting this person
which is why she left out details. At this point, she identified Respondent G as the alleged assailant.
Complainant 1 reported that Respondent G penetrated her vagina and she said he “wasn’t stopping
if I said no.” She said her “mind was going crazy,” and she told Respondent G this was not what
she wanted and it was not okay. LSUPD had reviewed surveillance footage from the LSU camera
system and identified Complainant 1 and another female entering and leaving Riverbend Hall
together.

That day, an arrest warrant was issued for Respondent G for Third Degree Rape, and he
surrendered to LSUPD on March 27, 2019. The Affidavit for Arrest Warrant stated the following:

         On March 24, 2019 LSU Police were contacted by the victim of a sexual assault
         that occurred in Riverbend Hall earlier that day. The victim stated that she and a

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         friend went to Respondent G’s apartment in Riverbend Hall. Respondent G is also
         known as Respondent G. When the victim asked to use the restroom, Respondent
         G offered her to use the bathroom in his bedroom but then followed her into the
         room. The victim stated that her memory becomes hazy at this point and she “blacks
         out”. The victim reported the next thing she remembers is her shirt coming off and
         trying to hold onto her underwear as it was being taken off. Next she remembers
         being naked and face down on the bed with Respondent G behind her between her
         legs and penetrated her vagina. The victim stated that she told Respondent G “no,
         no, no”. She stated this caused Respondent G to stop temporarily but he then
         attempted to try to penetrate her again. The victim stated that she was able to get
         out from under Respondent G, got dressed and left his bedroom.

         Investigators also spoke with a witness to some of the above described events. The
         witness stated that she does not know what happened while the victim and
         Respondent G were in his bedroom because she was in a different room of the
         apartment. The witness did say that while leaving the apartment the victim seemed
         upset. The witness asked did he “fuck you when you said no?” The victim
         responded “yes”. The witness went back to Respondent G’s room to confront him
         about what happened. She stated that Respondent G admitted to having sex with
         the victim saying that he stopped because the victim was upset.

         The victim and witness both stated they had gone to Tigerland earlier in the night
         from approximately 11pm-2am. The witness advised that she and the victim had
         approximately 5 mixed alcohol drinks and three shots. The witness stated this was
         over a period of approximately 3 hours, 11pm-2am, and they had stopped drinking
         for approximately 1 hour prior to going to Respondent G’s apartment at 3am. The
         victim and witness both stated they were at Respondent G’s apartment from
         approximately 3am-4:45am, this is confirmed by recorded video surveillance in the
         building.

At this point, Respondent G entered the NCAA “transfer portal” and had no involvement with the
LSU Football team.

The file we were provided is not clear regarding how the matter was referred to the Title IX Office,
but it does say that Complainant 1 initiated the Title IX process on April 3, 2019. The matter was
assigned to Scott for investigation.

Scott interviewed Complainant 1, Respondent G, and two witnesses. Complainant 1 indicated that
she was scared and anxious and “blacked out” in response to what was occurring. She said she did
not provide consent to sexual intercourse and told Respondent G to stop. She also said Respondent
G stopped briefly but then continued with sexual contact. Respondent G did not deny that sexual
intercourse occurred, but he asserted that it was consensual. He said he stopped sexual activity
when told to by the Complainant.

The Final Investigation Report and the file do not indicate that Scott considered any other
electronic or documentary evidence, such as surveillance videos, copies of text messages, or


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medical records from the Complainant. 230 It is also not clear whether the Investigator had access
to the LSUPD file during his investigation.

Ultimately, Scott found Respondent G not responsible, stating the following in the Final
Investigation Report:


         “Given the testimony and evidence presented, this investigator finds that the Respondent
         did not violate LSU’s PM-73 policy regarding sexual misconduct; specifically Non-
         Consensual Sexual Intercourse.”

The only rationale and analysis included in the report is as follows:

         This determination was rendered on the credibility and testimony provided by all
         interviewed parties. The testimony from the Complainant, and Respondent appears
         to substantiate that neither of them were incapacitated, and that the testimony of
         Complainant and Respondent would lead a reasonable person to believe, “Consent
         was demonstrated through mutually understandable actions that clearly indicate a
         willingness to engage in a specific sexual activity. And that once Complainant
         revoked consent, the Respondent ceased all sexual activity. Finally, Scott found
         that if the Complainant had a medical diagnosis that caused “black out” conditions,
         a reasonable person would not have been aware of this condition without being
         informed.


We note deficiencies here in terms explaining the rationale for the determination. Scott references
credibility in his determination, but it is not clear how he arrived at his credibility determination.
If he found Respondent G more credible—which is a critical determination given his and
Complainant’s divergent accounts of what occurred—he does not explain why. The report also
does not identify what indications of consent through “mutually understandable actions” that Scott
found more likely than not occurred. Again, this determination was critical given the dispute
between the parties.

There is no record in the file of the outcome being communicated to the Complainant. This is
critical, not only because of Title IX and Clery requirements to provide notification of the result
of proceedings that arise from an allegation of dating violence, domestic violence, sexual assault,
or stalking, but it is also unclear whether Complainant was able to exercise her right to appeal
Scott’s finding. The file indicates the results of the investigation were shared with Respondent G
via conference call on June 5, 2019, and an outcome letter was sent to him the same day.

The only notation in the file following this communication is a notation from Jennie Stewart on
November 5, 2019, indicating that Respondent G and his mother had requested the investigation

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   It is unclear whether Scott reviewed surveillance footage reviewed by LSUPD, and whether he attempted to
obtain text message evidence from the parties or the Complainant’s medical records from her SANE exam. It is also
unclear whether Scott considered interviewing the Complainant’s boyfriend, who allegedly communicated with
Respondent G after the alleged sexual assault.

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report to show that he was not found responsible, and that Stewart had communications with a
football program at another institution about this matter.

On September 7, 2019, Complainant 2 submitted a Sexual Misconduct and Sexual Harassment
Complaint Form against Respondent G, alleging that Respondent G again engaged in non-
consensual sexual intercourse with her when she was unable to provide consent due to
incapacitation.

While the file we received does not explicitly state that the report was closed, the file includes a
case form note, dated October 31, 2019, that states the following: “Respondent was not enrolled
as a student at LSU. Lighthouse referring victim to LSUPD to pursue.” The file did not include
information to explain the delay between the report (September 7, 2019) and October 31, 2019,
and does not explain the rationale for why the matter was not pursued further by the Title IX Office
and who made this determination. The file we received does not include any communications to
Complainant 2 or Respondent G.

         J.        Respondent H

On January 24, 2020, Complainant reported to two Resident Assistants that she believed she had
been drugged and sexually assaulted while at Tigerland. One of the Resident Assistants notified
the Residence Life Coordinator Nicholas Aniol who, in turn, made a PM-73 report to the Title IX
Office.

According to the report, Complainant had been drinking and dancing at Tigerland and then left
with a male she later believed to be LSU football player Respondent H. Respondent H was a highly
recruited quarterback who enrolled at LSU in June 2019.

According to the report, after leaving one of the venues Complainant and Respondent H began
having sex in a car, but she was unsure if she consented. She had a lapse in memory in between
the incident in the car, leaving Tigerland, and arriving at Miller Hall where she resided.

Resident Life Coordinator Aniol arrived at Miller Hall and shared resources and reporting options
with the victim. Complainant elected to file a report with LSUPD who then contacted Baton Rouge
PD because the incident had occurred off campus. Complainant was then taken to Woman’s
Hospital for a SANE exam.

On the same day as the incident, a case was opened by Jeffery Scott who also assigned to the case
as investigator. The Complainant was also contacted by the Lighthouse Program on January 27th.
Scott, along with Title IX Coordinator Jennie Stewart, spoke with the Complainant’s parents on
January 29th and explained the Title IX process and reporting options. Stewart also met with the
Complainant on January 31 to explain reporting options and concerns. It was at this point the
Complainant decided to move forward with the Title IX process. Scott interviewed the
Complainant on February 3.

Scott’s first attempt at contact with Respondent H was on February 4, 2020 when he sent an email
that informed Respondent H of his potential involvement in a PM-73 violation and requested an
interview. Respondent H called Scott on February 6 at which time Scott briefed Respondent H on

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the allegation and explained the investigative process and asked to meet in person in the next two
weeks. Miriam Segar was notified on February 4 that a Title IX complaint had been filed against
Respondent H.

Between February 7-27, Investigator Scott interviewed four witnesses to the incident. Scott
included detailed notes of all interviews in his final report.

During his interview, Respondent H said he met Complainant at Tigerland and danced with her.
Eventually, he asked if she wanted to have sex in his friend’s car to which she said “yes.”
Respondent H claimed that she was sober enough to consent and give directions back to her
residence hall, Miller Hall. He said she showed no signs of being drunk.

Scott completed his investigative report on March 5 and then reviewed it with Respondent H on
March 6 including the finding of “Responsible.” Segar was also notified by Scott on March 6 of
the results. Respondent H was officially suspended from the LSU football team on March 11,
2020.

Scott was contacted on March 12 by Respondent H’s attorney. Scott sent a FERPA waiver to the
attorney which was signed by Respondent H and returned on March 13 at which point the attorney
informed Scott that Respondent H would be appealing the finding of “Responsible” in a letter
dated March 12. Respondent H’s attorney submitted Respondent H’s substantive appeal on March
18.

On April 17, 2020, Jonathan Sanders sent a charge letter to Respondent H informing him of the
exact violations he had been charged: 10.2.U Sexual Misconduct and 10.2.Z Violating a Rule of
the University (PM-73). This letter also informed Respondent H of his accountability meeting,
scheduled for April 23, which could be attended via Zoom or phone due to Covid-19 protocols.
The meeting was rescheduled at Respondent H’s request on April 24 via Zoom.

At the April 24th meeting, Sanders informed Respondent H again of the finding of “Responsible”
and that Respondent H would be suspended from LSU from May 10, 2020 to May 31, 2021.
Respondent H was also informed of a “No Contact Directive” with the Complainant. Sanders
informed Respondent H of the rationale as well as the right to accept or decline the outcome.
Respondent H was also informed that he could request a UHP that would issue a decision that
would replace the findings by Sanders. This was also sent to Respondent H via a May 1st letter as
was an Outcome Memo sent to the Complainant informing her of the findings and suspension as
well as Respondent H’s right to decline the outcome and the potential of a UHP.

On May 12th, new LSU General Counsel Winston DeCuir received a letter via email from attorneys
Susan Stone and Kristina Supler informing DeCuir that they had been retained by Respondent H
to act as his student advisors with respect to his Title IX case. Stone and Supler also requested a
hearing and shared that they did not believe Respondent H had been given adequate access to the
evidence supporting the claims against him.

Respondent H officially declined the outcome of his investigation on May 12th via letter to Sanders.
Respondent H had three business days from receipt of the May 1st letter to decline the outcome but


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claimed he had not opened the letter until May 8th. In this letter, Respondent H also claimed to be
confused about LSU’s process and procedures and requested a meeting with Sanders for
clarification.

On June 4, 2020, DeCuir sent a letter to Respondent H’s attorneys informing them that Respondent
H had demonstrably logged on to view his outcome letter “on numerous occasions” but had not
declined his outcome. On June 5th, Respondent H’s request for a UHP was officially denied as
untimely. This letter also reaffirmed Respondent H’s suspension until May 31, 2021.

On August 6, 2020, Respondent H transferred to another University.

         K.        Respondent I

The USA Today article identified Respondent I as an LSU football player who LSU “would not
confirm or deny if it disciplined . . . .” After reviewing Respondent I’s case file, at least one reason
the University could not confirm or deny any discipline against Respondent I is because at the time
of the article and associated information requests, Respondent I’s case was still being adjudicated.

Respondent I was another highly recruited football player. He enrolled at LSU in June 2019. In
Respondent I’s student conduct case, an LSU student (the “Complainant”) alleged that Respondent
I engaged in dating violence against her on September 9, 2020.

On Wednesday, September 9, 2020, LSUPD received a report of a “disturbance” at the
Complainant’s on-campus residence hall. “Upon arrival, the victim of the incident informed
Officers that her ex-boyfriend, [Respondent I], came to her room, destroyed her property, and
shoved her into a dresser causing a scrape to her hip.” Officers described the Complainant’s room
as “in disarray with items thrown about, and multiple destroyed items including an iPhone.” The
responding officers also observed an injury on the Complainant’s hip. Respondent I was placed
under arrest by LSUPD “based on the evidence observed.”

The Complainant executed the University’s Sexual Violence and Confidentiality Notice and
Waiver form, which authorized law enforcement to investigate the matter and pursue criminal
charges, share information with the Office of Dean of Students and initiate a Title IX process, and
share her contact information with the Lighthouse Advocacy program to provide support and
resources.

The Complainant met with Jennie Stewart on September 11. During this conversation, the student
relayed that Respondent H had allegedly threatened the Complainant with retaliation for “ruining
their life.” The Complainant elected to move forward with a formal complaint against Respondent
I during this meeting.

The University interimly suspended Respondent I from the University that same day. Throughout
the investigation and adjudication process, the Complainant was provided with access to mental
health and counseling resources, alternative housing options, and assistance obtaining a protective
order. Notably, the Complainant reported a high degree of satisfaction with the University’s
services in this regard throughout the process.


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Respondent I was charged with “Sexual Harassment” and “Retaliation” under the University’s
Title IX policy. Significantly, the Trump Title IX Regulations governed the resolution of the
complaint.

Investigator Jeffrey Scott initiated an investigation into the report on September 15, 2020. The
notice of investigation included reference to the University’s Title IX policy, highlighting the
Complainant’s right to an advisor of choice and providing notice of the support and resources
available through the University. The Complainant was interviewed shortly thereafter, during
which she described in detail and provided photos documenting significant damage to her person
and property. 231

On September 20, though, the Complainant contacted Scott requesting that the University halt the
investigation. After working through a personal matter, the Complainant re-initiated her complaint
four days later with the support of the University.

On September 25, Stewart sent a Notice of Investigation and Allegation to Respondent I. On
September 29, 2020, Scott sent a “Request for Interview” to Respondent I. Respondent I did not
respond. On October 5 and 12, Scott left a voicemail on Respondent I’s phone requesting contact,
to which he continued to receive no response. On October 13, 2020, Scott contacted Segar for
assistance in contacting Respondent I. Segar stated that Respondent I had not responded to any
communications from her or anyone else in the Athletics Department.

Scott proceeded with the investigation, and issued an investigative report on October 20, 2020.

The Complainant had an opportunity to review the report and all evidence, and consented to
moving forward with the process at that time. Notably, the Complainant wrote to Scott: “I
appreciate you for your hard work and diligence. No matter the outcome I am happy to know that
victims have a voice at LSU and that we are being supported and heard.”

In accordance with the 2020 Title IX Regulations, the report concluded, “Using the definitions
above and considering all information from the investigation, the hearing panel must determine
findings for each alleged policy violation.”

On November 3, 2020, though, the Complainant wrote to Stewart, Bareis, and Scott, stating: “I
would like to say that I appreciate the support that I have received, but after some consideration I
do not wish to move forward with the investigation.” In a follow up conversation with Stewart on
November 10, the Complainant reported that Respondent I’s family had “been reaching out to her
by phone” and “putting pressure on her” to withdraw her complaint. The Complainant indicated
that she was “on the fence about wanting to go forward,” and said she will decide whether to
“participate in a hearing if [the University] go[es] forward contrary to her wish.”

In a follow up phone call on November 13, the Complainant ultimately agreed to go forward with
the formal complaint. On November 17, the Complainant wrote, “I am on board with continuing


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   The Complainant also described concerns regarding the welfare of a pet shared by the parties, which were not
investigated by the University but were considered in the criminal investigation of Respondent I’s alleged conduct.

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the formal process. You will have my full participation.” She continued to express her gratitude
and appreciation for the Title IX staff throughout the process.

Following a hearing in which Respondent I did not participate, he was found Responsible and
expelled from the University.

We note that Respondent I’s case presented many of the most significant challenges for a Title IX
case: a dating violence allegation, a high-profile student-athlete, and a reluctant complainant. In
addition, this case presented the additional challenge of being one of the first matters to progress
under the Department of Education’s 2020 regulations, which have procedural elements that may
deter survivors of interpersonal violence from participating in the process (i.e., a live hearing with
cross-examination by the alleged perpetrator). Overall, we found this case handled appropriately
and note the Complainant’s repeatedly stated gratitude for the care and concern she experienced
with the Title IX Office. It is also significant that the University took immediate steps to interimly
suspend Respondent I upon notice of the serious allegations, and took other supportive and safety
measures which the Complainant expressed a high degree of satisfaction with. The differences
between this dating violence case and the cases discussed above indicate that the Title IX staff has
learned from previous missteps and oversights—and in interviews both Stewart and Scott
referenced the “lessons learned” from the Davis case in particular in handling this matter.

         Summary of Information from Other Case File Reviews

As a part of our review, we requested a list of Title IX cases from 2015–2021. From this list, we
selected representative cases and requested the complete file for each case. Each was selected
without our having any advanced knowledge of the details of the matters. When assessing cases
for this comparator file review, we selected cases that appeared to involve similar alleged
misconduct to those included in our review above (i.e., sexual assault and dating violence). We
also selected cases involving respondents who were not student-athletes so that we could at least
partially assess whether student-athletes have historically been provided with preferential
treatment in the University’s Title IX’s process.

As an initial matter, the number of cases included in the yearly lists is remarkably low considering
the size of the University and in comparison to number reported by institutional peers. This is a
potential red flag suggesting possible systemic institutional underreporting or inaccurate
centralized record-keeping of reports.

As for the substantive takeaways from our case file review, most files include many of the same
concerns identified throughout Section VI above. First, the University does not have a systematic
protocol for appropriately documenting communications and other records for Title IX cases. This
is due largely to the fact that Title IX compliance is decentralized and spread across several
different offices and personnel. Our review of the bulk of the case files provided was unnecessarily
complicated because of inconsistent record-keeping and failure to input documents and
information into a student’s online case file. For example, documents and information would be
uploaded to one party’s file, while the person entering the data failed to “link” the data to the
corresponding party for the same case number. Thus, when we requested a particular case file, we
frequently received only half of the applicable documents, and University officials had to search
for additional case documents under other party or even witness names upon request. As noted

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throughout this report, it is critical to ensure that all relevant information about a particular
individual—whether identified as a complainant, respondent, or third party—that is available to
the institution is easily located by Title IX staff in order to aid in future determinations.

Similarly, the files often do not include initial outreach communications with complainants. While
investigation reports included in the files typically reference Lighthouse outreach to complainants,
for the most part, there are otherwise no records included of communications with complainants
about process options and updates about the matter. 232 In addition, some case files include case
notes or LSU Cares Reports about supportive measures for students, but references to the support
measures offered, requested, and implemented (or rationale for declining to implement) are not
routinely included in files.

We note that the absence of many of the communications and documents outlined here does not
necessarily mean the documents are not housed in another location; the main take-away, however,
is that documents should be stored in a manner that reflects the full case processing and
communications.

Second, while the way the cases are recorded allowed us to identify the parties involved, in many
cases we were unable to tell from the records what the underlying allegations were for each period
beyond a broad “sexual misconduct” designation. Ensuring that reports are categorized based on
the nature of the alleged conduct would assist the University in identifying global trends in
instances of sexual misconduct, as well as ensure the University can quickly assess whether a
particular respondent has a record of engaging in a pattern of misconduct.

Third, with respect to records relating to the investigation, we have noted concerns with the level
of detail and accuracy in investigative reports throughout this report. In addition, while this is not
true of all cases, there are several instances in which documentary and physical evidence does not
appear to be requested during the investigation, which is often later raised in the SAA review or
in an appeal. We note that this practice has improved over time, and we have confidence that with
additional training, supervision, and resources, investigative staff will continue to improve report
writing and evidence documentation.

Finally, it bears noting that we have concerns regarding the University’s process for determining
and meting out appropriate sanctions for sex-based offenses. Our review of the files has shown
that the University’s sanction of choice for findings of “sexual misconduct” are “deferred
suspension” and “deferred probation.” A modest number of cases included a “suspension”
outcome, with a common term of a year for the suspension to be in place. Very few cases result in
“expulsion,” although we see both the number of suspensions and expulsions increasing in recent
years. We note that we did not find any evidence of preferences or unfair outcomes based on a
respondent or complainant’s affiliation or identity—i.e., status as an athlete, member of Greek
Life, or other organization.

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   We understand that this may be due to the fact that Lighthouse services, in particular, are coordinated by the
University’s Health Center and such records are stored in a confidential database. Where Lighthouse is serving the
essential function of providing outreach and coordinating supportive measures for Title IX cases, documentation of
the communications and information/resources provided in the Title IX case file is required though.

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The University utilizes a sanctioning “Outcomes Guide” to aid in determinations of appropriate
sanctions; however, we found that the University’s guide with respect to violations of sexual
misconduct does not appropriately capture the escalating and mitigating factors commonly utilized
to determine the severity of a sanction. We understand that the University is working to update its
current Outcomes Guide to be more in line with best practices and consistent with new policy
language implemented as a result of the 2020 regulations.

         Community Input Summary

As a part of our review, we invited University groups and individuals to speak with us to share
their observations and experiences related to sexual misconduct and Title IX compliance at the
University.

President Galligan sent an email communication to the University on January 29, 2021 providing
information about our review and inviting community members to schedule a time to meet with
us to provide information over a four-week period.
In response to President Galligan’s communication to student groups, we had two scheduled
student group meetings with the following: Tigers Against Sexual Assault and the Student
Government Association.

During the individual interviews, we advised community members that, while there are
confidential reporting options available through the University, our conversation was not
confidential. We advised community members that we would be sharing information with the
University and including information we received in summary form in our report. We also advised
community members that we would be sharing the information by describing themes as opposed
to identifying specific individuals in our report to facilitate candid information-sharing.

Several categories of community members responded to our request to meet, including
undergraduate students, graduate students, faculty and staff. The following is a summary of the
main takeaways from our community interviews.

                   1.   Community members described a culture that does not promote
                        reporting incidents of sexual misconduct.

Individuals who participated in our Community Input interviews and who have worked in Athletics
described a culture that does not promote reporting of alleged misconduct. Individuals alluded to
a perception that anti-fraternization policies discourage reporting when misconduct occurs in the
context of student-staff and student-athlete relationships and described a fear of retaliation for
reporting. In addition, an individual described a culture in which female assistant coaches have not
reported alleged sexual harassment from other staff members. Individuals also described a
structure in Athletics that attempts to manage reports directly so as not to draw attention to cases.
Individuals with experience in Athletics described a sexist attitude towards female student-staff
members and interns, with comments and attitudes suggesting that women who complain about
student-athletes’ conduct are trying to “ruin [athletes’] careers.” Individuals also described a



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culture in Athletics in which individuals attempt to resolve interpersonal violence issues directly
rather than report the misconduct.

Staff members outside of Athletics also expressed concerns about a culture of not reporting. One
staff member described a culture that disbelieves victims in order to protect the University. TASA
described a common feeling that the University is “not taking care of survivors.”

Groups we met with during our interviews also said the perception that the University has not been
making efforts to improve the Title IX process and promote accountability is not “new.” They
described that individuals have been sharing personal accounts of the University’s inadequate
response to sexual misconduct on Twitter and other social media platforms. TASA has expanded
from a focus on advocacy to support because so many people have expressed a need for that.

One group expressed support for the Title IX Coordinator and favorably described a town hall
during the summer of 2020 to introduce her to student leaders. Student Government Association
members also described positive communications with the Title IX Office, and TASA highlighted
an outreach from the Dean of Students to talk about the organization.

                   2.   Community members described a lack of clear directives about
                        mandatory reporting, and, in some instances, described directives to
                        report to academic leaders, rather than the Title IX Office.

Based on information from community members, it appears it is not clear who faculty should be
reporting to—one faculty member indicated mandatory reports of sexual misconduct are made to
the Dean of Students or SAA. One Department reported that a dean had directed faculty and staff
to report sexual misconduct to the dean and not the Title IX Office. Many individuals made plain
that the requirement that reports need to go directly to the Title IX Office needs to be emphasized
because of “chain of command” expectations entrenched in academia. A community member
shared a perception that AgCenter staff do not receive the same level of communications as the
A&M campus about Title IX and reporting, resulting in Ag Center staff not understanding
reporting obligations. A community member also suggested University leadership should do more
to encourage faculty to be involved.

A graduate student shared information about reporting harassment that was not reported to Title
IX for assessment, leaving the student unsure of how it was reported and whether action could
have been taken under the University’s policy. An instructor also shared an experience that related
to both Title IX and non-Title IX issues, but she was never referred to Title IX to address the
potential sexual misconduct issues.

                   3.   Community members described inadequate and infrequent Title IX
                        Training that needs to be refreshed and provided more regularly.

Significantly, during our interviews, students described not having sufficient Title IX training.
They described brief bystander intervention content at Freshman Orientation, but no training about
sexual misconduct following that. Students suggested additional content should focus on
prohibited conduct and consent. Groups shared that information shared with freshmen about sexual
misconduct, campus resources and the Title IX process does not “stick.” Some community

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members described the training as helpful in terms of effectively communicating requirements
related to sexual misconduct, but not in terms of making community members more concerned
and interested in the issues.

Community members also shared a recommendation for more targeted training for graduate
students and adjunct faculty members, including training scenarios other than misconduct
involving supervisors and supervisees. Groups requested interactive training opportunities to
supplement current online trainings. Throughout the interviews, individuals described advocating
for mandatory Title IX training and bystander intervention training for student groups—as a
parallel to the state law required anti-hazing training.

                   4.   Community members described various inadequacies in the Title IX
                        process, including a lack of updates about the process, a disconnect
                        between the Title IX and SAA process, inadequate investigations in
                        some instances, and a lack of sufficiently severe sanctions upon findings
                        of responsibility.

Students described feeling uninformed during the Title IX process. Students also expressed a lack
of communication during the investigation and a lack of communication about case outcomes.
Students described situations in which complainants were uninformed about the status of the
respondent and had ongoing concerns about possible interactions with respondents. Faculty
members also described hearing students complain about a lack of communication from the Title
IX Office during case processing. In addition to not receiving sufficient updates during the sexual
misconduct report assessment, investigation and adjudication phases, groups described a lack of
student clarity about requesting and receiving supportive measures and requested clearer
information about how such requests are evaluated.

In addition, individuals described concerns about the disconnect between the Title IX process and
the SAA process. A graduate student described reporting sexual harassment and receiving an
unsatisfactory response from Human Resources and the Title IX Office. The student indicated
there did not appear to be communication between HR and the Title IX Office, and when the
student ultimately connected with the Title IX Coordinator—upon the student’s outreach—the
case was “dropped” without explanation. Individuals also described a perception that the UHP
process results in unfair determinations by individuals who do not have enough experience with
issues related to sexual misconduct or a deep enough understanding of the underlying investigation
and recommendations. Students also described a perception that some investigations are not
thorough enough, for example, by not including interviews with identified witnesses. Further,
individuals described a perception that sanctions are not severe enough to address incidents of
sexual misconduct. TASA described hearing from complainants that they have been told
significant sanctions are not a likely outcome even upon findings of responsibility. Faculty
members described a “definition disconnect”—describing that matters are sometimes reported to
the Title IX Office and are dismissed without an explanation as to why. Importantly, students also
shared information suggesting that after an initial complaint, potential additional misconduct was
not evaluated by the Title IX Office or SAA.

Finally, students described a reliance on Lighthouse to stay informed about process and supportive
measures and generally described a positive experience with Lighthouse. One student described

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needing better education about the hearing process, and better education about the need for an
advisor to assist during a hearing.

                   5.   Community members described frustrations during the process to
                        request and receive supportive measures, as well as difficulties or
                        delays in the implementation of supportive measures.

Finally, as for supportive measures, students described frustration at needing to “prove” they
needed academic accommodations during or following an investigation. Students also described
the Title IX Office being disengaged from the provision of support measures, such as housing
relocations and academic accommodations. Interviews also raised concerns about implementation
of supportive measure, even in cases where there was Title IX Office involvement. One student
described a professor asking her why she needed academic leniency on an assignment in front of
the whole class—even after he received a communication from the Title IX Office requesting
academic accommodations and connecting the need for leniency to a Title IX matter. A student
also described a delay in implementing no-contact order; also described a lack of response from
Title IX related to concerns about respondent adhering to no-contact order.

In terms of receiving support, individuals praised Lighthouse and the services they provide but
described that Lighthouse needs additional resources to expand the program. Community
interviews revealed particular challenges facing international students when they experience
sexual misconduct and are attempting to navigate the University’s systems for addressing
misconduct. One student indicated she had critical support from professors—and she said that
without a mentorship connection in her program she would not have been able to navigate the
investigation and resolution process as easily. Individuals described difficulty getting access to
mental health and counseling services through the Student Health Center—an issues that impacts
not just those dealing with incidents in sexual misconduct, but broader student health issues.
Individuals also discussed safety issues on campus, including recommending expansive escort
services and expanded hours for Campus Transit. Finally, individuals described a need for more
resources for student-athletes, particularly those who have a history of violent behavior and
advocated for efforts to “repair harm” for victims of sexual misconduct.

         Recommendations

Before outlining our recommendations, we want to directly address a sentiment expressed in
community interviews regarding our work, namely, that if this report does not recommend “firing
people,” an important part of the University community will be disappointed. We understand the
sentiment. In drafting this report, we have been guided by the University’s desire for us to provide
the community with a truthful account of the University’s handling of various Title IX matters.
When mistakes were made by University employees, we have said so throughout this report. When
we have concerns, we have identified them. With that said, we believe it would be inappropriate
for us to tell the University who it should or should not discipline. Rather, the leadership of the
University should take this report and decide what, if any, discipline is warranted for employees.
If the leadership of the University decides to discipline employees, one of the important lessons
from this review is that institutional policies and processes should be followed. In addition, those
employees should be entitled to full due process protections, including the ability to say this review
“got it wrong.”

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Throughout this report, we have stressed that in many ways the employees tasked with these
important responsibilities were not served well by the leadership of the University. Institutional
policies were unclear, edicts were issued by supervisors that conflicted with policy, employees
were overburdened with vast institutional roles and not provided with appropriate resources, calls
for additional resources went unheeded, concerns were not responded to, etc. As part of this
review, we have interviewed several employees who acknowledged making mistakes and
emotionally shared that they were trying their absolute best under exceptionally difficult
circumstances.

With that as backdrop, we make the following recommendations to the University. These
recommendations are informed by all of the materials we have reviewed, our comments throughout
the report, our understanding of national trends and well-recognized best practices, and perhaps
most importantly, the input of the various members of the University community who met with
us. Each recommendation will require considerable attention and effort, but we are confident that
these recommendations provide the University with a road map for correcting problems identified
throughout this report.

In making our recommendations, we are mindful that too often conversations about Title IX have
been framed by partisans who are concerned exclusively with the rights of either victims of sex
misconduct or the rights of those accused of sex misconduct. Our view is that sexual misconduct
and relationship violence are egregious harms that require great care in responding to and that
being accused of such misconduct is significant and warrants fair and thoughtful processes and
personnel. None of the recommendations below are intended in any way to “tilt the scales” to
either side in a Title IX matter, but rather to create a system that all members of the University
community can have confidence in, even when they do not necessarily agree with the end result
of a particular case. The recommendations are also intended to support community members
impacted by sex discrimination and hopefully meaningfully reduce the incidence rate of sex
discrimination on campus.

    1. The Title IX Office Must Be Staffed Appropriately. The most important
       recommendation from this review is that the University’s Title IX Office is not
       appropriately staffed and this needs to be corrected promptly.

         Comprehensive Title IX programs have four areas of focus:

              x    Prevention Programming and Training designed to: (a) increase awareness of
                   institutional policy and internal reporting options and resources and (b) reduce
                   incidence of sex discrimination throughout the University community.
              x    Report Resolution, i.e., how an institution resolves reports of sex discrimination
                   from start to finish.
              x    Support and Resources for community members impacted by sex discrimination.
              x    Athletics Compliance, which is subject to a particular regulatory compliance
                   regime.




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         With respect to prevention programming and training, ideally, there should be a robust set
         of Title IX training programs which educate community members on items such as
         mandatory reporting obligations, bystander intervention, etc. The Title IX Coordinator
         should also provide more targeted training interventions when the Title IX Coordinator
         identify problematic trends occurring within the University community. Again, ideally, the
         Title IX Coordinator develops tools to measure the effectiveness of training programs and
         adjusts when interventions are ineffective. None of this is being meaningfully and
         consistently done at LSU primarily because there is insufficient staff to do it.
         Recommendation 2 below speaks more directly to this concern.

         If nothing else, our hope is that this report makes plain to the leadership of the University
         and the broader LSU community that thoughtfully resolving reports of discrimination is an
         exceptionally challenging and labor-intensive exercise. Ideally, the Title IX Coordinator
         creates a uniform set of processes for investigators to follow to ensure that reports are
         consistently handled with the care they deserve, monitors the timeliness of investigations,
         and otherwise ensures the quality of institutional resolution of reports of discrimination.
         The latter includes meaningful and timely communication with the parties, making sure
         that all relevant evidence is gathered, and reviewing and critiquing investigatory and other
         reports to ensure that they are robust and evince a thoughtful consideration of the issues.

         In evaluating the University’s Title IX processes, we are mindful that from 2008–2017,
         Louisiana’s state spending per student decreased 44.9%—the second largest decrease in
         the country. During that time, LSU’s budget was cut a remarkable 16 times. While the
         University’s budget was facing drastic cuts, its unfunded compliance obligations—
         including compliance mandates around Title IX and Section 504—were exploding in
         significant ways. Given the myriad challenges created by these budget cuts, it is perhaps
         understandable that the Title IX Office was not staffed appropriately; however, the most
         important finding from this review is that it was (and is) not. And until the Title IX Office
         is staffed appropriately, the vast majority of concerns identified throughout this report will
         likely continue to plague the University. “Doing more with less” simply does not work in
         this space.

         For perspective, in 2019, the LSU Football team completed a perfect season and won a
         national championship. The success of the program is a remarkable achievement and shows
         what the University can accomplish with appropriate resources and personnel. To that end,
         as of today, the staffing of the football program alone includes eleven full-time coaches;
         thirteen analysts; nine individuals connected to athletic training, nutrition and strength and
         conditioning; four individuals to handle equipment; four employees to manage video
         production; three graduate assistants; a “General Manager;” a “Director of Player
         Development;” a “Special Assistant to the Head Coach;” an “Assistant Athletics Director
         – Football;” an “Assistant Director of Operations;” a Coordinator of Football Operations;
         a Coordinator of Defensive Operations; a Coordinator of Offensive Operations; an
         Associate Athletics Director of Football Recruiting and Alumni Relations; an Assistant
         Director of Recruiting Operations; a Senior Consultant; an Assistant Director of On-
         Campus Recruiting Operations; an Assistant Director of Player Personnel; and a
         Coordinator of Football Relations. This does not include a bevy of student workers whose


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         responsibilities have been described as “coloring cards” for football recruits and their
         families.

         In contrast, LSU’s Title IX Office is staffed with a Title IX Coordinator and one “Lead”
         investigator for a campus with over 34,000 students. This alone is inconsistent with
         institutional peers, who generally staff Title IX and other equity offices with three to six
         investigators. In addition, though, the Title IX Coordinator and the investigator fulfill these
         roles not only at the A&M campus, but for the entire LSU System. Again, among peers,
         the role of a “system” coordinator with responsibility for overseeing Title IX compliance
         for multiple campuses is most often a full-time job in and of itself.

         Moreover, as discussed in Section II, LSU’s Title IX Coordinator wears other hats with
         significant compliance obligations, serving as the University’s Section 504 Coordinator
         and Clery Act Coordinator. Again, at other institutions the Section 504 Coordinator role
         alone is most often a standalone position. The Title IX Office does not even have a
         dedicated administrative assistant to answer phone calls or schedule meetings. While we
         are critical throughout this report of the way in which the Title IX Office handled some
         individual cases, it is difficult to imagine anyone being successful in an office with such
         vast responsibilities but such limited resources. For what it is worth, those challenges were
         only heightened by the University’s decision to utilize an exceptionally cumbersome and
         labor-intensive process for adjudicating Title IX reports.

         Accordingly, while there are a variety of different Title IX staffing models utilized by
         institutions throughout the country, at a minimum, we recommend that the University
         immediately provide the Title IX Office with: (a) administrative support personnel; (b) a
         case manager; and (c) two additional full-time investigators.

         Additionally, the Title IX Coordinator position at LSU must be a full-time position whose
         sole responsibility must be coordinating compliance with Title IX.

    2. Designate a Deputy Title IX Coordinator for Prevention and Training. We recommend
       that the University designate a Deputy Title IX Coordinator for Prevention and Training to
       coordinate the University’s prevention and training programs in consultation with the Title
       IX Coordinator. The Deputy Title IX Coordinator for Prevention and Training should be
       empowered to develop university-wide initiatives where research makes clear that such
       programs reduce the incidence of sex discrimination. STAR is an invaluable resource for
       Baton Rouge and the LSU community and we also recommend that the University contract
       with STAR to assess the University’s current prevention and training program offerings
       and assist the Deputy Title IX Coordinator for Prevention and Training improve those
       offerings.

With assistance from STAR, we recommend that the Deputy Title IX Coordinator for Prevention
and Training implement the following programs as promptly as practicable:

              x    The Deputy Title IX Coordinator for Prevention and Training should be responsible
                   for re-designing the University’s current online training modules with at least four
                   goals in mind:

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                         i. Ensuring all University community members understand the behavior
                            institutional policy prohibits as well as the sanctions for engaging in
                            prohibited conduct;
                        ii. Ensuring that all University constituents are aware of confidential resources
                            and reporting options for community members who are impacted by sexual
                            discrimination;
                       iii. Ensuring that reporters understand the processes available to resolve their
                            complaints; and
                       iv. Ensuring that all employees understand their legal obligations to report
                            discrimination (as well as the sanctions which would apply for failing to
                            make a mandatory report).

                   We recommend that this online training module be delivered, in part, by prominent
                   members of University leadership (including the University President and Board
                   members) to underscore the significance of the University’s commitment to this
                   issue. It also must be mandatory for all employees, and compliance must be
                   regularly monitored and enforced.

              x    Second, we recommend the Deputy Title IX Coordinator for Prevention and
                   Training develop mandatory in-person training for all Athletics personnel regarding
                   maintaining appropriate workplace norms. There is considerable research
                   supporting the proposition that establishing appropriate workplace norms reduces
                   the incidence of sex harassment in the workplace. Similarly, the research is clear
                   that harassment flourishes in work environments in which supervisors exercise little
                   or no control over behavior. This mandatory training should make plain what is not
                   appropriate behavior in the workplace and how leaders must be responsible for
                   intervening when inappropriate behavior is taking place. While the Athletics
                   Department has made progress on these items under new leadership, it is clear that
                   more needs to be done.

              x    Finally, we recommend that the Deputy Title IX Coordinator for Prevention and
                   Training consider the feasibility of periodically promulgating department and
                   school-level climate surveys to assess climate regarding organizational tolerance
                   for sex discrimination. These surveys would need to be strictly confidential for
                   survey participants and would assess unit and department-based attitudes towards
                   tolerating sex discrimination, including whether employees feel they will be
                   retaliated against for complaining about sex discrimination, whether perpetrators of
                   discrimination are appropriately punished, whether management sets an
                   appropriate tone regarding these issues, and whether management and the
                   University as a whole handle complaints appropriately. These surveys could serve
                   as “temperature checks” for the need for more targeted intervention by the Title IX
                   Coordinator, including customized in-person training.

         While this Deputy role does not necessarily have to be a full-time designation, we caution
         that the University has historically utilized an “other-duties-as-assigned approach” when



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         assigning responsibility for Title IX compliance. The University should take care to
         designate an employee with appropriate capacity and resources to take on this critical role.

    3. Designate a Deputy Title IX Coordinator for Support and Resources. The provision of
       professional support and resources for individuals impacted by sex discrimination and
       reports of sex discrimination is a critical component of an effective Title IX program. As
       it stands now, we have heard nothing but positive feedback about the University’s
       Lighthouse Program. This is a solid foundation to build upon. With that said, the extension
       of resources is currently not coordinated with the Title IX Coordinator and parties to the
       Title IX process are rightfully confused about where to go for resources. With that in mind,
       we recommend creating a dedicated Deputy Title IX Coordinator for Support and
       Resources who will be responsible for receiving, coordinating, and monitoring
       implementation of support and resources for all community members impacted by sex
       discrimination and reports of sex discrimination. While this report has identified many
       problems, we would be remiss in not pointing out again that Susan Bareis was unanimously
       praised by members of the University community for the amazing support and resources
       she has provided. We believe she would be ideal for this position with appropriate support
       staff.

         This position should be removed from the informal or formal process for resolving reports
         and instead be geared solely to ensuring that impacted individuals receive the full range of
         supportive measures offered by the University. These resources may include counseling,
         extensions of time or other course-related adjustments, modifications of work or class
         schedules, campus escort services, restrictions on contact between the parties, changes in
         work or housing locations, leaves of absence, increased security and monitoring of certain
         areas of campus, and other similar accommodations. Part of this Deputy Coordinator’s role
         should include ensuring all such resources are provided equitably as appropriate for each
         particular circumstance, and that determinations with respect to supportive measures are
         documented appropriately. In addition, the Deputy Coordinator should work closely with
         other University offices to facilitate delivery of support services.

    4. The Title IX Coordinator Reporting Line Must Change. The Title IX Coordinator’s
       current reporting line to the Office of General Counsel is rife with conflict of interest
       concerns. Because of the myriad legal requirements associated with Title IX, the Title IX
       Coordinator should certainly confer with institutional counsel as necessary. However, the
       Title IX Coordinator should not directly report to the Office of General Counsel. In at least
       the short term, we recommend that the Title IX Coordinator immediately begin reporting
       directly to the University President. Consistent with best practices and the organizational
       structure of institutional peers, we also recommend that the University consider creating
       an “Office of Civil Rights” or “Office of Institutional Equity” which would be tasked with
       processing community reports of all University discrimination claims (i.e., Title IX claims
       as well as claims involving Title VII and the Americans with Disabilities Act) and be
       overseen by an appropriately qualified senior member of the University leadership. There
       are various models for this at peer institutions and we are happy to share additional
       information regarding those models.



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    5. Implement Internal Monitoring and Quarterly and Annual Reporting. To ensure
       effective monitoring of the Title IX Office on a go-forward basis and to promote
       accountability to the campus community, we recommend the University commit to
       quarterly and annual reporting from the Title IX Office. On a quarterly basis, we
       recommend the Title IX Coordinator prepare a report to the President regarding the
       following:

              x    Office staffing and delegation of responsibilities;
              x    Statistical information, including the number of reports received by the office; the
                   number of Formal Complainants received by the office; the status of current cases;
                   and the number of cases resolved by the office and the category of resolution; and
              x    An update on training that has been provided or coordinated by the Title IX Office.

         In addition, we recommend the Title IX Coordinator prepare an annual report that will be
         shared with the campus community with similar information regarding Title IX Office
         staff, trainings provided to the community and statistical information regarding Title IX
         case processing. Given the University’s expressed desire to begin to demonstrate
         immediate improvements in the University’s response to issues of sexual misconduct, we
         recommend the University release a semi-annual and annual report for 2021 and 2022,
         publishing reports from the Title IX office on September 1, 2021 and March 1, 2022.

    6. Recordkeeping Must Be Improved. The Title IX Office must develop a comprehensive
       recordkeeping system which, among other things, monitors reports of discrimination and
       whether interim and final sanctions are complied with. The University’s use of case
       management software such as Maxient and/or Ethics Point is helpful in this regard—so
       long as all employees tasked with documenting incidents and communications are trained
       appropriately on the University’s system and reporting guidelines. This may seem
       picayune, but our review above illustrates some of the many significant ways Title IX
       matters can be handled inappropriately because there is inadequate recordkeeping. A case
       manager is often used at peer institutions to do this work.

         In addition, when discretionary decisions are made—e.g., decisions about whether to honor
         a request not to proceed with a Title IX investigation—there should be a detailed
         explanation for how the University arrived at its decision.

         Again, while this review was limited to Title IX, a similar process should be employed
         regarding whether an incident warrants a Clery Timely Warning. Regarding Timely
         Warnings, we recommend providing an addendum to an incident report involving a Clery
         crime reflecting the explanation as to why an alert was not issued in a particular situation.

    7. Targeted Training for Athletics. Thoughtfully understanding problems is an essential
       part of fixing them. In this instance, there have been various public concerns expressed that
       athletes accused of Title IX violations have been the beneficiaries of favoritism by the Title
       IX Office. In reality, the problems identified throughout this report have arisen in a variety
       of different contexts and departments. While there are unique problems in Athletics (in
       particular around reporting), the suggestion that LSU student athletes in the Title IX
       process are getting special treatment is simply not supported by what we have learned in

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           this review. There is also no evidence that anyone in a leadership position within the
           University has put any sort of pressure on the Title IX Office or otherwise to reach
           conclusions favorable to prominent student athletes.

           With all of that said, as mentioned above, the Athletics Department needs clarity from
           leadership (and training) about roles and expectations. The process whereby one person in
           Athletics serves as the gatekeeper of discrimination reports (and whether they get to the
           Title IX Coordinator) must end immediately. This process has served no one well.

           All Athletics employees must be clearly instructed that they are required to make reports
           of sex discrimination directly to the Title IX Coordinator. This also needs to be made clear
           annually in training overseen by the University’s Title IX Office. It is also imperative that
           new Athletics staff—upon hiring—be provided with training on institutional expectations
           in this regard.

           In addition, the football team, in particular, is long overdue for training targeted to their
           players with a goal of minimizing incidence rate. This training should be coordinated with
           the University’s Title IX Coordinator and we highly recommend the University develop a
           contractual arrangement with Baton Rouge’s Sexual Trauma & Response organization to
           facilitate this training.

       8. Mandatory Reporting Obligations Must Be Clear. The University’s mandatory
          reporting deficiencies are not unique to Athletics and should be addressed immediately.
          For years now, the University has been told that it needs to clarify its policies and training
          regarding who is a mandatory reporter for purposes of Title IX and how those reporters
          satisfy their mandatory reporting obligations. There has been a remarkable lack of
          leadership on this. While our review was focused on Title IX issues, we have similar
          concerns for employee mandatory reporting obligations created by the Clery Act.

           Additionally, there is no guidance on what the consequences of failing to make a required
           report are. All of this needs to be remedied immediately. To that end, we make the
           following recommendations: (a) the University should immediately clarify in institutional
           policy the employees who are required to make mandatory reports both under Title IX and
           pursuant to the Clery Act; (b) that policy should stress who the reports must be made to
           and outline how to satisfy reporting obligations; and (c) the policy should make clear the
           consequences to employees for failing to make a report.

           Regarding the latter, Texas recently enacted legislation which required employees to make
           reports of sex discrimination to the Title IX Coordinator. 233 That law also required
           institutions to terminate any employee who fails to make a report. Whether that is wise
           policy remains to be seen. With that said, the University should make clear that a failure to
           report is a serious offense which warrants a serious sanction and should at least consider
           whether it should always warrant termination as is the case in Texas. The University can
           consider articulating specific exacerbating or mitigating factors to aid in this analysis.


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      See Tex. Edu. Code § 51.252.

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            While updating the policy is a start, this mandatory reporting obligation needs to be stressed
            in a training program for all employees. Additionally, all covered employees should be
            required to acknowledge they are aware of their mandatory reporting obligations. This
            training should also be included in employee orientation sessions.

            Finally, the University should also create an easy-to-use and easy-to-locate webpage to
            facilitate employee mandatory reports. Website updates should also be considered for
            students, as our review of case files and conversations with community members made
            clear that neither students nor employees had clarity regarding the “best” or most direct
            way to make a report to the Title IX Office.

            Regarding Campus Security Authorities under the Clery Act, while we did not conduct an
            Clery audit, we have the following observations. LSU’s Annual Security Report does not
            include a definition of a CSA or a list of the CSAs. LSU should compile a comprehensive
            list of CSAs so that the University can ensure those on campus with that status understand
            their role and obligations. The list of CSAs should include identified CSAs at all of the
            nine campuses. Without clear information about individuals designated as CSAs, it is
            difficult to assess whether such individuals are being well trained. Training CSAs is not
            complicated, but it is essential so that CSAs know what their role is with regard to campus
            security. Beyond designating CSAs and training them, the University should establish an
            internal system for connecting with CSAs on a somewhat regular basis (i.e., beginning of
            academic year and beginning of each calendar year) to remind them of their obligations
            and give them an opportunity to report any information they have received about criminal
            activity but have not yet reported.

       9. Finalize the LSUPD MOU. As discussed at length in Section II of this report, LSUPD
          should finalize its MOU with the Title IX Office as soon as possible.

       10. Title IX Personnel Must Get Specialized Training on Dating and Domestic Violence.
           Dating and domestic violence cases are exceptionally challenging. The Trump Title IX
           Regulations further complicate the handling of these cases. It is essential that employees
           tasked with resolving these reports (including third-party providers) be required to obtain
           biannual training on the unique issues raised by interpersonal violence cases. Again, we
           highly recommend the University develop a contractual arrangement with Baton Rouge’s
           Sexual Trauma Awareness & Response organization to facilitate this training. 234 We have
           also had positive experiences with The One Love Foundation.

       11. Accountability is Critical. As demonstrated in this report, the University has been
           provided with recommendations for years about Title IX which have never been
           implemented. For any of the recommendations made by Husch Blackwell that the
           University accepts, clear deadlines should be established by the leadership of the
           University for implementing those recommendations and those deadlines should be made
           public on a website so that the public can monitor progress and leadership can be held
           accountable for whether they are honoring their commitments.


234
      See https://star.ngo/.

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    12. Special Care is Warranted for Cases Involving Athletes. As indicated at the beginning
        of this report, the vast majority of sexual assault on campuses around the country is never
        reported. When reports are made and involve prominent campus athletes, it is also quite
        common for reporters to be reluctant to participate in University disciplinary processes and
        potentially face the wrath of sports fans. We have seen this phenomenon several times in
        our file reviews here. This is a deeply entrenched cultural problem and it presents a
        remarkable challenge, a challenge again arguably made more complicated by the Trump
        Title IX Regulations. One way to confront it is to bring the sex assault incidence rate down
        and we are hopeful that our training and reporting recommendations will assist in that
        regard. We also believe a robust bystander intervention program which has genuine buy-
        in from the leadership of the Athletics Department and active participation by prominent
        student athletes will assist. We are also optimistic that a robust and coordinated effort to
        provide resources and support to reporters coupled with an appropriate tone at the top from
        the leadership of the Athletics Department will be helpful. With all of that said, this is an
        exceptionally complicated challenge and one the Title IX Coordinator and the leadership
        of the University should be monitoring on a regular basis.

    13. Develop and Implement Alternative Resolution Options and Restorative Justice for
        Sex Discrimination Matters. There was clear consensus in our community interviews that
        students wanted as robust an offering of alternatives to investigation/adjudication as
        possible for dealing with sex discrimination complaints. This consensus is in line with
        developing best practices. We recommend that such alternative resolution processes be
        offered and formalized to the extent practicable in the University’s sex discrimination
        policies. Of course, it is essential to recognize that alternative resolution will not be
        appropriate in all cases (e.g., when such resolution will not adequately protect the safety of
        the individuals involved and/or the University community) and we recommend that the
        policy provide a process for the Title IX Coordinator to assess when alternative resolution
        would be inappropriate.

         We are especially optimistic about the benefits of restorative justice in this space. In
         particular, we believe restorative processes would be especially worthwhile in (1) the
         context of informal or alternative resolution of cases that do not present imminent safety
         concerns for the harmed individual or the community; (2) reintegrating and rebuilding trust
         in situations when individuals are found responsible for violating University policies but
         are permitted to remain in or return to the campus community; and (3) in response to larger
         climate and bias issues and community building.

    14. Implement Timelines for Resolutions and Options for Participants in Untimely Cases.
        Throughout our review, it became clear that the resolution of many sex discrimination
        claims took an unreasonably long period of time. While we acknowledge that many
        complaints of sex discrimination can be complicated, we recommend that a reasonable and
        presumptively appropriate timeline be memorialized in institutional policy as soon as
        possible. We recommend that the timeframe can be extended for good cause (e.g., to ensure
        the integrity and completeness of an investigation; comply with a request by law
        enforcement for temporary delay to gather evidence; provide reasonable accommodations
        for availability of key witnesses; etc.).


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         In addition, in the event a Title IX matter is not being handled in a timely manner, we
         recommend the University provide participants with an opportunity to complain directly to
         a member of the University’s leadership team who, in appropriate circumstances, will be
         empowered to direct additional resources to the investigation to ensure that it is conducted
         as promptly as possible.

    15. Thoughtfully Consider Presumptively Appropriate Sanctions. One of the concerns
        identified throughout this review is whether community members who are found
        responsible for sexual misconduct are being sanctioned in a manner consistent with the
        seriousness of the offense Throughout our community interviews, there was a clear
        consensus that the University’s current sanctioning guidelines were too lenient. As we
        noted throughout our review, there were a number of cases where we believed the sanctions
        meted out by the University were not sufficiently serious. At some peer institutions,
        detailed sanctioning matrices have been developed for sex misconduct cases. Others have
        opted for presumptively appropriate sanctions with expulsion or termination the
        presumptively appropriate sanction for certain serious infractions. We recommend that the
        University reconsider its sanctioning guidelines. To that end, we recommend that the
        University initiate a task force consisting of employee and student leaders to assess whether
        the University’s current approach to sanctions is in line with peer institutions and, more
        importantly, consistent with the professed values of the University.

    16. The University Needs a New Centralized Website to Increase Understanding and
        Simplify Process. Students and employees described the University’s Title IX website and
        related pages as exceptionally difficult to navigate. We agree. Our review of the website
        found that University policies, procedures, and resources are available, but not easy to
        navigate. Research has shown that efforts to “increase the accessibility of policies, links,
        and Title IX coordinator information, along with campus climate surveys (by making these
        public surveys) and training of the university communities” helps build trust in the
        University’s handling of these sensitive matters and results in increased reporting.
        Accordingly, we also recommend that the University create a new “Title IX” or
        “Interpersonal Violence Prevention and Response” webpage as soon as possible. There are
        several high-quality webpages at other universities which can serve as templates, including
        the University of Rhode Island’s “Sexual Violence Prevention and Response” page and the
        University of Oregon’s “Help for Survivors” page.

    17. Regularly Measure Climate and Effectiveness. All of the changes recommended above
        are designed with three broad goals in mind:

         (a)       improve the institutional response to reports of sex discrimination from the
                   perspective of reporters, respondents, and other impacted third parties;

         (b)       create a climate where subjects of sex discrimination feel supported and are aware
                   of the full range of university options and resources; and

         (c)       improve the University’s overall climate around sex discrimination.


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         We are hopeful that these recommendations will assist in accomplishing these goals. With
         that said, we think it is critically important for the University to regularly measure whether
         these interventions are succeeding as well as the overall effectiveness of the University’s
         comprehensive Title IX program.

         To that end, the training recommended above should not be done for its own sake or to
         “check a compliance box.” Rather, the recommended training and other training and
         prevention programs ultimately created by the University should always be intentional. For
         each program, there should be:

              x    a preliminary assessment of needs (i.e., what are the knowledge deficits that are
                   being addressed or the attitudes which the training is trying to change);
              x    clear training goals;
              x    an opportunity for participant feedback geared to assessing whether training goals
                   are being met; and
              x    a regular process for reviewing participant feedback, assessing what worked and
                   what did not work, and making necessary adjustments.

         In terms of measuring broader institutional goals, we recommend the university evaluate
         progress in an annual, ongoing longitudinal campus climate survey which measures at least
         the following items:

              x    prevalence of campus sex discrimination;
              x    community perceptions about institutional response to sex discrimination
                   generally; and
              x    community and participant perceptions about the effectiveness of the University’s
                   incident resolution processes.

         This may help the University gauge the prevalence of all forms of sexual misconduct
         affecting its community. It may also shed light on the campus community’s perception
         about institutional efforts to combat sexual misconduct and the extent of the community’s
         knowledge about institutional resources and policies.

         We recommend that this report be made public and posted prominently on the University’s
         website.

      18. The Rules Must Apply to Everyone. One of the witnesses we spoke with penned a
          thoughtful column titled “LSU has good sexual misconduct policies. It needs to follow
          them.” 235 For reasons we discussed above, we actually have concerns with many aspects
          of the University’s previous policies. Quibbles aside, the broader point is a good one: the
          University needs to ensure that its Title IX policies and processes are followed and apply
          equally to everyone. The “work arounds” employed by the University to try to control
          narratives or “protect the brand” have served the University community poorly. When

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    https://lailluminator.com/2020/11/20/guest-column-lsu-has-good-sexual-misconduct-policies-it-needs-to-follow-
them/

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         community members learn about sex discrimination, reports need to be made to the Title
         IX Office. When reports are made, they need to be handed pursuant to institutional policy
         no matter the status of the parties or complicated the situation. The unintended negative
         consequences and spillover impacts of failing to “play it straight” are considerable.

This is a detailed report and we have tried to cover considerable territory. Of course, there may
nevertheless be issues or outstanding questions we have missed. In the event you would like us to
address a specific question, please let us know.

We are grateful for the opportunity to have worked with LSU on this important project and are
hopeful that this review will make a difference in the lives of LSU students and employees.




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                                                         Louisiana State University System
                                                                     3810 West Lakeshore Drive
                                                                    Bacon Rouge , Louisiana 70808

Office of che President                                                                                                                          225 1578-21 1 1
                                                                                                                                                 225 / 578-5524 fax

           Permanent Memorandum No. 73 (PM-73)

           Effective June 18,2014

           F. King Alexander, President


                  1
                                               TITLE IX AND SEXUAL MISCONDUCT POLICY




           TITLE IX AND SEXUAL MISCONDUCT

           In accordance with Title IX and other applicable law, Louisiana State University ("LSU") is
          committed to providing a learning, working, and living environment that promotes integrity,
          civility, and mutual respect in an environment free of discrimination on the basis of sex and sexual
          misconduct which includes sex discrimination, sexual harassment, dating violence, domestic
          violence, sexual assault, stalking and retaliation. LSU prohibits sex discrimination and sexual
          misconduct. This policy applies to all persons without regard to sexual orientation, gender
          identity and/or gender expression.

          Sex discrimination and sexual misconduct violate an individual's fundamental rights and personal
          dignity. LSU considers sex discrimination and sexual misconduct in all of its forms to be serious
          offenses. This policy has been developed to reaffirm these principles and to provide recourse for
          individuals whose rights have been violated. This policy establishes a mechanism for determining
          when rights have been violated in employment, student life, campus support services, LSU
          programs and/or an academic environment.

          Nondiscrimination Notice

          LSU does not discriminate on the basis of race, creed, color, marital status, sexual orientation,
          gender identity, gender expression, religion, sex, national origin, age, mental or physical
          disability, or veteran's status in its programs and activities and provides equal access to its



                                                 Louisiana Scace University & Agrirnltttral and M echanical College
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 Pennington Biomedical Research Center • LSU Health Sciences Center - New Orleans • LSU Health Sciences Center - Shreveport • LSU Health Care Services Division
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programs and activities. Inquiries regarding the non-discrimination policy should be directed to
the individual or individuals designated in each campus' applicable policy.

I. JURISDICTION

A. This policy shall apply to conduct that occurs on an LSU campus, at LSU sponsored activities,
and/or when the Student or Employee is representing LSU. LSU shall have discretion to extend
jurisdiction over conduct that occurs off campus when the conduct adversely and significantly
affects the learning environment or LSU community and would be a violation of this policy and/or
any applicable campus policy or code of conduct, if the conduct had occurred on campus. In
determining whether or not to extend jurisdiction, LSU may consider, among other factors, its
ability to gather information and effect a resolution. LSU may extend jurisdiction (over off-
campus conduct) if the alleged conduct by the student or employee:


1.       Involved violence or produced a reasonable fear of physical harm; and/or
2.       Involved any other members of the LSU community or any academic work, records,
         documents, or property of LSU.


B. Each Student shall be responsible for his/her conduct from the time of acceptance for admission
through the actual awarding of a degree.


C. Employees are responsible for their conduct during work hours, on campus, at LSU-sponsored
activities, and/or when the employee is representing LSU,or when their conduct would adversely
affect LSU's image, regardless of whether such conduct occurs on-campus or off-campus.


D. This policy also applies to any person who is both a student and an employee at LSU, arising
out of, or in connection with, conduct in either or both of those capacities. Any violation of this
policy may subject such person to disciplinary action, as applicable, in either or both of those
capacities.

II. DEFINITIONS

"Advisor of Choice" A Student or Employee has the right to have one Advisor of his/her choice
present during any meeting conducted under this policy. The Advisor may not have personal
involvement regarding any facts or circumstances of the alleged misconduct. The Advisor's only
function shall be to assist and/or consult with the Student or Employee. The Advisor may not act
as a spokesperson. The Advisor may be an attorney but participation shall be limited, as stated
above.




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"Consent" means the affirmative and voluntary agreement to engage in a specific sexual activity
during a sexual encounter. Consent cannot be given by any individual who is mentally or
physically incapacitated, either through the effect of drugs or alcohol or for any other reason; or
under duress, threat, coercion, or force; or inferred under circumstances in which consent is not
clear, including but not limited to the absence of "no" or "stop", or the existence of prior or
current relationship or sexual activity.

"Dating Violence" includes violence committed by a person who is or has been in a relationship
of a romantic or intimate nature with the victim: (1) The existence of such a relationship shall be
determined based on the report and with consideration of the length of the relationship, the type
of relationship, and the frequency of interaction between the persons involved in the
relationship. (2) For the purpose of this definition dating violence includes, but is not limited to,
sexual or physical abuse or the threat of such abuse. Dating violence does not include acts
covered under the definition of domestic violence. (3) For the purposes of complying with Title
34 CFR 668.41, of the federal register and pertaining to the annual security report under the
Jeanne Clery Disclosure of Campus Security Policy and Campus Crime Statistics Act (Clery Act),
any incident meetingthis definition is considered a crime for the purposes of Clery Act reporting.

"Domestic Violence" includes (1) A felony or misdemeanor crime of violence committed by a
current or former spouse or intimate partner of the victim, by a person with whom the victim
shares a child in common, by a person who is cohabitating with or has cohabitated with the victim
as a spouse or intimate partner, by a person similarly situated to a spouse of the victim under the
domestic or family violence laws of the jurisdiction in which the crime of violence occurred, or by
any other person against an adult or youth victim who is protected from that person's acts under
the domestic or family violence laws of the jurisdiction in which the crime of violence occurred.
(2) For the purposes of complying with Title 34 CFR 668.41,any incident meeting this definition
is considered a crime for the purposes of Clery Act reporting.

"Hostile Environment'' includes conduct of a sexual nature that is sufficiently severe, persistent,
or pervasive to limit a student's or employee's ability to participate in or benefit from the
education program or from one's employment, or to create a hostile or abusive educational or
work environment.

"Incapacitation" includes a person's inability to provide consent due to the use of drugs or
alcohol, when the person is asleep or unconscious, or because of an intellectual or other disability
that prevents the student or employee from having the capacity to give consent.

"Responding Person" includes any student or employee against whom a complaint under this
policy has been made for an alleged violation of this policy.


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"Responsible Party" includes any employee: who has the authority to take action to redress
sexual violence or who has been given the duty of reporting incidents of sexual violence or any
other misconduct by students or employees to the Title IX coordinator or other appropriate
school designee; or whom a student or employee could reasonably believe has this authority or
duty; or any student employees.

"Sexual assault" is any type of sexual contact or behavior that occurs without the explicit consent
of the recipient. Sexual assault includes sexual activities as forced sexual intercourse, forcible
sodomy, child molestation, incest, fondling, attempted rape, and includes sexual acts against
people who are unable to consent either due to age or incapacitation.

"Sex Discrimination" includes behaviors and actions that deny or limit a person's ability to
benefit from, and/or fully participate in the educational programs, activities, and services
because of a person's gender.

"Sexual Harassment" includes unwelcome sexual advances, intimidation, requests for sexual
favors, and other verbal or physical conduct of a sexual nature when: {1} submission to such
conduct is made either explicitly or implicitly a term or condition of employment, academic
status, receipt of university services, participation in university activities and programs, or affects
the measure of a student's academic performance; or, (2) submission to or rejection of such
conduct is used as the basis for a decision affecting employment, academic status, receipt of
services, participation in university activities and programs, or the measure of a student's
academic performance; or, {3} such conduct has the purpose or effect of unreasonably interfering
with employment, academic performance and is severe, persistent, or pervasive and/or creates
an intimidating,hostile, or offensive work or educational environment .

"Sexual Misconduct" includes any sexual act or contact of a sexual nature that occurs, regardless
of personal relationship, without the consent of the other person(s), or that occurs when the
person(s) is unable to give consent or whose consent is coerced or obtained in a fraudulent
manner. Sexual misconduct includes, but is not limited to, unwanted sexual contact with an
object without consent and/or by force, video voyeurism, violence of a sexual nature, sexual
abuse, non-consensual sexual intercourse, sexual exploitation, sexual assault, and obtaining,
posting, or disclosure of intimate descriptions, photos or videos without express consent of the
other person(s).

"Stalking'' includes: {1} Engaging in a course of conduct directed at a specific person that would
cause a reasonable person to fear for the person's safety or the safety of others; or suffer
substantial emotional distress. (2) For the purpose of this definition course of conduct means
two or more acts, including, but not limited to, acts in which the stalker directly, indirectly, or
through third parties, by any action, method, device, or means follows, monitors, observes,

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conducts surveillance, threatens, or communicates to or about, a person, or interferes with a
person's property. Substantial emotional distress means significant mental suffering or anguish
that may, but does not necessarily, require medical or other professional treatment or
counseling. Reasonable person means a reasonable person under similar circumstances and with
similar identities to the victim.

Ill.TITLE IX COORDINATORS

The President shall designate the LSU Title IX Coordinator who shall be responsible for the
implementation, enforcement, and coordination of Title IX for LSU. The Chancellor of each
Campus shall designate a Campus Title IX Coordinator with designated responsibilities to oversee
on-campus Title IX compliance.

The President also shall designate a Deputy Title IX Coordinator for Athletics. In consultation with
the Chancellors and Athletic Directors for each campus, this individual will monitor sports equity,
including offerings, participation, and scholarships on all campuses for compliance with Title IX.
Any investigations or complaints involving student athletes or Athletics personnel (other than
those involving sports equity) shall be handled and/or investigated by the LSU Title IX Coordinator
and/or the Campus Title IX Coordinators, or their designee, as appropriate under the
circumstances and in accordance with this Policy.

IV.INITIATIONOFCOMPLAINTS

A.     Application

       This policy applies to all campuses and other administrative units. These procedures may
       be supplemented by more specific campus procedures that are consistent with this Policy
       and PM-55.

B.     Com plaints

       Any student or employee who believes that he or she has been subjected to
       discrimination, harassment or sexual misconduct or any other violation of this policy has
       a right to report the conduct to the Campus Title IX Coordinator or to any other
       responsible party which includes: the campus administrator with responsibility for
       human resource management, student conduct or the department head of the relevant
       academic department. Persons who may have experienced criminal sexual misconduct
       are strongly encouraged to report the offense to campus police or local law enforcement,
       as well as to the Campus Title IX Coordinator or the persons named above. To the extent
       possible, the complainant and those who receive the complaint should preserve evidence


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        and not disturb the potential crime scene. The complainant, however, has the legal right
        not to provide a statement to campus police or law enforcement.

C.      Notification of Complaints

        Any person who receives a complaint under this policy shall promptly notify the Campus
        Title IX Coordinator, who shall be responsible for notifying LSU Title IX Coordinator and
        any campus administrators, who may be involved in the resolution process. Any
        supervisor, who witnesses or receives a report or complaint, shall notify the Campus Title
        IX Coordinator.

D.      Interim Measures

       At any time after becoming aware of a complaint, the Title IX Coordinator may
       recommend that interim protections or remedies for the parties involved or witnesses be
       provided by appropriate LSU officials. These protections or remedies for the parties
       involved or witnesses will be provided by appropriate University officials. Remedies may
       include separating the parties, placing limitations on contact between the parties, interim
       suspension, or making alternative workplace, classroom, course scheduling, dining, or
       student housing arrangements.

E.     Confidentiality

       All parties involved in a complaint, any investigation, and/or resolution, including
       witnesses, shall keep information concerning the complaint private and shall be notified
       of this obligation. Only individuals employed as mental health counselors, victim's
       advocates and university chaplains can guarantee confidentiality. LSU may be required
       to divulge information on a need-to-know basis in order to properly address the
       complaint or pursuant to subpoena, or other court or administrative order, or as may be
       required by applicable law. Violations of confidentiality, if identified and confirmed, may
       result indisciplinary or corrective action.

V.PROCESSI NGOF COMPLAI NT

A. Initial Review

The Campus Title IX Coordinator shall conduct or supervise the initial review of the complaint,
with such assistance, as needed and/or appropriate under the circumstances, from other campus
administrators with responsibilities relevant to the nature of the complaint. A responding or
complaining student or employee has the right to one advisor of choice at any stage of this
process. The initial review of the complaint shall be concluded as quickly as possible, within a

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reasonable amount of time required to complete the review in a manner that is adequate,
reliable, and impartial.

To ensure a prompt and thorough initial review, the complainant should provide as much of the
following information as possible. A complaint may be submitted anonymously or by an
individual who is not a party to the alleged violation. This may, but is not required to be, provided
in writing:

        •     The name, organization, department, and position of the person or persons allegedly
              violating this Policy;

        •     A description of the incident(s), including the date(s), location(s), and the presence of
              any witness(es);

        •     If the complainant is an employee, the alleged effect of the incident(s) on the
              complainant's position, salary, benefits, promotional opportunities, or other terms or
              conditions of employment;

        •     The name(s) of other student(s) or employee(s) who might have been subject to the
              same or similar conduct; and/or

        •     Any other information the complainant believes to be relevant to the alleged sexual
              misconduct, discrimination, harassment, or retaliation.

B. Resolution Procedures

The University has both an informal and formal resolution procedure for alleged violations of this
policy. Both procedures will be implemented by individuals who have received training on issues
related to sex discrimination and sexual misconduct. The complainant and the responding
student or employee has the right to one advisor of choice at any stage of the Informal Resolution
or Formal Resolution processes.

As set forth below, an informal resolution procedure is available under certain circumstances.
After the initial review or a full investigation, if the investigator finds that reasonable cause exists
to believe that this Policy has been violated, the Campus Title IX Coordinator or designee will
determine whether the informal resolution procedure is appropriate. If it is not appropriate, a
full investigation is required.

If the Campus Title IX Coordinator or designee determines that informal resolution is appropriate,
the complainant and responding person shall be advised of the informal resolution procedure. If
both consent in writing, the informal resolution procedure will be followed, without further
investigation, unless and until informal resolution is unsuccessful.


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A determination that there is not reasonable cause to believe that this Policy has been violated
can be made only after full investigation. Such determination is subject to the approval of the
Campus Title IX Coordinator or designee. In such case, the complainant, by written request, may
have that determination reviewed by the LSU Title IX Coordinator, whose decision shall be final.

1. Informal Resolution

The use of the informal resolution procedure is optional and must be agreed upon by all parties
involved. The formal procedure will be followed: if any ofthe persons involved in the complaint
do not wish to engage in the informal procedure; if the Campus Title IX Coordinator deems the
informal procedure inappropriate for the alleged offense; or, if an attempt to utilize the informal
procedure has been unsuccessful. Informal procedures are not appropriate for, or applied in,
cases involving violence or non-consensual sexual intercourse. Information obtained regarding
the complaint will be treated as privately as possible, with only those with a need to know being
informed of the complaint. Both informal and formal resolution procedures will utilize a
preponderance of       the evidence standard, throughout the process, with respect to
determinations as to whether, or not, there has been a violation of this Policy.

An attempt to informally resolve the complaint shall be made or supervised by the Campus Title
IX Coordinator and should be concluded within sixty {60) calendar days of the decision to pursue
informal resolution. Such informal resolution can include meeting with each party to the
complaint; review of any initial findings; recommending reassignment, separation or monitoring
of the parties; a mediated or facilitated meeting with the parties (however, no complainant shall
ever be required to meet with the responding person in an informal resolution); and any other
actions deemed appropriate by the parties and LSU. Any further inquiry or review deemed
necessary should be concluded in that same period. Once the informal resolution procedure is
complete, written notification of the proposed resolution shall be given to all parties. Any party
dissatisfied with the outcome of the informal resolution procedure has the right to make a
written request, within fifteen (15) calendar days of written notification of the proposed
resolution, to the office of the Campus Title IX Coordinator, that the formal resolution procedure,
set forth below, be pursued.

2. Formal Resolution: If any party is unsatisfied with the outcome of the informal resolution
process or if LSU, the accused, and/or the complainant have not consented to and/or determined
that informal resolution is inappropriate or insufficient, the formal procedure will be utilized.

In such cases, at the recommendation of the Campus Title IX Coordinator and after an initial
review, a trained investigator will conduct a full investigation into the facts and circumstances of
the complaint. The investigation may include in-person interviews with all parties involved and
interviews of any direct witnesses.      Both parties will be given the opportunity to identify

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witnesses to be interviewed. The investigator may also collect and review any documents or
other relevant information to include but not limited to photographs, video recordings, or other
social media. All parties to the complaint will be provided written notice regarding the details of
the alleged violation of this Policy prior to the initiation of the full investigation. All parties will
have an opportunity to identify pertinent evidence to be considered by the investigator. The
investigator will present a written investigative summary, based on a preponderance of the
evidence standard, and will submit the summary to the Campus Title IX Coordinator and the LSU
Title IX Coordinator, who will notify the appropriate Campus offices. Any such investigation shall
be conducted by the Campus Title IX Coordinator or a trained person, authorized and assigned
as an investigator by the Campus Title IX Coordinator, including, but not limited to, trained
employees from human resource management department or the ,student services or student
life department, or other qualified University employees.

The complainant and the individual who is the subject ofthe complaint will be notified in writing
of the results of the investigation. Information obtained regarding the complaint will be treated
as confidentially as possible (as set forth herein) with only those with a legitimate educational
interest being informed of the complaint and the outcome of the investigation.

The formal procedure will consist of a formal review of all allegations presented by the
complainant and the results of any investigation. Each Campus shall adopt procedures for Formal
Resolution of complaints of violation of this Policy that afford both the complainant and the
responding person due process. The Campus procedures for resolution of such complaints shall
be subject to review and approval by the LSU Title IX Coordinator.

C. RESOLUTION/DISCIPLINARY ACTION

LSU will take appropriate action against any person found to be in violation of this policy. (Note:
violations of this policy may subject an individual to civil or criminal liability under the state or
federal law).

When an employee is deemed to have violated this policy, the Campus Title IX Coordinator and
Human Resource Management will jointly determine the appropriate disciplinary action, or
recommendation for disciplinary action, up to and including dismissal, in accordance with
applicable laws, rules, and/or LSU policies.

For violations involving students, except when acting in the capacity of an employee, the
appropriate campus office for student services or student life will determine the appropriate
action, pursuant to any applicable code of student conduct and/or policy/policies governing
student conduct.



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In addition, to the extent possible, LSU will interact with appropriate law enforcement or third
parties to address the actions of non-students or non-employees.

Violations of this Policy may result in outcomes such as residential life contract cancellation,
deferred suspension, suspension, expulsion, class only restriction and separation of employment
(student).

D. COOPERATION WITH LAW ENFORCEMENT

LSU will comply with law enforcement requests for cooperation and such cooperation may
require LSU to temporarily suspend the fact-finding aspect of a Title IX investigation while the
law enforcement agency is in the process of gathering evidence. LSU will promptly resume its
Title IX investigation as soon as notified by law enforcement that it has completed the evidence
gathering process. LSU may provide up to 10 calendar days to allow for the law enforcement
agency criminal process/investigation to unfold prior to resuming the fact-findi ng aspect of the
Title IX investigation.

The University will implement appropriate interim steps/remedies during the law enforcement
agency's investigation to provide for the safety of the complainant and the campus community
and the avoidance of retaliation.

E. RETALIATION

Retaliation against a person who has been subjected to sexual discrimination or sexual
misconduct, or against one, who in good faith brings a complaint of sexual discrimination or
sexual misconduct or who, in good faith, participates in the investigation of a sexual
discrimination or sexual misconduct complaint, is prohibited and shall be a violation of this policy
and shall constitute misconduct subject to disciplinary or other action, as described above. LSU
will take steps to prevent recurrence and remedy the effects of any violation of this Policy.

F. RECORD KEEPING

Records will be kept in accordance with Louisiana law and federal law. For students, records will
be kept for 7 (seven) years, except in cases of cases of suspension and expulsion, which records
shall be permanent. Employment actions in violation of this policy will be filed in the employee/s'
respective Employee Relations file.




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G. OTHER ASSISTANCE

Campuses and the communities in which they are located can provide other assistance to persons
impacted by a violation of this policy. Each campus will develop and maintain a list of departments,
programs/services, or community-based agencies offering assistance to students and employees
concerning issues related to this policy.

H. PREVENTION PROGRAMS

Campuses and the communities in which they are located regularly offer educational programs
and prevention programs designed to inform the campus or community on the negative impact
of sexual violence. Each campus will develop and maintain a list of educational programs,
prevention programs, and other events designed to reduce the incidence of sexual violence on
campus or within the community. Each campus should identify and include a bystander
intervention program and programs addressing issue related to this policy.

I. RELATED POLICIES

To the extent other LSU or campus-based policies may conflict with this policy, the provisions of
this policy shall supersede and govern.




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                                                                        1705 – Oversight and Prevention of
                                                                        Sexual Misconduct (Multi-Campus)
                                                                                      September 13, 2017



EXECUTIVE SUMMARY
Internal Audit completed a multi-campus audit of sexual misconduct from the Board-approved
Fiscal Year 2017 Audit Plan. This report provides an evaluation of controls to educate the campus
community, investigate allegations, and assign responsibility for ensuring compliance with Title
IX obligations. Title IX of the Education Amendments of 1972 applies to institutions receiving
federal financial assistance from the U.S. Department of Education and was enacted to protect
against discrimination based on sex in educational programs or activities. Some key areas that
recipients have Title IX obligations are recruitment, admissions, counseling, financial assistance,
athletics, sex-based harassment, discipline, pregnant or parenting students, and employment.

We focused on sexual misconduct, based on risk. Testing was conducted at campuses with
students present since most of the key areas of the law are designed to ensure equal rights and
access for students. The scope included activities between June 1, 2015 and December 31, 2016.
Based on testing performed, we have the following recommendations for LSU Administration:
 1. Verify that the job responsibilities of Title IX Campus Coordinators do not create the
    appearance of bias.
 2. Implement a standard mechanism to consistently record complaints of potential PM-73
    violations and track their disposition.
 3. Ensure confidential advisors have been clearly identified and all employees understand the
    applicability for exceptions to sexual misconduct reporting obligations.
 4. Obtain guidance from the Louisiana Attorney General to determine if LA-RS 46:1844 applies
    to internal disclosures of sexual assault victims’ identities for Title IX compliance efforts.
 5. Present a memorandum of understanding to local law enforcement in the New Orleans area
    regarding sexual violence incidents involving HSCNO students or employees.
 6. Reinstitute the Ombud’s Office, making it available to both students and employees, and
    heightening awareness regarding its functionality and availability.
 7. Make training available to all students and consider providing targeted training to groups
    more likely to become aware of violations. Explore learning management systems or other
    methods to efficiently monitor employee compliance with required annual training.
 8. Remove or amend conflicting policies; ensure the non-discrimination notice is updated and
    included in all required publications; and, verify contact information for Title IX Campus
    Coordinators is complete and easily located.
 9. Evaluate PM-73 to determine whether revisions are necessary to reflect suggested
    guidelines and consider addressing, in policy, romantic or dating relationships between
    employees and students when some level of authority is exercised.

Management agreed with these recommendations and is in the process of implementing the
corrective action plans included in Appendix A. We appreciate the assistance provided by legal
counsel, campus Title IX Coordinators, investigators, and administrative personnel during the
engagement.

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                                                                        1705 – Oversight and Prevention of
                                                                        Sexual Misconduct (Multi-Campus)
                                                                                      September 13, 2017




SCOPE AND OBJECTIVES
The scope of this audit included the following LSU campuses: Agricultural Center (AgCtr), Eunice
(LSUE), A&M Baton Rouge (LSU A&M), Alexandria (LSUA), Shreveport (LSUS), and the Health
Sciences Centers in New Orleans (HSCNO) and Shreveport (HSCS). The Health Care Services
Division and Pennington Biomedical Research Center were excluded from our scope since they
have no responsibility for and minimal interaction with students, who are the primary focus of
the regulation. We also limited the scope of testing to sexual misconduct based on risk; therefore,
we excluded gender equity in sports, education for pregnant or parenting students, and equal
access to courses or programs in the areas of science, technology, engineering, and math (STEM).
The audit focused on controls executed between July 1, 2015 and December 31, 2016.

Our primary objective was to determine compliance with applicable federal regulations and
related guidance as well as ensuring institutional policy and procedures regarding sexual
misconduct were effectively designed to mitigate the risks. We identified the following risks,
which served as the basis for testing at each campus:
   x    University not responding appropriately to an incident of sexual misconduct
   x    Failure to conduct a timely, thorough investigation and support findings based on a
        preponderance of evidence
   x    Insufficient coordination with law enforcement regarding incidents of sexual misconduct
        involving University students and/or personnel
   x    Grievance procedures not designed to promote prompt and equitable processing of
        allegations and preventing retaliation
   x    Campus community not receiving adequate education and prevention resources
   x    Unsatisfactory documentation tracking the process and disposition of allegations

Testing included the following:
Training/Awareness – verified necessary training was provided to employees likely to witness or
receive reports of sexual misconduct such as professors, administrators, resident advisors,
coaching staff, and University Police. Evaluated campus awareness efforts such as links on the
home page, postings in common areas (e.g. student union), and publications (e.g. applications or
handbooks). Conducted interviews to assess understanding of reporting obligations.

Investigations/Adjudication – interviewed campus law enforcement and Title IX Campus
Coordinators to determine how communication flows from each area. Reviewed a sample of
sexual misconduct allegations to confirm all pertinent information was captured at the time of
complaint, investigations were conducted independently, documentation was maintained to
support the conclusion based upon evidentiary standards, and subsequent action was taken, as
appropriate.


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Title IX Coordinators – reviewed the roles and responsibilities of the Title IX Campus Coordinators
to verify that they do not have conflicting responsibilities. Also reviewed mitigating controls such
as adequacy of the appeals process.

Procedures that yielded issues are discussed in our recommendations to management. This
internal audit activity was conducted in conformance with the International Standards for the
Professional Practice of Internal Auditing set by the Institute of Internal Auditors.

BACKGROUND
The Office for Civil Rights (OCR) enforces Title IX of the 1972 Education Amendments to the Civil
Rights Act which prohibits discrimination on the basis of sex at institutions that receive federal
financial assistance from the U.S. Department of Education. Title IX provides legal protection
against gender-based discrimination for both students and employees in all educational
programs and activities including admissions, access to courses, counseling or guidance, housing,
financial assistance, employment, and athletics.

Federal policy materials, implementation guidelines, OCR resolutions, and case law influence
how Title IX laws are interpreted and applied. Recently, the focus has shifted to areas beyond
gender equity. On April 4, 2011, OCR issued a “Dear Colleague Letter” discussing how sexual
misconduct impacts an individual’s work and study environment. The letter also addressed the
institutional responsibilities to investigate and respond to these types of incidents.

In 2014, LSU recognized that the University required additional controls related to those areas.
As a result, the President issued Permanent Memorandum 73 (PM-73) – “Title IX and Sexual
Misconduct Policy,” which applies to all LSU campuses. The University expanded their processes
and established controls to prevent acts of sex-based discrimination or sexual misconduct and to
take prompt, appropriate action to investigate and effectively discipline those found to have
engaged in such conduct in a manner consistent with law and due process to prevent recurrence.
This included hiring a central Title IX Coordinator to oversee the implementation, enforcement,
and coordination of compliance efforts for all LSU campuses. In addition, each chancellor
designated a Title IX Campus Coordinator.

Varying procedures and degrees of control exist at each campus. For example, during our audit
we noted inconsistencies in mechanisms for reporting allegations, recordkeeping, investigation
processes, who makes the final decision about whether a violation occurred, and how
adjudication proceedings are conducted. Regarding athletics, LSU A&M requires student athletes
and coaches to attend an annual comprehensive training session on Title IX provided by Dan
Beebe Group Consulting (DBG).




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DBG was also engaged by the Tiger Athletic Foundation (TAF) to complete an independent
assessment of human relations risks applicable to LSU A&M athletics, including misconduct
prevention policies and programs. Materials considered in their review were LSU permanent
memoranda, policy statements, student policies, staff handbook, Athletic Department policies
and procedures, student athlete handbook, team handbooks, and the LSU Ethics and Integrity
Hotline. DBG issued a report on March 29, 2016; suggestions relevant to this audit were
incorporated into our recommendations below.

FINDINGS AND RECOMMENDATIONS
Finding No. 1: Reporting and Investigating Misconduct
The following observations indicate controls may be insufficient to mitigate potential conflicts of
interest with reporting and investigating allegations of sexual misconduct:
   x    Investigator/Coordinator:
            o The Title IX Campus Coordinator at HSCS reports to the campus General Counsel.
            o The HSCNO Title IX Campus Coordinator is the Vice Chancellor for Academic Affairs
                and Dean of the School of Graduate Studies. However, he essentially functions as
                the Dean of Students since he is responsible for making the final decision
                regarding disciplinary actions.
            o The LSUS Dean of Students has made informal decisions when the Title IX Campus
                Coordinator recused herself from an investigation.
   x    Lack of documentation to evidence that both the complainant (and respondent, where
        applicable) were provided with resources, informed of their right to pursue criminal
        action, and notified of the initiation of an investigation as well as the resulting outcome.
   x    No formal or consistent procedures for documenting complaints received and tracking
        their disposition.

OCR guidance does not specifically exclude particular employees from serving as Title IX
Coordinators; however, they advise against designating employees whose other responsibilities
may present a conflict such as a disciplinary board member, general counsel, Dean of Students,
or Athletics Director. LSU’s central Title IX Coordinator acts as final adjudicator for all campuses
on decisions concerning whether an individual violated PM-73; however, this does not eliminate
potential conflicts regarding the disciplinary action resulting from such violations.

Recommendation: Management should establish appropriate segregation of duties so that
individuals designated as Title IX Campus Coordinators do not have additional job functions that
would create the appearance of bias. Potential conflicts may be further mitigated by
strengthening appeals procedures, including adding information about the process and related
contacts when communicating the outcome of the investigation. DBG also suggests clarifying the
process for conducting investigations, determining discipline/resolution, and hearing appeals as
well as identify the campus officials or departments responsible for each.


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Finally, management should implement a standard mechanism to record complaints received
and track the disposition. This should allow for a method to document the date and method of
delivery for the information or handouts that institutions are required to provide both the
complainant and the respondent.

Finding No. 2: Obligations of Responsible Employees
Based on interviews and testing performed, it appears that additional procedures may be
required to ensure “responsible employees” have been identified and understand their reporting
obligations under Title IX. Related observations include the following:
   x    HSCNO: no allegations reported during the 18-month audit scope; a draft Memorandum
        of Understanding (MOU) has not been reported to local law enforcement; confidential
        advisors did not receive training related to their specific roles and responsibilities
   x    LSU-A: no allegations reported during the 18-month audit scope
   x    Confusion at multiple campuses regarding victim confidentiality when incidents are
        disclosed to an employee holding licenses that typically protect personal information
   x    Lack of coordination with LSU A&M police at due to interpretation of state statute

Institutions are required to take immediate and appropriate steps once they become aware of
incidents of possible sexual misconduct. OCR deems a school to have notice if a responsible
employee knew, or in the exercise of reasonable care should have known, about the misconduct.
A “responsible employee” is one who has the authority to take action to redress sexual
misconduct, who has been given the duty to report incidents of sexual misconduct to the Title IX
Coordinator, or whom a student could reasonably believe has this authority or duty.

LSU’s training materials specify that all employees have a responsibility to report a potential
incident within 24 hours with the exception of privileged individuals (confidential advisors, victim
advocates, mental health counselors, and clergy). However, the exemption does not extend to
employees who maintain professional licenses affording the privilege of confidentiality when
those individuals are not engaged in employment with the University in a capacity offering such
privilege. For example, a Psychologist who is a professor and becomes aware of potential sexual
misconduct after presenting a lecture and a Psychologist who becomes aware while providing
support services at the Student Health Center would have different reporting obligations.

OCR also recommends entering into a MOU with local law enforcement regarding protocol for
referring allegations of sexual violence, sharing information, and conducting contemporaneous
investigations. The MOU would be necessary since local law enforcement are not responsible
employees of the University. LSU A&M Police Department (LSUPD) requires written consent from
the victim before they will disclose information to the Title IX Campus Coordinator. The LSUPD
Sexual Violence Confidentiality Notice and Waiver references Louisiana Revised Statute 46:1844,
which prohibits publicly disclosing the identity of a victim who’s been subjected to a sexual crime.



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However, it is unclear whether communicating this information to the Title IX Campus
Coordinator would be considered public disclosure.

Recommendation: We recommend management ensure confidential advisors have been clearly
identified and all employees understand the applicability for exceptions to sexual misconduct
reporting obligations. In addition, management should obtain guidance from the Louisiana
Attorney General or otherwise seek legal counsel to determine the applicability of LA-RS 46:1844
to internal disclosures of sexual assault victims’ identities related to Title IX compliance efforts.
Finally, management should present a MOU to local law enforcement in the New Orleans area
regarding sexual violence incidents involving HSCNO students or employees.

Finding No. 3: Education and Awareness
All campuses provided some Title IX training; however, we noted the following areas where
training could be enhanced:
   x    Training is not available to students at LSUA
   x    Student training is only provided to freshmen at LSUS and HSCS
   x    Training at LSUE is only mandatory for students who are athletes, student workers, or
        living on campus
   x    Student training at LSU A&M does not contain suggested training content
   x    Training provided to LSU A&M employees is not monitored

Recommendation: Management should make training available to all students and confirm that
it contains suggested content. Campuses should consider providing targeted training to groups
more likely to become aware of potential Title IX incidents (e.g. athletics, band, Greek life,
student organizations, and residential advisors). This may also include adding a clause to
coaching contracts or student organization registration documents regarding compliance with
reporting potential Title IX incidents to the Title IX Campus Coordinator. The University should
also explore learning management systems or other methods to efficiently monitor employee
compliance with required annual training. Additionally, DBG suggested reinstituting the
Ombud’s office as well as heightening awareness regarding the function of the office and
availability to both students and employees.

Finding No. 4: Policies/Procedures and Publications
Policies, procedures, and publications related to Title IX are not sufficient to meet institutional
obligations outlined by OCR. Our audit revealed the following issues, applicable to all campuses
within the scope of review unless otherwise noted:
   x    The notice of non-discrimination was not included in all publications where such
        publication was required and/or did not contain the necessary elements
   x    Published contact information for Title IX Campus Coordinators is incomplete and/or not
        widely communicated (all campuses except LSU A&M)

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   x    Campus Title IX websites were difficult to find through regular navigation or the use of
        keyword searches
   x    PM-73 meets the minimum requirements for grievance procedures but not all suggested
        areas are covered, such as conflicts of interest

The Department of Education requires institutions publish a notice of non-discrimination stating
that they do not discriminate on the basis of sex in education programs or activities it operates,
that they are required by Title IX not to discriminate in such a manner, and that questions may
be referred to the Title IX Coordinator or to OCR. Notification must be distributed to applicants
for admission or employment, students and parents or guardians, employees, and sources of
referrals of applicants for admission or employment. The notice must be included in any
bulletins, announcements, publications, catalogs, application forms, or recruitment materials.
Additional statutes require issuing notices of non-discrimination; the elements from other
regulations may be combined with Title IX to produce one collective notice. The notification must
contain the name or title, address, phone number, and email of the Title IX Coordinator.

An assessment performed by DBG consultants revealed contradicting University employee and
student policies and identified potential risks associated with unclear, inconsistent, or outdated
reporting procedures and investigative processes. For example, PS-73 states that all complaints
of sexual harassment must be reported to the Office of Human Resource Management, while
PM-73 directs reporting to the Title IX Campus Coordinator or any other responsible person.
Their report also identified the need to update the non-discrimination notice to reflect genetic
information and color, as well as recommended policy language such as LSU’s right to utilize an
outside third-party investigator. Finally, DBG recognized the challenges associated with romantic
or dating relationships in a work, educational, or athletic environment; the University currently
does not have policy or guidelines in this area.

Recommendation: Management should remove or amend conflicting policies, handbooks, web-
based information, and other guidance documents; ensure the non-discrimination notice is
updated and included in all required publications; display a link to the respective campus’ Title IX
website on their homepage or other prominent location; and, verify contact information for Title
IX Campus Coordinators is complete and easily located. In addition, management should
evaluate PM-73 and determine whether revisions are necessary to reflect suggested guidelines.
Management should also consider addressing, in policy, romantic or dating relationships
between employees and students where the employee is in a position to exercise authority or
supervision over the student.

Implementation of these recommendations will not only assist the University in complying with
its obligations under Title IX, but will enhance community awareness and promote reporting of
incidents of potential sexual misconduct.




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                       APPENDIX A –
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            10. During your employment or affiliation, did you understand the University’s policies and
                  reporting procedures/grievance procedures?
            11. Any additional comments?




APPENDIX D



                          HUMAN RELATIONS RISK MANAGEMENT TRAINING:
                          COACHES AND STAFF ACKNOWLEDGEMENT FORM


I attended the Human Relations Risk Management Training program in [DATE HERE] as facilitated
by [TRAINERS HERE] of [TRAINERS’ ORGANIZATION HERE] for the Louisiana State
University Athletics Department (“Athletics Department”).             I understand that harassment,
discrimination, retaliation, bullying, hazing and other misconduct is prohibited by the University and
will not be tolerated. I understand that those found to have committed misconduct will be disciplined.


Should any employee observe or be personally subjected to harassment, discrimination, retaliation,
bullying, hazing and other misconduct, the Athletics Department and University offer multiple
avenues of internal complaint as provided during training. Employees are not required to confront
the persons who are the source of the complaint or closely associated with the persons who are the
source of the complaint, but have a responsibility to inform an uninvolved member of the Athletics
Department or University administration, or otherwise utilize available avenues of reporting, so
prompt action may be taken to stop misconduct and prevent future occurrences. Anyone named in a



LSU Assessment D 030216                                                                              73
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complaint will not be part of the investigative team. The Athletics Department and the University
also may utilize an outside third-party investigator to help resolve allegations of harassment,
discrimination, retaliation, bullying, hazing and other misconduct.


The University does not tolerate retaliation against those making good faith allegations of misconduct
or those participating in a corresponding investigation. The University recognizes that making false,
bad faith accusations can have serious consequences for those who are wrongly accused. The
University prohibits knowingly making false and/or malicious misconduct allegations, as well as
deliberately providing false information during an investigation.


__________________________________                     ______________________________
PRINTED – Name of Coach/Employee                       Date


__________________________________
SIGNATURE of Coach/Employee


__________________________________
Sport or Department – Men’s/Women’s (if applicable)




                          HUMAN RELATIONS RISK MANAGEMENT TRAINING:
                           STUDENT-ATHLETE ACKNOWLEDGEMENT FORM


I attended the Human Relations Risk Management Training program in [DATE HERE] as facilitated
by [TRAINERS HERE] of [TRAINERS’ ORGANIZATION HERE] for the Louisiana State
University Athletics Department (“Athletics Department”).             I understand that harassment,
discrimination, retaliation, bullying, hazing and other misconduct is prohibited by the University and
will not be tolerated. I understand that those found to have committed misconduct will be disciplined.


Should any student observe or be personally subjected to harassment, discrimination, retaliation,
bullying, hazing and other misconduct (such as sexual misconduct), the Athletics Department and
University offer multiple avenues of internal complaint as provided during training. Student-athletes


LSU Assessment D 030216                                                                             74
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                                             STATE UNIVERSITY
                               ATHLETIC DEPARTMENT POLICIES AND PROCEDURES

Set forth below are policies and procedures that are applicable to LSU Athletic Department full-time and
part-time employees as described. Please review these policies and procedures and sign below, signifying
your understanding and agreement to abide by these policies and procedures.

1.       LSU employees who have been issued an LSU phone may not use personal phones for business related
purposes. This includes using a personal phone for telephone and text/email communication between employees
and Athletic Department student employees. All employees who have been issued an LSU phone shall declare
all personal phones on the form entitled “List of All Telephones Owned or Used by Staff Member,” attached to
this statement.

2.      No coaches and/or medical staff may drink alcohol while traveling and representing LSU during team
related events/functions. Exceptions may be granted by the Athletics Director for extended trips that include
special events.

3.      No employee will actively send/receive texts, emails or other electronic messages while driving student-
athletes.

4.       In situations where an LSU employee becomes aware of possible neglect or abuse of a child, Mandatory
Reporter Laws require immediate action. Louisiana Department of Children & Family Services at 1 (855) 453-
5437 must be notified. After making a verbal report of an incident, the employee must also provide written
notification to the East Baton Rouge Parish Department of Children & Family Services (using DCF/CW Form
CP1-2) within five (5) days of filing the verbal report. In addition, the employee will immediately notify LSU
Police and the Director of Athletics. All employees must make all reasonable efforts to ensure the safety of
Minors participating in programs and activities covered by this Policy, including removal of Minors from
dangerous or potentially dangerous situations, irrespective of any other limitation or requirement. If a situation
is felt to present imminent danger to a Minor, LSU Police should be called immediately.

5.      No athletics department employee’s relative (including relatives by marriage) will be employed in any
position that reports directly to the employee or his/her department or immediate supervisory area. This includes
student employees.

6.      All coaches and strength and conditioning employees who conduct individual player workouts must be
CPR certified. New employees who will perform these duties must obtain CPR certification as soon as possible
after official hire. Employees who are not CPR certified are not allowed to conduct individual player workouts
without a certified athletic trainer present.

7.      Employees will report any personal arrests, DWI, felony, misdemeanors or other similar legal matters to
his/her immediate administrative supervisor within 24 hours of occurrence.

8.     If an employee becomes aware that a student-athlete is arrested, engages in misconduct unbecoming of a
student-athlete, is involved with any recruiting violations or participates in a hazing activity, it is imperative that
Sr. Associate Athletics Director Student Services, Miriam Segar, is notified immediately but no later than 24
hours after the event occurs.

9.      All employees must report suspicions of illegal drug/alcohol abuse by student-athletes to Sr. Associate
Athletics Director Student Services, Miriam Segar, immediately. Student-athletes who attend an LSU event
(practice, strength & conditioning, academic, etc.) and are suspected of alcohol or illicit drug use must be
withheld from activity and must immediately be referred for substance abuse testing. Student-athletes in travel
status representing LSU must not consume alcohol and/or illicit drugs. Violations of this standard must be
reported immediately to Sr. Associate Athletics Director Student Services, Miriam Segar.
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                              ATHLETIC DEPARTMENT POLICIES AND PROCEDURES

10.    No employee may send personal texts, make personal phone calls, send personal email or use social
media to communicate with Athletic Department student employees. Exceptions must be requested in writing
and may only be approved by the Athletic Director.

11.    No employee shall have one-on-one personal meetings with an Athletic Department student employee,
with the exception of the following persons: Senior Associate Athletics Director, Student Services; Senior
Associate Athletics Director, Compliance; Compliance Director; and Human Resource Manager.

12.    No employee may hire an Athletic Department student employee, employed within his/her same
department, to perform personal work (babysit, run errands) or work on non-LSU matters.

13.     Any employee, student employee, or volunteer who becomes aware of a violation or potential violation
of these policies and procedures shall immediately report the matter to Sr. Associate Athletics Director Student
Services, Miriam Segar.


I affirm that I have read, fully understand, and agree to comply with the policies and procedures set forth above, and
that my failure to do so may be cause for LSU to take disciplinary or other appropriate employment action against me.

Name (Please Print):

Signature:                                                               Date:




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                                             STATE UNIVERSITY
                               FOOTBALL OPERATIONS POLICIES AND PROCEDURES

Set forth below are policies and procedures that are applicable to LSU Football Operations full-time and
part-time employees as described. Please review these policies and procedures and sign below, signifying
your understanding and agreement to abide by these policies and procedures.

1.       LSU employees who have been issued an LSU phone may not use personal phones for business-related
purposes. This includes using a personal phone for telephone and text/email communication between employees
and Athletic Department student employees. All employees who have been issued an LSU phone shall declare
all personal phones on the form entitled “List of All Telephones Owned or Used by Staff Member,” attached to
this statement.

2.      No coaches and/or medical staff may drink alcohol while traveling and representing LSU during team
related events/functions. Exceptions may be granted by the Athletics Director for extended trips that include
special events.

3.      No employee will actively send/receive texts, emails or other electronic messages while driving student-
athletes.

4.       In situations where an LSU employee becomes aware of possible neglect or abuse of a child, Mandatory
Reporter Laws require immediate action. Louisiana Department of Children & Family Services at 1 (855) 453-
5437 must be notified. After making a verbal report of an incident, the employee must also provide written
notification to the East Baton Rouge Parish Department of Children & Family Services (using DCF/CW Form
CP1-2) within five (5) days of filing the verbal report. In addition, the employee will immediately notify LSU
Police and the Director of Athletics. All employees must make all reasonable efforts to ensure the safety of
Minors participating in programs and activities covered by this Policy, including removal of Minors from
dangerous or potentially dangerous situations, irrespective of any other limitation or requirement. If a situation
is felt to present imminent danger to a Minor, LSU Police should be called immediately.

5.      No athletics department employee’s relative (including relatives by marriage) will be employed in any
position that reports directly to the employee or his/her department or immediate supervisory area. This
includes student employees.

6.      All coaches and strength and conditioning employees who conduct individual player workouts must be
CPR certified. New employees who will perform these duties must obtain CPR certification as soon as possible
after official hire. Employees who are not CPR certified are not allowed to conduct individual player workouts
without a certified athletic trainer present.

7.      Employees will report any personal arrests, DWI, felony, misdemeanors or other similar legal matters to
his/her immediate administrative supervisor within 24 hours of occurrence.

8.     If an employee becomes aware that a student-athlete is arrested, engages in misconduct unbecoming of a
student-athlete, is involved with any recruiting violations or participates in a hazing activity, it is imperative that
Sr. Associate Athletics Director Student Services, Miriam Segar, is notified immediately but no later than 24
hours after the event occurs.

9.      All employees must report suspicions of illegal drug/alcohol abuse by student-athletes to Sr. Associate
Athletics Director Student Services, Miriam Segar, immediately. Student-athletes who attend an LSU event
(practice, strength & conditioning, academic, etc.) and are suspected of alcohol or illicit drug use must be
withheld from activity and must immediately be referred for substance abuse testing. Student-athletes in travel
status representing LSU must not consume alcohol and/or illicit drugs. Violations of this policy must be
reported immediately to Sr. Associate Athletics Director Student Services, Miriam Segar.
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                                             STATE UNIVERSITY
                               FOOTBALL OPERATIONS POLICIES AND PROCEDURES

10.    No employee may send personal texts, make personal phone calls, send personal email or use social
media to communicate with any student employees of Football Operations or the Athletic Department.
Exceptions must be requested in writing and may only be approved by the Athletic Director.

11.    No employee shall have one-on-one personal meetings with an Athletic Department student employee,
with the exception of the following persons: Senior Associate Athletics Director, Student Services; Senior
Associate Athletics Director, Compliance; Compliance Director; and Human Resource Manager.

12.    No employee may hire a Football Operations student employee to perform personal work (babysit, run
errands) or work on non-LSU matters.

13.    Coaches/Assistant Coaches are prohibited from having one-on-one contact with student employees.
This includes in-person meetings, text, social media, email, and phone calls with a student employee. Full time
staff members are available to assist Coaches/Assistant Coaches. If a Coach/Assistant Coach needs assistance
from a student employee, this will be arranged through the student employee’s supervisor, a full-time
administrative staff member. Coaches should not make any direct request of a student employee.

14.    Coaches/Assistant Coaches shall not exchange personal contact information with a student employee.

15.    Coaches/Assistant Coaches will have no direct or indirect role in hiring student employees or selecting
student volunteers.

16.      Any employee, student employee, or volunteer who becomes aware of a violation or potential violation of these
policies and procedures shall immediately report the matter to Sr. Associate Athletics Director Student Services, Miriam
Segar.



I affirm that I have read, fully understand, and agree to comply with the policies and procedures set forth above, and
that my failure to do so may be cause for LSU to take disciplinary or other appropriate employment action against me.

Name (Please Print):

Signature:                                                                 Date:




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Training Room Clarification
Policy Addendum

In response to questions from training room staff about the recently distributed policies and procedures
of the athletics department, this addendum will serve to clarify the expectation of the athletics
department and is considered part of the policies and procedures.

The policies and procedures for the athletics department were reduced to writing to clarify the
expectations for staff members to memorialize existing practices and to serve as a best practices
document. The policies govern all athletic department employees in daily departmental operation.

In the training room there are two groups of LSU students: graduate assistants and LSU undergraduate
students. The GA’s receive an athletics scholarship for their services for work performed and the LSU
undergraduate students generally are working/ volunteering as part of their undergraduate athletic
training educational curriculum. The undergraduate students are not considered student employees.
However, the policies and procedures do apply to the undergraduate students and GA’s. The reason for
inclusion in the policy is not predicated on where they are paid or not but rather if there is a reporting
line that exists between student and staff member. Therefore they too are prohibited from providing
personal work for athletic training staff members.

The policy prohibits consumption of alcohol while training/medical staff is in travel status only. All staff
members are entitled to a private life and this policy is not applicable when the training staff member is
not traveling with his/her respective team. The travel status clarification is important since in many
instances the athletic trainer specifically/solely is responsible for providing medical care to student-
athletes while our teams are in travel status.

It is understood that individuals cannot control what is received within their electronic transmissions
including email and text messaging. The policy references send/receive to define the expectation that an
active exchange of information should not be occurring while a staff member is driving.

Athletic training staff members do supervise and mentor students and so it is understandable that there
will be occasions that as part of these activities, direct communication between undergraduate and
graduate student and employee will exist. The exclusion of personal communication does not preclude
the following types of interactions: conversations involving a response to an athletics situation,
questions involving the academic curriculum, conversations regarding student performance and/or
grades, information shared through public blogs and twitter, etc. All of these types of communication
are viewed as work related exchanges, not personal interactions.

Personal exchanges between staff members and students should be extremely limited and should
always be witnessed by another staff member. Documenting the interaction is very important and
expected. When personal counseling may be indicated referrals should be made to the appropriate
departmental and/or campus resources. On any occasion that personal interaction occurs, the staff
member must bring the matter to the attention of Head Athletic Trainer, Jack Marucci.




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                  STUDENT EMPLOYEE POLICIES & PROCEDURES

Each department of the Athletic Department depends upon student employees and allocates
work and special projects, according to the work schedule of the students. The following
policies and procedures are provided to ensure consistency in expectations of student
employees among the various departments. They are not intended to be all inclusive, but a
basic guide outlining minimum standards. Failure to adhere to the policies and procedures
listed below may result in discipline up to and including suspension or termination. Please
review these policies and procedures and sign below signifying your understanding of and
agreement to abide by them.

1. Student schedules are established at the beginning of each semester with flexibility for
   exams, special projects, semester breaks, etc. You are expected to inform your direct
   supervisor of needed time off as soon as you are aware of the necessity to allow time for
   rearranging workloads.

2. If you will not be reporting for work you must contact your supervisor via a telephone
   call or e-mail. It is not acceptable for you to miss work without reporting the absence.

3. Each student will be trained for specific tasks relevant to the section to which they have
   been assigned. When these tasks are completed, you are expected to “look for other
   work” within your section.

4. Personal phone calls should be kept to a minimum.

5. The core business hours of the Athletic Department are M-F, 8:00 am to 4:30 pm. Work
   schedules should be designed during these hours unless there is a flex schedule in place
   in your division with adequate supervision. If a work period exceeds five (5) hours, a 30-
   minute lunch (non-paid) must be taken.

6. You must wear clothing suitable for an office environment. Spandex, midriff shirts, short
   shorts/skirts, halter tops, swimsuit pieces, etc. shall NOT be worn.

7. Duties assigned to student employees often involve running errands on or off campus. If
   an errand requires you to drive a State vehicle (including golf carts) you must have a
   valid DA-2054 (Authorization and Driver History Form) on file with Property
   Management. You are not allowed to drive your personal vehicles for business.

8. Assigned duties may involve sensitive data or personal information (SSN’s, salaries,
   etc.). Such data should be kept strictly confidential. Breach of confidentiality will lead
   to immediate termination.

9. If you have a question about anything you are assigned to do, please ask! There are many
   federal, state, university and NCAA regulations for which LSU is responsible. It is
   important that you fully understand what you are doing. Do not hesitate to ask questions.




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10. You must attend all mandatory HR Educational Seminars during your employment as a
    student worker in the LSU Athletic Department.

11. You have a responsibility to report any suspected or known violations of LSU or NCAA
    policies to my supervisor and/or the Athletic Administration Compliance Office.
    Specifically:

           ¾ You may not engage in sports wagering. Sports wagering includes placing,
             accepting or soliciting a wager (on a staff member’s or student-athlete’s own
             behalf or on behalf of others) of any type with any individual or
             organization on any intercollegiate, amateur or professional team or contest.

           ¾ Examples of sports wagering include, but are not limited to, the use of a
             bookmaker or parlay card; Internet sports wagering; auctions in which bids
             are placed on teams, individuals or contests; and pools or fantasy leagues in
             which an entry fee is required and there is an opportunity to win a prize.

           ¾ You may not provide or arrange to have provided a benefit to a student-
             athlete or the student-athlete’s friends or family without express permission
             from the athletics department.

           ¾ You may not provide improper academic assistance to a student-athlete.

           ¾ If you are found to have violated an NCAA/SEC rule or knowingly covered
             up the violation of an NCAA/SEC rule, you may be subject to discipline up
             to and including termination.

           NCAA rules violations are often committed without malicious intent. Nevertheless,
           a violation reflects poorly on the Athletic Department. Specifically, be mindful of
           violations such as gambling (office pools, bookies, competition, etc.) and extra
           benefits for student-athletes (equipment, discounts at stores, etc.)

           The Athletic Department has a Compliance staff to assist with rules questions and all
           issues. These persons are available to assist with obtaining information necessary to
           ensure compliance with all NCAA/SEC rules.

12. Do not send personal texts, make personal phone calls, send personal email or use social
    media to communicate with any coach/assistant coach or Athletic Department employee.
    Exceptions must be requested in writing and may only be approved by the Athletic Director
    or his designee.

13. You are prohibited from having one-on-one personal meetings with any coach/assistant
    coach or Athletic Department employee, with the exception of the following persons: Senior
    Associate Athletics Director, Student Services; Senior Associate Athletics Director,
    Compliance; Compliance Director; and Human Resource Manager.




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14. No employee may hire an Athletic Department student employee, employed within his/her
    same department. You are prohibited from performing personal work (babysit, run errands)
    or work on non-LSU matters for any Athletic Department employee in your department.

15. Your interaction with student athletes and prospective student athletes should be limited to
    Athletic Department business. Do not give prospective student athletes/student athletes your
    personal contact information. Further, you are prohibited from fraternizing with recruits.
    This includes texting, personal phone calls, twitter, or use of social media to communicate
    with recruits. You are obligated to comply with NCAA rules regarding recruiting.

16. If you become aware of a violation or potential violation of these policies and procedures
    shall immediately report the matter to Sr. Associate Athletics Director Student Services,
    Miriam Segar.

I have read the above guidelines and agree to abide by them. The original will be filed in my
personnel file.



_______________________________                            ___________________________
Employee’s Signature                                       Date




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From: Joseph Alleva <joealleva@lsu.edu>
Sent: Wednesday, June 08, 2016 4:23 PM
To: Blaine C Gautier <gautier@lsu.edu>; Ronald C Wheat <wheatrc@lsu.edu>; Dennis S Johnson
<djohn81@lsu.edu>; Christopher D Kragthorpe <ckragt1@lsu.edu>; Eric J Mateos <emateo1@lsu.edu>;
Edward C Blount <ebloun2@lsu.edu>; Leon D Wright <lwrig27@lsu.edu>; Keava C Soil-Cormier
<ksoilc1@lsu.edu>; Brian J Squeglia <bsqueglia@lsu.edu>; Maria C Berthiaume <mberth8@lsu.edu>;
Sean M Carter <scart41@lsu.edu>; Tesa E Johns <tjoh215@lsu.edu>; Casey E Kyriacopoulos
<ckyria1@lsu.edu>; Jordan Pierce <jpier35@lsu.edu>; Kelsey Hounshell <khouns1@lsu.edu>; Donovan
White <dwhit42@lsu.edu>; John T Michel <jmich16@lsu.edu>; Emily E Hairston <ehairs2@lsu.edu>; Al
Pinkins <apinkins@lsu.edu>; Alan D Dunn <adunn@lsu.edu>; Alisha M Tolbert <atolbe3@lsu.edu>;
Amanda M Adams <aadams@lsu.edu>; Amanda C Qubty <aqubty@lsu.edu>; Andrea L Tepe
<tepeal@lsu.edu>; Andy Barker <abarker@lsu.edu>; Andrew L Cannizaro <acannizaro@lsu.edu>; Bennie
J Brazell <bbraze2@lsu.edu>; Beth Torina <btorina@lsu.edu>; Blair Napolitano <blair@lsu.edu>; Bo
Bahnsen <bbahnse@lsu.edu>; Bradley D Peveto <peveto@lsu.edu>; Brendan Suhr <bsuhr@lsu.edu>;
Brian F Broussard <brouss@lsu.edu>; Brian G Lee <brianlee@lsu.edu>; Brian J Squeglia
<bsqueglia@lsu.edu>; Brittany F Carvalhido <bfd1@lsu.edu>; C Kent Lowe <clowe@lsu.edu>; Carl
Goody <cgoody@lsu.edu>; Charlene C Thomas <ctswin@lsu.edu>; Charles W Winstead
<winstead@lsu.edu>; Charles S Leonard <coachl@lsu.edu>; Chase Kreitler <chasekreitler@lsu.edu>;
Christopher D Kragthorpe <ckragt1@lsu.edu>; Christopher J Parent <cparen3@lsu.edu>; Clinton W Self
<cself2@lsu.edu>; Clyde Verdin <cverdin@lsu.edu>; Tammye Y Lofton <tlofto1@lsu.edu>; Verge S
Ausberry <vausbe1@lsu.edu>; Wanda T Carrier <wcarrie@lsu.edu>; Cory E Couture
<ccouture@lsu.edu>; D D Breaux <ddbreaux@lsu.edu>; Dameyune V Craig <dcraig@lsu.edu>; Daniel A
Nunes <dnunes1@lsu.edu>; Dave Aranda <daranda@lsu.edu>; Dave Geyer <dgeyer@lsu.edu>; David A
Taylor <dataylor@lsu.edu>; Dean R Dingman <dd@lsu.edu>; Debbie Hensley <dhensley@lsu.edu>;
Debbie Parris-Thymes <dparris@lsu.edu>; Dennis G Shaver <shaver@lsu.edu>; Derek D Calvert
<dcalve2@lsu.edu>; Douglas J Shaffer <djshaffer@lsu.edu>; Douglas L Aucoin <daucoi3@lsu.edu>;
Dreyfus R Milstead <dmilst1@lsu.edu>; Edward J Orgeron <eorgeron@lsu.edu>; Eduardo "Eddie" Nunez
<enunez@lsu.edu>; Elise Evans <mevans@lsu.edu>; Emmett E David <edavid@lsu.edu>; Eric A Hummel
<ehumme1@lsu.edu>; Ethan C Pheister <epheister@lsu.edu>; Florence L Williams <fwilli3@lsu.edu>;
Fran Flory <frflory@lsu.edu>; Gregory E Stringfellow <gstring@lsu.edu>; Gwen Butler
<gbutle3@lsu.edu>; Hannah E Roudebush <hroudebush@lsu.edu>; Hannah Turner <hturner@lsu.edu>;
Howard Dobson <hdobson@lsu.edu>; J Kevin Wagner <jwagne2@lsu.edu>; Jabbar J Juluke
<jjuluke@lsu.edu>; Jacob J Marucci <jmarucc@lsu.edu>; Jacqueline J McClendon <jmcclen@lsu.edu>;
Jacob M Riedel <jriedel@lsu.edu>; James C Thomas <jthom29@lsu.edu>; James T Moffitt
<jmoffi1@lsu.edu>; Jason Feirman <jfeirman@lsu.edu>; Jay Clark <jayclark@lsu.edu>; Jeffery P Grigus
<jgrigu1@lsu.edu>; Jeff deVeer <jeff@lsu.edu>; Jeffrey G Brown <jbrow29@lsu.edu>; Jennifer Rodrigues
<jrodrigues@lsu.edu>; Jenna L Hall <jennahall@lsu.edu>; Joseph H Stanek <jhstanek@lsu.edu>; John R
Maher <jmaher@lsu.edu>; John E Schiebe <jschieb@lsu.edu>; John H Jones <johnnyjones@lsu.edu>;
Joseph Alleva <alleva@lsu.edu>; Joseph E Robertson <jrobe51@lsu.edu>; Josh Pratt
<jpratt7@tigers.lsu.edu>; Julia S Sell <jsell@lsu.edu>; Karen M Bahnsen <kbahnse@lsu.edu>; Katie
Gerlach <kgerlach@lsu.edu>; Khadevis K Robinson <kd@lsu.edu>; Krystal B Faircloth
<kbenne6@lsu.edu>; Lane M Director <laned@lsu.edu>; Latasha R Butts <tbutts@lsu.edu>; Laura K
Whalen <lwhalen@lsu.edu>; Lauren T Reagan <lreagan@lsu.edu>; Les Miles <lem042@lsu.edu>; Lois E
Stuckey <lstuck1@lsu.edu>; Louis V Bourgeois <lbour11@lsu.edu>; LSU Radio <lsuradio@lsu.edu>;
LSUSports Webmaster <lsusports@lsu.edu>; Mallory A Mickus <mmickus@lsu.edu>; Mark J Lee
<marklee@lsu.edu>; Mark R Ewing <mrewing@lsu.edu>; MaryJane Merrill <mmerrill@lsu.edu>; Micah I
Gibbs <mgibbs7@lsu.edu>; Michael Bonnette <mbonnet@lsu.edu>; Michael B Harkness
<mharkness@lsu.edu>; Michael Sell <msell@lsu.edu>; Michael W Henderson <mhende2@lsu.edu>;



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Michelle S Collins <msandy1@lsu.edu>; Miriam F Segar <msegar@lsu.edu>; Morris B Carney
<mo@lsu.edu>; Neal R Lamonica <nlamoni@lsu.edu>; Nikki Caldwell <ncaldwell@lsu.edu>; Nolan D
Cain <nolancain@lsu.edu>; Pamela D LeBlanc <plebla1@lsu.edu>; Paul Mainieri
<paulmainieri@lsu.edu>; PJ Odom <pjodom@lsu.edu>; Reginald K Miller <reggiemiller@lsu.edu>;
Renee' Braud <rarbour@lsu.edu>; Richard S Dempsey <rdemps3@lsu.edu>; Ricky A Lefebvre
<rlefebvre@lsu.edu>; Robert R Snyder <rsnyde3@lsu.edu>; Robert Kirby <robertkirby@lsu.edu>; Robert
P Moore <rmoore6@lsu.edu>; Ronnie M Haliburton <rhalibu@lsu.edu>; Russell L Brock
<rlbrock@lsu.edu>; Samuel J Nader <snader@lsu.edu>; Shaeeta K Williams <shawilliams@lsu.edu>;
Sharon L Lewis <smangum@lsu.edu>; Shawn Eddy <reddy1@lsu.edu>; Shelly Mullenix
<smulle1@lsu.edu>; Spencer L Farley <sfarley@lsu.edu>; Stephen B Franz <sfranz2@lsu.edu>; Stephen
A Mellor <stevemellor@lsu.edu>; Steven C Ensminger <sensminger@lsu.edu>; Tamara A Davis
<tdavi18@lsu.edu>; Taylor R Jacobs <tjacobs@lsu.edu>; Terrance L Bold <tbold1@lsu.edu>; Timothy M
Messa <tmessa@lsu.edu>; Todd W Jeansonne <tjeans2@lsu.edu>; Travis M Roy <troy1@lsu.edu>;
Virginia R Robertson <vrobert@lsu.edu>; Wanda L Babin <wbabin@lsu.edu>; Wayne R Morris
<wmorris1@lsu.edu>; Wendy Carpenter <wcarpen@lsu.edu>; Wendy G Nall <wnall@lsu.edu>; Will C
Wright <wwright@lsu.edu>; William A Stafford <wstaff2@lsu.edu>; William P Franques
<wfranqu@lsu.edu>; Abram R Dotson <adotson@lsu.edu>; Alex Barras <abarra4@lsu.edu>; Alexis J
Rather <arathe1@lsu.edu>; Alfred E Bell <alfredbell@lsu.edu>; Alicia English <aenglish@lsu.edu>; Anita
F Davis <adavi32@lsu.edu>; Ashlynne J Johnson <ajoh187@lsu.edu>; Ben Iannacchione
<bianna1@tigers.lsu.edu>; Blaine C Gautier <gautier@lsu.edu>; Braden C Miller <bmill57@lsu.edu>;
Byron K Weathers <byronw@lsu.edu>; Calvin Scott <cscot32@lsu.edu>; Malcolm G Cameron
<camcameron@lsu.edu>; Chad D Hebert <chebert1@lsu.edu>; Charles V Baglio <cbags10@lsu.edu>;
Chase P Contine <ccontine@lsu.edu>; Corey Raymond <craymond@lsu.edu>; Danny Bryan
<jbrya12@lsu.edu>; Deborah C Ferdinand <dferdi1@lsu.edu>; Derek Yush <dyush@lsu.edu>; David E
Griffing <dgriffing@lsu.edu>; Dorothy Chissell <dchiss1@lsu.edu>; Dorvin T Georgetown
<dgeorgetown@lsu.edu>; Earl J Chevalier <echeva1@lsu.edu>; Eddie W Tolbert <etolbe2@lsu.edu>;
Emily V Dixon <emily@lsu.edu>; Eric Donoval <edonov2@lsu.edu>; Eric M Pearson
<epearson@lsu.edu>; Ferrell G Shillings <fgs1@lsu.edu>; Frank H Jones <fjones4@lsu.edu>; Gabrielle
Dixon <gabrielledixon@lsu.edu>; Garrett S Runion <grunion@lsu.edu>; Garrett J Thibodeaux
<gthibodeaux@lsu.edu>; Hunter B Geisman <hgeism1@lsu.edu>; Hunter S Sexton <hsexto1@lsu.edu>;
Jake Terry <jterry9@lsu.edu>; Ja'Kouri D Brown <jakouribrown@lsu.edu>; James Mitchell
<jmitch@lsu.edu>; James R Weathers <jammie@lsu.edu>; Jeana F Kempe <jfuccillo@lsu.edu>; Jeffrey D
Grimes <grimey@lsu.edu>; Jeffrey C Gray <jeffreygray@lsu.edu>; Jennifer Chow <jchow@lsu.edu>;
Jermaine Johnson <jermainejohnson@lsu.edu>; Jill L Wilson <jwilson1@lsu.edu>; John Brower
<jbrower@lsu.edu>; Jon M Pfeifer <jpfeif3@lsu.edu>; Jonathan Wessinger <jwessi1@lsu.edu>; Jordan
Jackson <jordanjackson@lsu.edu>; Julie Cribbs <jcribbs@lsu.edu>; Alfonso J Lockett <jlockett@lsu.edu>;
Kathleen M O'Brien <kobrien@lsu.edu>; Katie A Copeland <copeland@lsu.edu>; Keava C Soil-Cormier
<ksoilc1@lsu.edu>; Kelly J Willie <kwilli5@lsu.edu>; Kewan Carey <kcarey@lsu.edu>; Kristen H Cain
<khobbs2@lsu.edu>; Laura C Lamberth <llamberth@lsu.edu>; Lauren C Silvio <lsilvi4@lsu.edu>; Leo P
Richard <leorichard@lsu.edu>; Leroy Williams <lwilli1@lsu.edu>; Lindsay K Leftwich
<lleftwich@lsu.edu>; Mark A Honore <mhonore@lsu.edu>; Mathew Shanklin <shanklin@lsu.edu>;
Matthew D Jakoubek <mjakoubek@lsu.edu>; Matthew N LaBorde <mlabor5@lsu.edu>; Melissa M Seal
<melmoore@lsu.edu>; Nicholas D Williams <nwilliams@lsu.edu>; Pamela V Workman
<pworkman@lsu.edu>; Pauline L Zernott <pzernott@lsu.edu>; Quinlan Duhon <quinlan@lsu.edu>;
Quinten K Lynn <qlynn@lsu.edu>; Reynard T Green <reynardgreen@lsu.edu>; Ricky Hartford
<rhartf2@lsu.edu>; Robert L Shavers <rshave1@lsu.edu>; Rodney Ballard <rballard@lsu.edu>; Rodney R
Glynn <rglynn2@lsu.edu>; Ronald C Wheat <wheatrc@lsu.edu>; Shalini M Gogawale <smg@lsu.edu>;
SherDedrick Bullitts <sbulli2@lsu.edu>; Steven J Kragthorpe <skragthorpe@lsu.edu>; Sumonn B Morgan



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<smorg13@lsu.edu>; Terri Poleman <tpoleman@shorttravel.com>; Todd Lane <toddlane@lsu.edu>;
Tracy A Price <tprice9@lsu.edu>; Zach Kendrick <zkendr1@lsu.edu>
Subject: IMPORTANT - LSU Policies & Procedures Reminder

In light of recent national events, I want to remind our coaches and staff the importance of immediately
and fully reporting all issues of sexual harassment, misconduct or sexual assault of which you are or
become aware.

As we have discussed many times in staff and other meetings, as a university employee, it is your
responsibility to report any potential issues of which you are aware. I want to stress that you as a staff
member absolutely should not attempt to conduct any investigation or make any determination
regarding alleged, reported or suspected misconduct. Instead, you are required to report all potential
issues so that they are properly addressed by trained university officials. Please report these issues to
either Miriam Segar, Sr. Associate Athletics Director Student Services or Wendy Nall, Assistant Athletics
Director HR. Both of these individuals have been trained in Title IX law and university protocol for
investigation and can help facilitate the proper reporting that is required by law and University policy.

The link below provides additional information about the applicable LSU policies and resources
available.

http://www.lsu.edu/hrm/policies_and_procedures/Title_IX_item71081.php

Additionally, I want to remind you all that a coach or athletic department staff member should not
interfere with any university investigation, academic investigation or disciplinary process. In order to
prevent the presumption of undue influence, coaches and sport specific staff members should not
converse or communicate in any manner with university officials, professors or other university staff
members regarding cases involving student-athletes, unless directed to as part of a formal University or
law enforcement investigation. Please allow designated athletic, academic and university staff members
to handle these issues. If you have any questions about this directive, please contact me directly or,
alternatively, contact Miriam Segar or Wendy Nall.

Joe Alleva
Vice Chancellor/Director of Athletics




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     PMͲ73andRelatedPoliciesWorkgroupReport
                                    

                                    

                       Draft,February21,2017

                                    

                        CommitteeMembers

                       ElizabethR.Carter,Chair
                           BenjaminCornwell
                               NoelleDavis
                               EndyaHash
                             JulieHenriquez
                               SigridKelsey
                               MandiLopez
                           JenniferNormand
                              TraceyRizzuto
                  




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       RecommendationsRelatedtoPMͲ73andRelatedPolicies/Procedures


Recommendation1:CoordinationofPolicies
       Recommendation:EnsurecoordinationofallLSUpolicieswithPMͲ73.Ensureperiodic
reviewofallLSUpoliciestocoordinatewithperiodicupdatestoPMͲ73.

        Rationale: Many LSU policies address issues that are also addressed in PMͲ73. Often,
those policies are inconsistent with PMͲ73. A process should be put in place to review and
revisevariousLSUpoliciesonaperiodicbasistoensurecoordinationandconsistencywithPMͲ
73. In particular, the following items should be reviewed on a periodic basis to ensure
consistency:FacultyHandbook,PSͲ95,PSͲ104,andtheStudentCodeofConduct.


Recommendation2:ClarityandAccessibility


        Recommendation:TakestepstoenhanceclarityandaccessibilityofLSU’spolicies,their
interplay,andthecomplaintprocess.

        Rationale:PMͲ73isafourteenͲpagedocumentthatisratherdifficulttounderstand.To
someextent,thisisunavoidable.Theworkgroupnotedthatpoliciesatotherinstitutionsface
similarproblems.Nonetheless,everyeffortshouldbemadetoenhanceclarityandreadability.
Further, LSU should take additional steps to help members of the LSU community better
understand their rights, responsibilities, and the various procedures relating to Title IX. The
workgroup recommends implementing userͲfriendly approaches to help enhance clarity and
accessibility.

        Inparticular,theworkgrouprecommendsthefollowingsteps:


        x   LSU policies should also advise parties of their rights under applicable state and
            federal law, and include links to appropriate websites (such as the EEOC and the
            DepartmentofEducation).

        x   LSU should employ flowcharts and similar imagery to more clearly illustrate the
            conceptscoveredbyPMͲ73.


        x   LSU should have userͲfriendly guides for understanding the various types of
            complainsandproceduresthatmayariseunderTitleIX.


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              
          x   AlloftheforegoingshouldbeavailableonLSU’swebsiteinacentralizedandeasily
              locatedplace.
        Appendix 2 includes links to websites at other institutions that the workgroup found
helpful. Without commenting on or endorsing the particular policy positions taken by these
sources, the workgroup noted that these types of materials should be developed by and
implementedatLSU.

Recommendation3:TerminologyUsedinPMͲ73
      Recommendation:Reviewandrevisesomeofthedefinitionsandothertermsusedin
PMͲ73toensureclarity,consistency,andcompliancewithapplicablelaw.
       
       Rationale: The various definitions and other terms used in PMͲ73 should be carefully
reviewedtoensureclarity,consistency,andcompliancewithapplicablelaw.Inparticular,the
workgroupidentifiedthefollowingissues:

     x    PMͲ73 makes reference to Louisiana’s criminal laws. However, somelaws (such as La.
          Rev. Stat. §14:89) referenced by PMͲ73 are clearly unconstitutional and should be
          carvedoutfromthescopeofPMͲ73.Similarly,thereferencetoLa.Rev.Stat.§44:51is
          confusing.
          
     x    PMͲ73 sets forth some time periods in terms of “business days.” That term is not
          definedanywhereinPMͲ73andcouldbesusceptibleofvaryinginterpretations.

     x    The definition of “sexual assault” in PMͲ73 should be consolidated and revised. It is
          currentlydefinedseveraldifferenttimes.

     x    Thedefinitionof“sexualharassment”shouldbeexpandedtoincludeharassmentbased
          on sexual orientation, gender expression, marital status, pregnancy/reproduction, and
          similartypesofsexualharassment.
          



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Recommendation4:PMͲ73AmnestyPolicy


                                                      4
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

        Recommendation:ExpandtheamnestypolicysetforthinPMͲ73(1)tobeavailableto
allmembersoftheLSUcommunity;(2)andtoprovideamnestyfromawidervarietyofpossible
offenses.

        Rationale. The April 4, 2011 Dear Colleagues Letter encouraged schools to adopt
amnesty policies to encourage reporting of sexual violence. The letter explained: “Schools
should be aware that victims or third parties may be deterred from reporting incidents if
alcohol, drugs, or other violations of school or campus rules were involved.” Similarly, the
LouisianaCampusAccountabilityandSafetyAct(La.Rev.Stat.17:3399.11etseq.)requiresLSU
toimplement“anamnestypolicyforanystudentwhoreports,ingoodfaith,sexualviolenceto
theinstitution.”PMͲ73currentlyincludesanamnestypolicyatp.13thatseemsconsistentwith
this requirement. As written, PMͲ73 appears to expand the amnesty suggested by the Dear
Colleagues Letter and by the Campus Accountability and Safety Act in several ways. The
workgroup believes this is laudable on the part of LSU and makes two recommendations to
furtherencouragereporting.

         First, the amnesty policy should be expanded to include all members of the LSU
community—notjuststudents.PMͲ73onlycontemplatesamnestywithrespectto“nonͲviolent
student conduct violations.” Obviously, such language is insufficient to provide amnesty to
faculty, staff, and other nonͲstudent members of the LSU community. The workgroup
recommendsexpandingthescopeoftheamnestytomoreclearlyincludeallmembersofthe
LSUcommunity.
         
         Second,theamnestypolicyshouldbeexpandedtomoreclearlyincludealltypesofnonͲ
violent violations (not just those relating to drinking or drug use). This recommendation is
relatedtothefirstrecommendation.Ascurrentlywritten,amnestyislimitedtostudentswho
committed“anonviolentstudentconductviolation,suchasunderagedrinking,atornearthe
time of the complained incident.” Many members of the LSU community are unlikely to be
involvedinunderagedrinkingsimplybecausetheyareover21.Theymay,however,behesitant
tocomeforwardbecauseofothertypesofconductviolationsthatoccurrednearthetimeof
the conduct. Such conduct violations might include issues of academic honesty/cheating,
violationsofcomputerusage/emailpolicies,violationsofthetobaccopolicies,orviolationsof
policies prohibiting romantic relationships between students and faculty. The workgroup
recommendsexpandingthescopeofamnestytomoreclearlyincludeawidervarietyofnonͲ
violentconductissues.





Recommendation5:Retaliation



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         Recommendation:Reviseandexpandthedefinitionof“retaliation”asusedinPMͲ73.

         Rationale.PMͲ73containslengthydefinitionsandexplanationsforanumberoftheacts
that it prohibits. Yet, PMͲ73 contains little explanation of what types of actions constitute
retaliation.Partiesareoftenafraidtocomeforwardforfearofretaliation—particularlywhen
theaccusedpartyisinapositionofpowerorauthority.PMͲ73shouldbetterexplainwhattypes
of acts constitute prohibited retaliation. The workgroup notes that the Department of
EducationandtheEEOChavesomeexcellentresourcesregardingretaliation.

Recommendation6:MandatoryReportingObligations
       Recommendation:Betterdescribethereportingobligationsofvariousmembersofthe
LSU community. Expand the persons excluded from “responsible person” to clearly apply to
lawyers,doctors,andothersinalegallyrecognizedconfidentialrelationship.

       Rationale.PMͲ73defines“responsibleperson”atp.4as“anyemployeewhowasthe
authoritytotakeactiontoredresssexualviolenceorwhohasbeengiventhedutyofreporting
incidentsofsexualviolenceoranyothermisconductprohibitedbythispolicy…”Onp.7,PMͲ73
explains that “any responsible person who receives actual notice of a complaint” is to report
such complaint to the Title IX coordinator. The language in these provisions is somewhat
confusingandcouldbeimprovedinseveralways.

       First, it is the workgroup’s understanding that a “responsible person” means any LSU
employeewhoisnotspecificallyexemptedfromthedefinition.But,thatinterpretationisnot
necessarilyclearfromthelanguageonp.4.

       Second,onp.7,PMͲ73requiresaresponsiblepersontomakeareportwhenhereceives
“actual notice of a complaint.” That same paragraph then requires “any supervisor, or other
responsibly party who witnesses or receives a report or complaint” to notify the Title IX
coordinator.Thelanguageusedissomewhatinconsistentandconfusing.Asaresultthereisa
fair amount of confusion among members of the LSU community regarding their reporting
obligations.

       Third, PMͲ73 seems to exclude certain people from the definition of “responsible
person.”Theseexclusionsareinconsistentandaretoonarrow.Thisshouldberevised.Atp.4,
PMͲ73says“ResponsiblePersonsdonotincludevictims’advocates,mentalhealthcounselors,
orclergy.”Atp.7,thedefinitionisslightlydifferent.Inanyevent,itshouldbemademoreclear
that confidential advisors—as that term is used in the Louisiana Campus Accountability and
Safety Act (La. Rev. Stat. 17:3399.11 et seq.)—are excluded from the mandatory reporting
obligation.Additionally,PMͲ73shouldmakeitmoreclearthatlawyers,doctors,spouses,and
otherpersonsinalegallyrecognizedconfidentialrelationshipwiththecomplainingpartymay
maintainconfidentialityeventhoughtheymightalsobemembersoftheLSUcommunity.




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       Appendix 6 is an example of a flyer used by Cornell University to better explain
reporting obligations to faculty. Without commenting on or endorsing the particular policy
positions taken by this source, the workgroup noted that these types of materials should be
developedbyandimplementedatLSU.


Recommendation7:Confidentiality
      Recommendation: Clarify which persons/resources are permitted to receive
confidentialreports.
      Rationale: This recommendation is related to Recommendation 6.  The workgroup
learnedthatthereisconsiderableconfusionintheLSUcommunityregardingwhomayreceive
a complaint confidentially. To encourage reporting, it is imperative that LSU make clear who
mayreceivecomplaintsconfidentially,andwhomaynotreceivecomplaintsconfidentially.The
DepartmentofEducationhasemphasizedtheimportanceofmakingthisissueclearonseveral
occasions. The workgroup recommends clarifying who may receive confidential reports and
makingthatinformationclearontheLSUwebsiteandrelevantpublications.
        Confidentiality raises particularly thorny issues in some of the professional schools—
such as the law school—where many faculty members are also subject to professional
licensure. Some law school faculty, for example, feel quite strongly that deeming them to be
“responsible persons” may often conflict with their professional obligations as attorneys. The
workgroup recommends further discussing this issue with affected faculty members and
developingpolicies that appropriately reflect the sometimes conflicting positions such faculty
membersareplacedin.
        Appendix 7 includes a link to a sample confidentiality policy proposed by the White
HouseTaskForceaswellaslinkstowebsitesfromotherinstitutionsthathaveclearlysetforth
who may (and who may not) receive a confidential report. Appendix7 also contains someof
theprofessionalobligationsthathavegivenrisetoconcernamongprofessionalͲschoolfaculty.
Withoutcommentingonorendorsingtheparticularpolicypositionstakenbythesesources,the
workgroup noted that these types of materials should be developed and or considered in
revisingandimplementingPMͲ73.
Recommendation8:ConfidentialAdvisors
       Recommendation:Takestepstoensurethateachcampusandeachprogram/schoolhas
atleastonepersondesignatedasa“confidentialadvisor.”
      Rationale: The Louisiana Campus Accountability and Safety Act (La. Rev. Stat.
17:3399.11 et seq.) requires each institution to appoint an adequate number of confidential
advisors. Confidential advisors are among the few people exempted from the mandatory
reporting provisions of PMͲ73. In addition to appointing an adequate number of confidential
advisors,asrequiredbylaw,theworkgroupalsobelievesthatitisimportantthatconfidential
advisors be widely distributed across the LSU community to enhance accessibility. The


                                                    7
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workgroup recommends that each campus, program/school have at least one person who is
designated as a confidential advisor. The workgroup further recommends that the identities
and contact information for the various confidential advisors be included in a centralized
locationontheLSUwebsite.

Recommendation9:ConflictsofInterest

        Recommendation: Include appropriate language in PMͲ73 to address conflicts of
interestofinvestigatorsandotherparties.

       Rationale: When an investigator or other party has an actual or perceived conflict of
interest it undermines the integrity of the process and the appearance of fairness. The
DepartmentofEducationhasnotedthisconcernonseveraloccasions.TheApril4,2011Dear
Colleagues Letter emphasizes this point at follows: “Additionally, a school’s investigation and
hearingprocesscannotbeequitableunlesstheyareimpartial.Therefore,anyrealorperceived
conflicts of interest between the fact finder or decisionsͲmaker and the parties should be
disclosed.” PMͲ73 should include a provision prohibiting parties with an actual or perceived
conflictofinterestfromparticipatingininvestigationsandotherproceedings.Suchaprovision
shouldaddressissuessuchas:(1)apparentoractualconflicts;(2)abilityofeitherpartytoseek
recusalintheeventofaconflictofinterest;and(3)theresponsibilityofpersonswithaconflict
todisclosetheconflictandtorecusethemselves

        Appendix 9 contains some sample provisions from other institutions that address
conflictsofinterest.Withoutcommentingonorendorsingtheparticularpolicypositionstaken
bythesesources,theworkgroupnotedthataconflictofinterestprovisionshouldbedeveloped
byandimplementedatLSU.

Recommendation10:DueProcessConcerns

         Recommendation: Ensure that both PMͲ73 and its implementation are fair and
equitabletobothparties.

        Rationale. Title IX requires schools to adopt “prompt and equitable” grievance
procedures.Inorderforaproceduretobeequitable,bothpartiesmustbeaffordedequivalent
rights and opportunities. The workgroup received a number of anecdotal reports that vividly
illustratedinstanceswheretherewasaperceivedoractuallackoffairness.LSUshouldcontinue
toinvestigateandreviewthisissue.


Recommendation11:Indemnification



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
          Recommendation: Revise PMͲ73 and related policies to make it clear that
faculty/students/staffandotherpartiesservingonhearingcommitteeswillbeindemnifiedfor
theirparticipation.

         Rationale. Members of the LSU community, including students and faculty, are often
calledupontoserveonhearingpanels,serveasconfidentialadvisors,orotherwiseparticipate
in the implementation of PMͲ73. It is conceivable that they could face personal liability if a
partyisdissatisfiedwiththeoutcomeofaninvestigationorhearing.Theworkgroupbelievesit
is important for LSU to reasonably indemnify participants in such proceedings and to clearly
delineatethescopeandnatureofsuchindemnificationinwriting.

Recommendation12:ACT172

        Recommendation: Review PMͲ73 and related policies to ensure compliance with Act
172 of the 2015 Legislative Session, including the Campus Accountability and Safety Act (La.
Rev.Stat.17:3399.11etseq.).

       Rationale.Act172ofthe2015LegislativeSessionsetsforthanumberofrequirements
thatrelatetoPMͲ73.LSUappearstohavealreadytakensomestepstocomplywiththeAct—
yetsomechallengesremain.Inparticular,theworkgroupnotesthefollowingconcerns:

    x    ACT 172 requires LSU to adopt an interͲcampus transfer policy. The workgroup was
         unabletolocateanysuchdocument.
         
    x    ACT 172 requires LSU enter into a Memorandum of Understanding with law
         enforcement.Theworkgroupwasunabletolocateanysuchdocument.

    x    ACT 172 requires LSU to promulgate a Campus Security Policy. The workgroup was
         unabletolocateanysuchdocument.

       Appendix12discussestheActinmoredetailandsomeofthechallengestheworkgroup
identifiedinLSU’scurrentimplementationoftheAct.





Recommendation13:AcademicFreedom




                                                      9
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        Recommendation:IncludeaprovisionpertainingtoacademicfreedominPMͲ73.

       Rationale.AcademicfreedomiscentraltoLSU’seducationalpurposes.AlthoughPMͲ73
currently addresses the First Amendment—it does so in a brief and general manner. PMͲ73
ought to include a more specific statement relating to academic freedom. Moreover, PMͲ73
ought to reaffirm LSU’s commitment to academic freedom and diversity of thought and
expression.

        Appendix 13 includes some sample similar provisions relative to academic freedom
from other institutions. Without commenting on or endorsing the particular policy positions
taken by these sources, the workgroup noted that a provision relating to academic freedom
shouldbeincludedinPMͲ73.

Recommendation14:TitleIXCoordinators
      Recommendation:EnsurethatstepsaretakentoensurethattheTitleIXcoordinators
maintainimpartiality—suchasappropriatejobdescriptionsandavoidingconflictsofinterests.
       Rationale:TheDepartmentofEducationhasoftenemphasizedtheimportanceofTitle
IXCoordinators.Forexample,theApril24,2015DearColleagueLetterexplainsthattheTitleIX
coordinatorshouldnothave“otherjobresponsibilitiesthatmaycreateaconflictofinterest.”
The letter goes on to explain that: “For example, designating a disciplinary board member,
generalcounsel,deanofstudents,superintendent,principal,orathleticsdirectorsastheTitle
IXcoordinatormayposeaconflictofinterest.”Theworkgroupidentifiedseveralproblemswith
LSU’scurrentTitleIXcoordinatorstructure.
      First, it is not immediatelyclear from the organizationalcharts available from the LSU
website who the various Title IX coordinators report to. The organizational charts (and any
related governing documents) should be revised to make it clear that the various Title IX
coordinatorsdonothaveconflictingresponsibilities.
      Second, at least one Title IX coordinator’s physical office is apparently located in the
General Counsel’s office. Even if that coordinator does not report to the general counsel—
whichwouldclearlybeinappropriate—thephysicallocationoftheofficemaygiverisetothe
appearance of a conflict of interest. The Title IX coordinators should have offices that are
physicallylocatedinneutralandaccessiblelocationsoncampus.
       Third, at least two Title IX coordinators appear to have conflicting job responsibilities.
LSU’s website lists Maria Fuentes Martin as both the LSU Dean of Students and the Title IX
Deputy Coordinator for Students—a conflict expressly contemplated by the 2015 Dear
ColleagueLetter.LSU’swebsitealsolistsGastonReinosoastheTitleIXDeputyCoordinatorfor
Employees. It appears, however, that Mr. Reinoso may have other job responsibilities in the
office of Human Resources Management that might conflict with his duty as Title IX
coordinator.


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
Recommendation15:ContinuationofWorkgroup/Taskforce;Suggestions
      Recommendation: The work of the Title IX Taskforce and its individual workgroups
should continue on an ongoing basis. Contact information for the taskforce/workgroup
members should be made available to the LSU community to that the taskforce/workgroups
maycontinuetoreceiveinputfromtheLSUcommunityonanongoingbasis.

        Rationale: The workgroup believes that periodic review of PMͲ73 and other Title IX
issues is essential. Moreover, the workgroup believes that additional issues may arise that
ought to be thoughtfully considered by the Taskforce and appropriate workgroups. The
workgroup recommends that the both the Taskforce and the appropriate workgroups be
maintainedonanongoingbasisforsuchperiodicreviewandthattheircontactinformationbe
madeavailabletotheLSUcommunitysothatadditionalsuggestions/concernsmaybereceived
andconsideredonanongoingbasis.

Recommendation16:TitleVIPolicyandTitleVIIPolicy
       Recommendation:LSUshouldimplementandrevisepoliciesandgrievanceprocedures
relatedtoTitleVIoftheCivilRightsActof1964andTitleVIIoftheCivilRightsActof1964.Such
policiesandproceduresshouldbeconsistentwiththeTitleIXpolicy.
       Rationale.TitleVIoftheCivilRightsActof1964makesitunlawfultodiscriminateonthe
basis of race, color, or national origin in federally funded education programs or activities.
Unlike Title IX, Title VI does not specifically require schools to adopt and publish grievance
proceduresorappointspecificcoordinators.However,theDepartmentofEducation’sOctober
26, 2010 Dear Colleague letter has made it clear that “schools should have wellͲpublicized
policiesprohibitingharassmentandproceduresforreportingandresolvingcomplaintsthatwill
alerttheschooltoincidentsofharassment.”
       TitleVII of the Civil Rights Act of 1964 prohibits discrimination against employees and
prospective employees or applicants on the basis of race, color, national origin, religion, and
sex.TitleVII applies to public higher educational employers—like LSU—that have 15 or more
employees.Althoughtheyarenotnecessarilyrequiredtodoso,employersoftenprovidetheir
owninternalgrievanceprocedurestoaddressemployeeclaims.LSUhasdonesothroughPMͲ
55andotherpolicies.
       The workgroup notes that issues arising under Title IX sometimes also involve issues
arisingunderTitleVIandTitleVII.Theworkgroupnotedthatitiscurrentlyunclearwhethera
caseinvolvingissuesunderbothTitleIXandoneoftheotherstatutescouldbefullyresolved
throughthecurrentPMͲ73processorwhetherapersonwouldneedtofilemultiplecomplaints


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andgothroughdifferentprocessesforeach—aresultthatseemsabsurd.Theworkgroupalso
notes that LSU’s policies and procedures relating to Title VI and Title VII are likely in need of
updatingandrevisionandwouldbenefitfromthesametypeofattentiongiventoTitleIX.The
workgrouprecommendsundergoingsucharevisionandensuringthatthevariouspoliciesare
consistentwitheachotherandthatcasesinvolvingmorethanonestatutecanberesolvedina
singleprocess,whereappropriate.

Recommendation17:OtherAntiͲDiscriminationPolicies
      Recommendation:LSUshouldimplementandrevisepoliciesandgrievanceprocedures
related to other antiͲdiscrimination legislation. To the extent possible, these policies and
proceduresshouldbeconsistentwiththeTitleIXpolicy.
        Rationale: This recommendation is related to Recommendation 16. The workgroup
notes that, in addition to Title VI and Title VII, there are other antiͲdiscrimination laws
applicabletoLSU.Furthermore,issuesarisingunderTitleVI,TitleVII,and/orTitleIXmightalso
implicateissuesarisingunderotherantiͲdiscriminationlegislation.Theworkgroupbelievesthat
LSU’s policies and procedures relating to other types of discrimination are likely in need of
updatingandrevisionandwouldbenefitfromthesametypeofattentiongiventoTitleIX.The
workgrouprecommendsundergoingsucharevisionandensuringthatthevariouspoliciesare
consistentwitheachotherandthatcasesinvolvingmorethanonestatutecanberesolvedina
singleprocess,whereappropriate.
        Inparticular,theworkgroupidentifiedthefollowingasitemsforconsideration:

             x   AgeDiscriminationinEmploymentActof1967
             x   AmericanswithDisabilitiesActof1990
             x   EqualEmploymentOpportunityActof1972
             x   EqualPayActof1963
             x   GeneticInformationNondiscriminationActof2008
             x   PregnancyDiscriminationActof1978






                                                       12
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Appendix2:ClarityandAccessibility

LinksandReferencestoApplicableStateandFederalLaw
       Anumberofinstitutionsincludelinksandreferencestoapplicablestateandfederallaw.
BoththeEEOCandtheDepartmentofEducationhavepromulgatedanumberofuserͲfriendly
guides.Thefollowingaresomeexamples.


   x    AuburnUniversity
           o Links to relevant state laws: http://auburn.edu/administration/aaeeo/titleͲ
              ix/policies_terms/campus.html

   x    IowaStateUniversity
           o Numerouslinkstooutsidesources:http://www.eoc.iastate.edu/novemberͲ30thͲ
               ͲͲtitleͲixͲcoordinator

   x    TulaneUniversity
           o Numerous links to outside sources: https://www2.tulane.edu/equity/titleͲixͲ
               sexualͲviolenceͲ2014.cfm




UseofFlowcharts
       AnumberofinstitutionshavepromulgateduserͲfriendlyflowchartsandsimilardevices
tobetterillustratetheirTitleIXpolicies.Thefollowingaresomeexamples:


   x    AuburnUniversity
           o Flowchart           illustrating         investigative             process:
              http://www.auburn.edu/administration/aaeeo/titleͲix/process_flowchart.pdf

    x    ColoradoStateUniversity
            o Flowchart            illustrating           investigative                process:
                http://www.supportandsafety.colostate.edu/process

    x    EmoryUniversity
           o Flowchart            illustrating         investigative          process:
              http://sexualmisconductresources.emory.edu/what_to_know/flowchart.html




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Q&AorFAQSections
       AnumberofinstitutionshavepromulgateduserͲfriendlyQ&AorFAQsectionsrelevant
tovariousaspectsoftheirTitleIXpolicies.Thefollowingaresomeexamples:


    x    AuburnUniversity
            o Multiple FAQ sections, including this one for employees:
                http://auburn.edu/administration/aaeeo/titleͲix/faq/employees.html
            o And          this    one      about      the      disciplinary     process:
                http://auburn.edu/administration/aaeeo/titleͲix/faq/disciplinary.html
         
    x    MississippiState
            o FAQ         Section:   https://www.oci.msstate.edu/focusͲareas/titleͲixͲsexualͲ
                misconduct/faq/
                
    x    PurdueUniversity
            o Compliance Guide for Mandatory Reporters includes both Q&A section and a
                flowchart:http://www.purdue.edu/titleix/complianceGuide/index.html
                

OtherGuides/Resources

    x    UniversityofAlabama
            o Hasaguideoutliningwhattodoandwhotocontactafteranincidentofsexual
                assault: https://eoo.uga.edu/focusͲon/whatͲdoͲifͲyouͲorͲsomeoneͲyouͲknowͲ
                hasͲbeenͲsexuallyͲassaulted
                
    x    TulaneUniversity
            o Hasaguideoutliningwhattodoandwhotocontactafteranincidentofsexual
                violence.http://www.titleix.tulane.edu/getͲhelpͲnow/
         
                




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                       Appendix6:MandatoryReportingObligations
(availableat:http://titleix.cornell.edu/reporting/staffͲandͲfacultyͲdutyͲtoͲconsult/)




                                                     15
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                                  Appendix7:Confidentiality


SampleLanguageforReportingandConfidentiallyDisclosingSexualViolence:

    x    White House Task Force to Protect Students from Sexual Assault, April 2014:
         https://www.justice.gov/file/910281/download
         
UniversityWebsitesExplainingWhoMayReceiveaConfidentialReport:

    x    UniversityofAlabama:
            o https://eoo.uga.edu/sites/default/files/sar_resources_chart_1.pdf
         
    x    UniversityofTexas:
            o https://titleix.utexas.edu/resources/
                
    x    MIT
            o https://titleix.mit.edu/resources/confidential

PotentiallyConflictingProfessionalObligations

    x    Lawyers:MRPCRule1.8:DutiestoProspectiveClient
         
            o http://www.americanbar.org/groups/professional_responsibility/publications/m
               odel_rules_of_professional_conduct/rule_1_18_duties_of_prospective_client.ht
               ml
                             




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                                Appendix 9: Conflicts of Interest
                                               
ColumbiaSouthernUniversity
(availableat:http://www.columbiasouthern.edu/downloads/pdf/licensure/titleix.aspx)
       Under“StatementofReportingParty’sRights”
       “TherighttopetitionthatanyCSUrepresentativeintheprocessberecusedonthebasis
       ofdemonstratedbiasorconflictͲofͲinterest;”
       Under“StatementofRespondingParty’sRights”:
       “The right to petition that any CSU representative be recused from the resolution
       processonthebasisofdemonstratedbiasand/orconflictͲofͲinterest;”

MacalesterCollege
(availableat:http://www.macalester.edu/titleix/sexualmisconductpolicy/)

    Thispolicyaddressesconflictsofinterestinafewplaces:          

    1. ResponsibilitiesoftheTitleIXCoordinatorinclude:

       “Evaluatingallegationsofbiasorconflictofinterestrelatingtoproceduresoutlinedin
       thepolicy;”

    2. AConflictsSection

       “If a complainant or respondent has any concern that any individual acting for the
       College under this policy has a conflict of interest or bias, such concern should
       immediatelybereportedinwritingtotheTitleIXCoordinator.Anyconcernregardinga
       conflictofinterestorbiasmustbesubmittedwithintwo(2)daysafterreceivingnotice
       of the person’s involvement in the process. The Title IX Coordinator or the Title IX
       Coordinator’sdesignee(s)willreviewtheconcernsandtakeappropriatestepstoensure
       that no conflicts of interest exist on the part of anyone investigating or resolving a
       complaint under this policy. If the Title IX Coordinator has a conflict of interest with
       respecttoacomplaint,theCollege’sDeanofStudents/DeputyTitleIXCoordinatorshall
       appointanalternatepersontooverseeadherencetotheSexualMisconductPolicywith
       respecttothecomplaintatissue.IftheDeanofStudents/DeputyTitleIXCoordinatoris
       a party to the complaint or has a conflict of interest with respect to a complaint, the
       Associate Dean of Students/Deputy Title IX Coordinator shall ensure that the College


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       puts in place appropriate safeguards under the circumstances to ensure that the
       institutionpromptlyandequitablyrespondstothecomplaint,including,butnotlimited
       to,appointmentofalternateindividualstooverseeadherencetotheSexualMisconduct
       Policy.”

   3. Asectionabouttheinvestigation

        A. Investigation

        TheTitleIXCoordinatorortheTitleIXCoordinator’sdesignee(s)willdesignateoneor
        more investigators. The College will ensure that the investigator(s) has received the
        appropriate training, and is impartial and free of any conflict of interest. The parties
        shallreceivewrittennoticeoftheinvestigator(s)appointed.Ifanypartyhasaconcern
        thattheinvestigator(s)hasaconflictofinterest,thepartyshouldreporttheconcernin
        writingasindicatedinthe“Conflicts”sectionabove.

UniversityofGeorgia
(availableat:https://eoo.uga.edu/policies/sexualͲmisconductͲpolicy)
       4.1.7.7Recusal/ChallengeforBias
       Anypartymaychallengetheparticipationofanyinstitutionofficialoremployeeinthe
       process on the grounds of personal bias by submitting a written statement to the
       institution’s designee setting forth the basis for the challenge. The written challenge
       should be submitted within a reasonable time after the individual reasonably should
       have known of the existence of the bias. The institution’s designee will determine
       whether to sustain or deny the challenge, and if sustained, the replacement to be
       appointed.
UniversityofIllinoisSpringfield
(availableat:http://www.uis.edu/titleix/titleͲixͲsexualͲmisconductͲpolicy/)
       Section9.ConflictsofInterest
       Persons conducting functions pursuant to this policy must be free from conflicts of
       interestandbiasfororagainstanyparty.UISofficialshavingaconflictofinterestorbias
       inaparticularcasemustrecusethemselvesfromtakingpartinthecomplaintresolution
       process and notify the appropriate UIS or University of Illinois official so that a
       substitute can be designated. Similarly, either party to a complaint may request a
       substitutionforanofficialwithauthoritytomakeafindingorimposeasanctionintheir
       proceedingiftheparticipationoftheofficialposesaconflictofinterest.SeeAppendixJ.
       For additional information on how certain conflicts of interest are resolved,
       seeAppendixM.


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           AppendixMaddresseswhatdotoiftheaccusedpartyistheTitleIXCoordinatororthe
           Chancellor.

    YeshivaUniversity,AlbertEinsteinCollegeofMedicine
(available at: https://www.einstein.yu.edu/docs/administration/policies/nonͲdiscriminationͲ
andͲantiͲharassmentͲpolicy.pdf)
      If applicable, where a Panel Member is unable or unwilling to undertake the review of a
      complaint,forexamplebecauseofaconflictofinterest,theTitleIXCoordinatorwillselect
      anotherPanelMember.Inaddition,atthereasonablerequestofapartytothecomplaint
      (forexample,becauseofaconflictofinterest),theTitleIXCoordinatorwillselectanother
      Panel Member or mediator (as applicable). Where acceptable to both parties, the Panel
      Member(s) involved may request that an additional Panel Member(s) and/or the Title IX
      Coordinatorbepresentforthediscussions.
      
      




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                                      Appendix12:ACT172


       OverviewoftheActandSomeProblemswithitsCurrentImplementationatLSU
                                   I.REQUIREMENTSOFTHEACT
        ACT172ofthe2015LegislativeSessionsiscomprisedoftwoparts.Thefirstportionof
the Act requires that, when funding is available, public postsecondary education institutions
mustadministeranannual,anonymoussexualassaultclimatesurveytothestudents.Student
participationmustbevoluntary,andstudentscannotfacenegativeconsequencesfordeclining
toparticipate.TheBoardofRegentsdevelopsthesurveyandtheproceduresforadministration
ofthesurvey,andtheActsuggestsusingasurveydevelopedbytheCenteronViolenceAgainst
WomenandChildrenattheRutgersUniversitySchoolofSocialWorkasamodel.Theresultsof
thesurveymustbeinawrittenreportsubmittedtotheGovernorandtheLegislature,aswellas
publishedontheboard’swebsite.
       The second portion of the Act is known as the Campus Accountability and Safety Act
(“CASA”),andappliestopublicpostsecondaryeducationinstitutionsthatreceivecertaintypes
offunding.TheCASAhastwomainsubstantiveparts:Coordinationwithlocallawenforcement,
andcampussecuritypolicy.
A.CoordinationwithLawEnforcement
        The section regarding coordination with local law enforcement provides that each
institution and all law enforcement agencies located with the parish of the institution must
enter into a memorandum of understanding to clearly delineate responsibilities and share
information. This memorandum must specifically include how to address sexuallyͲoriented
criminal offences occurring against students, but can encompass other crimes as well. The
memorandummustbeupdatedeverytwoyears.Thememorandummustinclude:protocolsof
investigative responsibilities; standards for notification and communication and measures to
promote evidence preservation; agreedͲupon training for issues related to sexuallyͲoriented
criminal offenses; and methods of sharing general information in order to improve campus
safety.Lawenforcementagenciesmustincludeinformationonitspolicereportregardingthe
statusofvictimasastudent.
B.CampusSecurityPolicy
        The section regarding the campus security policy provides that the institution must
establish uniform policies and best practices to address reporting sexuallyͲoriented criminal
offensesoncampus,preventionofsuchcrimes,andthemedicalandmentalhealthrequiredfor
victims. This includes confidential advisors, information on the institution’s website, online
reporting,anamnestypolicy,training,andaninterͲcampustransferpolicy.



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       1.ConfidentialAdvisors
        TheCASAmandatesthatinstitutionsdesignate individualstowillserveasconfidential
advisors.Theseconfidentialadvisorscanbeanyone,andtheactsuggeststhathealthcarestaff,
clergy,staffofawomen’scenter,andanyvictimservicesorganizationsserveinthesepositions.
ConfidentialadvisorsmustbetrainedtoaddressissuesspecifictosexuallyͲorientedcrimes,and
the attorney general in collaboration with the Board of regents shall develop these online
trainingmaterialsinadditiontothestandardtraining.
        Theconfidentialadvisormustbetrainedtoinformthevictimofseventhings:(1)rights
of the victim under federal and state law school policies, (2) victim’s reporting options,
including notifying the institution or notifying local law enforcement, (3) any reasonably
foreseeable consequences of the various reporting options, (4) the investigation process and
disciplinaryprocessoftheinstitution,(5)theinvestigationandadjudicationprocessoflocallaw
enforcement, (6) the limited jurisdiction, scope, and sanctions of the school’s disciplinary
proceeding, (7) reasonable accommodations the institution may be able to provide, (8)
information on the nearest medical facility to have a rape kit administered by a trained
individual,aswellastransportationandreimbursementinformation.
         Confidentialadvisorscanserveasanadvocateforvictimwhenthevictimhasbeenfully
informedoftheprocessforreportingandhasrequestedtheadvisoractasadvocateinwriting.
Confidential advisors must be authorized to be able to work with the institution to arrange
reasonable accommodations, and accompany victims to interviews and campus proceedings.
Confidential advisors must provide written information of victim’s rights and institution’s
responsibilitiesregardingprotectiveordersandadvisethevictim.Confidentialadvisorscannot
be obligated to report crimes to the institution or law enforcement, and reasonable
accommodations requested by a confidential advisor cannot trigger an investigation by the
institution.Eachinstitutionmusthaveanadequatenumberofconfidentialadvisorsbasedon
itssize.

       2.Website
        The LSU website must list seven things: (1) contact information for obtaining a
confidential advisor, (2) reporting options for victims, (3) process of investigation and
disciplinaryproceedings,(4)processofinvestigationandadjudicationoflawenforcement,(5)
potential reasonable accommodations, (6) contact information for hotlines, updated on a
timelybasis,and(7)thenameandlocationofthenearestmedicalfacilitywherearapekitcan
beadministeredbyatrainedindividual.
       3.OnlineReporting
        Institutionsareencouragedtoprovideanonymousonlinereportingsysteminorderto
collectpatternsofcrimeoncampus.


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
       4.AmnestyPolicy
        
        Theinstitutioncannotsanctionastudentwhoreportsingoodfaithanytypeofsexual
violence.Furthermore,ifastudentisreportingingoodfaith,heorshecannotbesanctioned
forrelatednonͲviolentcrimessuchasunderagedrinkingthatmayberevealedinthecourseof
areport.
       5.Training
       The Board of Regents, coordinating with the attorney general and victim services
organization,mustdevelopaprogramtotraineveryonewhoisinvolvedinimplementingthese
procedures,specificallythosethatwillbeinterviewingwitnessesorresolvingcomplaints.
       6.InterͲcampusTransferPolicy
       The Board of Regents must require that institutions communicate with each other
regarding the transfer of students that have been found in violation of sexually oriented
criminaloffenses.TheBoardmustalsorequirethatinstitutionwithholdtranscriptsofstudents
seekingatransferduringpendingdisciplinaryactionrelativetosexuallyorientedoffenses.
                                                     
                                          LSU’SCOMPLIANCE
        Using PMͲ73 and the LSU website as references, this memorandum attempts to
highlighttheareastheworkgroupidentifiedasneedingfurtherattentionbyLSU.
A.MemorandumofUnderstanding
       A cursory internet search revealed no information regarding a memorandum of
understanding (“MOU”) between LSU and local law enforcement. This memorandum of
understandingisarequirementoftheActandismandatedbyPMͲ73.LSUiscurrentlynotin
complianceiftheyhavenotenteredintoanMOUwithlocallawenforcement.
        LSU cannot be held liable if law enforcement refuses to enter into an MOU.
Furthermore,theschoolcouldpossiblyhaveenteredintoanMOUthatisnotyetavailableto
the public. If the school has entered into an MOU, then it should be made available to the
public. In particular, the MOU may serve as a resource to confidential advisors—who are
requiredtoeducatevictimsontheirrightsandtheinvestigativeprocesses.Doingthisrequiresa
completeknowledgeofhowtheuniversityandlawenforcementintendtointeract.
B.CampusSecurityPolicy




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Act172requirescampusestoestablishuniformpoliciesandbestpracticestoaddressreporting,
prevention, and medical and mental heath resources for sexually oriented criminal offenses
including confidential advisors, information on the institution’s website, online reporting, an
amnestypolicy,training,andaninterͲcampustransferpolicy.PMͲ73andtheLSUWebsiteserve
manyofthesepurposessuchasinformationonresources,onlinereporting,anamnestypolicy,
and interͲcampus transfer policy. However, there is still no publication of best practices for
addressing reporting and much of this information is difficult for survivors and advocates to
understand.ItispossiblethatthecampushastrainedtheLighthouseadvocatesonallofthese
issuesandonthebestpractices,butitisnotclearthatthereareuniformpolicies,andthese
practices are not made clear to the public. Advocates that may be working for local
organizations or a victim that is hesitant to approach an advocate would have no way of
knowinghowthesecomplaintsarehandledorthebestwaytoreport.

C.ConfidentialAdvisors
         PMͲ73definesaconfidentialadvisorinawaythatseemstocomplywithCASA.PMͲ73
alsoprovidesthatconfidentialadvisorsareallowedtoaccompanycomplainantstoeachphase
of the investigation process. However, it is unclear who the confidential advisors are on this
campus.

        The remainder of CASA’s imperatives for confidential advisors addresses the advisor’s
duties to inform victims and their training. This seems to fall outside of the scope of this
workgroup.

       ThemostproblematicaspectoftheconfidentialadvisorsisthatCASArequiresthatthey
be able to request reasonable accommodations for the victims, and that the request for
reasonable accommodations cannot trigger an investigation. It is unclear whether these
victim’sadvocateslistedbytheLighthousehavethisability.Further,PMͲ73statesthatoncea
responsible person receives actual notice of a complaint they must notify the Title IX
Coordinator and an investigation must begin. Victims advocates are not considered
“responsible persons” who have an obligation to report, but it is difficult to see how these
advocates are going to request reasonable accommodations without notifying another
“responsible person” that there has been a violation. Therefore, it seems impossible to
reconcile the provision of CASA, which is meant to provide protective measures for victims,
withtheprovisionofPMͲ73thatrequiresnotifyingtheTitleIXCoordinator.





                                                   24
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D.Website
        CASA requires that the school website describe the process of investigation and
disciplinary proceedings. While PMͲ73 and the Student Handbook are both posted to LSU’s
website, it is not stated anywhere on the Lighthouse page or another page a simple,
understandable explanation of how the disciplinary proceedings are performed. CASA also
requiresthewebsitetocontainadescriptionoftheprocessofinvestigationandadjudicationof
lawenforcement.Thisinformationalsocouldnotbefoundonthewebsite.
         The website did provide required information such as potential reasonable
accommodations,contactinformationforhotlines,andinformationonhowtofindthename
andlocationofthenearestmedicalfacilitywherearapekitcanbeadministeredbyatrained
individual. The main issue with LSU’s website is that all of this information is spread out and
difficult for anyone to actually find. Addressing all of these issues in a simple way in one
locationisbestpracticeforvictims,andLSUshouldnotonlybecleareraboutthedisciplinary
process,butalsomakethatprocessandotherinformationeasyforvictimstofind.
E.Training
       LSU has training procedures in place, but these procedures do not seem to be public.
AlthoughtheActdoesnotexplicitlyrequiretheseprocedurestobepublic,transparencymaybe
enhancediftheyaremadepublic.
                                                       




                                                     25
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                              Appendix13:AcademicFreedom

      The following provisions are sample provisions from other institutions relating to
academicfreedomthatmaybehelpfulinincludingsuchaprovisioninPMͲ73.

UniversityofAlabama:

(availableat:http://titleix.ua.edu/sexualͲmisconductͲpolicy.html#academic%20freedom)

                In cases of alleged prohibited sexual misconduct, the protections of the First
       Amendmentmustbeconsideredifissuesofspeechorartisticexpressionareinvolved.
       Free speech rights apply in the classroom and in all other educational programs and
       activities of public institutions, and First Amendment rights apply to the speech of
       students and employees.  Great care must be taken not to inhibit open discussion,
       academic debate, and expression of personal opinion, particularly in the classroom.
       Nonetheless,speechorconductofaharassing,sexual,orhostilenaturethatoccursin
       thecontextofeducationalinstructionmayexceedtheprotectionsofacademicfreedom
       andconstituteprohibitedharassmentifitmeetsthedefinitionofsexualmisconductand
       (1) isreasonablyregardedasnonͲprofessorialspeech(i.e.advancesapersonalinterest
       of the student or faculty member as opposed to furthering the learning process or
       legitimateobjectivesofthecourse),or(2)lacksanacceptedpedagogicalpurposeoris
       notgermanetotheacademicsubjectmatter.
                                                      *                    *           *

       Intheeventofanyconflict,theSexualMisconductPolicyfoundontheUniversity’sTitle
       IXwebsitewillgovern:

       www.titleix.ua.edu/sexualͲmisconductͲpolicy.  The Sexual Misconduct Policy does not
       createacontractorquasiͲcontractbetweentheUniversityoranyUniversityemployee
       andanyindividualthatmaybeaffectedbythePolicy.

UniversityofGeorgia

(availableat:https://eoo.uga.edu/policies/nonͲdiscriminationͲantiͲharassmentͲpolicy)


       TheUniversityiscommittedtoprotecting,maintainingandencouragingbothfreedom
       of expression and full academic freedom of inquiry, teaching, service, and research.
       Academic freedom and freedom of expression shall be strongly considered in
       investigating complaints and reports of discrimination or harassment, but academic
       freedomandfreedomofexpressionwillnotexcusebehaviorthatconstitutesaviolation
       ofthelaworthisPolicy.



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                1SFTFOUBUJPO




                                                                Exhibit B
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Solutions for Our State and Nation
                                                 Document 1-3




      Title IX Structure and Needs




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                      Current Structure
                                                                                                            Case 3:21-cv-00564-SDD-EWD




                                             Jennie


                                                                            Health Care
                                                                                                            Document 1-3




Alexandria   Eunice   HSC NO   Pennington   AgCenter   Shreveport   HSC S                 2 Deputies
                                                                               Svcs

                                                                                                 14
                                                                                            Investigators




 *Most campuses our CC is also our investigator
                                                                                           Exhibit B
                                                                                                            10/04/21 Page 233 of 262
                2015/16 By The Numbers
• 131 Investigations (all campuses)
Pennington, HCS 0
                                                                Case 3:21-cv-00564-SDD-EWD




Alexandria, 1                    15/16 Investigations
                           100
HSC NO 1
                           80
AgCenter 2
                           60
                                                                Document 1-3




Shreveport 7               40

HSC S 8                    20

Eunice, A&M HSC 11          0

A&M SLE 88

A&M HRM 11
                                                    Exhibit B
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               Current Numbers
• 131 cases (all campuses)
• 1,709.25 investigative staff hours = $41,087 (based on $50K salary)
                                                                            Case 3:21-cv-00564-SDD-EWD




    – 13.25 hours per case (very low estimate, area of risk)
• $22,500 add comp/year (Spring/Summer 16)
• $32,000 fall/spring 16/17
                                                                            Document 1-3




• $20K training per year
• $93,087 Total current dollar cost



                                                                Exhibit B
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      What is holding us back?
• Specialists – regular and ongoing training
• Varying levels of training, skill and availability
                                                                                 Case 3:21-cv-00564-SDD-EWD




   – Interview techniques, report writing
   – Serving the needs of our community
• Non-sustainable model
                                                                                 Document 1-3




   – $20K training opportunity yielded poor retention (14/40)
       • 7 investigators for anticipated 90 cases (SLE and LSU A and M)
   – Mental stress and exhaustion (doing more than 1 job)
       • CC’s on other campuses are also investigating
   – Emotional toll on our staff
                                                                     Exhibit B
                                                                                 10/04/21 Page 236 of 262
               Campus Comparison
• TX A&M – Rick (system), campus based TIX CoorĂŶĚ Investigator system.
                  8-12K is tipping point

• Baylor (all staff in TIX Office) 16,600 stu pop
                                                                                           Case 3:21-cv-00564-SDD-EWD




    – Coor, Sr Deputy Coor, 1 Investigators, 1 Case Manager, Training and Prevention
      Spec, Admin Asst͕ External Adj

• Texas Tech – (staff housed elsewhere) 35,900 stu pop
                                                                                           Document 1-3




    – TIX Coor is OGS, 1 lead and 3 investigators (making pitch for 4th) housed in
      ODOS

• Kansas – Office of Institutional Opportunity and Access (all CR
  Complaints) 28,100
    – Director plus 3 investigators (making pitch for 4th)
                                                                               Exhibit B
                                                                                           10/04/21 Page 237 of 262
              Campus Comparison
• Minnesota – Office of Equal Opportunity and AA 51,200
  student pop
                                                                                           Case 3:21-cv-00564-SDD-EWD




   – Reports to AVP, then VP, then President
   – 1 Director, 5 Associates (do investigation), Admin Asst
• Oklahoma – Instit Equity Office 37,000 (all campus student pop)
                                                                                           Document 1-3




   – University Equal Opp and TIX Officer, Asst TIX Coor, TIX Investigator, Equity
     Investigator, Admin Asst (ALL CAMPUSES)
   – Each campus has a TIX Campus Coor
   – Shared investigative, centralized model



                                                                               Exhibit B
                                                                                           10/04/21 Page 238 of 262
                      Needs Analysis
• 1 for 8-12,000 (this is the number folks are finding as the standard, Rick Olshak,
  Scott Lewis)
                                                                                          Case 3:21-cv-00564-SDD-EWD




• Enterprise need 5-6
• Housed in BR (1 lead, 4-5 investigators)
                                                                                          Document 1-3




• Dispatched to campuses to work with Campus
  Coordinators, as needed
• Title IX Office – later may include other civil rights
  issues (ADA, especially)
                                                                              Exhibit B
                                                                                          10/04/21 Page 239 of 262
                    Risks/Benefits
• Ad hoc is a stop gap
• Continuity and consistency
     – Student and employee experience
                                                                             Case 3:21-cv-00564-SDD-EWD




     – Across campuses
•   Specialists
•   Best trained and best practiced
                                                                             Document 1-3




•   Necessary time to dedicate
•   Avoid potential costs
     – Litigation, damages, reputation costs, lost enrollment, media
       address, harm to folks who’ve chosen LSU
                                                                 Exhibit B
                                                                             10/04/21 Page 240 of 262
                  Proposed Structure
                 Title IX Coordinator
                                                                      Case 3:21-cv-00564-SDD-EWD




Campus Coordinators           Lead Investigator
                                     Investigators
Investigation Logistics          Content, Interview, Report
                                                                      Document 1-3




Awareness of Process, Guidance   Outcome and Adjudication
Service to Campus Community       Specialists in their area
Education
Compliance


                                                          Exhibit B
                                                                      10/04/21 Page 241 of 262
Proposed Structure and Investment
 •   1 lead investigator $65,000 (first hire)
 •   4/5 investigators (@$50 each, range $45-55K) $200-250,000
                                                                                           Case 3:21-cv-00564-SDD-EWD




 •   Initial Training $4k/investigator $20,000
 •   Travel (for investigation) $10,000 (high estimate)
 •   2 Grad assistants (@ $1,700/mo/10 mos) $34,000
      – Training, education and outreach
                                                                                           Document 1-3




      – Data Collection, Data Analysis and Research (benchmarking, case law)

 • Total Minimum Request $329,000

 • Other costs – ongoing training (webinars, seminars)
                                                                               Exhibit B
                                                                                           10/04/21 Page 242 of 262
                               Timeline
• Lead ( Early Spring 2017)
• Investigators (Later Spring 2017)
                                                                                       Case 3:21-cv-00564-SDD-EWD




• Summer 2017 ATIXA campus based training
    – Investigators and CC partners
    – CC’s
                                                                                       Document 1-3




    – Adjudicators (Panels, Conduct Folks, HRM Folks)
• Fall 2017 implementation of new model (Coincides with implementation of Task Force
  recommendations)
• Fall 2018 data available for professional investigator model
• Fall 2019 possible move to oversee all civil rights issues (adding ADA)

                                                                          Exhibit B
                                                                                       10/04/21 Page 243 of 262
Case 3:21-cv-00564-SDD-EWD   Document 1-3   10/04/21 Page 244 of 262




                     &YIJCJU/
                  0VUDPNFT(VJEF




                                                                Exhibit B
10. 1 Academic Misconduct – Undergraduate Students
All responsible students in this category will have a transcript notation for the duration of the probationary period
*If behavior is more aligned with ethics and decision making- assign Ethics and Decision Making video review or EDMC.

                                               1st Violation                                               2nd Violation                 3rd Violation

          A.   Collaboration                   Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                                    Restriction (2 semesters)            Suspension until
                                               Zero on assignment (some cases, drop the overall                                          graduation
                                               letter grade by one letter)                          Zero on assignment and drop the
                                                                                                    overall letter grade by one letter   Fail the course
                                               Academic or Ethics and Decision Making Video
                                               Review or EDMC*                                      Commitment to Community Class

          B.   Collusion                       Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                                                                                                Case 3:21-cv-00564-SDD-EWD




                                                                                                    Restriction (2 semesters)            Suspension until
                                               Zero on assignment (some cases, drop the overall                                          graduation
                                               letter grade by one letter)                          Zero on assignment and drop the
                                                                                                    overall letter grade by one letter   Fail the course
                                               Academic or Ethics and Decision Making Video
                                               Review or EDMC*                                      Commitment to Community Class
                                                                                                                                                                Document 1-3




          C.   Copying                         Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                                    Restriction (2 semesters)            Suspension until
                                               Zero on assignment (some cases, drop the overall                                          graduation
                                               letter grade by one letter)                          Zero on assignment and drop the
                                                                                                    overall letter grade by one letter   Fail the course
                                               Academic or Ethics and Decision Making Video
                                               Review or EDMC*                                      Commitment to Community Class

          D.   Failure to Follow Course        Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
               Requirements                                                                         Restriction (2 semesters)            Suspension until
                                               Zero on assignment (some cases, drop the overall                                          graduation
                                                                                                                                                                10/04/21 Page 245 of 262




                                               letter grade by one letter)                          Zero on assignment and drop the
                                                                                                    overall letter grade by one letter   Fail the course
                                               Academic Moodle Module*
                                                                                                    Commitment to Community Class

2020-21           **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B     1
                                          1st Violation                                        2nd Violation                        3rd Violation
          E.   False Information          Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                               Restriction (2 semesters)            Suspension until
                                          Zero on assignment (some cases, drop the overall                                          graduation
                                          letter grade by one letter)                          Zero on assignment and drop the
                                                                                               overall letter grade by one letter   Fail the course
                                          Ethics and Decision Making Video Review or EDMC
                                                                                               Commitment to Community Class
          F.   Misrepresentation          Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                               Restriction (2 semesters)            Suspension until
                                          Zero on assignment (some cases, drop the overall                                          graduation
                                          letter grade by one letter)                          Zero on assignment and drop the
                                                                                               overall letter grade by one letter   Fail the course
                                          Ethics and Decision Making Video Review or EDMC
                                                                                               Commitment to Community Class
                                                                                                                                                             Case 3:21-cv-00564-SDD-EWD




          G.   Other Academic             Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
               Misconduct                                                                      Restriction (2 semesters)            Suspension until
                                          Zero on assignment (some cases, drop the overall                                          graduation
                                          letter grade by one letter)                          Zero on assignment and drop the
                                                                                               overall letter grade by one letter   Fail the course
                                          Academic or Ethics and Decision Making Video
                                          Review or EDMC*                                      Commitment to Community Class
                                                                                                                                                             Document 1-3




          H.   Plagiarism                 Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                               Restriction (2 semesters)            Suspension until
                                          Zero on assignment (some cases, drop the overall                                          graduation
                                          letter grade by one letter)                          Zero on assignment and drop the
                                                                                               overall letter grade by one letter   Fail the course
                                          Academic or EDMC* OR Academic Assignment
                                          Resubmission                                         Commitment to Community Class
          I.   Unauthorized Materials     Disciplinary Probation w/o Restriction (2 semesters) Disciplinary Probation WITH          Deferred
                                                                                               Restriction (2 semesters)            Suspension until
                                          Zero on assignment (some cases, drop the overall                                          graduation
                                          letter grade by one letter)                          Zero on assignment and drop the
                                                                                               overall letter grade by one letter   Fail the course
                                                                                                                                                             10/04/21 Page 246 of 262




                                          Academic or Ethics and Decision Making Video
                                          Review EDMC*                                         Commitment to Community Class



2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   2
10.1 Academic Misconduct- Graduate Students
All responsible students in this category will have a transcript notation for the duration of the probationary period
*If behavior is more aligned with ethics and decision making- assign Ethics and Decision Making video review or EDMC.

                                              1st Violation                                                 2nd Violation
         A. Collaboration                      Deferred Suspension (minimum 2 semesters)                    Suspension (minimum 2 semesters)

                                              Zero on assignment and drop overall letter grade by           Fail the Course
                                              one letter

                                              Academic or EDMC*
         B. Collusion                         Deferred Suspension (minimum 2 semesters)                     Suspension (minimum 2 semesters)

                                              Zero on assignment and drop overall letter grade by           Fail the Course
                                                                                                                                                              Case 3:21-cv-00564-SDD-EWD




                                              one letter

                                              Academic or EDMC*
         C. Copying                           Deferred Suspension (minimum 2 semesters)                     Suspension (minimum 2 semesters)

                                              Zero on assignment and drop overall letter grade by           Fail the Course
                                              one letter
                                                                                                                                                              Document 1-3




                                              Academic or EDMC*
         D. Failure to Follow Course          Deferred Suspension (minimum 2 semesters)                     Suspension (minimum 2 semesters)
         Requirements
                                              Zero on assignment and drop overall letter grade by           Fail the Course
                                              one letter

                                              Academic or EDMC*
         E. False Information                 Deferred Suspension (minimum 2 semesters)                     Suspension (minimum 2 semesters)

                                              Zero on assignment and drop overall letter grade by           Fail the Course
                                                                                                                                                              10/04/21 Page 247 of 262




                                              one letter

                                              EDMC


2020-21           **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   3
                                         1st Violation                                              2nd Violation

      F. Misrepresentation               Deferred Suspension (minimum 2 semesters)                  Suspension (minimum 2 semesters)

                                         Zero on assignment and drop overall letter grade by        Fail the Course
                                         one letter

                                         EDMC
      G. Other Academic Misconduct       Deferred Suspension (minimum 2 semesters)                  Suspension (minimum 2 semesters)

                                         Zero on assignment and drop overall letter grade by        Fail the Course
                                         one letter

                                         Academic or EDMC*
      H. Plagiarism                      Deferred Suspension (minimum 2 semesters)                  Suspension (minimum 2 semesters)
                                                                                                                                                          Case 3:21-cv-00564-SDD-EWD




                                         Zero on assignment and drop overall letter grade by        Fail the Course
                                         one letter

                                         Academic or EDMC* OR Academic Assignment
                                         Resubmission
      I. Unauthorized Materials          Deferred Suspension (minimum 2 semesters)                  Suspension (minimum 2 semesters)
                                                                                                                                                          Document 1-3




                                         Zero on assignment and drop overall letter grade by        Fail the Course
                                         one letter

                                         Academic or EDMC*


            Drop of a letter grade means a full letter with the plus/minus grading (ex. Student earned B+ and the grade would be dropped to a C+)
                                                                                                                                                          10/04/21 Page 248 of 262




2020-21       **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   4
10.1 Academic Misconduct- Independent Distant Learning Students

No probationary status or educational activities are assigned due to the nature of the student’s enrollment

                                          1st Violation                   1st Violation                                         2nd Violation
                                          (One Assignment)                (Two or More Assignments)
            A.   Collaboration            Zero on the assignment          Zero on the assignments AND drop overall letter       Zero in the class
            B.   Collusion                                                grade by one letter
            C.   Copying
            D.   Failure to Follow
                 Course Requirements
            E.   Other Academic
                 Misconduct
            F.   Misrepresentation
            G.   Other Academic
                 Misconduct
                                                                                                                                                              Case 3:21-cv-00564-SDD-EWD




            H.   Plagiarism
            I.   Unauthorized Materials


10.2 Behavioral Misconduct

Section 10.2A- Alcohol
                                                                                                                                                              Document 1-3




       Students found responsible, under 21 in this section must be assigned a referral to SHC or Psych Services, unless discussed with your supervisor

                                             1st Violation                          2nd Violation                           3rd Violation
        Simple Possession &/or               Disciplinary Probation w/o             Disciplinary Probation WITH             Deferred Suspension until
        Consumption                          Restriction (2 semesters)              Restriction (2 semesters)               Graduation

        Student Under the age of 21          Referral to LSU Health and             Referral to LSU Psychological
                                             Wellness- Alcohol Brief                Services
                                             Intervention
                                                                                    LSU Commitment to Community
                                             Alcohol Survey                         Essay or Commitment to
                                                                                    Community Class
                                                                                                                                                              10/04/21 Page 249 of 262




                                             Ethics and Decision Making Video
                                             Review or EDMC



2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B    5
                                             1st Violation                          2nd Violation                      3rd Violation
       Simple Possession &/or                Disciplinary Probation w/o             Disciplinary Probation WITH        Deferred Suspension until
       Consumption                           Restriction (2 semesters)              Restriction (2 semesters)          Graduation

       Student over the age of 21            LSU Commitment to Community            Referral to LSU Psychological
                                             Essay or Ethics and Decision           Services
                                             Making Video Review
                                                                                    LSU Commitment to Community
                                                                                    Essay or Commitment to
                                                                                    Community Class
       Endangering Consumption &             Deferred Suspension (2 semesters)      Deferred Suspension until          Suspension
       excessive quantity of possession                                             Graduation or Suspension
                                             Referral to LSU Psychological
       Examples: DWI & DUI, Student          Services                               Full Substance Abuse Panel
       transported or unresponsive;
                                                                                                                                                            Case 3:21-cv-00564-SDD-EWD




       Common source Alcohol                 Commitment to Community Class
       Distribution of Alcohol               Disciplinary Probation WITH            Deferred Suspension until          Suspension
                                             Restriction (2 semesters)              Graduation

                                             EDMC                                   LSU Commitment to Community
                                                                                    Essay or Commitment to
                                                                                    Community Class
                                                                                                                                                            Document 1-3




10.2C- Coercive Behavior

                                                    1st Violation                   2nd Violation                     3rd Violation
       An act by an individual or group, explicit   Disciplinary Probation w/o or   Deferred Suspension or            Suspension or Expulsion
       or implicit condition for                    WITH Restriction (1-2           Suspension (2 semesters)
       initiation/admission/affiliation/continued   semesters)
       membership in group, w/ or w/o                                               Referral to Health &
       consent, could demean, disgrace,             Restitution (if applicable)     Wellness/Mental Health/
       humiliate, or degrade a student, could                                       Psychological Services,
       result in extreme embarrassment or           Letter to Future Self or LSU    Restitution,
                                                                                                                                                            10/04/21 Page 250 of 262




       affect mental health or dignity, line-ups,   Commitment to Community
       scavenger hunts and personal servitude       Essay, SHC Healthy              Commitment to Community Class
                                                    Relationships


2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   6
10.2C- Complicity

                                             1St Violation                       2nd Violation                          3rd Violation
       Attempting to Commit, Being           Disciplinary Probation w/o or       Disciplinary Probation WITH            Deferred Suspension until
       Involved, Partnership, Implication,   WITH Restriction (1-2 semesters)    Restriction Deferred Suspension (1-2   Graduation or Suspension
       Manipulation                                                              semesters)
                                             EDMC or LSU Commitment to
                                             Community Essay or Letter to        Commitment to Community Class or
                                             Future Self                         Letter to Future Self


10.2D- Computer Misuse

                                             1st Violation                       2nd Violation                          3rd Violation
       Unauthorized access, alteration of    Disciplinary Probation w/o          Disciplinary Probation WITH            Suspension
       computer equipment, failing to        Restriction (1-2 semesters)         Restriction (1-2 semesters)
                                                                                                                                                            Case 3:21-cv-00564-SDD-EWD




       comply with laws, license
       agreements, contracts governing       Deferred suspension of computer     Denial/loss of computer privileges
       software, using University            privileges
       computing resources for prohibited                                        Commitment to Community Class
       activities, or ANY VIOLATION OF       EDMC or Code of Student Conduct
       LSU COMPUTER POLICIES                 Policy Review or LSU Commitment
                                                                                                                                                            Document 1-3




                                             to Community Essay

10.2E- Disorderly Conduct

                                             1st Violation                       2nd Violation                          3rd Violation
       Impairs of interferes with orderly    Disciplinary Probation w/o or       Deferred Suspension or Suspension      Suspension or Expulsion
       functions or processes of LSU         WITH Restriction (1-2 semesters)    (2 semesters)

                                             Restitution                         Referral to Health &
                                                                                 Wellness/Mental Health/
                                             Ethics and Decision Making Video    Psychological Services
                                             Review or EDMC or LSU
                                                                                                                                                            10/04/21 Page 251 of 262




                                             Commitment to Community Essay       Restitution

                                                                                 Commitment to Community Class or
                                                                                 Letter to Future Self

2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   7
Section 10.2F- Disruption/Obstruction

                                              1st Violation                        2nd Violation                         3rd Violation
        Disruption of teaching,               Disciplinary Probation w/o or        Disciplinary Probation WITH           Suspension or Expulsion
        administration, etc. (see code)       WITH Restriction (2 semesters)       Restriction or Deferred Suspension
                                                                                   for (2 semesters or until Graduation)
        Example: Disrupting the learning                                           or Suspension
        process                               LSU Commitment to Community
                                              Essay or Ethics and Decision         Referral to SHC/Mental Health/
                                              Making Video Review                  Psychological Services

                                                                                   Commitment to Community Class
                                                                                                                                                             Case 3:21-cv-00564-SDD-EWD




Section 10.2G- Drugs
       Students found responsible in this section must be assigned a referral to Psych Services*, unless discussed with your supervisor!!

                                              1st Violation                        2nd Violation                                3rd Violation
        Possession/Paraphernalia &/or Use     Disciplinary Probation WITH          Disciplinary Probation or Deferred           Suspension or
        OR in the Presence of                 Restriction (2 semesters)            Suspension (until Graduation) or             Expulsion
                                                                                                                                                             Document 1-3




        Possession/Use                                                             Suspension
                                              Marijuana Survey*
        Sanctioning considerations for all                                         Referral Psychological Services
        violations include:                   SHC 1st Time Marijuana Referral*
            x How the violation was           or Referral to Psychological         Commitment to Community Class or Letter
                committed                     Services                             to Future Self
            x The amount and nature of
                the drug(s) involved          Ethics and Decision Making Video
            x The level of knowledge and      Review or LSU Commitment to
                the intent of the student     Community Essay or EDMC
            x Prior disciplinary history of
                the student                   * if drug is marijuana
                                                                                                                                                             10/04/21 Page 252 of 262




2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   8
                                              1st Violation                        2nd Violation                             3rd Violation
       Significant Levels of                  Deferred Suspension (until           Suspension                                Expulsion
       Possession/Paraphernalia &/or Use      Graduation)

                                              Referral to Psychological Services

                                              LSU Code of Student Conduct
                                              Essay or Commitment to
                                              Community Class
       Furnishing, distribution or            Suspension (2 semesters), Upon       Expulsion                                 N/A
       manufacture                            Return: Deferred Suspension (2
                                              semesters)

                                              Substance Abuse Assessment
                                              prior to return
                                                                                                                                                            Case 3:21-cv-00564-SDD-EWD




Section 10.2H- Endangerment

                                              1st Violation                                    2nd Violation                 3rd Violation
       Physical Abuse, Threat, Force          Disciplinary Probation WITH Restriction (2       Deferred Suspension (2        Suspension or
       against self or others                 semesters)                                       semesters); followed by       Expulsion
                                                                                                                                                            Document 1-3




                                                                                               Disciplinary Probation WITH
       Example: minor altercation,            EDMC Moodle Module or LSU Commitment             Restriction (2 semesters)
       pushing, shoving, or threat of force   to Community Essay or Letter to Future Self
                                                                                               Commitment to Community
                                              Referral to SHC for Healthy                      Class
                                              Relationships/Anger Mgmt. (if appropriate)
                                                                                          No Contact Directive, Loss of
                                              No Contact Directive                        Violation to appropriate area if
                                                                                          necessary
       Severe Physical Abuse, Threat,         Deferred Suspension (2 semesters); followed Suspension
       Force against self or others           by Disciplinary Probation WITH Restriction
                                              (2 semesters)
                                                                                                                                                            10/04/21 Page 253 of 262




       Example: group altercation, group
       threat of force, hazing-like behavior Commitment to Community Class

                                              No Contact Directive

2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   9
Section 10.2I- Failure to Comply

                                                1st Violation                      2nd Violation                        3rd Violation
        Defying the order of any University     Disciplinary Probation w/o         Disciplinary Probation WITH          Deferred Suspension (2
        policy, contract, mandate or rule       Restriction (1-2 semesters)        Restriction or Deferred Suspension   semesters) or Suspension (1-
                                                                                   (2 semesters)                        2) semesters
        Example: Non-compliance with            LSU Commitment to Community
        University rule; Failure to appear in   Essay or Ethics and Decision       Commitment to Community Class
        meeting when requested; Failure         Making Video Review or LSU
        to complete outcome by given            COVID Guidelines Moodle module
        deadline


10.2J- False Information

                                                1st Violation                      2nd Violation                        3rd Violation
                                                                                                                                                              Case 3:21-cv-00564-SDD-EWD




        Providing false information to any      Disciplinary Probation WITH        Deferred Suspension (2 semesters)    Suspension
        University official                     Restriction (2 semesters)          or Suspension

        Example: Dishonest in                   Ethics and Decision Making Video
        administrative meeting; etc.            Review or EDMC
                                                                                                                                                              Document 1-3




10.2K &N- Forgery & Identity Misuse

                                                1st Violation                      2nd Violation                        3rd Violation
        Altering, Falsifying, misrepresenting Disciplinary Probation WITH          Deferred Suspension (2 semesters)    Suspension or Expulsion
        documents                             Restriction (1-2 Semesters)
                                                                                   Commitment to Community Class
                                                Ethics and Decision Making Video
                                                Review or LSU Policy Review or
                                                EDMC
        ID Misuse                               Warning (2 semesters)              Disciplinary Probation w/o or WITH   Deferred Suspension (2
                                                                                   Restriction (2 semesters)            Semesters) or Suspension
                                                                                                                                                              10/04/21 Page 254 of 262




        (ex: Football game entry, UREC          Identification Misuse Essay
        entry, dining facilities)                                                  Commitment to Community Class



2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   10
10.2L- Harassment

                                             1st Violation                      2nd Violation                          3rd Violation
       Harassment (of any nature)            Disciplinary Probation WITH        Deferred suspension (until             Suspension or Expulsion
                                             Restriction (2-4 semesters) or     Graduation) or Suspension;
                                             Deferred Suspension (2
                                             semesters)                         Referral to Mental Health/
                                                                                Psychological Services
                                             Referral to SHC for Healthy
                                             Relationships                      Commitment to Community Class

                                             EDMC or LSU Commitment to          No Contact Directive
                                             Community Essay

                                             No Contact Directive
       Harassment that is sexual in nature   Disciplinary Probation With        Suspension or Expulsion                Expulsion
                                                                                                                                                             Case 3:21-cv-00564-SDD-EWD




       or involves bias or discrimination    Restriction until Graduation; or
                                             Deferred Suspension or             No Contact Directive
                                             Suspension; or Expulsion;
                                             Class-only Restriction;
                                             Referral to Mental Health/
                                             Psychological Services;
                                             EDMC Moodle Module;
                                                                                                                                                             Document 1-3




                                             No Contact Directive

10.2M- Hazing

                                             1st Violation                      2nd Violation                          3rd Violation
       Hazing (See Code for complete         Suspension (1-2 years) *minimum    Expulsion                              N/A
       definition)                           of 1 semester; Upon Return:
                                             Disciplinary Probation WITH
       Participation in or Involvement in    Restriction (2 semesters)
       planning
                                             Upon return: Psychological
                                                                                                                                                             10/04/21 Page 255 of 262




                                             evaluation to be readmitted (if
                                             applicable)




2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   11
10.2O- Improper Sales & Solicitation

                                              1st Violation                      2nd Violation                         3rd Violation
       Solicitation, sale, fundraising,       Disciplinary Probation w/o         Deferred Suspension (2 semesters);    Suspension
       canvassing, distribution or posting    Restriction (2 semesters)          followed by Disciplinary Probation
       of written material without                                               WITH Restriction (2 semesters)
       authorization, email, web or           Ethics and Decision Making Video
       printed, selling or purchasing ID,     Review or EDMC                     Commitment to Community Class
       selling or purchasing academic
       materials                              Restitution (if appropriate)       Restitution (if appropriate)


10.2P-Offensive Behavior

                                              1st Violation                      2nd Violation                         3rd Violation
       Lewd, indecent, or obscene             Disciplinary Probation WITH        Deferred Suspension (4 semesters)     Suspension or Expulsion
                                                                                                                                                             Case 3:21-cv-00564-SDD-EWD




       conduct in a public place,             Restriction for 2-4 semesters      or Suspension
       electronically, or overall social
       media                                  Referral to Psych Services         No Contact Directive

                                              No Contact Directive               Commitment to Community Class

                                              EDMC
                                                                                                                                                             Document 1-3




10.2Q- Property Misuse

                                              1st Violation                      2nd Violation                         3rd Violation
       Intentional or Reckless Destruction,   Disciplinary Probation w/o         Disciplinary Probation WITH           Suspension or Expulsion;
       defacement or damage of                Restriction (2 semesters)          Restriction (4 semesters or until
       University property or another                                            Graduation) or Deferred Suspension    Restitution
       student’s property                     Ethics and Decision Making Video
                                              Review or EDMC or LSU              Commitment to Community Class
                                              Commitment to Community Essay
                                                                                 Restitution (if appropriate)
                                                                                                                                                             10/04/21 Page 256 of 262




                                              Restitution (if appropriate)
                                                                                 Ban from facility in question



2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   12
10.2R- Residential Life

                                            1st Violation                        2nd Violation                        3rd Violation
        Utilized when one (1) or more of    Utilize the information within the   Utilize the information within the   Utilize the information within the
        the violations listed below may     Grid below for appropriate           Grid below for appropriate           Grid below for appropriate
        have occurred                       Outcomes                             Outcomes                             Outcomes
        Animals                             Disciplinary Probation w/o           Disciplinary Probation WITH          Residential Life Direct
                                            Restriction (1-2 semesters)          Restriction (1-2 semesters)          Administration Action;

                                            Removal of Animal;                   Removal of Animal;                   Referral to SAA or Assistant
                                                                                                                      Director for Conduct, Advocacy,
                                            Restitution Fee                      EDMC Moodle Module or                and Policy (Res Life)
                                                - Minimum $200 for               Commitment to Community Essay;
                                                     animals with dander in
                                                     residence hall              Restitution Fee
                                                - Minimum $300 for                   - Minimum $200 for animals
                                                                                                                                                                Case 3:21-cv-00564-SDD-EWD




                                                     animals with dander in               with dander in residence
                                                     apartment                            hall
                                                - Variable fee for other             - Minimum $300 for animals
                                                     animals                              with dander in apartment
                                                - Housing Contract Status            - Variable fee for other
                                                     Review (minimum                      animals
                                                     Deferred Housing                - Housing Contract Status
                                                                                                                                                                Document 1-3




                                                     Removal)                             Review
        Bias Related Actions                 Disciplinary Probation               Disciplinary Probation               Residential Life
                                             without OR WITH                      WITH RESTRICTION OR                  Direct
                                             RESTRICTION (1-2                     Deferred Suspension (1-2             Administration
                                             semesters);                          semesters);                          Action;

                                             EDMC Moodle Module                                                       Referral to SAA or Assistant
                                             or Commitment to                     Commitment to                       Director for Conduct, Advocacy,
                                             Community Essay;                     Community Class;                    and Policy (Res Life)

                                            Housing Contract Status Review       Housing Contract Status Review
                                                                                                                                                                10/04/21 Page 257 of 262




                                            (minimum Deferred Housing
                                            Removal)
        Coronavirus, COVID-19, Related       Disciplinary Probation               Disciplinary Probation               Residential Life
        Violations                           without OR WITH                      WITH RESTRICTION OR                  Direct
                                             RESTRICTION (1-2                     Deferred Suspension (1-2             Administration
2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B     13
                                          semesters);                         semesters);                          Action;

                                          Coronavirus Essay OR                Wellness & Health                   Referral to SAA or Assistant
                                          Health, Safety and                  Promotion Referral;                 Director for Conduct, Advocacy,
                                          COVID-19 Moodle                                                         and Policy (Res Life)
                                          Module;                             Commitment to
                                                                              Community Class;
                                         Housing Contract Status Review
                                         (minimum Deferred Housing           Housing Contract Status Review
                                         Removal)
      Guests & Guest Visitation          Disciplinary Probation w/o          Disciplinary Probation WITH          Disciplinary Probation WITH
                                         Restriction (1-2 semesters)         Restriction (1-2 semesters)          Restriction or Deferred
                                                                                                                  Suspension (2 semesters)
                                         Loss of Guest Privileges within     Loss of Guest Privileges within
                                         Residential Life                    Residential Life                     Loss of Guest Privileges within
                                         Community/Communities               Community/Communities                Residential Life communities for
                                                                                                                                                           Case 3:21-cv-00564-SDD-EWD




                                         (minimum of 2 weeks; maximum        (minimum of 2 weeks; maximum of      remainder of Housing Contract;
                                         of end of Housing Contract)         end of Housing Contract);
                                                                                                                  Commitment to Community Class
                                                                             EDMC Moodle Module
      Handbook (potential violation of   Disciplinary Probation w/o          Disciplinary Probation WITH          Deferred Suspension (2
      one or more policy outlined        Restriction (1-2 semesters)         Restriction (1-2 semesters)          semesters)
                                                                                                                                                           Document 1-3




      within the Living on Campus
      Handbook)                          EDMC Moodle Module or LSU           Commitment to Community Class        Commitment to Community Class
                                         Code of Student Conduct Essay       or Commitment to Community
                                                                             Essay

      Health & Safety                    Warning (only issued by             Disciplinary Probation w/o           Disciplinary Probation WITH
                                         Residential Life Student Conduct    Restriction (1-2 semesters)          Restriction or Deferred
                                         Office);                                                                 Suspension (1-2 semesters)
                                                                             Confiscated Item;
                                         Confiscated Item                                                         Confiscated Item;
                                                                             EDMC Moodle Module or
                                                                             Commitment to Community Essay        Commitment to Community Class
                                                                                                                                                           10/04/21 Page 258 of 262




      Housing Contract                   One of the Following:               One of the Following:                One of the Following:
                                         Deferred Housing Removal;           Deferred Housing Removal;            Housing Relocation;
                                         Housing Relocation;                 Housing Relocation;                  Housing Removal
                                         Housing Removal                     Housing Removal

2020-21       **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   14
        Tobacco/Vaporizer                   Disciplinary Probation w/o          Disciplinary Probation WITH            Deferred Suspension (2
                                            Restriction (1-2 semesters)         Restriction (2 semesters)              semesters)
       Used within Residential Life
       community                            Tobacco-Free Policy Essay           EDMC Moodle Module OR                  Commitment to Community Class
                                                                                Commitment to Community Essay
                                            Restitution (if applicable)                                                Wellness & Health Promotion
                                                - Minimum $75 if room           Restitution (if applicable)            Referral
                                                    alarm activated                 - Minimum $75 if room
                                                - Minimum $100 if building              alarm activated                Restitution (if applicable)
                                                    alarm activated                 - Minimum $100 if building             - Minimum $75 if room
                                                - Variable fee if damage                alarm activated                        alarm activated
                                                    occurred to Residential         - Variable fee if damage               - Minimum $100 if building
                                                    Life property                       occurred to Residential Life           alarm activated
                                                                                        property                           - Variable fee if damage
                                                                                                                               occurred to Residential
                                                                                                                               Life property
                                                                                                                                                              Case 3:21-cv-00564-SDD-EWD




10.2S- Safety

                                             1st Violation                        2nd Violation**                        3rd Violation
        Tampering with safety equipment      Disciplinary Probation w/o or        Disciplinary Probation WITH            Suspension or Expulsion
        and/or warning system, setting or    WITH restriction (2 semesters)       restriction or Deferred Suspension
                                                                                                                                                              Document 1-3




        causing a fire, engaging in                                               (2 semesters)
        dangerous activities contrary to     EDMC or LSU Commitment to                                                   Restitution
        posted or verbal warnings            Community Essay                      Commitment to Community Class

                                             Restitution (if appropriate)         Restitution (if appropriate)


10.2T- Sexual Harassment

                                             1st Violation                       2nd Violation                           3rd Violation
                                             Disciplinary Probation With         Suspension or Expulsion                 Expulsion
                                             Restriction until Graduation; or
                                                                                                                                                              10/04/21 Page 259 of 262




                                             Deferred Suspension or              No Contact Directive
                                             Suspension; or Expulsion;
                                             Class-only Restriction;


2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B    15
                                              Referral to Mental Health/
                                              Psychological Services;
                                              EDMC Moodle Module;
                                              No Contact Directive

10.2U- Sexual Misconduct

                                              1st Violation                       2nd Violation                          3rd Violation
                                              Deferred Suspension or              Suspension or Expulsion                Expulsion
                                              Suspension; or Expulsion;
                                              Class-only restriction;             No Contact Directive
                                              Referral to Mental Health/
                                              Psychological Services;
                                              EDMC Moodle Module;
                                              No Contact Directive
                                                                                                                                                               Case 3:21-cv-00564-SDD-EWD




10.2V- Stalking

                                              1st Violation                       2nd Violation                          3rd Violation
        Repeated unwanted conduct with        Disciplinary Probation WITH         Suspension or Expulsion                Expulsion
        another person                        Restriction (4 semesters)
                                                                                                                                                               Document 1-3




                                              Referral to Mental Health/
                                              Psychological Services/ No
                                              Contact Directive/ Ban from areas
                                              of University (if appropriate)

                                              EDMC


10.2W- Theft

                                           1st Violation                          2nd Violation                          3rd Violation
                                                                                                                                                               10/04/21 Page 260 of 262




        Theft, embezzlement, possession of Disciplinary Probation WITH            Disciplinary Probation WITH            Suspension or Expulsion
        stolen property or services of     Restriction (2 semesters)              Restriction (until Graduation) or
        university or another individual                                          Deferred Suspension (4 semesters)
                                           Restitution / return of stolen
                                           property
2020-21           **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   16
                                                                                Restitution / return of stolen
                                            Ethics and Decision Making Video    property
                                            Review or EDMC
                                                                                Commitment to Community Class


10.2X- Trespassing

                                            1st Violation                       2nd Violation                          3rd Violation
       Unauthorized entry or use of any     Disciplinary Probation w/o          Disciplinary Probation WITH            Suspension or Expulsion
       property or facility                 Restriction (2 semesters)           Restriction or Deferred Suspension
                                                                                (4 semesters)                          Restitution
                                            EDMC or LSU Commitment to
                                            Community Essay or Letter to        Commitment to Community Class
                                            Future Self
                                                                                Restitution (if appropriate)
                                                                                                                                                             Case 3:21-cv-00564-SDD-EWD




                                            Restitution (if appropriate)
                                                                                Ban from facility in question
10.2Y- Unauthorized Surveillance

                                            1st Violation                       2nd Violation                          3rd Violation
       Creating, making, possessing,       Disciplinary Probation WITH          Deferred Suspension (2 semesters)      Suspension or Expulsion
       storing, sharing, or distributing   Restriction or Deferred              followed by Disciplinary Probation
                                                                                                                                                             Document 1-3




       unauthorized video or digital/photo Suspension (2 semesters)             WITH Restriction (2 semesters)
       images of a person taken in a
       location in which that person has a No Contact Directive                 Referral to Psych Services or Mental
       reasonable expectation of privacy                                        Health
                                           EDMC or LSU Code of Student
                                           Conduct Essay                        Commitment to Community class
                                                                                                                                                             10/04/21 Page 261 of 262




2020-21         **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   17
10.2Z- Violating a Rule of the University

                                                1st Violation                       2nd Violation                       3rd Violation
        Violating, attempting or assisting in   Disciplinary Probation w/ or WITH   Deferred Suspension (until          Suspension or Expulsion
        violating any contract, rule, policy,   Restriction or Deferred             Graduation) or Suspension
        bylaw or regulation of the              Suspension (1-2 semesters)
        University
                                                Ethics and Decision Making Video    Commitment to Community Class or
        Ex: PS-78, PS- 107, PS- 118*            Review or EDMC or LSU Code of       Letter to Future Self
                                                Student Conduct Essay

                                                * Tobacco-Free Policy Essay


10.2AA- Weapon

                                                1st Violation                       2nd Violation                       3rd Violation
                                                                                                                                                              Case 3:21-cv-00564-SDD-EWD




        Possession on one’s person any          Disciplinary Probation WITH         Deferred Suspension until           Suspension or Expulsion
        object used or designed to inflict or   Restriction (3-4 semesters) or      Graduation or Suspension;
        attempt to inflict harm or injury       Deferred Suspension (2
                                                semesters)                          Removal of weapon
        Full list of examples in Code:
        firearm, facsimile gun, air gun,        EDMC or LSU Code of Student         Commitment to Community Class or
                                                                                                                                                              Document 1-3




        knife, explosive, dangerous             Conduct Essay                       Letter to Future Self
        chemical
                                                Removal of weapon
                                                                                                                                                              10/04/21 Page 262 of 262




2020-21          **Cases may include mitigating or aggravating factors that will necessitate appropriate deviation from the outcomes guide** Exhibit B   18
